Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      Page
                            Filed 09l17/18    1 of 191
                                            Entered  09/17/18 19:15:44 Desc Main
                           Document      Page 1 of 191


                            UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                                            :        Chapter 7

 WORLEY & OBETZ, INC., et (11.,1                                   :        Case No. 18-13774 (REF)
                                                                   :        (Jointly Administered)
                            Debtors.                               :        Hearing Date: Sept. 18, 2018 at 11:00 a.m.
                                                                            Obj. Deadline: Sept. 10, 2018 at 4:00 p.m.
                                                                            Related D.I.: 353 & 373


 ORDER (A) APPROVING THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’
     ASSETS FREE AND CLEAR OF ALL LIENS, INTERESTS, CLAIMS AND
 ENCUMBRANCES; (B) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF
     CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES; AND
                (C) GRANTING CERTAIN RELATED RELIEF

          Upon consideration of the Motion of Christine C. Shubert (the “Trustee”), the Chapter 7

 Trustee for the estates        of Worley &          Obetz, Inc., et al. (the “Debtors”), for (I) an Order

 (A) Approving Bidding Procedures, Including Break-Up Fee and Expense Reimbursement;

 (B) Scheduling Bid Deadline, Auction Date, and Sale Hearing and Approving Notice Thereof; and

 (C) Approving Procedures to Fix Cure Amounts Related to Assumption and Assignment of Certain

 Executory Contracts and Unexpired Leases and Approving Notice Thereof; and (II) an Order

 Approving (A) the Sale of Substantially All of the Debtors” Assets Free and Clear of A11 Liens,

 Interests, Claims and Encumbrances and (B) the Assumption, Sale and Assignment to Purchaser


 ‘ The Debtors is these cases, along   with the last four digits of their federal tax identiﬁcation numbers are (i) Worley
 & Obetz, Inc. (6576) (Case No. 18-13774-REF); (ii) Americomfort, Inc. (7605) (Case No. 18-13775-REF); (iii) Ranck
 Plumbing Heating & Air Conditioning, Inc. (9625) (Case No. 18-13776—REF); (iv) Amerigreen Energy, Inc. (6284)
 (Case No. 18-13777—REF); (v) Advance Air, Inc. (81 1 1) (Case No. 18-13778-REF); (vi) Amerigreen Energy Brokers,
 LLC (2358) (Case No. 18-13779—REF); (vii) Amerigreen Electricity, LLC (8977) (Case No. 18-13780-REF); (viii)
 Amerigreen Hedging Services, LLC (8549) (Case No. 18-13781-REF); (ix) Amerigreen Lubricants, LLC (7489) (Case
 No. 18-13782-REF); (x) Amerigreen Natural Gas, LLC (3222) (Case No. 18-13783-REF); and (xi) Amerigreen
 Propane, LLC (Case No. 18-13784—REF).

 For purposes of this Sale and Bidding Procedures Motion, this Bidding Procedures Order, the Bidding Procedures, the
 Agreement, and the Transactions contemplated therein, (i) the deﬁned term “Debtors” does not include Debtor Ranck
 Plumbing Heating & Air Conditioning, Inc. (Case No. 18-13776-REF), and (ii) the deﬁned term “Purchased Assets”
 does not include and speciﬁcally excludes any and all assets, ﬁxtures, furniture, machinery, equipment, properties,
 interests, and any other rights of Debtor Ranck Plumbing Heating & Air Conditioning, Inc.
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      Page
                            Filed 09/17l18    2 of 191
                                            Entered  09/17/18 19:15:44 Desc Main
                           Document      Page 2 of 191



     of Certain   Contracts   of Debtors [Dkt. No.         353] (the “Motion”) dated August 24, 2018 for, inter

     alia, entry of an order (the     “_Q;(1§_1;”)   (A) approving the sale (the   “§g_1_§”)     of the Purchased Assetsz,

     ﬁee and clear       of all   liens, security interests, other interests, claims (as deﬁned under the

     Bankruptcy Code) and encumbrances (collectively, the “Encumbrances and Interests”) except for

     Permitted Encumbrances, except to the extent set forth in the Asset Purchase Agreement (as

     deﬁned below), pursuant to sections 105, 363 and 365                   of title   11   of   the United States Code,

     11   U.S.C. §§ 101 g; gig; (as amended, the “Bankrugtcy Code”), and Rules 2002, 6004 and 6006

     of the   Federal Rules       of Bankruptcy       Procedure (the “Bankruptcy Rules”); (B) authorizing the

     assumption and assignment          of certain executory      contracts and unexpired leases (the “Assumed

     Contracts”)   as   more fully described in that certain Asset Purchase Agreement dated September 13,

 2018 (the “Asset Purchase Aggeement”) by and between the Trustee and Diesel Direct Holdings,

 Inc. (or its assignee, the “Purchaser”) for the purchase              of the Purchased Assets;          and (C) granting

 certain related relief, and the Trustee having determined that the highest and otherwise best offer

 for the Sale of the Purchased Assets submitted at the Auction was made by the Purchaser in the

 form of the Asset Purchase Agreement; and this Court having held                           a hearing on September 18,


 2018 (the “Sale Hearing”) to approve the Asset Purchase Agreement; and the Court having

 reviewed and considered (i) the Motion, (ii) the objections thereto,                   if any, and (iii) the arguments
 of counsel made,         and the evidence proffered or adduced at the Sale Hearing; and                 it appearing that

 the relief requested in the Motion is in the best interests           of the Debtors, their estates and creditors,

 and other parties in interest; and upon the record               of the   Sale Hearing and these Chapter 7 Cases

 (deﬁned below); and after due deliberation thereon; and good cause appearing therefor, it is hereby




 2
     Capitalized terms not deﬁned below shall have the meaning ascribed to such terms in the Asset Purchase Agreement.



                                                               -2-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774—ref Doc 425 Document      Page
                            Filed 09/17/18    3 of 191
                                            Entered  09/17/18 19:15:44 Desc Main
                           Document      Page 3 of 191



             FOUND AND DETERMINED THAT:3

             A.     Jurisdiction and Venue. This Court has jurisdiction over this Motion pursuant to

 28 U.S.C. §§ 157 and 1334, and this matter is a core proceeding pursuant to 28 U.S.C.

     §   157(b)(2)(A) and (0). Venue      of these      cases and the        Motion in this Court is proper under

 28 U.S.C. §§ 1408 and 1409.

             B.     Statutog Predicates. The statutory predicates for the relief sought in the Motion

 are Sections 105, 363 and 365        of the Bankruptcy Code and Rules 2002,                   6004, 6006 and 9014             of

 the Bankruptcy Rules.

             C.     Petition Date. On June 6, 2018 (the “Petition Date”), each of the Debtors ﬁled                              a


 voluntary petition for relief under chapter7 of the Bankruptcy Code in the United States

 Bankruptcy Court for the Eastern District         of Pennsylvania (these “Chapter 7 Cases”).

             D.     E1191   of Bidding Procedures Order. On August 29, 2018, this Court entered an

 order (the “Bidding Procedures Order”) [Dkt. No. 373] (i) approving bidding and auction

 procedures (the “Bidding Procedures”);            (ii) approving        a   Break-Up Fee and proposed expense

 reimbursement and bid protections to the Purchaser in accordance with the Asset Purchase

 Agreement; (iii) scheduling an auction (the “Auction”) and the Sale Hearing (the “Sale Hearing”)

 regarding the Sale         of   the Purchased Assets; (iv) permitting credit bidding pursuant to

 Section 363(k)     of the Bankruptcy     Code under certain circumstances; (v) establishing procedures

 for noticing and determining cure amounts (the “Cure Amounts”); (vi) approving the form and

 manner of notice      of all    procedures, protections, schedules and agreements; and                    (vii) granting

 certain related relief.




 3
   Findings of fact shall be construed as conclusions   of law,   and conclusions   of law shall be construed   as   ﬁndings   of
 fact, when appropriate. 53 Fed. R. Bankr. P. 7052.
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18    4 of 191
                                                      09/17/18 19:15:44 Desc Main
                            Document      Page 4 of 191


         E.        Comnliance with Bidding Procedures Order.                    As demonstrated by (i) the

  testimony and other evidence proffered or adduced at the Sale Hearing, and (ii) the representations

  of counsel made on the record at the Sale Hearing, the Trustee marketed the Purchased Assets and

  conducted the sale process in compliance with the Bidding Procedures Order and the Auction was

  duly noticed and conducted in       a   non-collusive, fair and good-faith manner. The Trustee and her

  professionals have actively marketed the Purchased Assets since the Petition Date, have conducted

  the sale process in compliance with the Bidding Procedures Order and have afforded potential

  purchasers a   full and fair opportunity to make higher and better offers.

         F.        m.        As evidenced by the afﬁdavits       of service previously ﬁled with the Court,

  and based on the representations        of counsel   at the Sale Hearing,   (i) proper, timely, adequate and

  sufﬁcient notice of the Motion, the Sale Hearing, the Sale, the assumption and assignment

  procedures for the Assumed Contracts (including the objection deadline with respect to any Cure

  Amount) and the assumption and assignment of the Assumed Contracts and the Cure Amounts has

  been provided in accordance with Sections 102(1), 363 and 365                of the Bankruptcy    Code and

  Bankruptcy Rules 2002, 6004 and 6006 and in compliance with the Bidding Procedures Order,

  (ii) such notice was good and sufﬁcient, and appropriate under the particular circumstances, and

  (iii) no other or further notice of the Motion,        the Sale Hearing, the Sale or the assumption and

  assignment   of the Assumed Contracts or the Cure Amounts is or shall be required.

         G.        Power and Authority. (i) the Trustee has full power and authority to execute the

 Asset Purchase Agreement and all other documents contemplated thereby,                (ii) the Trustee has the

 power and authority necessary to consummate the transactions contemplated by the Asset Purchase

 Agreement,      (iii) the Trustee   has taken   all action necessary to authorize and approve the Asset

 Purchase Agreement and the consummation               of the transactions contemplated thereby and (iv) no
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                            Filed 09l17/18    5 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document      Page 5 of 191


 consents or approvals, other than those expressly provided for in the Asset Purchase Agreement,

 are required            for the Debtors to consummate such transactions.

            H.             Oggortunig to Object. A fair and reasonable opportunity to object or be             heard

 with respect to the Motion and the relief requested therein has been afforded to all interested

 persons and entities, including (a) all potential buyers previously identiﬁed or solicited by the

 Trustee and any additional parties Who have previously expressed an interest in potentially

 acquiring some or all of the Purchased Assets, (b) the proposed Purchaser and its counsel, (0) all

 other potentially interested parties identiﬁed by the Trustee and her professionals, (d) the Ofﬁce

 of   the United States Trustee for the Eastern District               of    Pennsylvania, (6) each non-Debtor

 counterparty to the Debtors’ executory contracts and unexpired leases (f) all parties who have

 requested notice in the Debtors’ bankruptcy cases under Fed. R. Bankr. P. 2002, (g) Fulton Bank,

 NA. (“Fulton Bank”)              and its counsel, (h) all parties who are known to possess or assert a lien,

 claim, encumbrance or interest in or upon any               of the Purchased Assets, (i) the Internal      Revenue

 Service,        (1')   the Attorney General for the State   of Pennsylvania, (k) the United        States Attorney’s

 Ofﬁce,     (1)    all applicable federal, state and local regulatory or taxing authorities or recording ofﬁces

 which have a reasonably known interest in the relief requested in the Motion and (m) the Securities

 and Exchange Commission.

            1.             Sale in Best Interest. Consummation      of the   Sale   of the   Purchased Assets at this

 time is in the best interests of the Debtors, their creditors, their estates and other parties in interest.

            J.            Business Justiﬁcation. Sound business reasons exist for the Sale. Entry into the

 Asset Purchase Agreement constitutes the Trustee’s exercise of sound business judgment, and such

 acts are    in the best interests of each Debtor, its estate and all parties in interest. The Court ﬁnds

 that the Trustee articulated good and sufﬁcient business reasons justifying the Sale. Such business
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      Page
                            Filed 09/17/18    6 of 191
                                            Entered  09/17/18 19:15:44 Desc Main
                           Document      Page 6 of 191



 reasons include, but are not limited to, the following: (i) the Asset Purchase Agreement constitutes

 the highest and best offer for the Purchased Assets; and (ii) the Asset Purchase Agreement and the

 closing thereon   will present the best opportunity to realize the value of the Purchased Assets     and

 avoid any further decline and devaluation     of the Purchased Assets.

         K.      Arm’s-Length Sale. The Asset Purchase Agreement was negotiated, proposed and

 entered into by the Trustee and the Purchaser without collusion, in good faith and from arm’s-

 length bargaining positions. Neither the Trustee nor the Purchaser has engaged in any conduct

 that would cause or permit the Asset Purchase Agreement to be avoided under Section 363(m)            of

 the Bankruptcy Code.

         L.      Good-Faith Purchaser. The Purchaser is a good-faith purchaser for value and,          as


 such, is entitled to all   of the protections afforded   under Section 363(m)   of the Bankruptcy Code

 and any other applicable or similar bankruptcy and non—bankruptcy law. The Purchaser has been

 and will be acting in good faith within the meaning       of Section 363(m) of the Bankruptcy Code in

 closing the transactions contemplated by the Asset Purchase Agreement.

         M.      Consideration. The consideration provided by the Purchaser for the Purchased

 Assets pursuant to the Asset Purchase Agreement (i) is fair and reasonable,       (ii) is the highest and

 best offer for the Purchased Assets,    (iii) will provide a greater recovery for the Debtors’ creditors

 than would be provided by any other practical available alternative and (iv) constitutes reasonably

 equivalent value and fair consideration under the Bankruptcy Code and under the laws of the

 United States, any state, territory or possession thereof or the District of Columbia.

        N.       Free and Clear. The Trustee may sell the Purchased Assets free and clear of all

 Encumbrances and Interests (other than Permitted Encumbrances) because, with respect to each

 creditor asserting alien, claim, encumbrance or interest, one or more of the standards set forth in
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      Page
                            Filed 09/17/18    7 of 191
                                            Entered  09/17/18 19:15:44 Desc Main
                           Document      Page 7 of 191



 Section 363(f)(1)-(5)     of the Bankruptcy Code has been satisﬁed.      Those holders   of Encumbrances

 and Interests who did not object or withdrew objections to the Sale are deemed to have consented

 to the Sale pursuant to Section 363(t)(2)      of the Bankruptcy Code.

         0.        Assumgtion of Executog Contracts and Unexgired Leases. The (i) transfer of

 the Purchased Assets to the Purchaser and (ii) assignment to the Purchaser               of   the Assumed

 Contracts    will not subject   the Purchaser to any liability whatsoever prior to the Closing Date

 (deﬁned below) under the laws       of the United   States, any state, territory, or possession thereof or

 the District of Columbia, based, in whole or in part, directly or indirectly, on any theory      of law or

 equity, including, without limitation, any theory      of equitable law, including, without limitation,

 any theory of antitrust, successor or transferee liability. The Trustee has demonstrated that it is an

 exercise    of her   sound business judgment to assume and assign the Assumed Contracts to the

 Purchaser in connection with the consummation          of the   Sale, and the assumption‘ and assignment

 of the Assumed Contracts is the best interests of the Debtors, their estates and their creditors.     The

 Assumed Contracts being assigned to the Purchaser are an integral part           of the Purchased Assets

 being purchased by the Purchaser and, accordingly, such assumption and assignment              of Assumed

 Contracts is reasonable, enhances the value       of the Debtors’   estates and does not constitute unfair

 discrimination.

        P.         Cure/Adeguate Assurance. The Trustee, in accordance with the Asset Purchase

 Agreement, has cured, or will cure from proceeds of the Sale, any monetary default existing prior

 to the date hereof under any of the Assumed Contracts. The Purchaser has provided adequate

 assurance    of future   performance   of   and under the Assumed Contracts within the meaning         of

 Section 365(b)(1)(C)     of the Bankruptcy Code.
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                            Filed 09/17/18    8 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document      Page 8 of 191



           Q.        Promgt Consummation. The Sale of the Purchased Assets must be approved and

  consummated promptly in order to preserve the value         of the Purchased Assets. Therefore, time is

  of the   essence   in consummating the Sale, and the Trustee and the Purchaser intend to close the

  Sale as soon as possible.

           R.        No Intentional Fraudulent Transfer. The Asset Purchase Agreement was not

  entered into for the purpose     of hindering, delaying or defrauding creditors under the Bankruptcy

 Code and under the laws         of the United   States, any state,   territory or possession thereof or the

 District of Columbia.

           S.        Purchaser Not an Insider and No Successor Liability. The Purchaser is not an

 “insider” or “afﬁliate” of the Debtors,     as those terms are   deﬁned in the Bankruptcy Code, and no

 common identity        of incorporators, directors or stockholders exists between the Purchaser and the

 Debtors. Pursuant to the Asset Purchase Agreement, the Purchaser is not purchasing all                of the

 Debtors’ assets in that the Purchaser is not purchasing any             of   the Excluded Assets, and the

 Purchaser is not holding itself out to the public as a continuation          of the Debtors.   The Sale does

 not amount to a consolidation, merger or de facto merger         of the Purchaser and the Debtors and/or

 the Debtors’ estates, there is not substantial continuity between the Purchaser and the Debtors,

 there is no continuity     of enterprise between the Debtors and the Purchaser, the Purchaser is not a

 mere continuation      of the Debtors or the Debtors’   estates, and the Purchaser does not constitute a

 successor to the Debtors or to the Debtors’ estates.

           T.        Legal, Valid Transfer. The tranéfer of the Purchased Assets to the Purchaser will

 be a legal, valid and effective transfer   of the Purchased Assets and will vest the Purchaser with all

 right, title and interest of the Debtors to the Purchased Assets free and clear of all Encumbrances

 and Interests, except as expressly set forth in the Asset Purchase Agreement.
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                            Filed 09/17/18    9 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document      Page 9 of 191



         U.        Asset Purchase Agreement Not Modiﬁed.               The terms   of the Asset   Purchase

 Agreement, including any amendments, supplements and modiﬁcations thereto, are fair and

 reasonable in all respects, and the terms        of the Order   shall not modify the terms   of the Asset

 Purchase Agreement.

         It   is    therefore    ORDERED,         ADJUDGED          AND     DECREED        EFFECTIVE

 IMMEDIATELY THAT:

 General Provisions

                   1.     The Motion is GRANTED and APPROVED as set forth herein.

                   2.     All   objections to the Motion or the relief requested therein that have not

 been withdrawn, waived or settled, and all reservations      of rights included therein, are overruled on

 the merits and denied with prejudice.

 Aggraval of the Sale of the Purchased Assets

                   3.     The Asset Purchase Agreement, substantially in the form attached hereto as

 Exhibit “A”, including any amendments, supplements and modiﬁcations thereto, and all of the

 terms and conditions therein, is hereby approved in all respects.

                   4.     Pursuant to Section 363(b)        of the Bankruptcy   Code, the Sale     of   the

 Purchased Assets to the Purchaser free and clear       of all Encumbrances   and Interests (except those

 speciﬁcally permitted by the Asset Purchase Agreement), and the transactions contemplated

 thereby, are approved in all respects.

                   5.     Except as otherwise speciﬁcally provided in the Asset Purchase Agreement,

 the Purchaser shall not be liable for any Claims (as deﬁned in Section 101     of the Bankruptcy Code)

 against the Debtors or any      of their   predecessors or afﬁliates, and the Purchaser shall have no

 successor or vicarious   liability of any kind or character (including, without limitation, any of the

 Excluded Liabilities set forth in Section 2.5    of the Asset Purchase Agreement), whether known or

                                                      -9-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   10 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document     Page 10 of 191



  unknown    as   of the Closing Date, now existing or hereafter arising,    whether ﬁxed or contingent,

  with respect to the Debtors or their Business or any obligations of or Claims against the Debtors

  arising at any time, except for the Assumed Liabilities, including, but not limited to, liabilities on

  account   of any taxes arising, accruing or payable under, out of, in connection with or in any way

  relating to the Purchased Assets prior to the Closing Date.

                    6.       The transactions contemplated by the Asset Purchase Agreement are

  undertaken by the Purchaser in good faith, as that term is used in Section 363(m) of the Bankruptcy

  Code, and accordingly, the reversal or modiﬁcation on appeal        of the authorization provided herein

  by this Order to consummate the Sale shall not affect the validity of the Sale to the Purchaser. The

  Purchaser is a purchaser in good faith    of the Purchased Assets   and is entitled to all the protections

  afforded by Section 363(m)      of the Bankruptcy Code.

                   7.        As a good-faith purchaser of the Purchased Assets, the Purchaser has not

  entered into an agreement with any other potential bidders at the Sale, and has not colluded with

  any of the other bidders, and other potential bidders or any other parties interested in the Purchased

 Assets, and therefore neither the Trustee nor any other successor in interest to the Debtors’ estates

 shall be entitled to bring an action against the Purchaser, and the Sale may not be avoided pursuant

 to Section 363(m)       of the Bankruptcy Code.

 Sale and Transfer        of Purchased Assets

                   8.        Pursuant to Section 363(b)   of the Bankruptcy Code, the Trustee    is hereby

 authorized to sell the Purchased Assets to the Purchaser and consummate the Sale in accordance

 with and subject to the terms and conditions of the Asset Purchase Agreement, and to transfer and

 assign all right, title and interest (including common-law rights) to all property, licenses and rights

 to be conveyed in accordance with and subject to the terms and conditions          of the Asset Purchase

 Agreement, and the Trustee is further authorized and directed to execute and deliver, and is


                                                    -10..
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   11 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document     Page 11 of 191


  empowered to perform under, consummate and implement, the Asset Purchase Agreement,

  together with all additional instruments and documents that may be reasonably necessary or

  desirable to implement the Asset Purchase Agreement, including without limitation the related

  documents, exhibits and schedules, and to take all ﬁlrther actions as may be reasonably requested

  by the Purchaser for the purposes of assigning, transferring, granting, conveying and conferring to

  the Purchaser or reducing to possession the Purchased Assets, or as may be necessary or

  appropriate to the performance    of the Debtors’ obligations    as   contemplated by the Asset Purchase

  Agreement.

                   9.       Pursuant to Section 363(b) and (f)    of the Bankruptcy   Code, the Purchased

  Assets shall be transferred to the Purchaser upon consummation          of the Asset Purchase Agreement

  (the “Closing Date”) ﬁee and clear       of all   Encumbrances and Interests (except the Assumed

  Liabilities and Permitted Encumbrances) of any kind or nature whatsoever including, but not

  limited to, Encumbrances and Interests in respect of the following: (1) any labor agreements;

  (2) all mortgages, deeds of trust and security interests; (3) any pension, welfare, compensation or

 other employee beneﬁt plans, agreements, practices and programs, including, without limitation,

 any pension plan       of any Debtor; (4) any   other employee, worker’s compensation, occupational

 disease, wage and hour, wage payment or unemployment or temporary-disability related claim,

 including, without limitation, claims that might otherwise arise under or pursuant to (a) the

 Employee Retirement Income Security Act of 1974, as amended, (b) the Fair Labor Standards Act,

 (0) Title   VII of the Civil Rights Act of 1964, (d) the Federal Rehabilitation Act of 1973,      (e) the

 National Labor Relations Act, (0 the Worker Adjustment and Retraining Act of 1988, (g) the Age

 Discrimination in Employment Act of 1967,          as amended,   (h) the Americans with Disabilities Act

 of 1990, (i) the Consolidated Omnibus Budget Reconciliation Act of 1985, 6) state discrimination



                                                     -11-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   12 of 191
                                                     09l17/18 19:15:44 Desc Main
                          Document      Page 12 of 191



 laws, (k) state unemployment compensation laws or any other similar state laws, (1) state wage

 payment or wage and hour laws, or (m) any other state or federal beneﬁts or claims relating to any

 employment with any of the Debtors or any          of their respective predecessors; (5) any bulk sales or

 similar law; (6) any tax statutes or ordinances, including, without limitation, the Internal Revenue

 Code      of   1986, as amended; (7) any theories           of   successor or products liability; (8) any

 Environmental Laws (as deﬁned in the Asset Purchase Agreement) or (9) claims asserted by Amy

 Daveler and Marco Perez on behalf of themselves and a putative class             of similarly situated former

 employees      of Worley & Obetz, Inc., AMERIgreen Energy, Inc.,            and AMERIgreen Propane,     LLC

 in Adv. No.     18—00132 (REF),   Adv. No. 18-00133 (REF), and Adv. No. 18-00134 (REF), currently

 pending before this Court.     All such Encumbrances and Interests of any kind or nature whatsoever

 (other than Permitted Encumbrances) shall attach (effective upon the transfer              of the   Purchased

 Assets to the Purchaser) to the proceeds         of the   Sale   with the same force, validity, priority and

 effect,   if any, as the claims, liens, encumbrances and interests formerly had against the Purchased
 Assets,   if any, subject to the Trustee’s ability to challenge the extent, validity, priority and effect
 of the Encumbrances and Interests (subject to the First and Second Amended Stipulation and Order

 Pursuant to Fed. R. Bankr. P. 4001(B) and 11 U.S.C.               §   363(c)(2)(B) Authorizing Use of Cash

 Collateral on a Limited Basis and Providing Adequate Protection [D.I. 103, 344]), and subject to

 and as otherwise provided in any other order       of this Court in these Chapter 7 Cases.

                   10.     On the Closing Date, this Order will be construed and constitute for any and

 all purposes a full and complete general assignment, conveyance and transfer of the Purchased

 Assets or a     bill of sale transferring good   and marketable        title in such Purchased Assets to the

 Purchaser. On the Closing Date, and subject to Section 365               of the Bankruptcy Code, this Order

 also shall be construed and constitute for any and all purposes a complete and general assignment




                                                      -12-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Fiied 09/17/18   13 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 13 of 191


 of all right, title   and interest   of the   Trustee and each bankruptcy estate to the Purchaser in the

 Assumed Contracts.

                  11.         All persons    and entities who are presently, or on the Closing Date may be,

 in possession of some or all of the Purchased Assets are hereby directed to surrender possession

 of such Purchased Assets to the Purchaser on the Closing Date.                     Purchaser shall have ninety (90)

 days from and after the Closing Date to remove the Purchased Assets from any real property not

 conveyed to the Purchaser under the Asset Purchase Agreement, and the owner                               of such   real

 property shall not be entitled to assert against Purchaser payment for rent, storage or the like.

                  12.         The Trustee shall pay Manufacturers and Traders Trust Company at Closing

 $1,148,000 USD from the proceeds               of the    Purchase Price (the       “M&T Paymen ”).           The   M&T

 Payment shall be in full and ﬁnal satisfaction                  of any     and all liens, claims, interests and

 encumbrances     of Manufacturers      and Traders Trust Company on the following vehicles: (1) 2017

 Ford   Transit        250,   VIN#     1FTYR2CM4HKB43259;                   (2)     2018    Mack       GU713,       VIN#

 1M2AXO7C9JM039692; (3) 2018 Mack GU713, VIN# 1M2AXO7COJMO39693; (4) 2014

 Peterbilt     388,      VIN#      1XPWDP9X2ED236428;                    (5)      2014     Peterbilt      388,      VIN#

 1XPWDP9X5ED238464; (6) 2014 Freightliner Coronado, VIN# 3AKJGND10EDFT8496; (7)

 2014 Heil DOT 406, VIN# 5HTAB4329E7H79298;                                    (8) 2014 Heil DOT 406, VIN#

 5HTAB4329E7H79299; (9) 2014 Hail DOT 406, VIN# SHTAB4321E7H79456; (10) 1999

 International wholesale tractor, VIN# ZHSFHASRXXC031142; (11) 2002 International

 wholesale tractor, VIN# 2HSCHAER32CO38246; (12) 2007 International Wholesale tractor,

 VIN#        ZHSCHAPR37C432012;                (13)       2010      International     wholesale        tractor,     VIN#

 3HSCUAPROAN 243 190 ;                (14)       20 1 5      International          wholesale      tractor,         VIN#

 3HSDMAPR6FN5725 98;                  (15)      2010         International          wholesale      tractor,         VIN#



                                                            -13..
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774~ref Doc 425 Document      PageEntered
                             Filed 09117118   14 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 14 of 191



 2HSCXAPR7AC168576;             (16)     2016      International     Wholesale       tractor,    VIN#

 3HSCXAPR5GN276413; (17) 2001 Heil Trailer, VIN# 5HTAM442517H64994; (18) 2002 Hail

 Trailer, VIN# 5HTAM432227H66690; (19) 2002 Heil Trailer, VIN# 5HTAM432027H66686;

 (20) 2012 Hail Trailer, VIN# 5HTAM4527C7H76517; (21) 2013 Heil Trailer, VIN#

 5HTAM4524D7H77691; (22) 2014 Heil Trailer, VIN# 5HTAM4525E7H79273; and (23) 2001

 Hail Trailer, VIN# 5HTAB452317H64593. The Trustee is authorized to remit and pay, by wire

 transfer or any other means the Trustee deems appropriate, to Manufacturers and Traders Trust

 Company, the full amount    of the M&T Payment at any time aﬁer Closing.

                 13.    The Trustee shall pay S&T Bank at Closing $475,000 USD from the

 proceeds   of the Purchase Price (the “S&T Payment”).    The S&T Payment shall be in     full and ﬁnal

 satisfaction of any and all liens, claims, interests, and encumbrances   of S&T Bank on the following

 vehicles: (1) 2018 Ford F-350 Supercab, VIN# 1FD8X3H67JEB66427; (2) 2018 Ford F-350

 Supercab, VIN# 1FD8X3H67IEB66428; (3) 2019 Peterbilt 567,           VIN# 1XPCD49X1KD261365;

 (4) 2019 Peterbilt 567, VIN# 1XPCD49X3KD261366; (5) 2019 Hail Tank Trailer, VIN#

 5HTSA4323K7601502; (6) 2019 Heil Tank Trailer, VIN# 5HTSA4323K7601503; and (7) 2007

 Heil Petroleum Tank Trailer, VIN# 5HTAM452477L72688. The Trustee is authorized to remit

 and pay, by wire transfer or any other means the Trustee deems appropriate, to S&T Bank, the      full

 amount of the S&T Payment at any time after Closing.

                 14.    The Trustee shall pay Fulton Bank at Closing $1,306,000.00 USD ﬁom

 proceeds   of the Purchase Price (the “Fulton Bank Pament”). The Fulton Bank Payment shall be

 in full and ﬁnal satisfaction of any and all liens, claims, interests, and encumbrances of Fulton

 Bank on the following vehicles: (1) 2015 Peterbilt 348, VIN# 2NP3LJ9X3FM304907; (2) 2017

 Peterbilt with Tri—State Tank Body, VIN# 2NP2HJ7X4HM409345; (3) 2017 Peterbilt 348, VIN#




                                                  -14-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09l17118   15 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 15 of 191



 2NP2HJ7X6HM409346; (4) 2015 Peterbilt 348, VIN# 2NP3LJ9X4FM305239; (5) 2017

 Freightliner CA125DC, VIN# 1FUJGEDR6HLHZ7415; (6) 2017 Freightliner CA125DC, VIN#

 1FUJGEDR4HLHZ7414; (7) 2017 Mack CXU613, VIN# 1M1AW07Y8HM082286; (8) 2017

 Westmor Proline MC-331, VIN# 1W9P14323GM350051; (9) 2017 Heil DOT 406, VIN#

 5HTAB4320H7081972; (10) 2016 Beall Petroleum Trailer, VIN# 10BEA9236HFOD4608; (11)

 2016    Freightliner,   VIN#       3AKJGND12GDGX3465;             (12)   2016    Freightliner,       VIN#

 1FUJGED57GLGX4492; (13) 2016 Freightliner, VIN# 1FUJGED57GLGX4493; (14) 2015 Heil

 Trailer, VIN# 5HTAB4321F7H80771; (15) 2015 Heil Trailer, VIN# 5HTAB4323F7H80772; and

 (16) 2015 Heil Trailer, VIN# 5HTAB4325F7H80773. The Trustee is authorized to remit and pay,

 by Wire transfer or any other means the Trustee deems appropriate, to Fulton Bank, the full amount

 of the Fulton Bank Payment at any time after Closing.

                 15.     At the Closing of the   Sale, the Trustee shall pay Transteck, Inc. the sum    of

 $5 ,669.50   in satisfaction of Transteck’s secured claim arising out of repair work to          1   FTL

 Coronado (VIN #xxxxxxxxxxxBJ 623 8) (the         “BMW If the Closing occurs and the Vehicle is
 removed from Transteck’s premises on or before October 1, 2018, Transteck         will waive any rent

 claim which it might assert against the estates.

                 16.     Except    as   expressly permitted by the Asset Purchase Agreement or this

 Order, all persons and entities, including, but not limited to, all debt security holders, equity

 security holders, governmental, tax and regulatory authorities, lenders, trade, products liability and

 other creditors, holding Encumbrances and Interests       of any kind or nature whatsoever against or

 in the Debtors or the Purchased Assets (whether legal or equitable, secured or unsecured, matured

 or unmatured, contingent or noncontingent, senior or subordinated, now existing or hereinafter

 arising), arising under or out   of or in connection with, or in any way relating to, the Debtors, the



                                                    -15-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document
                   '
                                        PageEntered
                            Filed 09/17/18   16 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 16 of 191



 Purchased Assets or the transfer      of the   Purchased Assets to the Purchaser, hereby are forever

 barred, estopped and permanently enjoined from asserting against the Purchaser, its successor or

 assign, its property or the Purchased Assets, such persons’ or entities’ Encumbrances and Interests.

                  17.    On the Closing Date, each of the Debtors’ creditors is authorized and

 directed to promptly execute such documents and take all other actions as may be necessary to

 release its Encumbrances and Interests in the Purchased Assets,      if any, as such Encumbrances and
 Interests may have been recorded or otherwise exist.

                  18.    Subject to the terms and conditions      of this Order   and the Asset Purchase

 Agreement, the transfer   of the Purchased Assets      to the Purchaser pursuant to the Asset Purchase

 Agreement constitutes a legal, valid and effective transfer     of the Purchased Assets    and shall vest

 the Purchaser with all right, title and interest    of the Debtors in and to the   Purchased Assets free

 and clear   of all Encumbrances   and Interests   of any kind or nature whatsoever.

 Assumgtion and Assignment of Assumed Contracts

                  19.    Pursuant to Sections 105(a) and 365     of the Bankruptcy Code, and subject to

 and conditioned upon the closing      of the   Sale, the Trustee’s assumption and assignment to the

 Purchaser, and the Purchaser’s assumption on the terms set forth in the Asset Purchase Agreement,

 of the Assumed Contracts     is hereby approved, and the requirements      of Section 365(b)(1) of the

 Bankruptcy Code with respect thereto are hereby deemed satisﬁed.

                  20.    The Trustee is hereby authorized and directed in accordance with

 Sections 105(a), 363 and 365      of the Bankruptcy Code to    (a) assume and assign to the Purchaser,

 effective upon the Closing Date of the Sale, the Assumed Contracts free and clear of all

 Encumbrances and Interests          of any kind or nature whatsoever (other than Permitted

 Encumbrances) and (b) execute and deliver to the Purchaser such documents or other instruments

 as   may be necessary to assign and transfer the Assumed Contracts to the Purchaser.


                                                     -16-
Case 18-13774-ref        Doc 427       Filed 09/18/18      Entered 09/18/18 13:19:35             Desc Main
 Case 18-13774—ref        Doc 425 Document      PageEntered
                                    Filed 09/17/18   17 of 191
                                                             09/17/18 19:15:44                 Desc Main
                                  Document      Page 17 of 191


                  21.     The Assumed Contracts shall be transferred to, and remain in full force and

 effect for the beneﬁt of, the Purchaser in accordance with their respective terms, notwithstanding

 any provision in any such Assigned Contract (including those              of    the type described in

 Section 365(b)(2) and (f)    of the Bankruptcy Code) that prohibits,     restn'cts or conditions such

 assignment or transfer and, pursuant to Section 365(k)       of the Bankruptcy      Code, the Debtors’

 estates shall be relieved from any further liability with respect to the Assumed Contracts after such

 assignment to and assumption by the Purchaser, except as provided in the Asset Purchase

 Agreement and this Order.

                  22.     The Trustee is authorized to remit and pay, by wire transfer or any other

 means the Trustee deems appropriate, to each counter-party to an Assumed Contract, the               full

 undisputed Cure Amount four (4) business days after the Closing of the Sale.

                  23.    Each non—Debtor party to an Assigned Contract hereby is forever barred,

 estopped and permanently enjoined from asserting against the Trustee or the Purchaser, or the

 property   of either of them, any default existing as of the Closing Date of the Sale.

 Additional Provisions

                  24.    The consideration provided by the Purchaser for the Purchased Assets under

 the Asset Purchase Agreement shall be deemed to constitute reasonably equivalent value and fair

 consideration under the Bankruptcy Code and under the laws of the United States, any state,

 territory possession thereof or the District of Columbia.

                  25.    This Order (a) shall be effective as a determination that, upon payment by

 the Purchaser of the Purchase Price under the Asset Purchase Agreement, on the Closing Date, all

 Encumbrances and Interests     of any kind or nature whatsoever existing       as to the   Debtors or the

 Purchased Assets prior to the Closing Date (other than Permitted Encumbrances) have been

 unconditionally released, discharged and terminated, and that the conveyances described herein

                                                   -17-
Case 18-13774-ref           Doc 427       Filed 09/18/18         Entered 09/18/18 13:19:35               Desc Main
 Case 18-13774~ref           Doc 425Document      PageEntered
                                      Filed 09/17/18   18 of 191
                                                               09/17/18 19:15:44                       Desc Main
                                    Document      Page 18 of 191



 have been effected, and (b) shall be binding upon and shall govern the acts              of all entities, including

 Without limitation all ﬁling agents, ﬁling ofﬁcers, title agents, title companies, recorders                     of

 mortgages, recorders        of   deeds, registrars    of   deeds, administrative agencies, governmental

 departments, secretaries     of state, federal, state and local ofﬁcials, and all other persons and entities

 who may be required, by operation          of law,   the duties   of their ofﬁce or contract, to     accept, ﬁle,

 register or otherwise record or release any documents or instruments, or who may be required to

 report or insure any title or state     of title in or to any of the    Purchased Assets. Each and every

 federal, state and local governmental agency or department is hereby directed to accept any and

 all documents and instruments necessary and appropriate to consummate the transactions

 contemplated by the Asset Purchase Agreement. The Purchaser and the Trustee shall take such

 further steps and execute such further documents, assignments, instruments and papers                  as   shall be

 reasonably requested by the other to implement and effectuate the transactions contemplated in

 this paragraph.    A11   Encumbrances and Interests        of record as of the   date   of this Order, other than

 Permitted Encumbrances, shall be forthwith removed and stricken as against the Purchased Assets.

 All   entities described in this paragraph are authorized and speciﬁcally directed to strike all such

 recorded Encumbrances and Interests against the Purchased Assets from their records, ofﬁcial and

 otherwise.

                   26.      If any   person or entity that has ﬁled statements or other documents or

 agreements evidencing Encumbrances and Interests in any of the Purchased Assets does not deliver

 to the Trustee or the Purchaser prior to the Closing Date or promptly thereafter, in proper form for

 ﬁling and executed by the appropriate parties, termination statements, instruments of satisfaction,

 releases   of liens     and easements, and any other documents necessary for the purpose                         of

 documenting the release      of all interests   and other interests that the person or entity has asserted or




                                                         -18-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   19 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 19 of 191


 may assert with respect to any of the Purchased Assets, the Trustee and/or the Purchaser are hereby

 authorized to execute and ﬁle such statements, instruments, releases and other documents on behalf

 of such person or entity with respect to any of the Purchased Assets.

                 27.          As speciﬁcally provided in the Asset Purchase Agreement, the Trustee will

 cooperate with the Purchaser, and the Purchaser will cooperate with the Trustee, in a commercially

 reasonable manner, in each case to ensure that the transactions contemplated in the Asset Purchase

 Agreement are consummated, and the Trustee will make such modiﬁcations or supplements to any

 bill of   sale or other document executed in connection              with the closing to facilitate such

 consummation        as   contemplated by the Asset Purchase Agreement (including, without limitation,

 adding such speciﬁc assets, to such documents as may be reasonably requested by the Purchaser

 pursuant to the terms       of the Asset Purchase Agreement).

                 28.         The Purchaser shall have no liability or responsibility for any liability or

 other obligation     of the Debtors arising under or related to the Purchased Assets other than for the

 Assumed Liabilities and the Assumed Contracts to the extent provided under the Asset Purchase

 Agreement. Without limiting the generality         of the foregoing, and except as otherwise speciﬁcally

 provided in the Asset Purchase Agreement, the Purchaser shall not be liable for any claims against

 the Debtors or any        of their predecessors or afﬁliates,   and the Purchaser shall have no successor

 liabilities of any kind or character whether known or unknown as of the Closing Date, now existing

 or hereinafter arising, whether ﬁxed or contingent, with respect to the Debtors or any obligations

 of the Debtors arising prior to the Closing Date, including, but not limited to, liabilities on account

 of any taxes arising, accruing, or payable under, out of or in connection with, or in any way relating

 to, the operation   of the business pn'or to the Closing Date, and all parties are hereby forever barred,




                                                      -19-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                            Filed 09/17/18    20 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document     Page 20 of 191


 estopped and permanently enjoined from asserting any such claims against the Purchaser and its

 successors and assigns or against the Purchased Assets.

                  29.    Except for Assumed Liabilities and Assumed Contracts as set forth in the

 Asset Purchase Agreement, under no circumstances shall the Purchaser be deemed a successor          of

 or to the Debtors for any Encumbrances and Interests against or in the Debtors or the Purchased

 Assets   of any kind or nature whatsoever. Except for Assumed Liabilities and Assumed Contracts

 as set   forth in the Asset Purchase Agreement, the sale, transfer, assignment and delivery of the

 Purchased Assets and the Assumed Contracts shall not be subject to any Encumbrances and

 Interests and Encumbrances and Interests      of any kind or nature whatsoever shall remain with, and

 continue to be obligations of, the Debtors.   All persons holding Encumbrances and Interests against

 or in the Debtors or the Purchased Assets     of any kind or nature whatsoever shall   be, and hereby

 are, forever barred, estopped and permanently enjoined from asserting, prosecuting or otherwise

 pursuing such Encumbrances and Interests of any kind or nature whatsoever against the Purchaser,

 its ofﬁcers, directors, shareholders and professionals, its property, its successors and assigns, or

 the Purchased Assets with respect to any Interest or Encumbrances and Interests        of any kind or

 nature whatsoever (other than Permitted Encumbrances) such person or entity had, has or may

 have against or in the Debtors, their estates, ofﬁcers, directors or shareholders, or the Purchased

 Aésets. Following the Closing Date, no holder        of an Encumbrance   and Interest in the Debtors

 shall interfere with the Purchaser’s title to or use and enjoyment   of the Purchased Assets   and the

 Assumed Contracts based on or related to such Encumbrance and Interest, or any actions that the

 Debtors may take in these Chapter 7 Cases.

                  30.    This Court shall retain jurisdiction to enforce and implement the terms and

 provisions of the Asset Purchase Agreement, all amendments thereto, any waivers and consents




                                                   -20-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   21 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 21 of 191


 thereunder, except as otherwise provided therein, and each          of    the agreements executed in

 connections therewith in all respects, including, but not limited to, retaining jurisdiction to

 (a) compel delivery   of the Purchased Assets to the Purchaser free and clear of Encumbrances      and

 Interests (other than Permitted Encumbrances), or compel the performance           of other obligations

 owed by the Trustee, (b) compel delivery of the Purchase Price or performance of other obligations

 owed to the Trustee, (c) resolve any disputes arising under or related to the Asset Purchase

 Agreement, except as otherwise provided therein, (d) interpret, implement and enforce the

 provisions of this Order and (6) protect the Purchaser against (i) claims made related to any of the

 Excluded Liabilities (as deﬁned in the Asset Purchase Agreement), (ii) any claims         of successor

 liability related to the Purchased Assets or the Assumed Contracts, or (iii) any claims of

 Encumbrances and Interests (other than Permitted Encumbrances) asserted against the Purchased

 Assets,   of any kind or nature whatsoever,   and (f) require delivery   of (i) any Purchased Assets or

 proceeds thereof by the Trustee or any third-party to the Purchaser or      (ii) any Excluded Assets or

 proceeds thereof by the Purchaser to the Trustee.

                 31.     The terms and provisions    of the Asset Purchase Agreement and this Order

 shall be binding in all respects upon, and shall inure to the beneﬁt of, the Trustee and any

 subsequently appointed successor Trustee, the Debtors’ estates and their creditors, the Purchaser,

 the Purchaser’s afﬁliates, successors and assigns, and any affected third parties including, but not

 limited to, all persons asserting Encumbrances and Interests in the Purchased Assets to be sold to

 the Purchaser pursuant to the Asset Purchase Agreement.

                 32.    The failure speciﬁcally to include any particular provisions of the Asset

 Purchase Agreement in this Order shall not diminish or impair the effectiveness      of such provision,




                                                   -21-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774—ref Doc 425Document      PageEntered
                            Filed 09l17/18   22 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 22 of 191


  it being the intent of the Court that the Asset Purchase Agreement be authorized and approved in

 its entirety.

                  33.     The Asset Purchase Agreement and any related agreements, documents or

 other instruments may be modiﬁed, amended or supplemented by the parties thereto in a writing

 signed by both parties, and in accordance with the terms thereof, without further order of the Court,

 provided that any such modiﬁcation, amendment or supplement does not have a material adverse

 effect on the Debtors’ estates or creditors.

                 34.      The Trustee was authorized to remit and pay, by wire transfer or any other

 means the Trustee deems appropriate, to each Bidder that the Trustee deemed was not a Qualiﬁed

 Bidder, the full amount of their respective Good Faith Deposit immediately.

                 35.      The Trustee is authorized to remit and pay, by wire transfer or any other

 means the Trustee deems appropriate, to each Qualiﬁed Bidder (other than the Purchaser and Back-

 up Bidder), the   full amount of their respective Good Faith Deposit    at any time   within four (4)

 business days   of entry this Order.

                 36.      The Trustee is authorized to remit and pay, by wire transfer or any other

 means the Trustee deems appropriate, to the Back-up Bidder the       full amount of its Good Faith

 Deposit four (4) business days after the Closing of the Sale, unless the Successful Bidder does not

 close on the Sale   of the Purchased Assets.

                 37.     The Trustee is authorized to remit and pay, by wire transfer or any other

 means the Trustee deems appropriate, to the Wiggins Gas Propane      & Alternative Fuels, LLC (the

 “Stalking Horse Bidder”) the full amount of the Break-up Fee four (4) business days after the

 Closing of the Sale.




                                                 -22..
Case 18-13774-ref           Doc 427      Filed 09/18/18        Entered 09/18/18 13:19:35              Desc Main
 Case 18-13774wref           Doc 425Document      PageEntered
                                      Filed 09/17/18   23 of 191
                                                               09/17/18 19:15:44                  Desc Main
                                    Document      Page 23 of 191


                   38.      Nothing contained in any order entered in these Chapter       7 Cases subsequent


 to entry   of this Order   shall conﬂict with or derogate from the provisions         of the Asset   Purchase

 Agreement or the terms       of this Order.

                   39.      Nothing in this Order or the Asset Purchase Agreement releases, nulliﬁes,

 precludes or enjoins the enforcement          of any police or regulatory liability to   a governmental   unit

 that any entity would be subject to as the post-sale owner or operator of property after the date          of

 entry of this Order, including, but not limited to, liability under any applicable state or federal law

 and the rules and regulations promulgated thereunder; provided that, notwithstanding the

 foregoing, nothing herein shall be construed to permit a governmental unit to assert, assess or

 obtain penalties, ﬁnes, or other fees from Purchaser for Violations          of any   such requirement that

 occurred prior to the Closing Date as a result        of the operation of the Purchased Assets; provided,

 further,   if any such violation continues aﬁer the Closing Date such governmental unit may seek to
 assert, assess or obtain penalties, ﬁnes or other fees     from Purchaser for the period of time after the

 Closing Date that such violations occurred.

                  40.       Nothing in this Order and Asset Purchase Agreement limits or modiﬁes any

 of the Debtors’ obligations or releases, nulliﬁes, precludes or enjoins the enforcement of any police

 power or regulatory liability by a government unit against any Debtor, including, but not limited

 to, under any applicable state or federal law and the rules and regulations promulgated thereunder.

                  41.       Nothing in this Order or Asset Purchase Agreement authorizes the transfer

 or assignment of any governmental (a) license, (b) permit, (0) registration, (d) authorization, or (e)

 approval, or the discontinuation        of any obligation thereunder, without compliance with all

 applicable legal requirements and approvals under police or regulatory law.




                                                        -23-
Case 18-13774-ref       Doc 427     Filed 09/18/18      Entered 09/18/18 13:19:35            Desc Main
 Case 18-13774—ref       Doc 425 Document      PageEntered
                                   Filed 09/17/18   24 of 191
                                                            09/17/18 19:15:44           Desc Main
                                 Document      Page 24 of 191



                 42.    Nothing in this Order divests any tribunal of any jurisdiction it may have

 under police or regulatory law to interpret this Order or to adjudicate any defense asserted under

 this Order.

                 43.    This Order shall be effective and enforceable immediately upon entry, and

 any stay of orders provided for in Bankruptcy Rules 6004(h) and 6006(d) and any other provision

 of the Bankruptcy Code or the Bankruptcy Rules shall not apply.

                 44.    The provisions   of this Order are non-severable and mutually dependent.

                 45.    To the extent applicable, the automatic stay pursuant to Section 362 of the

 Bankruptcy Code is hereby lifted to the extent necessary, without further order    of the   Court, to

 allow the Purchaser to take any and all actions permitted by the Asset Purchase Agreement.

                 46.    To the extent a counterparty to an Assigned Contract failed to timely object

 to a Cure Amount (as deﬁned in the Bidding Procedures and the Bidding Procedures Order), such

 Cure Amount shall be deemed to be ﬁnally determined, and any such counterparty shall be

 prohibited from challenging, objecting to or denying the validity and ﬁnality of the Cure Amount

 at any time, and such Cure Amount, when paid, shall completely revive any Assigned Contract to

 which it relates.

                 47.    The Sale shall not be subject to any bulk sales laws.

                 48.    The Trustee and each other person having duties or responsibilities under

 the Asset Purchase Agreement or this Order, and her respective agents, representatives and

 attorneys, are authorized and empowered to carry out all   of the provisions of the Asset Purchase

 Agreement, to issue, execute, deliver, ﬁle and record, as appropriate, the Asset Purchase

 Agreement, and any related agreements, and to take any action contemplated by the Asset Purchase

 Agreement or this Order, and to issue, execute, deliver, ﬁle and record, as appropriate, such other




                                                 -24-
Case 18-13774-ref      Doc 427       Filed 09/18/18          Entered 09/18/18 13:19:35       Desc Main
 Case 18-13774—ref      Doc 425 Document      PageEntered
                                  Filed 09/17/18   25 of 191
                                                           09/17/18 19:15:44             Desc Main
                                Document      Page 25 of 191


 contracts, instruments, releases, deeds, bills   of sale,   assignments or other agreements, and to

 perform such other acts,   as are   consistent with, and necessary or appropriate to, implement,

 effectuate and consummate the Asset Purchase Agreement and this Order and the transactions

 contemplated thereby and hereby, all without ﬁthher application to, or order of, the Court. Without

 limiting the generality of the foregoing, this Order shall constitute all approvals and consents,   if
 any, required by applicable business corporation, trust and other laws   of applicable governmental

 units with respect to the implementation and consummation       of the Asset Purchase Agreement and

 this Order and the transactions contemplated thereby and hereby.

                49.    To the extent that any provision        of this Order conﬂicts with   the Asset

 Purchase Agreement, this Order shall control.




                                                             Mi
                                                                  ~




  Dated: September Lg, 2018                           0?
                                                    THE HONORABLE RI       E. FEHLING
                                                    CHIEF UNITED STATES BANKRUPTCY
                                                    JUDGE




                                                  -25-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   26 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 26 of 191



                               Exhibit “A”
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   27 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 27 of 191




                        ASSET PURCHASE AGREEMENT

                              BY AND BETWEEN

                        DIESEL DIRECT HOLDINGS, INC.


                                     AND

        CHRISTINE C. SHUBERT, IN HER CAPACITY AS CHAPTER 7 TRUSTEE
             FOR THE ESTATES 0F WORLEY & OBETZ, INC., ET AL.




                               September 17, 2018




 ACTIVE\64374627.V4
Case 18-13774-ref               Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774—ref               Doc 425Document      PageEntered
                                          Filed 09/17/18   28 of 191
                                                                  09/17/18 19:15:44 Desc Main
                                                Document                Page 28 of 191

                                                    TABLE OF CONTENTS
                                                                                                                                          Page

  1.     DEFINITIONS ................................................................................................................... 2
          1.1        Deﬁnitions .............................................................................................................. 2
          1.2        Cross References .................................................................................................... 6

 2.      PURCHASE AND SALE .................................................................................................. 7
         2.1        Purchase and Sale .................................................................................................. 7
         2.2        Excluded Assets ..................................................................................................... 9
         2.3        ‘-‘AS IS, WHERE IS” SALE ................................................................................. 11
         2.4        Assumed Liabilities .............................................................................................           12
         2.5        Excluded Liabilities .............................................................................................          13
         2.6        Assumption/Assignment of Contracts and Rights. ..............................................                               13
         2.7        Consideration; Allocation of Consideration ........................................................                         14
         2.8        Closing .................................................................................................................   15
         2.9        Deliveries by Seller ..............................................................................................         15
         2.10       Deliveries by Purchaser .......................................................................................             16

 3.      REPRESENTATIONS AND WARRANTIES OF SELLER .......................................... 16
         3. 1       Power ................................................................................................................... 1 6
         3.2        Authorization ....................................................................................................... 16
         3.3        Governmental Authorization ............................................................................... 16
         3.4        Non—contravention ............................................................................................... 16
         3.5        Required Consents ............................................................................................... 16
         3.6        Litigation .............................................................................................................. 17
         3.7        Permits ................................................................................................................. 17
         3.8        Compliance with Laws and Court Orders ............................................................ 17
         3 .9       Intellectual Property Rights ................................................................................. 17
         3.10       Environmental Matters ......................................................................................... 17
         3 .1   1   Real Property ....................................................................................................... 17
         3.12       Employment Matters and Employee Beneﬁts ..................................................... 18
         3.13       Taxes .................................................................................................................... 18
         3.14       Sufﬁciency of and Title to the Purchased Assets ................................................. 18
         3.15       Insurance .............................................................................................................. 18
         3.16       Service of Bankruptcy Documents ...................................................................... 18
         3.17       Certain Fees ......................................................................................................... 18

 4.      REPRESENTATIONS AND WARRANTIES OF PURCHASER ................................. 19
         4. 1       Organization .........................................................................................................      19
         4.2        Corporate Authorization ......................................................................................              19
         4.3        Governmental Authorization ...............................................................................                  19
         4.4        Non-contravention ...............................................................................................           1   9
         4.5        Litigation ..............................................................................................................   19
         4.6        Adequacy of Funds ..............................................................................................            19

 5.      COVENANTS OF SELLER ............................................................................................ 20

                                                                      -i-
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   29 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 29 of 191


                                                                                                                                      Page


         5.1        Access to Information .......................................................................................... 20
         5.2        Sales of De Minimis Assets ................................................................................. 20
         5.3        Notices of Certain Events .................................................................................... 20

         COVENANTS OF PURCHASER AND SELLER ......................................................... 20
         6.1       Efforts; Further Assurances ................................................................................. 20
         6.2       Certain Filings ...................................................................................................... 20
         6.3       Bankruptcy Issues ................................................................................................ 21
         6.4       Notices ................................................................................................................. 32

         TAX MATTERS ..............................................................................................................        33

         7.1        Tax Cooperation ...................................................................................................    33
         7.2        Transfer Taxes .....................................................................................................   33
         7.3        Real Property Taxes .............................................................................................      33
         7.4        Personal Property, Ad Valorem and Excise Taxes ..............................................                          33

         CLOSING CONDITIONS ............................................................................................... 33
         8.1       Conditions to Obligations of Purchaser and Seller .............................................. 33
         8.2       Conditions to Obligations of Purchaser ............................................................... 34
         8.3       Conditions to Obligations of Seller ..................................................................... 34

         TERMINATION .............................................................................................................. 35
         9.1       Grounds for Termination ..................................................................................... 35
         9.2       Effect of Termination ........................................................................................... 35
         9.3       Fees and Expenses ............................................................................................... 35

 10.     MISCELLANEOUS ........................................................................................................ 36
         10.1   Notices ................................................................................................................. 36
         10.2   Limitation on Damages ........................................................................................ 36
         10.3   Waivers ................................................................................................................ 37
         10.4   Successors and Assigns ........................................................................................ 37
         10.5   Governing Law .................................................................................................... 37
         10.6   Jurisdiction ........................................................................................................... 37
         10.7   Waiver of Jury Trial ............................................................................................. 38
         10.8   No Third Party Beneﬁciaries ............................................................................... 38
         10.9   Entire Agreement; Amendments; Counterparts ................................................... 3 8
         10.10 FIB—Petition Secured Party ................................................................................... 38
         10.1 1 Headings; Interpretation ....................................................................................... 39




                                                                   -ii-
 ACTIVE\643 74627.v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   30 of 191
                                                    09/17/18 19:15:44 Desc Main
                                  Document        Page 30 of 191



                              ASSET PURCHASE AGREENIENT

         THIS ASSET PURCHASE AGREEMENT dated                       as   of August   24, 2018 (this
 “Aggeement”) is entered into by and between Christine C. Shubett, in her capacity as Chapter 7
 Trustee (“Seller”) for the estates of (i) Worley & Obetz, Inc. (Case No. 18-13774-REF);
 (ii) Americomfort, Inc., Case No. 18-13775-REF); (iii) Amerigreen Energy, Inc. (Case No. 18—
  13777-REF); (iv) Advance Air, Inc. (Case No. 18—1377 8-REF); (v) Amerigreen Energy Brokers,
 LLC (Case No. 18- 13779-REF); (vi) Amerigreen Electricity, LLC (Case No. 18-13780-REF);
 (vii) Amerigreen Hedging Services, LLC (Case No. 18-13781—REF); (viii) Amerigreen
 Lubricants, LLC (Case No. 18—13782-REF); (ix) Amerigreen Natural Gas, LLC (Case No. 18—
  13783-REF); and (x) Amerigreen Propane, LLC (Case No. 18—13784—REF) (collectively, the
 “Debtors”) and Diesel Direct Holdings, Inc., a Delaware corporation (“Diesel”) or its assignees,
 which shall be Afﬁliates of Diesel or Jerome H. Rhoads, Inc. and which shall be identiﬁed in
 writing by Diesel to Seller prior to the Closing Date (the “Assignees”, and together with Diesel,
 the “Purchaser”). Purchaser and Seller are sometimes individually referred to in this Agreement
 as a “Egg” and collectively as the “Parties.”

                                           RECITALS:

      WHEREAS, prior to the Petition Date (as deﬁned below), Debtor Worley & Obetz, Inc.
 (“W&O”), and certain Afﬁliates (as deﬁned below) provided certain energy products and services
 to their commercial and residential clients, including fuel, bio-heating oil, biodiesel, propane,
 gasoline, natural gas and electricity (the “W&O Business”);

         WHEREAS, prior to the Petition Date, Debtor Amerigreen Energy, Inc. and certain
 Afﬁliates operated as an energy wholesaler to retail distributors operating in the Mid-Atlantic and
 New England markets and provided certain energy products and services to their retail fuel
 distributors, fuel stations, commercial clients, and commercial and residential clients of W&O,
 including ethanol, biodiesel, biofuels, and petroleum, as well as hedging and marketing services,
 and electn'city and gas plans (together with the W&O Business, the “Business”);

         WHEREAS, on June 6, 2018 (the “Petition Date”), the Debtors ﬁled voluntary petitions
 for relief under chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the
 “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District of
 Pennsylvania (the “Bankruptcy Court”);

         WHEREAS, Seller is the duly appointed and acting Chapter 7 trustee for each of the
 Debtors’ bankruptcy cases which are now jointly administered under Case No. 18-13774 (REF)
 (Jointly Administered) (collectively, the “Bankruptcy Cases”);

         WHEREAS, Seller desires to sell, transfer, convey, assign and deliver the Purchased
 Assets (as deﬁned below) and to assign the Assumed Liabilities (as deﬁned below), and Purchaser
 desires to purchase, take delivery of and acquire such Purchased Assets and to assume such
 Assumed Liabilities, in each case on an “AS IS, WHERE IS” basis except for the representations
 and warranties expressly set forth in Section 3 below and upon the terms and subject to the
 conditions set forth herein; and




 ACTIVE\643 74627.v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   31 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 31 of 191


        WHEREAS, the transactions contemplated by this Agreement (the “Transactions”) will
 be consummated pursuant to an Approval Order (as deﬁned below) to be entered in the Bankruptcy
 Cases pursuant to §§ 105, 363, 365 and other applicable provisions of the Bankruptcy Code, and
 the Transactions and this Agreement are subject to the approval of the Bankruptcy Court.

        NOW, THEREFORE, in consideration of the foregoing and the mutual agreements,
 covenants, representations, warranties and promises set forth herein, and in order to prescribe the
 terms and conditions of such purchase and sale, intending to be legally bound, the Parties agree as
 follows:

         1.      Deﬁnitions.

                 1.1    Deﬁnitions.      The following terms, as used herein, have the following
         meanings:

                         (a)     “Acquired Owned Real Propegty” means all of the real property,
                 together with all Improvements located thereon and all easements, rights of way,
                 servitudes, tenements, hereditaments, appurtenances, privileges and other rights
                 and interests appurtenant thereto, owned in fee by Seller, and any part or parcel
                 thereof set forth on Schedule 2.11M.

                        (b)       “Afﬁliate”   means, with respect to any Person, any other Person
                 directly or indirectly controlling, controlled by or under common control with, such
                 other Person.

                        (0)       “Bid Protection”   means an amount equal to 3%    of the   Purchase
                 Price, or $243,000.

                        ((1)      “Break-Up Fee” means an amount equal to 3% of the Purchase
                 Price, or $243,000.

                         (6)   “Business Day” means a day other than Saturday, Sunday or other
                 day on which commercial banks in Pennsylvania are authorized or required by Law
                 to close.

                        (f)   “CERCLA” means the Comprehensive Environmental Response,
                 Compensation and Liability Act of 1980, as amended (42 U.S.C. § 9601 g:
                 and any Laws promulgated thereunder.
                                                                                                ﬂ),
                      (g)    “Claim” means a “claim” as deﬁned in Section 101                 of   the
                Bankruptcy Code.

                        (h)       “Closing Date” means the date of the Closing.

                        (i)       “Code” means the Internal Revenue Code of 1986,   as amended.


                        0)        “Cure Costs” means all amounts that must be paid and all
                obligations      that otherwise must be satisﬁed, including pursuant to



 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   32 of 191
                                                     09/17/18 19:15:44 Desc Main
                                   Document        Page 32 of 191


                 Sections 365(b)(1)(A) and (B) of the Bankruptcy Code, in connection with the
                 assumption and/or assignment of the Assumed Contracts to Purchaser as provided
                 herein.

                        (k)     “Employee” means an individual who is employed by the Debtors,
                 whether on a full-time or a part—time basis, whether active or inactive as of the
                 Closing Date, and includes an employee on short-term or long-term disability leave.

                        (1)        “Employee Beneﬁt Plan” means any “employee beneﬁt plan” (as
                 deﬁned in ERISA §3(3)) and any other beneﬁt or compensation plan, program,
                 agreement, arrangement or payroll practice (whether written or unwritten)
                 maintained, sponsored, or contributed or required to be contributed to by Seller or
                 any ERISA Afﬁliate or with respect to which Seller or any ERISA Afﬁliate has any
                 liability as set forth on Schedule 3.12131.

                         (m)    “Environmental Laws” means, whenever in effect, all federal, state,
                 and local Laws and other provisions having the force or effect of Law, all judicial
                 and administrative Orders and determinations, all contractual obligations and all
                 common Law, in each case concerning public or employee health and safety,
                 pollution or protection of the environment, including all those relating to the
                 presence, use, production, generation, handling, transportation, treatment, storage,
                 disposal, processing, discharge, Release, threatened Release, control or cleanup of
                 any Hazardous Substances or wastes (including CERCLA and analogous state
                 Laws).

                        (n)    “ERISA” means the Employee Retirement Income Security          Act of
                 1974, as amended, and all Laws issued thereunder.

                        (o)     “ERISA Afﬁliate” means any Person that, at any relevant time, is or
                 was treated as a single employer with Seller for purposes of Code § 414.

                        (p)    “Governmental Authority” means any federal, state, local,
                municipal, foreign, supranational or other governmental or quasi-governmental
                authority of any nature (including any governmental agency, branch, bureau,
                commission, department, ofﬁcial or entity and any court or other tribunal), or any
                administrative, executive, judicial, legislative, police, regulatory or Taxing
                Authority, or arbitral body.

                        (q)   “Hazardous Substances” means any substance, material or waste
                regulated by any Governmental Authority, including any material, substance or
                waste which is deﬁned as a “hazardous waste,” “hazardous material,” “hazardous
                substance,” “extremely hazardous waste,” “restricted hazardous waste,”
                “contaminant,” “toxic waste,” “pollutant” or “toxic substance” under any provision
                of Environmental Law, and including petroleum, petroleum products, asbestos,
                presumed asbestos—containing material or asbestos—containing material, urea
                formaldehyde and polychlorinated biphenyls.




 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   33 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 33 of 191



                         (r)     “Improvements” means all buildings, improvements, structures,
                 streets, roads and ﬁxtures located, placed, constructed or installed on or under the
                 Acquired Owned Real Property or the Leased Real Property, including all utilities,
                 ﬁre protection, security, surveillance, telecommunications, computer, wiring,
                 cable, heat, exhaust, ventilation, air conditioning, electrical, mechanical, plumbing
                 and refrigeration systems, facilities, lines, installations and conduits.

                          (8)      “Intellectual Property Rights” means all of Seller’s intellectual
                 property rights including, but not limited to: (i) patents, patent applications, patent
                 rights, patent disclosures and inventions (whether or not patentable or reduced to
                 practice); (ii) trademarks (registered and at common law), trademark registrations
                 and applications, trade names, logos, trade dress, brand names, service marks
                 (registered and at common law), service mark registrations and applications,
                 websites, domain names and other indicia of source and all goodwill associated
                 therewith; (iii) works of authorship, copyrights, copyright registrations and
                 applications for registration, and moral rights; (iv) know-how, trade secrets,
                 customer lists (including all Wholesale, retail and commercial customer account
                 lists, whether active or inactive including complete contact information),
                 proprietary information, proprietary processes and formulae, databases and data
                 collections; (v) all source and object code, software (including front and back ofﬁce
                 software, customer management and fuel management systems, accounting and
                 billing systems, POS inventory systems and ﬂeet management systems),
                 algorithms, architecture, structure, display screens, layouts, inventions and
                 development tools; and (vi) all documentation and media constituting, describing
                 or relating to the above, including, manuals, memoranda and records.

                          (t)  “Knowledge of Seller” or any other similar knowledge qualiﬁcation
                 in this Agreement means the actual knowledge of Christine C. Shubert.

                        (11)    “Law”   means any law, statute, regulation, rule, code, decree,
                 constitution, ordinance, treaty, rule of common law or Order of, administered or
                 enforced by or on behalf of, any Governmental Authority.

                        (V)      “Leased Real Property” means all land, Improvements or other
                interests in real property leased or subleased by Seller, as lessee, which is used or
                intended to be used in, or otherwise related to, the Business and set forth on
                Schedule 1.1(v), unless previously rejected pursuant to section 365 of the
                Bankruptcy Code.

                        (W)      “Liabiligy” means any claim, debt, liability, obligation, Tax or
                commitment of any nature whatsoever (whether known or unknown, asserted or
                unasserted, ﬁxed, absolute or contingent, matured or unmatured, accrued or
                unaccrued, liquidated or unliquidated or due or to become due), whenever or
                however arising (including those arising out of any contract or tort, whether based
                on negligence, strict liability or otherwise), and including all costs and expenses
                related thereto.




 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774~ref Doc 425Document      PageEntered
                            Filed 09l17l18   34 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 34 of 191



                          (x)    “L_ie_n~” means, with respect to any property or asset, any mortgage,
                 lien (statutory or otherwise), pledge, security interest, Claim, encumbrance,
                 restn'ction, charge, instrument, preference, priority, option, or right of ﬁrst refusal,
                 of any kind or nature, whether secured or unsecured, choate or inchoate, ﬁled or
                 unﬁled, scheduled or unscheduled, recorded or unrecorded, contingent or
                 noncontingent, material or nonmaterial, known or unknown. For the avoidance of
                 doubt, the deﬁnition of Lien shall not include any license or sublicense of
                 Intellectual Property Rights granted by Seller or any lease or sublease by Seller (as
                 lessor or sublessor) of real property.

                         (y)     “Order” means any award, decision, decree, order, directive,
                 injunction, ruling, judgment or consent of or entered, issued, made or rendered by
                 any Governmental Authority.

                        (2)    “Permits” means licenses, permits, approvals, certiﬁcates of
                 occupancy, authorizations, operating permits, registrations, plans and other similar
                 documents and authorizations issued by any Governmental Authority to Seller, in
                 each case to the extent transferable without the consent of any Governmental
                 Authority.

                        (aa)      “Permitted Encumbrances” means (i) Liens included in the
                 Assumed Liabilities; (ii) encumbrances waived in writing by Purchaser; (ii) all
                 restrictions on the use of the Purchased Assets an'sing as a result of the application
                 of zoning and similar laws; (iv) all exceptions, restrictions, easements, charges,
                 rights-of-way, and other encumbrances that are set forth in any Permit; and
                 (v) other imperfections in title, if any, or conditions, reservations, restrictions,
                 easements, encroachments, or rights of way, if any, none of which, individually or
                 in the aggregate, materially detracts from the value, or impairs in any signiﬁcant
                 way the use of the property subject thereto;

                          (bb)   “Person” means an individual, corporation, partnership, limited
                 liability Debtors, association, joint venture, trust or other entity or organization,
                 including   a   Governmental Authority.

                         (cc)    “Post-Retirement Liabilities” means with respect to all Employees
                and retirees, all Liabilities for the post—retirement beneﬁts, including those provided
                under the Employee Beneﬁt Plans, as applicable.

                        (dd)   “Pm-Closing Tax Perio ” means (i) any Tax period ending on or
                before the Closing Date; and (ii) with respect to a Tax period that commences
                before but ends after the Closing Date, the portion of such period up to and
                including the Closing Date.

                        (66)    “Property Taxes” means all real and personal property Taxes levied
                with respect to the Purchased Assets for any taxable period or portion thereof.

                        (ft)  “Real Estate” means the Acquired Owned Real Property and the
                Leased Real Property.


 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   35 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 35 of 191



                         (gg)     “Release” has the meaning set forth in CERCLA.

                         (hh)    “1213;” means (i) any federal, state, provincial, territorial, municipal,
                 local or foreign income, proﬁts, franchise, gross receipts, environmental (including
                 taxes under Code Section 59A), customs, duties, net worth, sales, use, goods and
                 services, Withholding, value added, ad valorem, employment, social security,
                 disability, occupation, pension, real property, personal property (tangible and
                 intangible), stamp, transfer, conveyance, severance, production, excise and other
                 taxes, withholdings, duties, levies, imposts and other similar charges and
                 assessments (including any and all ﬁnes, penalties and additions attributable to or
                 otherwise imposed on or with respect to any such taxes, charges, fees, levies or
                 other assessments, and interest thereon) imposed by or on behalf of any
                 Governmental Authority (a “Taxing Authority”) responsible for the imposition
                 thereof (whether domestic or foreign), whether or not disputed, and (ii) Liability
                 for the payment of any amounts of the type described in clause (i) as a result of
                 being a transferee, party to any agreement or any express or implied obligation to
                 indemnify any other Person.

                         (ii)   “Tax Returns” means any report, return, declaration, claim for
                 refund, information report or return or statement required to be supplied to a Taxing
                 Authority in connection with Taxes, including any schedule or attachment thereto
                 or amendment thereof.

                         (jj)   “Trade Payables” means all trade payables incurred by the Debtors
                 in the ordinary course of business.

                 1.2    Cross References. Each     of the following terms is deﬁned in the Section set
         forth opposite such term:

                          Term                                             Section
                          Agreement                                        Preamble
                          Allocation Schedule                              2.7(b)
                          Approval Hearing                                 6.3(c)(vi)
                          Approval Order                                   6.3(f)
                          Assignment and Assumption Agreement              2.9(b)
                          Assumed Contracts                                2. 1 (b)
                          Assumed Contracts A/R                            2.1(d)
                          Assumed Liabilities                              2.4
                          Auction                                          6.3(0)
                          Back-up Bid                                      6.3(c)(vi)
                          Bankruptcy Cases                                 Recitals
                          Bankruptcy Code                                  Recitals
                          Bankruptcy Court                                 Recitals
                         Bid                                               6.3(b)(i)
                         Bid Assessment Criteria                           6.3(c)(i)
                         Bid Deadline                                      6.3(b)(i)
                         Bidder                                            6.3(b)(i)

                                                     6
 ACTIVE\64374627.V4
Case 18-13774-ref       Doc 427      Filed 09/18/18       Entered 09/18/18 13:19:35           Desc Main
 Case 18—13774-ref       Doc 425Document      PageEntered
                                  Filed 09/17/18   36 of 191
                                                           09/17/18 19:15:44                Desc Main
                                Document      Page 36 of 191



                         Term                                             Section
                         Bidding Procedures                               6.3(a)
                         Bidding Procedures Order                         6.3(a)
                         Business                                         Recitals
                         Closing                                          2.8
                         Contemplated Transaction Documents               6.3(c)(i)
                         Debtors                                          Preamble
                         Deposit                                          2.7(a)
                         End Date                                         9. 1 (b)
                         Excluded Assets                                  2.2
                         Excluded Liabilities                             2.5
                         Lot Bid                                          6.3(b)(ii)(A)
                         Minimum Initial Overbid                          6.3(b)(ii)(G)
                         Missing Assets                                   2.7(c)
                         Modiﬁed APA                                      6.3(b)(ii)(A)
                         Notice Parties                                   6.3(b)(i)
                         Opening Bid                                      6.3(c)(i)
                         Overbid                                          6.3(c)(v)
                         Party or Parties                                 Preamble
                         Petition Date                                    Recitals
                         Purchase Price                                   2.7(a)
                         Purchased Assets                                 2.1
                         Purchaser                                        Preamble
                         Qualiﬁed Bid                                     6.3(b)(ii)
                         Qualiﬁed Bidder                                  6.3(b)(ii)
                         Reimbursement Demand                             2.7(c)
                         Round Leading Bid                                6.3(c)(v)
                         Sale and Bidding Procedures    Motion            6.3(a)
                         Seller                                           Preamble
                         Subsequent Overbid Increment                     6.3(c)(v)(A)
                         Successﬁll Bid                                   6.3(c)(v)
                         Successful Bidder                                6.3(c)(vi)
                         Tax Claim                                        7.1
                         Taxing Authority                                 1.1(gg)
                         Termination Date                                 6.3(b)(ii)(B)
                         Term Sheet                                       2.2(h)
                         Transactions                                     Recitals
                         Transfer Taxes                                   7.2

         2.     Purchase and Sale.

                2.1      Purchase and Sale. Subject to the terms and conditions set forth in this
        Agreement and the Approval Order, at the Closing, Seller shall sell, assign, transfer,
        convey and deliver to Purchaser, and Purchaser shall purchase, acquire and accept from
        Seller, all right, title and interest of Seller as of the Closing Date in and to all of Seller’s
        and Debtors’ properties and assets, real, personal or mixed, tangible and intangible, of



 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774—ref Doc 425Document      PageEntered
                            Filed 09/17/18   37 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 37 of 191


         every kind and description, wherever located and whether or not carried or reﬂected on the
         books and records of Seller, that are listed in subsections (a) - (1) below, other than the
         Excluded Assets (the “Purchased Assets”), free and clear of all Liens (other than the
         Assumed Liabilities and Permitted Encumbrances). The cost of collecting and removing
         the Purchased Assets from their various locations shall be borne by Purchaser; provided,
         however, Seller shall, at her cost, use commercially reasonable efforts to assist Seller’s
         efforts by enforcing the terms of this Agreement and the Approval Order against third
         parties. Subject to Section 2.2, the Purchased Assets purchased hereunder shall include the
         following:

                        (a)    the Acquired Owned Real Property set forth on Schedule 2.1(a1;
                 provided Purchaser may advise Seller of any deletions to Schedule 2.1121) prior to
                 the Closing Date;

                           (b) all rights of Seller under the executory contracts and unexpired
                 leases of Seller that are set forth on Schedule 2.11m not previously rejected
                 pursuant to section 365 of the Bankruptcy Code (collectively, the “Assumed
                 Contracts”); provided Purchaser may advise Seller of any deletions to
                 Schedule 2.1“)! prior to the Closing Date;

                         (0)     all inventory, including, without limitation, that set forth on
                 Schedule 2.1m), including, but not limited to, propane, gasoline, kerosene, diesel,
                 diesel exhaust ﬂuid, retail and wholesale inventory for sale or distribution of any
                 kind except to the extent contained in an Excluded Asset;

                        (d)     any accounts receivable and all proceeds arising therefrom arising
                 from and after the Petition Date and out of or in connection with the Assumed
                 Contracts (collectively, the “Assumed Contracts A/R”);

                          (c)     all tangible personal property and intangible property whether
                 located on Acquired Owned Real Property, Leased Real Property, other real
                 property, in transit, or in the possession of any Person, including, but not limited
                 to, all machinery, equipment, storage tanks and vessels, pumps, dispensers,
                 displays, spare parts, signage, industry memorabilia, tools, vehicles, computers (but
                 excluding laptops), mobile phones, personal digital assistants, computer equipment
                 (but excluding laptops), hardware, peripherals, information technology
                 infrastructure, telephone systems, furniture, ﬁxtures, furnishings, ofﬁce supplies,
                 production supplies, other miscellaneous supplies and other tangible personal
                 property of any kind, including, without limitation, that set forth on Schedule
                 2.1161;

                           (f)   all Permits set forth on Schedule 2.1m to the extent the same may
                be assigned consistent   with their terms;

                       (g)     all Intellectual Property Rights, including, without limitation, the
                items set forth on Schedule 2.11g); provided that Purchaser may advise Seller of




 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   38 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 38 of 191



                 any additions or deletions to Schedule 2.1(g1 within two (2) Business Days before
                 the Approval Hearing;

                         (h)    all cars, trucks, trailers, forklifts, other industrial vehicles, other
                 motor vehicles, and boats and watercraﬂs whether powered or unpowered,
                 including, without limitation, those set forth on Schedule 2.1(hl, and any personal
                 property located on or within such vehicles, boats and watercraﬁs;

                       (i)     all deposit or prepaid charges and expenses paid exclusively in
                 connection with or relating exclusively to any Purchased Asset;

                         (j)     all books, records, ﬁles and papers of Seller relating to the Business
                 or the Purchased Assets, including equipment logs, service books and records,
                 operating guides and manuals, creative materials, advertising materials,
                 promotional materials, studiés, reports, correspondence and other similar
                 documents and records (all in the state in which such records and information
                 currently exist), provided that Seller shall be entitled to access such books, records,
                 ﬁles, computer systems, and papers with reasonable notice;

                         (k)     all goodwill directly arising from, related to or resulting from the
                 Business; and

                         (1)     All Lots of Purchased Assets set forth in Section 6.3(c)(iv)(1) — (18)
                 of this Agreement.
                 2.2    Excluded Assets. Notwithstanding any other provision of this Agreement
         to the contrary, the following assets (the “Excluded Assets”) shall not be transferred,
         conveyed, sold or assigned to Purchaser, and the Purchased Assets shall not include any of
         the following assets of Debtors or Seller:

                        (a)     all cash, cash equivalents and bank deposits (including, without
                 limitation, deposits posted as collateral for letters of credit) or similar cash items;

                       (b)     all deposit or prepaid charges and expenses paid exclusively in
                 connection with or relating exclusively to any Excluded Assets;

                       (c)    any accounts receivable and all proceeds        of Seller   other than the
                 Assumed Contracts A/R;

                       (d)     all of the Seller’s rights under this Agreement and/or other
                 documents and agreements executed in connection with the Transactions
                 contemplated herein;

                        (6)    any and all right, title, leasehold interest, leases and any other
                interest in and with respect to the following property (collectively known as the
                “We-Go Stations”): (i) Molly’s Convenience Store and Wo-Go located at 35 Doe
                Run Road, Manheim, PA 17545; (ii) the Ephrata Wo-Go & Paciﬁc Pride, located
                at 1634 W. Main Street, Ephrata, PA 17522; (iii) the Lancaster Wo-Go & Paciﬁc


                                                    9
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   39 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 39 of 191



                Pride, located at 202 Greenﬁeld Road, Lancaster, PA 17602; (iv) the Lititz Wo-Go
                and bulk underground storage facility, located at 746 Rothsville Road, Lititz, PA
                17543; (v) the Harrisburg Wo-Go Station and bulk underground storage facility,
                located at 854 South 16th Street, Harrisburg, PA 17104; (vi) the Elizabethtown
                Paciﬁc Pride, located at 101 East Cherry Street, Elizabethtown, PA 17022; and
                (vii) the Mount Joy Paciﬁc Pride, located at 30 Orchard Road, Mount Joy, PA
                17552;

                         (f)    all tangible personal property associated with the Wo-Go Stations,
                including, but not   limited to, all machinery, equipment, storage tanks and vessels,
                pumps, dispensers, displays, spare parts, signage, industry memorabilia, tools,
                vehicles, computers, mobile phones, personal digital assistants, computer
                equipment, hardware, peripherals, information technology infrastructure, telephone
                systems, furniture, ﬁxtures, furnishings, ofﬁce supplies, production supplies, other
                miscellaneous supplies and other tangible personal property of any kind, including,
                without limitation, that set forth on Schedule 2.21:);

                       (g)     all intercompany obligations, liabilities and indebtedness between
                the Debtors including, but not limited to, any and all promissory notes between the
                Debtors, any Afﬁliates and/or insiders and any note indebtedness owed to Debtors
                by any Afﬁliates or insiders;

                        (h)    any (i) conﬁdential personnel and medical records pertaining to any
                Employee of the Debtors; (ii) other books and records that Trustee determines are
                necessary or advisable to retain including, without limitation, Tax Returns,
                ﬁnancial statements, and corporate or other entity ﬁlings; provided, however, that
                Purchaser shall have the right to make copies of any portions of such retained books
                and records that relate to the Debtors or any of the Purchased Assets; (iii) minute
                books, stock or membership interest records and corporate seals; and
                (iv) documents relating to proposals to acquire the Purchased Assets by Persons
                other than Purchaser;

                        (i)     all Tax losses and Tax loss carry forwards of the Debtors and the
                rights to receive Tax refunds, credits and credit carry forwards with respect to any
                Taxes   of the Debtors;

                       (j)     any claim, right or interest of the Seller and the Debtors in or to any
               reﬁmd, rebate, abatement or other recovery for Taxes of the Debtors, together with
               any interest due thereon or penalty rebate arising therefrom, and all Tax credits and
               other Tax attributes of the Debtors, for the Pre-Closing Tax Period, but only to the
               extent the Tax in respect of which such reﬁmd or reimbursement is made was not
               borne by Purchaser or any of its Afﬁliates;

                        (k)     all insurance policies or rights to proceeds thereof relating to the
               Purchased Assets;




                                                  10
 ACHVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   40 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 40 of 191


                         (1)     any stock or other equity interests in Debtors or any subsidiaries or
                 Affiliates of the Debtors;

                         (111)   all claims, actions, liabilities, debts, demands, damages and causes
                 of action, whatsoever, whether in law or in equity, whether known or unknown,
                 which the Seller and/or the Debtors have, may have had, may have in the future
                 accrue to them, arising out of or in connection with, in whole or in part, and relating
                 to the Debtors including, any and all claims, actions, liabilities, debts, demands,
                 damages and causes of action against any of the Debtors’ subsidiaries, Afﬁliates,
                 predecessors and successors in interest, insiders, members, managers, ofﬁcers,
                 directors, shareholders, investors, employees, representatives, professionals,
                 consultants, accountants, servants, attorneys or other agents;

                         (11) all avoidance actions and other causes            of action    under the
                 Bankruptcy Code or similar state insolvency law;

                         (0)    all assets, ﬁxtures, furniture, machinery, equipment, properties,
                 interests and rights of the Seller or the Debtors which were previously sold,
                 transferred, conveyed, including, but not limited to, the assets of Debtor Ranck
                 Plumbing, Heating & Air Conditioning, Inc., or otherwise abandoned; and

                        (p)      all laptops.

                 2.3    “AS ISI WHERE IS” SALE.

                        (a) EXCEPT FOR THE REPRESENTATIONS AND WARRANTIES
                 EXPRESSLY SET FORTH IN SECTION 3 BELOW, THE PURCHASED
                 ASSETS ARE BEING SOLD IN AN “AS IS” CONDITION, ON A “WHERE IS”
                 BASIS AND “WITH ALL FAULTS” AS OF THE CLOSING DATE (AS
                 DEFINED BELOW), AND SUCH SALE IS WITHOUT RECOURSE,
                 REPRESENTATION, OR WARRANTY OF ANY KIND TO OR BY THE
                 SELLER, WHETHER EXPRESS, IMPLIED OR IMPOSED BY LAW, WHICH
                 RECOURSE, REPRESENTATIONS, AND WARRANTIES (EXCEPT FOR THE
                 REPRESENTATIONS AND WARRANTIES EXPRESSLY SET FORTH IN
                 SECTION 3 BELOW) ARE HEREBY EXPRESSLY DISCLAIMED BY
                 PURCHASER.

                      (b)  PURCHASER ACKNOWLEDGES THAT IT IS FULLY
                RELYING ON ITS OWN (OR ITS REPRESENTATIVES’) INSPECTIONS,
                EXAMINATIONS AND EVALUATIONS OF THE REAL ESTATE AND NOT
                UPON ANY STATEMENTS (ORAL OR WRITTEN) THAT MAY HAVE BEEN
                MADE OR MAY BE MADE (OR PURPORTEDLY MADE) BY THE DEBTORS
                OR SELLER OR ANY OF THEIR RESPECTIVE REPRESENTATIVES,
                AGENTS OR ATTORNEYS. PURCHASER ACKNOWLEDGES THAT
                PURCHASER HAS (OR PURCHASER’S REPRESENTATIVES HAVE), OR
                PRIOR TO THE CLOSING DATE WILL HAVE, THOROUGHLY INSPECTED
                AND EXAMINED THE REAL ESTATE TO THE EXTENT DEEMED


                                                    1   l
 ACTIVE\64374627.V4
Case 18-13774-ref      Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774»ref      Doc 425Document      PageEntered
                                 Filed 09/17/18   41 of 191
                                                         (39/17/18 19:15:44 Desc Main
                                 Document        Page 41 of 191


                NECESSARY BY PURCHASER IN ORDER TO ENABLE PURCHASER TO
                EVALUATE THE CONDITION OF THE REAL ESTATE AND ALL OTHER
                ASPECTS OF THE REAL ESTATE (INCLUDING, BUT NOT LIMITED TO,
                THE ENVIRONNIENTAL CONDITION OF THE REAL ESTATE), AND
                PURCHASER ACKNOWLEDGES THAT PURCHASER IS RELYlNG
                 SOLELY UPON ITS OWN (OR ITS REPRESENTATIVES’) INSPECTION,
                EXAMINATION AND EVALUATION OF THE REAL ESTATE AND IS
                QUALIFIED TO MAKE SUCH INSPECTION, EXAMINATION AND
                EVALUATION. AS A MATERIAL PART OF THE CONSIDERATION OF
                THIS AGREEMENT AND THE PURCHASE OF THE ACQUIRED OWNED
                REAL PROPERTY, PURCHASER HEREBY AGREES TO ACCEPT THE
                ACQUIRED OWNED REAL PROPERTY ON THE CLOSING DATE IN ITS
                “AS IS, WHERE IS” CONDITION, WITH ALL FAULTS AND, WITHOUT
                REPRESENTATIONS AND WARRANTIES OF ANY KIND, EXPRESS OR
                IMPLIED, OR ARISING BY OPERATION OF LAW, WITHOUT IN ANY WAY
                LIMITING THE GENERALITY OF THE FOREGOING, THE PARTIES AGREE
                THAT THE SALE OF THE ACQUIRED OWNED REAL PROPERTY IS
                WITHOUT ANY WARRANTY, AND THAT THE SELLER AND DEBTORS
                HAVE NOT MADE ANY, AND EXPRESSLY AND SPECIFICALLY
                DISCLAIM ANY AND ALL, REPRESENTATIONS, GUARANTIES OR
                WARRANTIES, EXPRESS OR INIPLIED, OR ARISING BY OPERATION OF
                LAW OR RELATING TO THE ACQUIRED OWNED REAL PROPERTY,
                INCLUDING, WITHOUT LIMITATION, OF OR RELATING TO: (A) THE
                OWNERSHIP, USE, INCOME, POTENTIAL, EXPENSES, OPERATION,
                CHARACTERISTICS OR CONDITION OF THE ACQUIRED OWNED REAL
                PROPERTY OR ANY PORTION THEREOF, INCLUDING, WITHOUT
                LﬂVIITATION, WARRANTIES OF SUITABILITY, HABITABILITY,
                MERCHANTABILITY, DESIGN OR FITNESS FOR ANY SPECIFIC PURPOSE
                OR A PARTICULAR PURPOSE; (B) THE NATURE, MANNER, OR
                CONDITION (PHYSICAL, STRUCTURAL OR OTHERWISE) OF THE
                ACQUIRED OWNED REAL PROPERTY, OR THE SURFACE OR
                SUBSURFACE THEREOF, WHETHER OR NOT OBVIOUS, VISIBLE OR
                APPARENT; (C) THE ENVIRONMENTAL CONDITION OF THE ACQUIRED
                OWNED REAL PROPERTY AND THE PRESENCE OR ABSENCE OF OR
                CONTAMINATION BY HAZARDOUS MATERIALS, OR THE COMPLIANCE
                OF THE ACQUIRED OWNED REAL PROPERTY WITH ALL REGULATIONS
                OR LAWS PERTAINING TO HEALTH OR THE ENVIRONMENT,
                INCLUDING, BUT NOT LIMITED TO, ENVIRONMENTAL LAWS; AND (D)
                THE SOIL CONDITIONS, DRAINAGE, FLOODING CHARACTERISTICS,
                UTILITIES OR OTHER CONDITIONS EXISTING IN, ON OR UNDER THE
                ACQUIRED OWNED REAL PROPERTY. THE PROVISIONS OF THIS
                PARAGRAPH SHALL SURVIVE THE CLOSING OR EARLIER
                TERMINATION OF THIS AGREEMENT.

               2.4     Assumed Liabilities. Upon the terms and subject to the conditions of this
        Agreement, Purchaser agrees, effective at the time of the Closing, to assume, pay, perform
        and discharge, promptly when payment or performance is due or required, the liabilities

                                                 12
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   42 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 42 of 191


         and obligations   of Seller or the Business related to or arising under all (i) Purchased Assets,
         including, without limitation, the Assumed Contracts, Permits, and Intellectual Property
         Rights, that accrue after the Closing, (ii) liabilities related to the Permitted Encumbrances,
         (iii) one half of the Transfer Taxes, and (iv) any and all liabilities for Taxes, if any,
         attributable to Purchaser’s ownership of the Purchased Assets after the Closing Date
         (collectively, the “Assumed Liabilities”) in each case, but in no event to include any
         Liabilities or obligations of any Debtor or its Afﬁliates that relate to any breach of
         representation, warranty, covenant or agreement that arose on or prior to the Closing Date.

                 2.5     Excluded Liabilities.    Notwithstanding any other provision of this
         Agreement to the contrary, Purchaser is assuming only the Assumed Liabilities and is not
         assuming any other Claim against or obligation of Seller or Debtors of whatever nature,
         whether presently in existence or an'sing hereafter. All such other Claims and obligations,
         Whether known or unknown, direct or contingent, in litigation or threatened, or not yet
         asserted, shall be retained by and remain obligations and Liabilities of Seller or Debtors
         (all such Liabilities and obligations not being assumed being herein referred to as the
         “Excluded Liabilities”). Without limiting the generality of the foregoing, the Excluded
         Liabilities shall include the following:

                         (a)      all Liabilities related to any Excluded Assets;

                         (b)      Trade Payables;

                         (c)    all Liabilities for (i) Taxes of Seller and (ii) any Taxes relating to or
                 arising from the Business or one or more Purchased Assets for any Pre-Closing Tax
                 Pen'ods, provided that this shall exclude Transfer Taxes, which are addressed in
                 Section 7.2;

                         (d)     all Post-Retirement Liabilities;

                         (6)     all Employee Beneﬁt Plans and all Liabilities thereunder; and

                         (i)     any Liability based on successor liability theories, including,
                without limitation, product liability claims.

                2.6     Assumption/Assigment of Contracts and Rights.

                        (a)    To the maximum extent permitted by the Bankruptcy Code, the
                Assumed Contracts shall be assumed by Seller and assigned to Purchaser at the
                Closing pursuant to Section 365 of the Bankruptcy Code. If such assignment is not
                effectuated pursuant to the Approval Order, Seller shall, at the request of Purchaser,
                seek an Order from the Bankruptcy Court after the Closing Date to assign such
                Assumed Contract to Purchaser. A11 Cure Costs relating to the Assumed Contracts
                shall be paid by Seller.

                       (b)     Notwithstanding anything in this Agreement to the contrary, this
                Agreement shall not constitute an agreement to assign any Assumed Contract that,
                aﬁer giving effect to the provisions of Section 365 of the Bankruptcy Code, is not

                                                     13
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   43 of 191
                                                    09/17I18 19:15:44 Desc Main
                                   Document         Page 43 of 191



                 assignable or transferable without the consent of any Person, other than the Debtors,
                 Seller and Purchaser, to the extent that such consent shall not have been given prior
                 to the Closing, provided, however, that the Seller and Debtors shall use, whether
                 before or after the Closing, reasonable efforts to obtain all necessary consents to
                 the assignment and transfer thereof.

                 2.7    Consideratign; Allocation   of Consideration.

                        (a)     In addition to the assumption of the Assumed Liabilities, the
                 aggregate consideration (the “Purchase Price”) for the sale, transfer and delivery of
                 the Purchased Assets, at the Closing, shall be Ten Million Six Hundred Seventy
                 Thousand Dollars ($10,670,000) payable as follows: (i) Eight Hundred Sixty—Two
                 Thousand Five Hundred Dollars ($862,500) (the “Deposit”) payable upon the
                 execution of this Agreement and (ii) Nine Million Eight Hundred Seven Thousand
                 Five Hundred Dollars ($9,807,500) payable at the Closing.

                        (b)     Purchaser and Seller agree that the Purchase Price, applicable
                Assumed Liabilities and other relevant items shall be allocated in accordance with
                the allocation schedule (the “Allocation Schedule”) to be mutually determined by
                Purchaser and Seller on or before the Closing. Purchaser and Seller shall (and shall
                cause their respective Afﬁliates to) ﬁle all Tax Returns (including IRS Form 8954)
                and other Tax—related information reports in a manner consistent with the
                Allocation Schedule and not take any position inconsistent with such Allocation
                Schedule in any Tax—related audit, examination or other proceeding (whether
                administrative or judicial) unless required by applicable Law. If any Party receives
                any notice from a Taxing Authority in respect of an audit, examination or other
                proceeding (whether administrative or judicial) regarding any allocation of the
                Purchase Price or otherwise proposing an allocation different from the Allocation
                Schedule, such Party shall notify the other Parties of such notice and provide such
                other Parties with a copy of such notice, and the Parties hereto shall cooperate with
                each other in good faith regarding the resolution of any such matter.

                         (c)    Following the Approval Hearing and up to Closing, Purchaser shall
                inspect the Purchased Assets, including, without limitation, the vehicles, to conﬁrm
                that they are present and accounted for, provided that Purchaser shall have up to
                thirty (30) days after the Closing (the “Inventogg Expiration Date”) to count the fuel
                inventory and further provided that a Seller representative must be present at all
                times during Purchased Assets inspection, including, without limitation, during
                vehicles and fuel inventory counts. Purchaser shall provide to Seller a written count
                of the vehicles at Closing and of the ﬁ1e1 inventory on or prior to the Inventory
                Expiration Date (collectively the “Inventogx Count”). Seller shall have up to ten
                (10) business days after the Inventory Expiration Date to investigate the Inventory
                Count (the expiration of such ten (10) business day period is referred to as the
                “Adjustment Date”). If Seller agrees with the Inventory Count, or fails to oppose
                the Inventory Count on or before the Adjustment Date, the Inventory Count shall
                be deemed ﬁnal (the “Final Inventogy Count”). If Seller opposes the Inventory
                Count, it shall notify Purchaser in writing prior to the Adjustment Date, and


                                                    14
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   44 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 44 of 191


                 describe its opposition in reasonable detail. If Purchaser and Seller resolve such
                 opposition, the Inventory Count shall be deemed to be a Final Inventory Count upon
                 such resolution. If Purchaser and Seller are unable to resolve Seller’s opposition to
                 the Inventory Count, either party may submit its claim to the Bankruptcy Court for
                 disposition as its sole means of recourse. The Inventory Count shall be deemed to
                 be a Final Inventory Count upon such resolution.

                          (d)    If the Final Inventory Count indicates that there are vehicles or fuel
                 inventory that are listed on Schedule 2.1(h) and Schedule 2.1(c), respectively, but
                 are missing (“Missing Assets”) with an aggregate value determined in good faith
                 that exceeds Thirty Thousand Dollars ($30,000), Seller shall reimburse Purchaser
                 and credit against the Purchase Price the aggregate value of such Missing Assets
                 that exceeds Thirty Thousand Dollars ($30,000) promptly aﬁer the Final Inventory
                 Count is determined. If the Inventory Count indicates that there are vehicles or fuel
                 inventory wherever located that are not listed on Schedule 2.1(h) and Schedule
                 2.1(c), respectively (the “Additional Assets”) with an aggregate value determined
                 in good faith that exceeds Thirty Thousand Dollars ($30,000), the Purchase Price
                 shall be increased by the aggregate value of such Additional Assets that exceeds
                 Thirty Thousand Dollars ($30,000) and Purchaser shall pay such increase to Seller
                 promptly after the Final Inventory Count is determined.

                2.8    Closing. The closing (the “Closing”) of the purchase and sale of the
         Purchased Assets and the assumption of the Assumed Liabilities shall take place at the
         ofﬁces of Fox Rothschild LLP, 2000 Market Street, 20th Floor, Philadelphia, PA 19103-
         3222 on September 25, 2018, or at such other time or place as Purchaser and Seller may
         agree. The Parties may mutually agree to consummate the Closing electronically.

                 2.9    Deliveries by Seller. At the Closing, Seller will deliver or cause to be
         delivered to Purchaser (unless delivered previously) the following:

                        (a)     the Approval Order;

                        (b)    a Bill   of   Sale, Assignment and Assumption Agreement duly
                 executed by Seller;

                         (0)     duly executed quitclaim deeds transferring fee simple title to the
                 Acquired Owned Real Property to Purchaser, in form and substance reasonably
                 satisfactory to Purchaser;

                      (d)     originals (or, to the extent originals are not available, copies) of all
                Assumed Contracts (together with all material amendments, supplements or
                modiﬁcations thereto);

                        (e)    physical possession of all of the Purchased Assets capable of passing
                by delivery, with the intent that title in such Purchased Assets shall pass by and
                upon delivery;



                                                   1   5
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   45 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 45 of 191



                          (f)    a duly executed assignment agreement or agreements transferring
                 the Intellectual Property Rights to Purchaser, in form and substance reasonably
                 satisfactory to Purchaser;

                          (g)    an afﬁdavit from Seller, sworn under penalty of perjury and dated
                 as   of the Closing  Date, in form and substance satisfactory to Purchaser, issued
                 pursuant to Section 1445 of the Code and the Treasury regulations thereunder
                 stating that Seller is not a foreign person as deﬁned in Section 1445 of the Code;

                         (h)    certiﬁcates of title and title transfer documents to all titled motor
                 vehicles included within the Purchased Assets; and

                        (i)    all other documents, instruments and writings reasonably requested
                 by Purchaser to be delivered by Seller at or prior to the Closing pursuant to this
                 Agreement, in each case in form and substance reasonably acceptable to Seller.

                 2.10 Deliveries by Purchaser. At the Closing, Purchaser will deliver or cause to
         be delivered to Seller (unless previously delivered) the following:

                          (a)    any unpaid portion   of the Purchase Price;

                        (b)     the Assignment and Assumption Agreement, duly executed by
                 Purchaser; and

                        (c)     all other documents, instruments and writings reasonably requested
                 by Seller to be delivered by Purchaser at or prior to the Closing pursuant to this
                 Agreement.

         3.       Representations and Warranties of Seller. Subject to the terms, conditions and
 limitations set forth in this Agreement, Seller hereby represents and warrants to Purchaser as of
 the date of this Agreement as follows:

                 3.1   Power. Subject to the entry of an Approval Order (as deﬁned below) by the
         Bankruptcy Court, Seller has full legal capacity, right, power and authority to enter into
         this Agreement.

                 3.2     Authorization. The execution, delivery and performance by Seller of this
         Agreement and the consummation of the Transactions are within Seller’s powers and have
         been duly authorized by all necessary actions on the part of Seller. Subject to entry by the
         Bankruptcy Court of the Bidding Procedures Order and the Approval Order in the
         Bankruptcy Cases, this Agreement constitutes a valid and binding agreement of Seller that
         is enforceable in accordance with its terms.

                 3.3     Governmental Authorization. The execution, delivery and performance by
         Seller of this Agreement and the consummation of the Transactions by Seller require no
         action by or in respect of, or ﬁling with, any Governmental Authority other than consents,
         approvals or authorizations of, or declarations or ﬁlings with, the Bankruptcy Court.



                                                   16
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   46 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document     Page 46 of 191


                 3.4     Non-contravention. Subject to entry by the Bankruptcy Court of the
         Bidding Procedures Order and the Approval Order in the Bankruptcy Cases, the execution,
         delivery and performance by Seller of this Agreement and the consummation of the
         Transactions do not and will not, to the Knowledge of Seller (a) assuming compliance with
         the matters referred to in Section 3.3, violate any applicable Law or (b) result in the creation
         or imposition of any Lien on any Purchased Asset, except for Assumed Liabilities,
         Permitted Encumbrance, or Liens that will be released at or prior to Closing.

                 3.5    Consents. Except as disclosed on Schedule 3.5 (which may be modiﬁed
         prior to the Closing Date), and except for consents, approvals or authorizations of, or
         declarations or ﬁlings with, the Bankruptcy Court, to the Knowledge of Seller, there is no
         agreement or other instrument binding upon Seller requiring a consent or other action by
         any Person as a result of the execution, delivery and performance of this Agreement.
         Notwithstanding the foregoing, nothing set forth herein shall affect any right of the Seller
         to assume and assign the agreements listed on Schedule 3.5 pursuant to Section 365 of the
         Bankruptcy Code.

                 3.6    Litigation.    Except as disclosed on Schedule 3.6 and except for the
         Bankruptcy Cases, as of the date hereof, there is no action, suit, investigation or legal or
         administrative proceeding pending or, to the Knowledge of Seller, threatened against or
         affecting, the Purchased Assets (by any Governmental Authority or Person), including real
         estate tax assessment appeals, which in any manner challenges or seeks to prevent, enjoin,
         alter or materially delay the Transactions.

                 3.7     Permits. Schedule 2.1m sets forth a list of all Permits required to conduct
         and operate the Business in a manner consistent with the pre-Petition Date practices of the
         Debtors. Except as set forth on Schedule 3.7, to the Knowledge of the Seller, no written
         notice of violation of any Permit has been received from any Governmental Authority, and
         no proceeding is pending seeking to revoke or limit any such Permit.

                 3.8  Compliance with Laws and Court Orders. Seller is not in material violation
         of any Law applicable to the Purchased Assets or the conduct of the Business.
                 3.9     Intellectual Property Rights.        To the Knowledge of Seller,
         (a) Schedule  2.11g)  sets forth an accurate and complete list of all registered Intellectual
         Property Rights included in the Purchased Assets, and (b) there are no outstanding
         challenges to the ownership and use by Seller of the Intellectual Property Rights, nor any
         alleged infringements of such Intellectual Property Rights by third parties. To the
         Knowledge of Seller, none of the Intellectual Property Rights included in the PurChased
         Assets has been licensed by Seller to any other Person.

                3.10 Environmental Matters. To the Knowledge of Seller, and other than as
         described on Schedule 3.10: (a) neither the Seller nor the Debtors have received any notice
         ﬁom any Governmental Authority or third party of any violation of or failure to comply
         with any Environmental Laws with respect to the Acquired Owned Real Property which
         remains uncorrected, or of any obligation to undertake or bear the cost of any remediation
         with respect to the Acquired Owned Real Property which remains unperformed, and


                                                    17
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   47 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 47 of 191



         (b) the Acquired Owned Real Property is in compliance, in all respects, with applicable
         Environmental Laws.

                 3.11    Real Propegy. Schedule 2.11a) sets forth the address and description of all
         Acquired Owned Real Property. With respect to each parcel of Acquired Owned Real
         Property, to the Knowledge of Seller and except as set forth on Schedule 2.1(a), (a) there
         are no leases, subleases, licenses, concessions, or other agreements, written or oral,
         granting to any Person the right of use or occupancy of any portion of such Acquired
         Owned Real Property; (b) there are no outstanding options, rights of ﬁrst offer or rights of
         ﬁrst refusal to purchase such Acquired Owned Real Property (other than the right of
         Purchaser pursuant to this Agreement), or any portion thereof or interest therein; and
         (0) there are no condemnation or eminent domain proceedings pending or threatened with
         respect to all or any part of the Acquired Owned Real Property.

                 3.12    Employment Matters and Employee Beneﬁts. To the Knowledge of Seller,
         (a) Schedule   3.12 sets forth a complete and accurate list of Seller’s Employee Beneﬁt
         Plans; (b) with respect to each Employee Beneﬁt Plan, all payments, premiums,
         contributions, distributions, reimbursements or accruals for all periods (or partial periods)
         ending prior to or as of the Closing Date have been timely made in accordance with the
         terms of the applicable Employee Beneﬁt Plan and applicable Law; (c) there are no pending
         audits or investigations by any Governmental Authority involving any Employee Beneﬁt
         Plan, and there are no pending or threatened claims (except for individual claims for
         beneﬁts payable in the normal operation of the Employee Beneﬁt Plans), suits or
         proceedings involving any Employee Beneﬁt Plan, any trust or other funding medium
         thereof, ﬁduciary thereof or service provider thereto, nor is there any reasonable basis for
         any such claim, suit or proceeding; and (d) the Debtors have performed all material
         obligations required to be performed by them and are not in any material respect in default
         under or in violation of any Employee Beneﬁt Plan, nor has there been any such material
         default or violation by any other party to any Employee Beneﬁt Plan.

                 3.13  Taxes. To the Knowledge of Seller, all Tax Returns (including any IRS
        Forms W-2 or Forms 1099) required to be ﬁled by or on behalf of the Debtors (or any
        predecessor of the Debtors) and all Tax Returns required to be ﬁled in respect of any
        Purchased Asset have been timely ﬁled; provided, however, Seller makes no
        representations regarding the accuracy of such Tax Returns.

                 3.14   Sufﬁciency of and Title to the Purchased Assets. Seller will have at Closing
        good and marketable title to, or a valid leasehold interest in (or license or other right to
        use), all the Purchased Assets.

                3.15    Insurance. As of the date hereof, to the Knowledge of Seller, all material
        property and liability insurance policies set forth on Schedule 3.15 are in full force and
        effect, and no written notice of cancellation, termination or revocation or other written
        notice that any such insurance policy is no longer in full force or effect or that the issuer of
        any such insurance policy is not willing or able to perform its obligations thereunder has
        been received by Seller. All premiums due and payable on such insurance policies have
        been paid in full.


                                                    18
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   48 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 48 of 191


                 3.16     Service of Bankruptcy Documents. Seller shall appropriately and timely
          serve all parties in interest with copies of the Sale and Bidding Procedures Motion and
          applicable notices as may be required by the Federal Rules of Bankruptcy Procedure and
          Local Rules of the Bankruptcy Court.

                 3.17   Certain Fees. No agent, broker, investment banker or other person or ﬁrm
         acting on behalf of Seller or the Debtors, or under her or their authority is or will be entitled
         to any broker’s or ﬁnder’s fee or any other commission or similar fee or the reimbursement
         of expenses, directly or indirectly, from Seller in connection with this Agreement or the
         Transactions.

        Except as speciﬁcally set forth in this Section 3, Seller does not make any representations
 or warranties of any kind to Purchaser.

        4.      Representations and Warranties of Purchaser.                 Purchaser represents and
 warrants to Seller as follows:

                 4.1    Organization. Purchaser is a Delaware limited liability company duly
         organized, validly existing and in good standing and has all requisite authority to carry on
         its business.

                 4.2     Comorate Authorization. The execution, delivery and performance by
         Purchaser of this Agreement and the consummation of the Transactions are within the
         requisite power and authority of Purchaser and have been duly authorized by all necessary
         actions on the part of Purchaser. This Agreement constitutes a valid and binding agreement
         of Purchaser that is enforceable in accordance with its terms.
                 4.3     Governmental Authorization. The execution, delivery and performance by
         Purchaser of this Agreement and the consummation of the Transactions by Purchaser
         require no action by or in respect of, or ﬁling with, any Governmental Authority other than
         (a) consents, approvals or authorizations of, or declarations or ﬁlings with, the Bankruptcy
         Court, and (b) any such action or ﬁling as to which the failure to make or obtain would not
         have a material effect on Purchaser or its ability to close the Transactions.

                 4.4    Non-contravention. Neither the execution and delivery of this Agreement
         nor the consummation of the Transactions will (a) conﬂict with or result in any breach of
         any provision of organizational documents of Purchaser; (b) require any ﬁling with, or the
         obtaining of any Permit, authorization, consent or approval of, any Governmental
         Authority; (c) violate, conﬂict with or result in a default (or any event which, with notice
         or lapse of time or both, would constitute a default) under, or give rise to any right of
         termination, cancellation or acceleration under, any of the terms, conditions or provisions
         of any note, mortgage, other evidence of indebtedness, guarantee, license, agreement, lease
         or other contract, instrument or obligation to which Purchaser is a party or by which
         Purchaser or any of its assets may be bound; or (d) Violate any Law applicable to Purchaser,
         excluding from the foregoing clauses (b), (c) and (d) such requirements, Violations,
         conﬂicts, defaults or rights (i) which would not adversely affect the ability of Purchaser to



                                                    19
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   49 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 49 of 191



         consummate the Transactions, or (ii) which become applicable as a result        of any   acts or
         omissions by, or the status of or any facts pertaining to, Seller.

                  4.5     Litigation. There is no action, suit, investigation or proceeding pending
         against or, to the knowledge of Purchaser, threatened against or affecting Purchaser before
         any Governmental Authority which in any manner challenges or seeks to prevent, enjoin,
         alter or materially delay the Transactions.

                 4.6      Adeguacy of Funds. Purchaser has and at the time of Closing will have
         available to it on an unconditional basis cash proceeds in an amount sufﬁcient to satisfy its
         monetary and other obligations under this Agreement, including, without limitation, the
         obligation to pay the Purchase Price in accordance herewith.

         5.      Covenants of Seller. Seller agrees that:

                5.1     Access to Information. From the date hereof until the earlier of the
         termination of this Agreement pursuant to Section 9.1 or the Closing Date, Seller shall
         reasonably afford to Purchaser and its counsel, accountants and other representatives,
         access (at reasonable times during normal business hours) to and all properties, books,
         accounts, records and documents of, or relating to, the Business.

                5.2     Sales of De Minimis Assets. From the execution of the Term Sheet through
         the Closing Date, Seller shall cease all asset sales, including de minimis asset sales, through
         the Bankruptcy Court or otherwise.

                 5.3        Notices of Certain Events. Seller shall promptly notify Purchaser of:

                         (a)   any notice or other written communication from any Person alleging
                 that the consent of such Person is or may be required in connection with the
                 consummation of the Transactions;

                        (b)     any material written communication from any Governmental
                 Authority in connection with or relating to the Transactions; and

                        (c)     the commencement of any actions, suits, investigations or
                 proceedings relating to Seller, the Debtors, any Purchased Asset or the Business
                       if
                 that, pending on the date of this Agreement, would have resulted in a breach of
                 any representation contained in Section 3.

         6.      Covenants of Purchaser and Seller. Purchaser and Seller agree that:

                 6.1     Effort5' Further Assurances. Subject to the terms and conditions of this
         Agreement, Purchaser and Seller will use their respective commercially reasonable efforts
         to take, or cause to be taken, all actions and to do, or cause to be done, all things necessary
         under applicable Laws to consummate the Transactions contemplated by this Agreement.
         Seller and Purchaser agree to execute and deliver such other documents, certiﬁcates,
         agreements and other writings and to take such other actions as may be necessary in order



                                                     20
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   50 of 191
                                                    09/17/18 19:15:44 Desc Main
                                   Document        Page 50 of 191


         to vest in Purchaser good title to the Purchased Assets or to evidence the assumption by
         Purchaser of the Assumed Liabilities.

                 6.2     Certain Filings. Seller and Purchaser shall cooperate with one another in
         good faith (a) in determining whether any action by or in respect of, or ﬁling with, any
         Governmental Authority is required, or any actions, consents, approvals or waivers are
         required to be obtained from parties to any Assumed Contracts or Intellectual Property
         Rights, in connection with the consummation of the Transactions, and (b) in taking such
         actions or making any such ﬁlings, furnishing information required in connection therewith
         and seeking to timely obtain any such actions, consents, approvals or waivers.

                 6.3    Bankruptcy Issues.

                         (a)   Filing of Sale and Bidding Procedures Motion. Within three (3)
                 Business Days of the date of this Agreement, Seller shall ﬁle with the Bankruptcy
                 Court a motion (the “Sale and Bidding Procedures Motion”) seeking, among other
                 things, the entry of (i) the Approval Order, and (ii) an Order (the “Bidding
                 Procedures Order”) approving the bidding and auction procedures set forth in
                 Sections 6.31m and (g) (the “Bidding Procedures”).

                        (b)    Bidding Procedurgs. In the Sale and Bidding Procedures Motion,
                 Seller shall seek, among other things, approval of the following Bidding
                 Procedures, which shall be incorporated into the Bidding Procedures Order:

                                (i)     Bidding Deadline. Any third party (other than Purchaser) (a
                        “Bidder”) must submit a bid (the “B_id”) in accordance with the terms of the
                        Bidding Procedures so that the Bid is actually received by each of the Notice
                        Parties no later than 10:00 am. (prevailing Eastern time) on September 13,
                        2018 (the “Bid Deadline”). Written copies of all Bids shall be delivered by
                        the Bid Deadline to: (A) counsel to Seller, Fox Rothschild LLP, 2000
                        Market Street, 20th Floor, Philadelphia, PA 19103-3222, Attn: Michael
                       Menkowitz, Esq., mmenkowitz@foxrothschild.com; (B) counsel to the
                       Purchaser, Vedder Price RC, 222 N. LaSalle Street, Chicago, IL 60601,
                       Attn: Michael M. Eidelman, Esq., meidelman@vedderprice.com; and
                       (C) counsel to Fulton Bank, NA, Reed Smith LLP, 3 Logan Square, Suite
                       3100, 1717 Arch Street, Philadelphia, PA 19103, Attn: Brian M. Schenker;
                       (D) (collectively, the “Notice Parties”). A Bid received aﬁer the Bid
                       Deadline shall not constitute a Qualiﬁed Bid. A Bid shall be delivered to
                       all Notice Parties at the same time. Seller shall deliver to the Notice Parties,
                       at least forty-eight (48) hours prior to the Auction, written conﬁrmation
                       from the Seller that she has a good faith basis to believe the Bidder has a
                       sufﬁcient commitment for ﬁnancing pursuant to Section 6.31 [211 ii )1 [2)
                       hereof. Interested Bidders requesting information about the qualiﬁcation
                       process, including a copy of this Agreement, and information in connection
                       with their due diligence, should contact Seller’s counsel at the above
                       address.



                                                  21
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   51 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 51 of 191



                              (ii)  Desiggation a§ Qualiﬁed Bidder. To participate in the
                      Auction, a Bidder must submit a Bid that is determined by Seller to satisfy
                      each of the following conditions (a “5 Qualiﬁed Bid” and the entity
                      submitting such Qualiﬁed Bid, a “g Qualiﬁed Bidder”):

                                     (A)     Written    Submission of Modiﬁed APA and
                      Commitment to Close. Bidders must submit a Bid by the Bid Deadline in
                      the form of an executed mark-up of this Agreement (each a “Modiﬁed
                      A_1:A_”) reﬂecting such Bidder’s proposed changes to this Agreement
                      (together with a blackline of the Modiﬁed APA against this Agreement),
                      and a written and binding commitment to close on the terms and conditions
                      set forth therein. Seller may discuss the Modiﬁed APA of any Bidder after
                      submission with such Bidder including, for clariﬁcation, the terms and
                      conditions of the Modiﬁed APA. Each Modiﬁed APA shall (I) have
                      substantially similar terms and conditions (provided that no Bid other than
                      this Agreement may provide for payment of any break—up fee, expense
                      reimbursement, or similar type of payment) as this Agreement except with
                      higher and better consideration; and (11) contain terms and conditions in the
                      aggregate no less favorable to the Debtors’ estates than the terms and
                      conditions in this Agreement; provided, however, the Seller shall have the
                      sole discretion to sell the Debtors’ assets in the lots described in Section
                      6.31011 iv: (each, a “Lot Bid”) in accordance with the Bidding Procedures
                      Order and the Bidding Procedures. In order for a Modiﬁed APA to be
                      deemed a Qualiﬁed Bid, it must provide for the acquisition of all of the
                      Purchased Assets or contain a Lot Bid;

                                   (B)     Irrevocable. A Bid must be irrevocable until four (4)
                      Business Days after entry of the approval order, 2018 (the “Termination
                      Date”);

                                     (C)    Contingencies. A Bid may not be conditioned on
                      obtaining ﬁnancing or any internal approval or on the outcome or review of
                      due diligence. Any other contingencies associated with a Bid may not, in
                      the aggregate, be materially more burdensome than those set forth in this
                      Agreement;

                                     (D)     Financing Sources and Evidence of Financial Abiligy
                      to Close. A Bid must identify the actual Bidder and owners and ultimate
                      parent company of the Bidder and contain written evidence of a
                      commitment for ﬁnancing or other evidence of the ability to fund and
                      consummate the Sale on or before a closing date satisfactory to Seller with
                      appropriate contact information for such ﬁnancing or funding sources;

                                    (E)     No Fees Pavable to Bidder. A Bid may not request,
                      be conditioned on or otherwise entitle the Bidder (other than Purchaser) to
                      any break-up fee, expense reimbursement or similar type of payment. A
                      Bidder shall be deemed to waive the right to pursue a substantial


                                                22
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774.ref Doc 425Document      PageEntered
                            Filed 09/17/18   52 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 52 of 191


                      contn'bution claim under 11 U.S.C. § 503 related in any way to the
                      submission of its bid or the Bidding Procedures;

                                      (F)     Good-Faith Deposit. Each Bid must be accompanied
                      by   a cash depositin an amount equal to ten (10%) percent in cash of the
                      cash and the value of the non-cash purchase price allocated to the Purchased
                      Assets under the Modiﬁed APA, which shall be paid to Seller to be held in
                      an escrow account established at United Bank, ABA Number 211170318;
                      Account No. 710000007408; Name: Worley_& Obetz, Inc.; Reference             ——




                      Christine C. Shubert, Trustee in accordance with the Bidding Procedures;

                                      (G)    Minimum      Initial Overbid.        The aggregate
                      consideration in a Bid must have (I) a cash purchase price for the Purchased
                      Assets of the amount payable for the Purchased Assets under this
                      Agreement, being Eight Million One Hundred Thousand Dollars
                      ($8,100,000), p_l_1;§ (II) the amount of the Bid Protection, plyg (III) the
                      amount of the Break-Up Fee (the “Minimum Initial Overbid”);

                                        List of Executogy Contracts and Unexpired Leases.
                                      (H)
                      Each Bid must be accompanied by a list of Debtors’ executory and
                      unexpired leases that the Bidder desires to assume and a packet of
                      information, including ﬁnancial information, that will be provided to the
                      non-Debtor parties to such executory contracts and unexpired leases
                      sufﬁcient to demonstrate adequate assurance of future performance; and

                                      (I)      Fulton Bank. Notwithstanding anything set forth
                      hereunder, Fulton Bank, N.A. shall automatically be deemed to be a
                      Qualiﬁed Bidder hereunder without taking any actions otherwise required
                      to be taken under this Section 6.3, shall have consultation rights throughout
                      the Bid process, shall have the right to attend and participate at the Auction
                      without having submitted a Qualiﬁed Bid, and shall be a third-party
                      beneﬁciary to the Bid procedure in the same way as Purchaser.
                      Notwithstanding anything set forth hereunder, nothing herein shall alter or
                      modify the rights of Fulton Bank, N.A. under section 363(k) of the
                      Bankruptcy Code; provided, however, (i) Fulton Bank N.A. shall not
                      exercise its credit bid rights to make the Minimum Initial Overbid; and (ii)
                      any credit bid by Fulton Bank shall contain a stipulation and agreement with
                      Seller providing for the consensual use of cash collateral by Seller to pay
                      the Break-Up Fee to Purchaser and Fulton Bank shall enter into a stipulation
                      and agreement with Seller that Fulton Bank shall pay all amounts due under
                      the First Amended Stipulation and Order.

                              (iii) Due Diligence from Bidders. Each Qualiﬁed Bidder shall
                      comply with all reasonable requests for additional information by Seller
                      regarding such Bidder and its contemplated transaction. Failure by a Bidder
                      to comply with requests for additional information will be a basis for Seller
                      to determine that the Bidder is not a Qualiﬁed Bidder. Seller acknowledges


                                                 23
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   53 of 191
                                                    09/17/18 19:15:44 Desc Main
                                       Document     Page 53 of 191



                         that Purchaser is a Qualiﬁed Bidder and that this Agreement constitutes a
                         Qualiﬁed Bid.

                           (0)    Auction. The Seller shall conduct an auction sale of the Purchased
                  Assets to determine the highest and/or best Bid with respect to the Purchased Assets
                                         if
                  (the “Auction”) only she receives, prior to the Bid Deadline, ( 1) a Qualiﬁed Bid
                  (other than this Agreement) for the entirety of the Purchased Assets or (2)21
                  combination of Lot Bids (each of which must be a Qualiﬁed Bid) providing for, in
                  the aggregate, a Purchase Price that exceeds the Minimum Initial Overbid. The
                  Auction shall commence on September 17, 2018, at 9:00 am. (Eastern Standard
                  Time) at the ofﬁces of Fox Rothschild LLP, 2000 Market Street, 20th Floor,
                  Philadelphia, PA 19103. If no such Qualiﬁed Bid(s) is/are received by the Bid
                  Deadline, then the Auction shall not take place, Purchaser shall be declared the
                  Successﬁﬂ Bidder, and Seller shall seek approval of, and authority to consummate,
                  this Agreement and the Transactions at the Approval Hearing. If a Qualiﬁed Bid(s)
                  is/are received in accordance with these Bidding Procedures, the Auction shall be
                  conducted according to the following procedures:

                                 (i)      Participation at the Auction. Only a Qualiﬁed Bidder that
                         has submitted a Qualiﬁed     Bid is eligible to participate at the Auction. For
                          greater certainty, Purchaser is a Qualiﬁed Bidder and eligible to participate
                          at the Auction. Only the authorized representatives (including counsel and
                          other advisers) of each of the Purchaser, Qualiﬁed Bidders and Seller and
                          any other party in interest or its representative who provide Seller with
                          written notice forty—eight (48) hours prior to the Auction shall be permitted
                          to attend the Auction. During the Auction, the bidding shall begin With the
                         highest Qualiﬁed Bid (the “Opening Bid”) and each subsequent round of
                         bidding shall continue in minimum increments of at least the Subsequent
                          Overbid Increment. At least one (1) Business Day prior to the start of the
                         Auction, Seller shall provide a copy of the Opening Bid to all participating
                          Qualiﬁed Bidders attending the Auction and a blackline of the Opening Bid
                         to this Agreement. Seller shall select the Opening Bid, in her discretion.
                         The determination of which Qualiﬁed Bid constitutes the Opening Bid shall
                         take into account any factors Seller reasonably deems relevant to the value
                         of the Qualiﬁed Bid to Seller including, among other things, the following:
                         (A) the amount and nature of the consideration; (B) the proposed
                         assumption of liabilities, if any; (C) the ability of the Qualiﬁed Bidder to
                         close the proposed transaction; (D) the proposed closing date and the
                         likelihood, extent and impact of any potential delays in closing; (E) any
                         purchase price adjustments; (F) the impact of the contemplated transaction
                         on any actual or potential litigation; (G) the net economic effect of any
                         changes from this Agreement, if any, contemplated by the contemplated
                         transaction documents (the “Contemplated Transaction Documents”);
                         (H) the net after-Tax consideration to be received by Seller; (1) the net
                         amounts to be paid to the Debtors’ estates, taking into account, among other
                         things, payment of the Break—Up Fee and Cure Costs; and (J) such other


                                                    24
 ACTIVE\643 74627.v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09l17/18   54 of 191
                                                    09/17/18 19:15:44 Desc Main
                                     Document     Page 54 of 191



                      considerations as Seller deems relevant in her reasonable business judgment
                      (collectively, the “Bid Assessment Criteria”).

                              (ii)      Authorig to Bid.   A11 representatives of Qualiﬁed Bidders
                      who submit any bids at the Auction shall represent on the record that they
                      have authority to bid and that the Bid they submit is binding on the Qualiﬁed
                      Bidder.

                             (iii)    Conduct of the Auction. Seller and her advisers shall direct
                      and preside over the Auction. All Bids made aﬁer the Opening Bid shall be
                      Overbids (as deﬁned below), and shall be made and received on an open
                      basis, and all material terms of each Overbid shall be fully disclosed to all
                      other Qualiﬁed Bidders that are participating in the Auction. Each
                      Qualiﬁed Bidder will be permitted a fair, but limited amount of time to
                      respond to each Overbid. Seller shall maintain a transcript of the Opening
                      Bid and all Overbids made and announced at the Auction, including the
                      Successful Bid and the Back—up Bid;

                              (iv)    Lots. Qualiﬁed Bidders may submit a Lot Bid for one ( 1) or
                      more of the following Lots and the associated assets listed below, to the
                      extent they are not expired or revoked:

                      (1).   Lot No.     1~ Worley & Obetz, Inc.l Retail Division. Lot No. 1
                             consists of substantially all of the assets necessary to operate Worley
                              & Obetz, Inc.’s Retail Division, which was engaged in the business
                             of delivery of heating oil to local residences, and diesel, kerosene,
                             and gasoline fuel to local farms and businesses. Such assets include
                             certain (a) real property located across the street from 85 White Oak
                             Road, Manheim, PA 17545 (Tax Parcel No. 500-04089—0-0000),
                             and any building structure and improvements thereon, and all
                             personal property and ﬁ1e1 inventory located on the premises to the
                             extent personal property is not assigned and/or included in other
                             lots/divisions, (b) real property located at 24 New Charlotte Street,
                             Manheim, PA 17545, and any building, warehouse, structure, and
                             improvements thereon, and all personal property and fuel inventory
                             located on the premises to the extent personal property is not
                             assigned and/or included in other lots/divisions, (0) two (2) leases
                             for tank storage, (d) other storage and skid tanks, (6) access to
                             Cargas Energy system for customer information and location, (f)
                             retail tankwagon trucks and any fuel inventory located therein, and
                             (g) other related assets used in the business operations of Worley &
                             Obetz, Inc.’s Retail Division.

                      (2).   Lot No. 2     Worley & Obetz, Inc., Propane Division. Lot No. 2
                                             —

                             consists of substantially all of the assets necessary to operate Worley
                             & Obetz, Inc.’s Propane Division, which was engaged in the
                             business of delivery of propane ﬁlel to local residences, local farms


                                                 25
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   55 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 55 of 191



                             and businesses. Such assets include (a) three (3) propane tank
                             storage property leases, (b) certain customer tanks owned by Worley
                             & Obetz, Inc., (c) certain bulk storage tanks and any fuel inventory
                             included therein, ((1) various customer supply and delivery
                             agreements, (6) access to Cargas Energy system for customer
                             information and location, (i) certain propane tank parts and
                             installation equipment, (g) two (2) 2018 Ford F—350 Supercab
                             propane crane trucks, (h) one (1) 2015 Peterbilt 348 retail propane
                             truck and any fuel inventory located therein, (i) one (1) 2017
                             Peterbilt retail propane truck and any fuel inventory located therein,
                             (1') certain retail propane trucks, propane utility trucks, propane
                             crane tricks, and trailers for propane tanks and any fuel or other
                             inventory located therein, and (k) other related assets used in the
                             business operations of Worley & Obetz, Inc.’s Propane Division.

                      (3)-   Lot No. 3 — Worley & Obetz. Inc., Service & Installation Division.
                             Lot No. 3 consists of substantially all of the assets necessary to
                             operate Worley & Obetz, Inc.’s Service & Installation Division,
                             which was engaged in the business of installation and maintenance
                             of residential and small commercial HVAC systems for commercial
                             customers, which systems utilize heating oil and propane, electric
                             heat pumps, or natural gas. Such assets include (a) certain HVAC
                             service equipment, parts and sundry inventory stored at 85 White
                             Oak Road, Manheim, PA, (b) certain service contracts for customer
                             HVAC systems, (0) access to Cargas Energy system for customer
                             information and location, (d) one (1) 2017 Ford Transit 250 Service
                             Van and any HVAC service part inventory located therin, (e) certain
                             service vans and utility trailers and any HVAC service part
                             inventory located therein, and (1) other related assets used in the
                             business operations of Worley & Obetz, Inc.’s Service &
                             Installation Division.

                      (4)-   Lot No. 4 — Worley & Obetz, Inc., Value Energy North Division.
                             Lot No. 4 consists of substantially all of the assets necessary to
                             operate Worley & Obetz, Inc.’s Value Energy North Division,
                             which was engaged in the business of (a) delivery of heating oil and
                             propane to local residences, and diesel, kerosene, and gasoline fuel
                             to local farms and businesses, and (b) maintenance and service of
                             residential HVAC systems. Such assets include (a) leases for the
                             ofﬁce space located at 318 N. Elmer Avenue and 417 North Lehigh
                             Street, Sayre, PA 18840, (b) one (1) propane storage property tank
                             lease, (0) one (1) copier lease, ((1) certain customer tanks owned by
                             Worley & Obetz, Inc., (6) certain bulk storage tanks and any fuel
                             inventory located therein, (f) certain HVAC equipment and supplies
                             used for the maintenance and service residential customer HVAC
                             systems, (g) certain miscellaneous truck parts and maintenance
                             equipment, (h) access to Cargas Energy system for customer

                                               26
 ACTIVE\64374627.V4
Case 18-13774-ref     Doc 427     Filed 09/18/18           Entered 09/18/18 13:19:35         Desc Main
 Case 18-13774wref     Doc 425Document      PageEntered
                                Filed 09/17/18   56 of 191
                                                         09/17/18 19:15:44                 Desc Main
                              Document      Page 56 of 191


                             information and location, (i) one (1) 2017 Peterbilt retail propane
                             truck and any fuel inventory located therein, (j) certain service vans,
                             retail tankwagons, retail propane trucks, employee trucks and
                             vehicles and any ﬁlel or HVAC service part inventory located
                             therein, and (k) other related assets used in the business operations
                             of Worley & Obetz, Inc. ’8 Value Energy North Division.
                      (5)-   Lot No.   5   Worley & Obetz, Inc.I Value Energy South Division.
                                               —-


                             Lot No.       5      of substantially all of the assets necessary to
                                               consists
                             operate W&O’s Value Energy South Division, which was engaged
                             in the business of delivery of heating oil and propane to local
                             residences, and diesel, kerosene, and gasoline fuel to local farms and
                             businesses. Such assets include (a) access to Cargas Energy system
                             for customer information and location, (b) one (1) 2015 Peterbilt
                             348 retail tankwagon and any ﬁlel inventory located therein, (0)
                             certain retail propane trucks and retail tankwagons and any fuel
                             inventory located therein, and ((1) other related assets used in the
                             business operations of Worley & Obetz, Inc.’s Value Energy South
                             Division.

                      (6)-   Lot No.   6       —
                                                Worley & Obetz, Inc., Fleet Fueling Division. Lot No.
                             6 consists        of substantially all of the assets necessary to operate
                             Worley & Obetz, Inc.’s Fleet Fueling Division, which was engaged
                             in the business of delivery of gasoline, diesel and diesel exhaust
                             ﬂuid to customer sites and directly into customer fuel trucks. Such
                             assets include (a) access to Fleetcor system for customer
                             information and location, (b) 6,500 gallon diesel exhaust ﬂuid
                             storage tank and any inventory located therein, (c) two (2) 2018
                             Mack GU713 ﬂeet fueling trucks and any fuel inventory located
                             therein, (d) certain ﬂeet fueling trucks, ﬂeet fueling diesel exhaust
                             ﬂuid delivery trucks and vans, and utility trailer and any ﬁlel
                             inventory located therein, and (e) other related assets used in the
                             business operations of Worley & Obetz, Inc.’s Fleet Fueling
                             Division.

                      (7).   Lot No.   7 ~ Worley & Obetz, Inc., Wholesale Division. Lot No. 7
                             consists of substantially all of the assets necessary to operate Worley
                             & Obetz, Inc.’s Wholesale Division, which was engaged in the
                             business of delivery of gasoline, diesel and propane to resellers and
                             large users. Such assets include (a) six (6) leases for truck parking
                             lots at various locations, (b) one (1) lease for electronic logs with
                             Vendor Services Group, (c) access to Cargas Energy system for
                             customer information and location, (d) two (2) 2019 Peterbilt 567
                             Wholesale Tractors, (6) two (2) 2019 Heil Tank Trailers and any
                             fuel inventory located therein, (i) one (1)2007 Heil Petroleum Tank
                             Trailer and any fuel inventory located therein, (g) two (2) 2014
                             Peterbilt 388 Wholesale tractors, (h) one (1) 2014 Freightliner

                                                     27
 ACTIVE\64374627.V4
Case 18-13774-ref  Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18~13774—ref Doc 425 Document      PageEntered
                             Filed 09/17/18   57 of 191
                                                     09/17/18 19:15:44 Desc Main
                                 Document             Page 57 of 191



                              Coronado wholesale tractor, (i) three (3) 2016 Freightliner
                              Coronado wholesale tractors, (1') three (3) 2014 Heil DOT 406
                              wholesale tank trailers and any fuel inventory located therein, (k)
                              one (1) 2017 Heil DOT 406 wholesale tank trailer and any ﬁJel
                              inventory located therein, (1) seven (7) International wholesale
                              tractors (years 1999, 2007, 2010 (2), 2015, 2016), (m) seven (7)Hei1
                              Trailer wholesale tank trailers (years 2001 (2), 2002 (2), 2012, 2013,
                              and 2014) and any fuel inventory located therein, (n) three (3) 2015
                              Hail Trailer wholesale tank trailers and any fuel inventory located
                              therein, (0) two (2) 2017 Freightliner CA125DC wholesale tractors,
                              (p) one (1) 2017 Mack CXU613 wholesale tractor, (q) one (1)2017
                              Westmor Proline MC—331 wholesale propane trailer and any fuel
                              inventory located therein, (I) one (1) 2016 Beall Petroleum Trailer
                              and any fuel inventory located therein, (5) certain Wholesale tractors,
                              wholesale tank trailers, wholesale propane trailers, and utility
                              trailers and any fuel inventory located therein, and (t) other related
                              assets used in the business operations of Worley & Obetz, Inc.’s
                              Wholesale Division.

                      (8).    Lot No.    8        -
                                               Worlev & Obetz‘ Inc.. Pickup Truck Passenger
                              Vehicles. Lot No. 8 consists of Pickup Truck Passenger Vehicles
                              owned by Worley & Obetz, which vehicles include (a) ﬁve (5) Ford
                              F-150 (years 2001, 2013, 2013, 2015, and 2016), (b) four (4) Ford
                              F-250 (years 2003, 2011, 2014, and 2015), (c) one (1)2008 Ford F—
                              150 Supercab, ((1) three (3) Dodge Ram 1500 (years 2014 (1) and
                              2015 (2)), (e) one (1) 2017 Dodge Ram 2500, and (f) one (1) 2007
                              Dodge Dakota.

                      (9)-    Lot No. 9  Worley & Obetz, Inc., Premium Passenger Vehicles.
                                             —-


                              Lot No. 9 consists of Premium Passenger Vehicles owned by
                              Worley & Obetz, which vehicles include (a) six (6) Jeep Grand
                              Cherokee (years 2014 (2) and 2015 (4)), (b) one (1) 2015 Jeep
                              Cherokee, (c) one (1) 2015 Audi Q7, ((1) one (1) 2008 Cadillac
                              Escalade, (e) one (1) 2013 Volkswagen Toureg, (f) one (1) 2018
                              Range Rover, and (g) one (1) 2016 Ford Explorer.

                      (10).   Lot No. 10 — Worlev & Obetz. Inc.. Economv Passenger Vehicles.
                              Lot No. 10 consists of Premium Passenger Vehicles owned by
                              Worley & Obetz, which vehicles include (a) seven (7) Ford Escape
                              (years 2010 (2), 2016 (2), 2017 (3)), (b) two (2) 2018 Chevrolet
                              Equinox, (0) one (1) 2005 Jeep Liberty Sport, ((1) one (1) 2008 Jeep
                              Cherokee, (6) one (1) 2003 Ford Excursion, (f) one (1) 2015
                              Chevrolet Cruze, and (g) one (1)2017 Chevrolet Bolt.

                      (11).   Lot No.    ~ Amerigreen Propane. LLC, Wholesale Division. Lot
                                        11
                              No. 11 consists of substantially all of the assets necessary to operate
                              Amerigreen Propane, LLC’s Wholesale Division, which was

                                                      28
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   58 of 191
                                                    09/17/18 19:15:44 Desc Main
                                 Document              Page 58 of 191



                              engaged in the business of wholesale sales of propane to other
                              petroleum distributors. Such assets include (a) certain terminal
                              transloader agreements, (b) certain propane throughput agreements,
                              (c) ﬁlel inventory located at certain third party locations, ((1) access
                              to Cargas Energy system for customer information and location, (6)
                              one (1) truck and one (1) trailer for transloader owned by
                              Amerigreen Propane, LLC, and (f) other related assets used in the
                              business operations of Amerigreen Propane, LLC’s Wholesale
                              Division.

                      (12).   Lot No.   12   Ameriggeen Energy, Inc., Renewables Division. Lot
                                             —

                              No. 12 consists of substantially all of the assets necessary to operate
                              Amerigreen Energy, Inc.’s Renewables Division, which was
                              engaged in the business of wholesale sales of renewable fuels,
                              including biodiesel and ethanol, to other petroleum distributors.
                              Such assets include certain (a) terminal service and throughput
                              agreements at ﬁﬁy (50) terminal locations, (b) biodiesel storage,
                              blending, and throughput agreements, (0) ﬁnal inventory located at
                              certain third party locations, ((1) access to Cargas Energy system for
                              customer information and location, and (6) other related assets used
                              in the business operations of Amerigreen Energy, Inc. ’5 Renewables
                              Division.

                      (13).   Lot No.   13  Amerigzeen Energy, Inc., Petroleum Division. Lot No.
                                             —

                              13 consists        of substantially all of the
                                                                        assets necessary to operate
                              Amerigreen Energy,     Inc.’s Petroleum Division, which was engaged
                              in the business of wholesale sales of diesel, heating oil and gasoline
                              to other petroleum distributors. Such assets include (a) one (1) tank
                              storage lease, (b) certain terminal agreements, (c) certain terminal
                              throughput agreements, (d) certain terminal storage and throughput
                              agreements, (6) fuel inventory located at certain third party
                              locations, (f) certain marketing agreements, (g) access to Cargas
                              Energy system for customer information and location, and (h) other
                              related assets used in the business operations of Amerigreen Energy,
                              Inc.’s Petroleum Division.

                      (14).   Lot No.    14     Amerigreen EnersZV. Inc.. Electricitv Sunnlv &
                                                  —

                              Brokerage Divisions. Lot No. 14 consists of substantially all of the
                              assets necessary to operate Amerigreen Energy, Inc.’s Electricity
                              Supply & Brokerage Divisions, which were engaged in the
                              businesses of (a) supplying electricity purchased ﬁom wholesale
                              market for delivery to residential and commercial customers
                              through public utility companies, and (b) brokerage for sale of
                              electricity to residential and commercial customers for third party
                              suppliers. Such assets include (a) certain unexpired brokerage
                              contracts with future annuity payment stream, (b) brokerage area
                              covering any deregulated electricity state, (0) access to utility billing

                                                      29
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document       PageEntered
                            Filed (39/17/18   59 of 191
                                                      09/17/18 19:15:44 Desc Main
                          Document       Page 59 of 191



                              information and brokerage contracts, and ((1) other related assets
                              used in the businesses of Amerigreen Energy, Inc.’s Electricity
                              Supply & Brokerage Divisions.

                      (15).   Lot No.   15   Amerigreen Energy. Inc.. Natural Gas Division. Lot
                                             —

                              No. 15 consists of substantially all of the assets necessary to operate
                              Amerigreen Energy, Inc.’s Natural Gas Division, which was
                              engaged in the business of supplying natural gas purchased from
                              wholesale market for delivery to residential and commercial
                              customers through ten (10) public utility companies. Such assets
                              include (a) the supply area for residential and commercial customers
                              across Pennsylvania, New York and New Jersey, (b) access to utility
                              billing information and brokerage contracts, and (0) other related
                              assets used in the business of Amerigreen Energy, Inc.’s Natural
                              Gas   Division.

                      (16).   Lot No.   16 — Amerigreen Energv.   1110..   Passenger Vehicles. Lot No.
                              16 consists     of Passenger Vehicles owned by Amerigreen Energy,
                              Inc., which vehicles include (a) six (6) Jeep Grand Cherokee (years
                              2010 (2), 2014 (3), and 2015), (b) two (2) 2016 Ford Escape, (0) one
                              (1) 2015 Chevrolet Tahoe, and (d) one (1) 2011 Ford F-650 Box
                              Truck.

                      (17).   Lot No.        17  Worlev & Obetz. Inc.. Real Pronertv and
                                                  —

                              Improvements at 107 Mavtown Road. Elizabethtown. PA. Lot No.
                              17 consists of the real property located at 107 Maytown Road,
                              Elizabethtown, PA, and all buildings, improvements, and personal
                              property located thereon.

                      (18).   Lot No.   18  Worley & Obetz, Real Propegty, Ofﬁce Building, and
                                             —~



                              Warehouse located at 85 White Oak Road Manheim PA 17545.
                              Lot No. 18 consists of the real property located at 85 White Oak
                              Road, Manheim, PA 17545 (Tax Parcel No. 500-273 34-0—0000), the
                              ofﬁce building, warehouse, and improvements thereon, and all
                              personal property located on the premises to the extent personal
                              property is not assigned and/or included in other lots/divisions. Lot
                              No. 18 speciﬁcally excludes the retail storage area located across
                              the street. Lot No. 18 also includes (a) one (1) electric motorcycle,
                              (b) one (1) 2010 John Deere Gator, (0) one (1) custom motorcycle,
                              (d) one (1) Hyster Towmotor forklift, and (6) one (1) 2014 John
                              Deere Z950R LP Mower.

                              (V)     Terms of Overbids. An “Overbid” is any Bid made at the
                      Auction subsequent to Sellers’ announcement of (A) the Opening Bid, and
                      (B) the then highest and/or best Overbid at the beginning of each subsequent
                      round of bidding (the “Round Leading Bid”). To submit an Overbid, in any



                                                      30
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                            Filed 09/17/18    60 of 191
                                                     09/17/18 19:15:44 Desc Main
                                Document        Page 60 of 191


                      round of the Auction, a Qualiﬁed Bidder must comply With the following
                      conditions:

                                    (A)     Subseguent Overbid Increment. Any Overbid shall
                      be made in increments of at least two hundred ﬁfty thousand dollars
                      ($250,000.00) (the “Subsequent Overbid Increment”). The amount of the
                      Purchase Price of any Overbid shall not be less than the Purchase Price of
                      the Opening Bid or the Round Leading Bid, as applicable.

                                      (B)    Remaining Terms the Same as for Qualiﬁed Bids.
                      Except as modiﬁed herein, an Overbid must comply with the conditions for
                      a Qualiﬁed Bid and the Minimum Initial Overbid requirements shall be
                      replaced with the Subsequent Overbid Increment requirements set forth
                      above; provided, however, that the Bid Deadline shall not apply. Any
                      Overbid made by a Qualiﬁed Bidder must remain open and binding on the
                      Qualiﬁed Bidder until the Termination Date. Seller shall credit the amount
                      of the Break-Up Fee to each and every Overbid submitted by Purchaser at
                                                 if
                      the Auction, meaning that Purchaser’s subsequent Overbid is the Round
                      Leading Bid, any subsequent Overbid must exceed Purchaser’s Overbid by
                      the amount of the Break-Up Fee and Subsequent Overbid Increment. To
                      the extent not previously provided (which shall be determined by Seller), a
                      Qualiﬁed Bidder submitting an Overbid must submit, as part of its Overbid,
                      written evidence (in the form of ﬁnancial disclosure or credit—quality
                      support information or enhancement acceptable to Seller in her reasonable
                      business judgment) demonstrating such Qualiﬁed Bidder’s ability to close
                      the transaction proposed by such Overbid.

                                     (C)     Announcing Overbids. At the start of each round of
                      bidding, Seller shall announce the Round Leading Bid, the basis for
                      calculating the total consideration offered in the Round Leading Bid, and
                      the resulting beneﬁt to Seller based on, among other things, the Bid
                      Assessment Criteria.

                               (vi)    Closing the Auction. Upon conclusion of the bidding, the
                      Auction shall be closed, and Seller shall identify the highest and/or best
                      Overbid or Opening Bid (the “Successﬁll Bid” and the entity or entities
                      submitting such Successful Bid, the “Successﬁﬂ Bidder”), and the next
                      highest and/or best Overbid or Opening Bid, after the Successful Bid (the
                      “Back-up Bid”), and advise the remaining Qualiﬁed Bidders of such
                      determination. All bidding for the Purchased Assets will be concluded at
                      the Auction and there will be no further bidding at the Bankruptcy Court
                      hearing held in the Bankruptcy Cases to approve the highest or best bid for
                      the Purchased Assets (the “Approval Hearing”). If the Successful Bidder
                      fails to close on the Successful Bid, the Back—up Bid shall automatically be
                      deemed to be the winning Bidder; provided, however, the Back-up Bid shall
                      be recalculated to an amount that would have been the Successful Bid had



                                                31
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document       PageEntered
                            Filed (39/17/18   61 of 191
                                                      09/17/18 19:15:44 Desc Main
                          Document       Page 61 of 191


                           the Successful Bidder not participated at the Auction,   pl_u_s_   an additional
                           $100,000.

                           (d)    Consent to Jurisdiction as Condition to Bid.   All Qualiﬁed Bidders
                 at the Auction shall be deemed to have consented to the jurisdiction of the Court
                 and waived any right to a jury trial in connection with any disputes relating to the
                 Auction, and the construction and enforcement of the Bidder’s Contemplated
                 Transaction Documents, as applicable. Qualiﬁed Bidders (other than Purchaser)
                 shall not be deemed third party beneﬁciaries of these Bidding Procedures and shall
                 not have standing to object to the administration of the Bidding Procedures by
                 Seller.

                           (e)     Reimbursement of Deposit; Break—Up Fee. Upon consummation of
                 a sale   of all or substantially all of the Purchased Assets to any third party (other
                 than Purchaser) who submits the Successful Bid for the Purchased Assets, upon the
                 occurrence of the actions set forth in Section 9.1(a), 9.1(b). 9.1(d). or 9.1(f). or    if
                 Seller commits a material breach of this Agreement or unilaterally abandons
                 consummation of the Transactions contemplated by this Agreement, Seller shall
                 (i) pay to Purchaser in immediately available funds an amount equal to the Break-
                 Up Fee, and (ii) refund the Deposit. The provisions of this Section 6.3161 shall
                 survive any termination of this Agreement. The Break—Up Fee shall be treated as a
                 Chapter 7 administrative expense claim in the Bankruptcy Cases, and shall be paid
                 to Purchaser upon the earlier to occur from (x) the closing of the sale of all or
                 substantially all of the Purchased Assets to any third party (and no Lien of any third
                 party shall attach to the portion of the sale proceeds representing the Break-Up Fee),
                 or (y) the Closing of the Bankruptcy Cases. The obligation to pay the Break-Up
                 Fee and Deposit under this Agreement shall be absolute and unconditional and shall
                 not be subject to any defense, claim, counterclaim, offset, recoupment or reduction
                 of any kind whatsoever, provided, however, that, for the avoidance of doubt and
                 notwithstanding anything herein to the contrary, the Break-Up Fee shall only be
                 payable   ifapproved by the Bankruptcy Court. Purchaser’s right to the Break-Up
                 Fee shall be the sole and exclusive remedy of Purchaser in the event Seller
                                                          if
                 materially breaches this Agreement or this Agreement is terminated by Seller.

                        (f)     Bankruptcy Court Apgroval of Sale. Seller and Purchaser shall each
                use their reasonable efforts, and shall cooperate, assist and consult with each other,
                to secure the entry of an Order (the “Approval Order”) of the Bankruptcy Court in
                the Bankruptcy Cases in form and substance acceptable to Seller and Purchaser
                containing provisions, including without limitation, (i) approving this Agreement,
                (ii) authorizing the sale of the Purchased Assets pursuant to Section 363 of the
                Bankruptcy Code, (iii) authorizing the assumption and assignment of the Assumed
                Contracts pursuant to Section 365 of the Bankruptcy Code, (iv) authorizing the
                Transactions, (v) approving the Break-Up Fee and Bid Protection and
                (vi) providing that this Agreement and the Transactions are undertaken by
                Purchaser and Seller at arm’s length, without collusion, and in good faith within
                the meaning of Section 363(m) of the Bankruptcy Code, that Purchaser and Seller
                are entitled to the protections of Section 363(m) of the Bankruptcy Code, and that


                                                    32
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   62 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 62 of 191


                  the provisions of Section 363(n) of the Bankruptcy Code are not applicable. Seller
                  and Purchaser shall cooperate with one another in good faith regarding pleadings
                  that either of them intends to ﬁle, or positions either of them intends to take, with
                  the Bankruptcy Court in connection with or that might reasonably affect the
                  Bankruptcy Court’s entry of the Approval Order.

                 6.4     Computer Sygtems. After Closing, Purchaser shall afford Seller and
         Debtors, their respective employees, consultants, accountants, attorneys, or other advisers,
         agents, or other representatives (collectively, the “Seller Representatives”), full access
         (remote or on-site access) to any and all books and records, computer hardware,
         computer peripherals, computer software and data, computer systems, personnel
         records, paper or electronic ﬁles, data generated by and/or stored on either Purchaser
         computer systems and storage media (e. g., backups, hard drives, ﬂash or "thumb" drives,
         CD'S, DVD's, etc.), or any other electronically stored documents, information'and/or
         data, and any and all other records and ﬁles concerning the Debtors, the Business, the
         Purchased Assets, and personnel (collectively, the "Records"), and shall furnish such
         Records to the Seller Representatives, as Seller and the Debtors may request. Purchaser
         will also allow the Debtors’ computer consultant to access and monitor the Records.
         Purchaser shall preserve any and all Records from destruction or alteration until the date
         that is ninety (90) days aﬁer Purchaser provides written notice to Seller and Debtors
         pursuant to Section 6.9 below of Purchaser's request to destroy any Records; provided,
         however, that Purchaser may not provide such written notice during the ﬁrst 120 days
         after Closing and further provided that Seller or the Debtors shall have the right to
         purchase back such Records at fair market value upon receipt of such written notice
         before such Records are destroyed.

                 6.5   Personally Identiﬁable Information.      Purchaser acknowledges that
         Purchaser is acquiring certain personally identiﬁable information as part of the
         Purchased Assets, including, without limitation, names, addresses, email addresses,
         telephone numbers, Social Security numbers, government identiﬁcation numbers.
         Purchaser hereby agrees and covenants to remain in compliance with all applicable Law,
         including, without limitation, applicable data and/or privacy Laws, concerning the
         ownership, possession, and treatment of such personally identiﬁable information.

                 6.6    Ofﬁce Access. For a period of thirty (30) days after Closing, Purchaser
         shall allow Seller and the Debtors full access to the ofﬁces located at 85 White Oak Road,
         Manheim, PA 17545 during business hours.

                 6.7     Cooperation. The parties hereto shall cooperate ﬁllly with each other and
         their respective counsel and agents and representatives in connection with all steps to be
         taken as part of their obligations under this Agreement.

                 6.8    Assiggees. Diesel shall cause the Assignees to comply with all Purchaser
         obligations hereunder to Seller and Diesel shall remain liable for all Purchaser
         obligations to Seller and Liabilities hereunder.




                                                    33
 AC'ITVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   63 of 191
                                                     09/17/18 19:15:44 Desc Main
                                   Document        Page 63 of 191


                   6.9   Notices. If at any time (a) Purchaser becomes aware of any material breach
         by Seller of any representation, warranty, covenant or agreement contained herein and such
         breach is capable of being cured by Seller, or (b) Seller becomes aware of any breach by
         Purchaser of any representation, warranty, covenant or agreement contained herein and
         such breach is capable of being cured by Purchaser, the Party becoming aware of such
         breach shall promptly notify the other Party, in accordance with Section 10.1, in writing of
         such breach. Upon such notice of breach, the breaching Party shall have until the earlier
         of (y) ten (10) days aﬁer receiving such notice, and (z) the End Date, to cure such breach
         prior to the exercise of any remedies in connection therewith.

         7.        Tax Matters.

                 7.1     Tax Cooperation. Purchaser and Seller agree to ﬁlrnish or cause to be
         furnished to each other, upon request, as promptly as practicable, such information and
         assistance relating to the Purchased Assets (including access to books and records) as is
         reasonably necessary for the preparation and ﬁling of any Tax Returns, the making of any
         election relating to Taxes, the preparation for any audit or examination by any Taxing
         Authority, and the prosecution or defense of any Claim, suit or proceeding relating to any
         Tax. Seller and Purchaser shall cooperate with each other in good faith in the conduct of
         any audit or other proceeding relating to Taxes involving the Purchased Assets or the
         Business (each, a “Tax Claim”), provided that Seller shall (a) promptly notify Purchaser of
         any notice received in respect to any Tax Claim, (b) promptly notify Purchaser of any
         signiﬁcant developments regarding such Tax Claim, (0) permit Purchaser (if Purchaser so
         chooses) to control the defense and/or resolution of any Tax Claim if any resolution or
         settlement of such Tax Claim reasonably could be expected to have an effect on Purchaser,
         any of Purchaser’s Afﬁliates or any Purchased Asset for any taxable period, (d) take all
         actions and cooperation reasonably necessary in ﬁlrtherance of the immediately preceding
         clause (c), and (e) not settle or otherwise resolve any Tax Claim without the prior written
         consent   of Purchaser.

                 7.2    Transfer Taxes. All transfer, documentary, sales, use, stamp, registration
         and other such Taxes and fees (including any penalties and interest thereon) incurred in
         connection with this Agreement (collectively, “Transfer Taxes”) shall be split equally
        between Seller and Purchaser, and Purchaser shall ﬁle all necessary Tax Returns and other
        documentation with respect to all such transfer, documentary, sales, use, stamp, registration
                                      if
         and other taxes and fees, and required by applicable law, the Seller and the Debtors shall
        join in the execution of any such Tax Returns and other documentation. The cost of ﬁling
        any such tax returns shall be split equally between Seller and Purchaser.

                 7.3                                                                          if
                         Real Property Taxes. Real estate Taxes and water and sewer rents, any,
         shall be apportioned and pro—rated between Seller and Purchaser as of the Closing Date.
         All state, county and local realty, conveyance, recordation and/or documentary Transfer
         Taxes shall be split equally between the Purchaser and Seller. Any real estate Taxes not
         known or estimated at the Closing and/or real estate Taxes readjusted by municipal
         authorities after the Closing shall be re-prorated when the amount thereof becomes known.




                                                  34
 ACTIVE\64374627.V4
Case 18-13774-ref       Doc 427  Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18—13774-ref              Document     PageEntered
                         Doc 425 Filed 09/17/18   64 of 191
                                                          09/17/18 19:15:44 Desc Main
                                Document     Page 64 of 191



                 7.4     Personal Progem, Ad Valorem and Excise Taxes. Purchaser shall not be
         liable for any unpaid personal property, ad valorem or excise taxes assessed or due to be
         paid prior to the Closing Date.

         8.      Closing Conditions.

                 8.1   Conditions to Obligations of Purchaser and Seller. The obligations of
         Purchaser and Seller to consummate the Closing are subject to the satisfaction at or before
         Closing of each and every one of the following conditions:

                         (a)      The Bankruptcy Court shall have entered the Approval Order in the
                 Bankruptcy Cases, and the Bankruptcy Court shall have waived the stay imposed
                 by Rule 6004(h) of the Federal Rules of Bankruptcy Procedure as to the Approval
                 Order, authorizing the Transactions and approving this Agreement under
                 Sections 105(a), 363 and 365 of the Bankruptcy Code, in form and substance
                 reasonably acceptable to Seller and Purchaser, and the Approval Order shall contain
                 ﬁndings that Purchaser acquired the Purchased Assets in good faith, for fair value,
                 in an arm’s length transaction, and as of the Closing Date the Approval Order shall
                 be in full force and effect, shall not then be stayed, and shall not have been vacated
                 or reversed; and

                        (b)   No injunction, stay or similar Order issued by any Governmental
                 Authority shall be in effect that restrains, enjoins, stays or prohibits the
                 consummation   of the Transactions.
                 8.2    Conditions to Obligations of Purchaser. The obligation of Purchaser to
         consummate the Closing is subject to the satisfaction (or waiver by Purchaser) of the
         following further conditions:

                        (a)     Seller shall have performed in all material respects all of its
                 obligations hereunder required to be performed by Seller on or prior to the Closing
                 Date;

                        (b)    the representations and warranties of Seller contained in this
                Agreement shall be true and correct in all material respects at and as of the Closing
                          if
                Date, as made at and as of such date (or to the extent such representations and
                warranties speak as of an earlier date, they shall be true and correct as of such earlier
                date);

                        (0)     Seller shall not be in default in any material respect under the
                provisions of this Agreement; and

                        (d)   Purchaser shall have received all      of the documents required to     be
                delivered by Seller under Section 2.9.

               8.3     Conditions to Obligations of Seller. The obligation of Seller to consummate
        the Closing is subject to the satisfaction (or waiver by Seller) of the following further
         conditions:

                                                    35
 ACTIVE\64374627.V4
Case 18-13774-ref         Doc 427  Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774wref                Document     PageEntered
                           Doc 425 Filed 09/17/18   65 of 191
                                                            09/17/18 19:15:44 Desc Main
                                  Document     Page 65 of 191



                          (a)     Purchaser shall have performed in all material respects all of its
                   obligations hereunder required to be performed by it at or prior to the Closing Date;

                           (b)     the representations and warranties of Purchaser contained in this
                   Agreement shall be true and correct in all material respects at and as of the Closing
                   Date, as if made at and as of such date (or to the extent such representations and
                   warranties speak as of an earlier date, they shall be true and correct in all material
                   respects as of such earlier date);

                          (c)     Purchaser shall not be in default in any material respect under the
                  provisions of this Agreement; and

                           ((1)   Seller shall have received all    of   the documents required to be
                   delivered by Purchaser under Section 2.10.

          9.       Termination.

                   9.1    Grounds for Termination. This Agreement may be terminated at any time
          prior to the Closing:

                          (a)     by mutual written agreement of Seller and Purchaser;

                         (b)    by Seller or Purchaser,        if the Closing shall not have been
                  consummated on or before October 16, 2018 (the “End Date”), unless the Party
                  seeking termination is in breach of its obligations hereunder;

                          (c)    by Seller or Purchaser, if any condition set forth in Section 8.1 is not
                  satisﬁed, and such condition is incapable of being satisﬁed by the End Date;

                          ((1)   by Purchaser, if any condition set forth in Section 8.2 has not been
                  satisﬁed, and such condition is incapable of being satisﬁed by the End Date;

                         (6)     by Seller, if any condition set forth in Section 8.3 has not been
                  satisﬁed, and such condition is incapable of being satisﬁed by the End Date; or

                          (f)                if
                                 by Seller, (i) Seller executes a deﬁnitive agreement with a third
                  party (other than Purchaser) for the acquisition of all or substantially all the
                  Purchased Assets, and (ii) the Bankruptcy Court enters an Order in the Bankruptcy
                  Cases approving such deﬁnitive agreement.

 The Party desiring to terminate this Agreement pursuant to this Section 9.1 (other than pursuant to
 Section 9.11211) shall give notice of such termination to the other Party in accordance with
 Section 10.1.

                 9.2    Effect of Termination. If this Agreement is terminated as permitted by
         Section 9.1, such termination shall be without Liability of any Party (or any stockholder,
         director, ofﬁcer, employee, agent, consultant or representative of such Party) to the other



                                                     36
 AC'I'IVE\64374627.V4
Case 18-13774-ref       Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18—13774-ref       Doc 425Document      PageEntered
                                  Filed 09/17/18   66 of 191
                                                           09/17/18 19:15:44 Desc Main
                                Document      Page 66 of 191


         Party to this Agreement except as expressly provided in Section 6.3161. The provisions of
         Section 63(6) shall survive any termination hereof pursuant to Section 9.1.

                9.3   Fees and Expenses. Except as otherwise set forth expressly herein, all costs
         and expenses incurred by the Parties in connection with obtaining Bankruptcy Court
         approval and consummation of this Agreement and the Transactions contemplated hereby
         shall be paid by the Party incurring such cost or expense.

         10.     Miscellaneous.

                10.1   Notices. All notices, requests and other communications to any Party
         hereunder shall be in writing (including via electronic mail) and shall be given,

                        if to Purchaser, to:
                                 Diesel Direct Holdings, Inc.
                                 c/o
                                 John T. McLaughlin
                                 Berluti McLaughlin & Kutchin LLP
                                 44 School Street, Boston,   MA 02108
                                 T: (617) 557-3030
                                 Email: jmclaughlin@bmklegal.com

                        if to Seller, to:
                                Christine C. Shubert
                                821 Wesley Avenue
                                Ocean City, NJ 08226
                                e-mail: Christine.shubert@bmstrustee.onmicrosoft.com

                        with a copy to (which shall not constitute notice):

                                Fox Rothschild LLP
                                2000 Market Street
                                20th Floor
                                Philadelphia, PA 19103
                                Attn: Michael Menkowitz
                                e-mail: mmenkowitz@foxrothschild.com

 All  such notices, requests and other communications shall be deemed received on the date of
 receipt by the recipient thereof if received prior to 5:00 pm. in the place of receipt and such day
 is a Business Day in the place of receipt. Otherwise, any such notice, request or communication
 shall be deemed not to have been received until the next succeeding Business Day in the place of
 receipt.

               10.2     Limitation on Damages. No Party shall be authorized to recover from the
        other Party any special, consequential, exemplary or punitive damages on account of any
        breach of this Agreement, AND ANY SUCH CLAIM, RIGHT, OR CAUSE OF ACTION


                                                  37
 ACTIVE\64374627.v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   67 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 67 of 191



         FOR ANY SUCH DAMAGES IS HEREBY FULLY WAIVED, RELEASED AND
         FOREVER DISCHARGED.

                 10.3    Waivers. No failure or delay by any Party in exercising any right, power or
         privilege hereunder shall operate as a waiver thereof, nor shall any single or partial exercise
         thereof preclude any other or further exercise thereof or the exercise of any other right,
         power or privilege. The rights and remedies herein provided shall be cumulative.

                 10.4    Successors and Assiggs. The provisions of this Agreement shall be binding
         upon and inure to the beneﬁt of the Parties and their respective successors and assigns;
         provided, however, that no Party may assign, delegate or otherwise transfer any of its rights
         or obligations under this Agreement Without the written consent of the other Party;
         provided ﬁu’ther that Purchaser shall have the right to designate one or more wholly owned
         subsidiaries or Afﬁliates to take title to the Purchased Assets at the Closing, so long as
         Purchaser remains liable for all of its obligations hereunder and provided such designation
         does not violate any consent or other approval which has been obtained by Seller.

                 10.5   Governing Law. This Agreement shall be governed by and construed in
         accordance with the Laws of the Commonwealth of Pennsylvania and any applicable
         provisions of the Bankruptcy Code, without regard to the principles of conﬂicts of Law
         that would provide for application of another Law.

                 10.6    Jurisdiction.

                         (21)    Prior to the closing of the Bankruptcy Cases, the Parties hereto agree
                 that any suit, action or proceeding seeking to enforce any provision of, or based on
                 any matter arising out of or in connection with, this Agreement or the Transactions
                 shall be brought exclusively in the Bankruptcy Court, and each of the Parties hereby
                 irrevocably consents to the jurisdiction of the Bankruptcy Court (and of the
                 appropriate appellate courts therefrom) in any such suit, action or proceeding and
                 irrevocably waives, to the fullest extent permitted by Law, any objection that it may
                 now or hereafter have to the laying of the venue of any such suit, action or
                 proceeding in the Bankruptcy Court or that any such suit, action or proceeding
                 which is brought in the Bankruptcy Court has been brought in an inconvenient
                 forum. Process in any such suit, action or proceeding may be served on any Party
                 anywhere in the world, Whether within or without the jurisdiction of the Bankruptcy
                 Court. Without limiting the foregoing, each Party agrees that service of process on
                 such Party as provided in Section 10.1 shall be deemed effective service of process
                 on such Party.

                        (b)     After the closing of the Bankruptcy Cases, except as otherwise
                expressly provided in this Agreement, the Parties hereto agree that any suit, action
                or proceeding seeking to enforce any provision of, or based on any matter arising
                out of or in connection with, this Agreement or the Transactions may be brought in
                any court having subject matter jurisdiction over such suit, action or proceeding,
                and that any cause of action arising out of this Agreement shall be deemed to have
                arisen from a transaction of business in the Commonwealth of Pennsylvania, and


                                                   38
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   68 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 68 of 191



                 each   of the Parties hereby irrevocably consents to the jurisdiction of such courts
                 (and   of the appropriate appellate courts therefrom) in any such suit, action or
                 proceeding and irrevocably waives, to the fullest extent permitted by Law, any
                 objection that it may now or hereafter have to the laying of the venue of any such
                 suit, action or proceeding in any such court or that any such suit, action or
                 proceeding which is brought in any such court has been brought in an inconvenient
                 forum. Process in any such suit, action or proceeding may be served on any Patty
                 anywhere in the world, Whether within or without the jurisdiction of any such court.
                 Without limiting the foregoing, each Party agrees that service of process on such
                 Party as provided in Section 10.1 shall be deemed effective service of process on
                 such Party.

                   Waiver of Iggy Trial. EACH OF THE PARTIES HERETO HEREBY
                 10.7
         IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY
         LEGAL PROCEEDIN G ARISING OUT OF OR RELATED TO THIS AGREEMENT OR
         THE TRANSACTIONS.

                 10.8   No Third-Party Beneﬁciaries. Other than as set forth in Section 10.101a),
         no provision of this Agreement is intended to confer upon any Person other than the Parties
         hereto any rights or remedies hereunder.

                 10.9   Entire Agzeement; Amendments; Countemarts. This Agreement (including
         the Schedules and Exhibits hereto) sets forth the entire agreement between the Parties with
         respect to the subject matter hereof and may be amended only by a writing executed by
         Purchaser and Seller. This Agreement may be executed in counterparts, each of which
         when taken together shall constitute an original. A signed copy of this Agreement
         delivered by facsimile, e-mail or other means of electronic transmission shall be deemed
         to have the same legal effect as delivery of an original signed copy of this Agreement. This
         Agreement shall become effective when each Party hereto shall have received a counterpart
         hereof signed by the other Party hereto. In the event of any conﬂict or inconsistency
         between the statements in this Agreement and the Bidding Procedures, the statements in
         this Agreement shall control.

                 10.10 Pre-Petition Secured Partv.

                        (a)     Notwithstanding anything to the contrary herein, Fulton Bank, NA.
                (the “Pm-Petition Secured Pm”) will be deemed a third-party beneﬁciary
                hereunder entitled to exercise and enforce any and all rights, powers, privileges and
                remedies of Seller pursuant to this Agreement or any other agreement, instrument
                or document executed in connection herewith. Without limiting the generality of
                the foregoing, and notwithstanding anything to the contrary in this Agreement or in
                any other agreement, instrument or document executed in connection herewith,
                Seller will not exercise any right to terminate, or execute and deliver or otherwise
                provide any waivers, consents or amendments under, this Agreement or any of the
                other agreements, instruments or documents executed in connection herewith,
                without the prior written consent of the Pre-Petition Secured Party (which shall not
                be unreasonably withheld, conditioned or delayed).


                                                   39
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   69 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 69 of 191



                          (b)     Notwithstanding anything to the contrary in this Agreement or any
                 other agreement, instrument or document executed in connection herewith, the Pre-
                 Petition Secured Paxty (i) is not making any representations or warranties to any or
                 all of Seller, Purchaser or any of their respective Afﬁliates in connection with this
                 Agreement or any other agreement, instrument or document executed in connection
                 herewith, or the transactions contemplated herein or therein, (ii) will not be liable
                 to any Person for any breach by any or all of Seller, Purchaser or any of their
                 respective Afﬁliates or any of their respective representations, warranties,
                 covenants or other agreements in connection with this Agreement or any other
                 agreement, instrument or document executed in connection herewith or any of the
                 Transactions contemplated herein or therein, and (iii) will not have any obligations
                 or liabilities under or in respect of any of this Agreement or any other agreement,
                 instrument or document executed in connection herewith or any of the Transactions
                 contemplated herein or therein, other than the release of any mortgages, security
                 interests, Liens and the like. Without limiting the generality of the foregoing,
                 provided the Approval Order is entered, under no circumstances will the Pre-
                 Petition Secured Party be obligated to return or otherwise disgorge to or for the
                 beneﬁt of Purchaser or any Afﬁliate thereof any proceeds remitted to the Pre-
                 Petition Secured Party, other than the Break-Up Fee (if applicable).

                 10.11  Headings; Integgretation. The headings contained in this Agreement are for
         convenience of reference only and shall not affect the meaning or interpretation of this
         Agreement. Whenever the words “include,” “includes” or “including” are used in this
         Agreement, they shall be deemed to be followed by the words “without limitation.” In the
         event an ambiguity or question of intent or interpretation arises, this Agreement shall be
                         if
         construed as drafted jointly by the Parties, and no presumption or burden of proof shall
         arise favoring or disfavoring any Party by virtue of authorship of any provisions of this
         Agreement. Unless the context otherwise clearly requires, references herein to words
         importing the masculine gender shall include the feminine and neutral genders and Vice
         versa.

                                      [Signature page follows.]




                                                   40
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   70 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 70 of 191




          IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly
   executed by their respective authorized ofﬁcers as of the day and year ﬁrst above written.

                                                   DIESEL DIRECT HOLDINGS, INC.

                                                          Ma 1’ mm
                                                   Name: Walter J. MyNamara
                                                   Title: Chief Financial Ofﬁcer



                                                   CHRISTINE C. SHUBERT, SOLELY IN
                                                   HER CAPACITY AS CHAPTER 7
                                                   TRUSTEE FOR THE ESTATES OF
                                                   WORLEY & OBETZ, INC., ET AL.



                                                   Byz‘




  ACTIVE\64374627.V4
Case 18-13774-ref       Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18—13774—ref       Doc 425Document      PageEntered
                                  Filed 09/17/18   71 of 191
                                                           09/17/18 19:15:44 Desc Main
                                Document      Page 71 of 191


                                   DISCLOSURE SCHEDULES

         The following schedules (the “Disclosure Schedules”) are ﬁlmished by the Seller and
 Debtors to the Purchaser pursuant to and as part of the Asset Purchase Agreement dated as of
 August 24, 2018 (the “Agreement”) by and between Christine C. Shubert, in her capacity as
 Chapter 7 Trustee (“Seller”) for the estates of (i) Worley & Obetz, Inc. (Case No. 18—13774-REF);
 (ii) Americomfort, Inc., Case No. 18—13775-REF); (iii) Amerigreen Energy, Inc. (Case No. 18-
 13777-REF); (iv) Advance Air, Inc. (Case No. 18-13778-REF); (v) Amerigreen Energy Brokers,
 LLC (Case No. 18- 13779-REF); (vi) Amerigreen Electricity, LLC (Case No. 18-13780-REF);
 (vii) Amerigreen Hedging Services, LLC (Case No. 18-13781-REF); (viii) Amerigreen
 Lubricants, LLC (Case No. 18-13782-REF); (ix) Amerigreen Natural Gas, LLC (Case No. 18—
 13783—REF); and (x) Amerigreen Propane, LLC (Case No. 18-13784-REF) (collectively, the
 “Debtors”) and Wiggins Gas Propane & Alternative Fuels LLC, a Delaware limited liability
 company (or its Assignee, “Purchaser”). A11 capitalized terms used but not deﬁned herein shall
 have the meanings ascribed to such terms in the Agreement.

         Unless otherwise noted, the references to section numbers in the Disclosure Schedules
 correspond to the section numbers of the representations, warranties, covenants or conditions in
 the Agreement. An exception or qualiﬁcation set forth in the Disclosure Schedules with respect
 to a particular representation or warranty will be deemed to be an exception or qualiﬁcation with
 respect to all other applicable representations and warranties to the extent the description of the
 facts regarding the event, item or matter disclosed is adequate so as to make reasonably clear or
 otherwise make the Purchaser reasonably aware that such exception or qualiﬁcation is applicable
 to such other representations and warranties whether or not such exception or qualiﬁcation is so
 numbered or such other representations and warranties expressly refer to a Schedule. Each
 disclosure made in a Disclosure Schedule shall be deemed incorporated into each other Schedule
 in which the applicability of such disclosure is readily apparent on its face. Attachments and
 annexes delivered in connection with these Disclosure Schedules are incorporated by reference in
 and constitute a part of these Disclosure Schedules.

         Nothing in the Disclosure Schedules is intended to broaden the scope of any representation
 or warranty contained in the Agreement or to create any covenant. Inclusion of any item in the
 Disclosure Schedules: (i) does not represent a determination that such item is material or establish
 a standard of materiality, (ii) does not represent a determination that such item did not arise in the
 ordinary course of business, (iii) shall not constitute, or be deemed to be, an admission to any third
 party concerning such item or (iv) does not represent a determination that the consummation of
 the transactions contemplated by the Agreement requires the consent of any third party except
 where such a representation or disclosure so provides.




 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   72 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 72 of 191


                                          Schedule 1.1(v)

                                      Leased Real Property

 902 Strasburg Pike, Strasburg, PA 17579 (Rineer Sons Real Estate, LLC) — lease for land only.
 Seller owns underground petroleum storage tanks, truck rack, pumps, and canopy.

 709 Hartman Station Road, Lancaster, PA 17602 (Hartman Station Road, Inc.)     —   two separate
 leases:

      1. Land lease only for placement of two large propane storage tanks on concrete saddles,
         associated pumps and meters.
      2. Lease for use of underground petroleum storage tank owned by Lessor.

 16   Lititz Road, Lititz, PA                            -
                           17543 (Rohrer’s Quarry, Inc.) land lease only for placement     of two
 large propane storage tanks on concrete saddles, associated pumps and meters.

 2388 North Market Street, Elizabethtown, PA 17022 (Crowe Realty, LLC) - land lease only for
 placement of large propane storage tank on concrete saddles, associated pumps and meters.

 316—318 North Elmer Avenue, 413-417 North Lehigh Avenue, Sayre, PA 18840 (JW Bishop
 Properties, LLC) — lease for ofﬁce building, storage building, maintenance building, rental house
 used in Seller’s Value Energy North division. Seller owns above ground storage tanks situated
 on property.

 685 Broad Street Ext, Waverly, NY 14892 (Waverly Trade Center, LLC) land lease only for
                                                                          ——




 placement of large propane storage tank on concrete saddles, associated pumps and meters as
 well as vehicle storage.

 35 Doe Run Road, Manheim,      PA 17545 (Robert Seth Obetz) — lease for land only. Building
 improvements consisting of: convenience store, car wash, underground petroleum storage tanks,
 gasoline/diesel dispensers and pumps, propane above ground storage tank and dispenser,
                                                              -
 canopies, etc. are the property of the Seller. Cardlock Asset Excluded.

 202 Greenﬁeld Road, Lancaster, PA 17602 (202 Greenﬁeld, LP) _ lease for land and building.
 Signiﬁcant building improvements made by Seller. Also property consists of shed, underground
 storage tanks, gasoline/diesel dispensers and pumps, above—ground storage tank and dispenser
 for propane, above-ground storage tank and dispenser for diesel exhaust ﬂuid, canopy that is
 property of the Seller. Cardlock Asset — Excluded.

 1634 West Main Street, Ephrata, PA 17522 (Charles Rutt) — gasoline/diesel dispensers and
 pumps, above-ground storage tank and dispenser for diesel exhaust ﬂuid, above-ground storage
 tank and dispenser for propane, canopy. Cardlock Asset — Excluded.

 PA Route 272 and Garden Spot Road, Ephrata, PA 17522 (Lester R. Summers, Inc.) - parking
 space for two trucks.




                                                43
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   73 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 73 of 191


 1575 Femdale Avenue, J ohnstown, PA 15905 (Tri-County Motor Sales)     —   parking space for
 seven trucks.

 7043 Ellenberger Drive, Altoona, PA 16601 (Sel-Lo Oil, Inc.) parking space for one truck.
                                                              —




 1425 North Maxwell Street, Allentown, PA 18109 (Shadow Group Three, LLC) - parking space
 for one truck.

  101 EastCherry Street, Elizabethtown, PA 17022 (Lime Ridge Farm Properties, LP) — lease       of
 land and underground storage tanks, gasoline/diesel pumps and canopy owned by Seller.
 Cardlock Asset — Excluded.

 854 South 16th Street, Harrisburg, PA 17104 (Scheler Realty, LLC) — lease of land, underground
 storage tanks, diesel and diesel exhaust ﬂuid dispensers. Cardlock Asset — Excluded.




                                              44
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17I18   74 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 74 of 191


                                        Schedule 2.1(a)

                                 Acquired Owned Real Property

  Real estate broperty at 107 Maytown Road & all buildings, improvements, and personal
  property located thereon

 Real estate property at 85 White Oak Road: office building, warehouse, improvements
 thereon, and all personal property located on the premises to the extent personal
 property is not assigned and/or included in other lots/divisions. Excludes the retail
 storage area across the street.

 Real estate located at 24 New Charlotte, Manheim, PA including any personal property thereon

 Real estate located at White Oak Road, Manheim, PA (across the street from 85 White Oak
 Road, Manheim, PA 17545) (Tax Parcel No. 500-04089-0—0000) including tanks and any other
 personal property thereon.




                                              45
 ACTIVE\64374627.v4
                                          Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35                                                                             Desc Main
                                            Case 18-13774-ref Doc 425  Filed 09/17/18
                                                                    Document      Page 75 of 191
                                                                                       Entered  09/17/18 19:15:44                                                                        Desc Main
                                                                      Document     Page 75 of 191


                                                                                                               Schedule 2.10:)

                                                                                       Executory Contracts and Unexpired Leases


                  PDF name                   locationm other than description)         Agreement Type               landlord/Lessor/"seﬂea'"                       Regarding                   mcﬂaymont                 Other not:
     Vendor Services Group - Fleet Log ELD                                                                                                          11/16 - 11/19; (37) Fleet Manager
     (November 2016)                       202 Greenﬁeld Road, Lancaster PA        Equipment Rentai              Vendor Services Group              with Diagnostics (Jbus) & (SYODKLD SLOW/mo
                                                                                                                                                    ONGOING; regarding a leased "same                       on US Bankruptcy court list, and
     WA                                    Sayre                                   Leased Equipment               Mama Business Bank                copier"                            N/A                  not in data room provided to us
     HC Rineer Sons Partnership                                                                                                                     05/06 - 65/11, renew for 10        $7.500/mo, +~396 per
     (May 2006)                            902 Strasburg Pike, Strasburg           Leased Premises                H.C. Rineer Sons Partnership      years rota!                        year
     HL Wiker NRLM Lease Addendum                                                                                 Hartman Station, Inc (prev. H.L         dment to 08/08 lease;
     (January 2018)                       709 Hartman Station Rd, Lancaster. PA    Leased Premises                Wiker)                            extension                          $0.055/gauon
     3W Bishop Properties, LLC (March     318 N Elmer, 417 N Lehigh, 413 St 415
     2013)                                N Lehigh, and 316 N Elmer (Sayre)        Leased Premises               J.w. Bishop Properties,   LLC      03/13 - 0333; renewal options          $6,940.11/mo
     Lester R Summers mc - Ephrata        Summers Yard, Rt. 272 & Garden Spot                                                                                                              $150/mo, $150
     (September 2016)                     Rd, Ephrata                              Leased F;                     Lester   R.   Summers              09/16 - 09/17; renewal of {ease        sec. deposit
     Lyons Obetz - 55 Doe Run Road
     (September 2016)                      55 Doe Run Road Suite 104   w/ ext.     Leased Premises                Lyons & Obetz                     09/16 « 09/19, ,."     to   *    J
                                                                                                                                                                                           $8,500/ma
                                                                                                                                                    {36/14 - 06/15, auto renew 3 times
                                          16 Utitz Road, Hm: PA (Property to                                                                        (06/18). Permission to install a
     Robrer's Quarry (June 2014)         North side of main shop. with 30,000ga!   Leased   7-H                  Rohrer’s Quarry, Inc.                 and 30,000 gal tank in 2014         SLOW/mo            WM) Bankrumxy Case notes this as
                                            ,750 sq ft lot on 685 Broad
     Waverty Trade Center, LLC (May 2013) treet Extension, Waverly, New            Leased Premises               Waverly Trade Center,     LLC      05/13 - 05/18, option to renew         $2,000/mo
                                                                                                                                                                                                             on US Bankruptcy court list, and
     WA                                    2388 N. Market St, Elizabethtown PA     Leased Premises               Crowe Transportation               EXPIRES   12/31/21                     N/A               not in data room provided to us
                                                                                                                                                                                                             on US Bankruptcy court list, and
     N/A                                   1575 Ferndak Ave, Johnstown, PA         Leased Premises               Tri-County Motor Sales             ONGOQNG                                N/A               not in data room provided to us
     Se—Lo Oil Inc - Altoona (September
     2017)                                 7043 Eflenberger Drive, Altoona, PA     Leased Premises Parking
                                                                                                     —
                                                                                                                 Se~Lo Oil Inc                      08/22/17, month—month                  Sim/mo
     Shadow Group Three LLC - Alientown
     (November 2017)                       1425 North Mame“ St., Aﬂentown, PA      Leased Premises - Parking     Shadow Group Three, LLC            11/17 - no and in agreement            $150/mo

     Biodiesel Thruput Agreement - General                                                                                                                                                                   unsigned doc; automaticaﬂy renews
     Emerson LLC (February 2018)           3 Washimon Parkwy, Hicksville NY        Throujﬁgut Agreement          General       Ewen, LLC            01m - 07119                                              for another year unless terminated
                                                                                                                                                                                           50.061143:




                                                                     46
ACTIVE\643 74627.v4
                                          Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35                        Desc Main
                                            Case 18-13774-ref Doc 425
                                                                    Document      Page 76
                                                                       Filed 09/17/18     of 19109/17/18 19:15:44
                                                                                       Entered                                      Desc Main
                                                                      Document     Page 76 of 191
     Boyle Energy - West Grove (March

     Propane Throughput Agreement - UGI                                                              ~
                                                                                                         04/30/19; 4 bcations for
                                                                                U6!

     RF   Ohl -                                                                 RF   OM Fuel   inc




                                                        47
ACTIVE\64374627.V4
                     Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35                       Desc Main
                                               Document
                       Case 18-13774-ref Doc 425            Page 77
                                                  Filed 09/17/18     of 19109/17/18 19:15:44
                                                                  Entered                                     Desc Main
                                                 Document     Page 77 of 191

                                in 00/15 Ins: hetwun JW Bishop                              km betwaan Bkhop Ind
                                        TradeCenur                         .             Tndnthhauasmbeuumd
                                   tn




                                                                  Pramku; uranium apt.
                                                                 km and m-luase




                                 Township Dluphin County M. R:
                               SWAN" Hﬂhmum, PA; E50
                                        Wampum PA; 390
                                            FA




ACTIVE\64374627.V4
                                           Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35        Desc Main
                                             Case 18-13774-ref Doc 425
                                                                     Document      Page 78
                                                                        Filed 09/17/18     of 191
                                                                                        Entered  09/17/18 19:15:44   Desc Main
                                                                       Document     Page 78 of 191




                                                                          Mmmcm - Price




        Mariam; LP. - Purchase Mmment - Contact




                                                         49
ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   79 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 79 of 191



                                          Schedule 2.1(c)

                                            Inventory


  Fuei inventory, wherever located as follows:

 Tank and Bulk Fuel Inventory     424,593.03 gallons
 Truck Fuel Inventory              44,191.00 gallons




 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09I17/18   80 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 80 of 191



                                           Schedule 2.1(e)

                                     Tangible Personal Property

 Storage and Skid Tanks

     0   2   X 300,000 Gallon AST- Across from 85 White Oak Road, Manheim, PA (Tank and
         land OWNED)
     -   10,000 Gallon UST - Across ﬁ'om 85 White Oak Road, Manheim, PA (Tank and land
         OWNED)
     I   20,000 Gallon UST - 24 New Charlotte St, Manheim, PA (Tank and land OWNED)
         4 X 20,000 Gallon UST & 5 X 30,000 Gallon UST 902 Strasburg Pike (tanks owned
                                                               —



         but on LEASED site)
     0   UST 709 Hartman Station Road (underground tank and site LEASED)
                —




             o 2, 30,000 gallon above ground propane storage tanks owned by Worley & Obetz
     o   1.35 million Gallon AST - 3251 Trewigtown Road, Colmar, PA (tank and site LEASED)
     0   1974 Riley Beard 30,000 Gallon Propane Tank (AST) and Highland 30,000 Gallon
         Propane Tank (AST) located at 16 Lititz Rd., Lititz, PA 17543 (tank owned but on
         LEASED property)
     0   1971 Trinity 30,000 Gallon Propane Tank located at 2388 N. Market St.,
         Elizabethtown, PA (tank owned but on leased property)
     0   500 gallon and (5) 300 gallon skid tanks at High Concrete in Denver, PA (tanks
         owned but on customer site, W&O rights subject to customer negotiation)
     0   (Above) (3) 10,000 gallon petrolum tanks, (Above) (1) 15,000 gallon petroleum tank, (A
         bove) (1) 2,500 gallon DEF tank, 318 N. Elmer Ave., Sayre, PA (tanks owned but in
         lease site)
     0   6,500 Gallon diesel exhaust ﬂuid storage tank, 85 White Oak Road, Manheim, PA
     0   Customer Tanks owned by Worley & Obetz, Inc., 4000 tanks (count estimated not
         conﬁrmed, certain tanks have been removed and location is now not known)
     0   Certain Storage Tanks New and replaced propane tanks for customer locations are stored
         at 35 Doe Run Road, Manheim, PA
             0 Customer tanks owned by Worley & Obetz, Inc. Customer tanks are owned by the
                company and customers—pricing of product depends on tank ownership and
                contract terms
     0   Miscellaneous truck parts and maintenance equipment
     0   Propane tank parts and installation equipment in 85 White Oak Road warehouse and
         in/on any trucks
     0   HVAC service equipment, parts and sundry inventory stored at 85 White Oak Road, Man
         heim, PA
     0   Other related assets used in the business operations of Worley & Obetz, Inc.'s Retail
         division
     0   Other related assets used in business operations   of W&O Propane Division


 ACTIVE\64374627.V4
Case 18-13774-ref         Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18—13774-ref        Doc 425 Document      PageEntered
                                    Filed 09/17/18   81 of 191
                                                             09/17/18 19:15:44 Desc Main
                                  Document      Page 81 of 191



         Other related assets used in the business operations of W&O Inc,'s Service
         and Installation division
        Other related assets used in the business operations of W&O's Value Energy North
        Division (Sayre)
        Other related assets used in the business operations of W&O's Value Energy South
        Division
       Other related assets used in business operations of AMG propane, Wholesale division
       Other related assets used in the business operations of W&O Fleet Fueling Division
       Other related assets used in business operations of W&O's Wholesale Division
       Other related assets used in business operations of AMG Renewables Division
       Other related assets used in the business operations of AMG's Petroleum division
       Other related assets used in business operations of AMG's Electn'city Supply and
       Brokerage Division (subject to contract calculations and regulatory controls and
       restrictions)
       Other related assets used in the business operations of AMG Natural Gas division
       (subject to contract calculations and regulatory controls and restrictions)
       Other Property, Maintenance Equipment (Lawn tractors, trimmers, etc.) on site
       Related assets including parts, inventory, supplies, ﬁlrniture/ﬁxtures, tools, equipment,
       etc.

 The items listed above do not include previously sold assets, expired or cancelled leases, and expired or
 rescinded permits or licenses.

 Note that owned or leased tanks are subject to terms of lease and may require removal or abandonment.




                                                     52
 ACTIVE\64374627.V4
Case 18-13774-ref          Doc 427    Filed 09/18/18      Entered 09/18/18 13:19:35         Desc Main
  Case 18-13774~ref        Doc 425 Document      PageEntered
                                     Filed 09/17/18   82 of 191
                                                              09/17/18 19:15:44           Desc Main
                                   Document      Page 82 of 191



                                            Schedule 2.1(f)

                                                Permits




   ANEHGIEBV   5mm
   USTOFSI'ATEUCENSES


                                                                    Number
   Electric’ﬂ Sugglier

   Pennsylvania Public Utility Commission                       A—2014-2451720
   State of New York Department of Public Service

   Elgctric'gy Brokeragg

   State of Delaware Public Service Commission
   State of Illinois Commerce Commission
   Commonwealth of Massachusetts Department of Public Utilities EB-442
   State of Maryland Public Service Commission                 lR-3568
   State of New Jersey                                         PA-0165 Private Aggreg
                                                              EA—03 18 Energy Agent
                                                                   EC-0101      Energy Consuls
   Public Utilities Commission of the State of Ohio               18-1304E(1)
   Public Utility Commission of Texas

   Natugl Ga§ §ggglier
Commonwealth of Massachusetts Department of Public                 RA-ZOS
State of Maryland Public Service Commission                        lR-3569
State of New Jersey                                               GSL-0124
Pennsylvania Public Utility                                   A-2014-2451710
State of New York Department of Public                        Brooklyn Union Gas Service Territory - National
Service                                                       Grid NY
                                                              Keyspan Gas East Service Territory - National Grid
                                                              Orange & Rockland Utilities
                                                              Consolidated Edison Company


   Natural Gas Brokerage

   Public Utilities Commission of the State of Ohio               18-651G(1)

   Note: Transferability of the above licenses is subject to the rules of each state's
   utility commission. Some or all of the licenses may be non-transferrable and so
   reapplication to the state commission would be necessary for the buyer.


  ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   83 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 83 of 191



                                              Schedule 2.1(g)

                                        Intellectual Property Rights


 All Intellectual Property including:

 Patents, patent a plications, patent rights, patent disclosures and inventions (whether or not
 patentable or re uced to practice)

 Trademarks (registered and at common law), trademark registrations and applications, trade
 names, logos, trade dress, brand names, service marks (registered and at common law),
 service mark registrations and applications, websites, domain names and other indicia of
 source and all goodwill associated therewith

 Works of authorship, copyrights, copyright registrations and applications for registration, and
 moral rights

 Know-how, trade secrets, customer lists (including all wholesale, retail and commercial
 customer account lists, whether active or inactive including complete contact information),
 proprietary information, proprietary processes and formulas, databases and data
 collections

 All source and object code, software (including front and back ofﬁce software, customer
 management and fuel management systems, accounting and billing systems, POS inventory
 systems and ﬂeet management systems), aigorithms, architecture, structure, display screens,
 layouts, inventions and development tools


 All documentation and media constituting, describing or relating to the above, including,
 manuals, memoranda and records.




 ACTIVE\64374627.V4
  Case 18-13774-ref        Doc 427     Filed 09/18/18      Entered 09/18/18 13:19:35    Desc Main
      Case 18-13774—ref    Doc 425 Document      PageEntered
                                     Filed 09/17/18   84 of 191
                                                              09/17/18 19:15:44        Desc Main
                                   Document      Page 84 of 191




                                           Schedule 2.1(h)

                                                Vehicles


No.      vm                      Yea    Make                    Title Number        Owner
12       1FT7WZBTOBEA54209 2011         FORD                 68788426801 WC     Worley and Obetz
13       1FTYR2CVGGKA85114 2016         FORD                 75952610401 WC     Worley and Obetz
14       JL68NGlA3CKOO4246 2012         MITSUBISHI           70777185402 WC     Worley and Obetz
15       BGNAXUEU815563348 2018         CHEVORLET            78444261701WO      Worley and Obetz
16       3C6TRVCD2EE123187 2014         RAM                  74203430601 W0     Worley and Obetz
17       1C4RJFBM7EC310160 2014         JEEP                 72720870601 WC     Worley and Obetz
18       3C6UR5NJ6HGS47522 2017         DODGE                76794490101WO      Worley and Obetz
19       1J4GL48555W600525 2005         JEEP                 61677819901W0      Worley and Obetz
20       WDOPE745085304790 2008         DODGE                67277253401 W0     Worley and Obetz
21       1FTRX18L11NA30958 2001         FORD                 56181080502 WC     Worley and Obetz
22       1XPFDBQX61N566239 2001         PETERBILT            55580038902 W0     Worley and Obetz
27       BBPNHD7X8WF462096 1998         PETERBILT            51600545903 WC     Worley and Obetz
28       1XP5D39X54N831880 2004         PETERBILT            60382629901 W0     Worley and Obetz
29       1FT7W2860FEC47217 2015         FORD                 74330826401WO      Worley and Obetz
30       1FDWF35L2XED91611 1999         FORD                 53376098902 WC     Worley and Obetz
32       1XP5089X53N595660 2003         PETERBILT            58192412001 WC     Worley and Obetz
34       1XPSDBQX35N855225 2005         PETERBILT            61317391401 W0     Worley and Obetz
35       1XPFDU9X31N555808 2001         PETERBILT            54973076102 WC     Worley and Obetz
36       1FTHE2423VHB77033 1997         FORD                 51018722301 WC     Worley and Obetz
37       1FTSE3ELZBDA48285 2011         FORD                 69232776001WO      Worley and Obetz
40       1FTSE3ELGBDA48287 2011         FORD                 69232744101WO      Worley and Obetz
41       WA1LMAFEXFDOZ4148 2015         AUDI                 75035448401W0      Worley and Obetz
42       1XPFDBQX01N561652 2001         PETERBILT            55424371002WO      Worley and Obetz
43       1C6RR7VM1F5612732     2015     DODGE RAM 1500                          Worley and Obetz
44       1HTMKADN62H511291 2002         INTERNATIONAL        56486648301WO      Worley and Obetz
45       1XPSDBQX91N558325 2001         PETERBILT            56577248101WO      Worley and Obetz
46       2NPNHD7X02M575044 2002         PETERBILT            56948005901WO      Worley and Obetz
47       1C6RR7PM9FSS75152 2015         RAM                  74270937001WO      Worley and Obetz
48       1FMSU45P63E866794 2003         FORD                 59770667603WO      Worley and Obetz
49       1XPWD49X2AD106075 2010         PETERBILT            67517054001WO      Worley and Obetz
50       1XPFDU9X7XN504479 1999         PETERBiLT            53197517402WO      Worley and Obetz
51       2NPNHD7X11M561653 2001         PETERBILT            55673141402WO      Worley and Obetz
52       2NP3LJ9X3FM304907 2015         PETERBlLT            NO TITLE           Worley and Obetz
53       1FTSE3EL4BDA48286    2011      FORD                 69232764001WO      Worley and Obetz
54       3C6TRVCD4EE123627    2014      RAM                  74210863501W0      Worley and Obetz



      ACTIVE\64374627.V4
 Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
  Case 18-13774-ref Doc 425Document      PageEntered
                             Filed 09/17/18   85 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 85 of 191


55      1D7HW48P275144647   2007   DODGE           64307456601W0    Worley and Obetz
56      1FVHCYDJSGHW03598 2006     FREIGHTLINER    63012924701WO    Worley and Obetz
57      1C4RJFBM3FC716633   2015   JEEP            74852155101W0    Worley and Obetz
58      1FDXF46F82E861326   2002   FORD            56984961001WO    Worley and Obetz
59      1XKW080X321888526   2002   KENWORTH        58635449002 W0   Worley & Obetz Inc.
60      2NP2HN7X10M186103 2013     PETERBILT       71314854701WO    Worley and Obetz
61      16THG39R921142233 2002     GMC             57070161501WO    Woriey and Obetz
62      1C4RJFBMOEC310159   2014   JEEP            72720918701WO    Worley and Obetz
63      2N P2HN7X8DM 179505 2013   PETERBILT       70803428701WO    Worley and Obetz
64      IXPWD49X4AD106076 2010     PETERBILT       67517345701WO    Worley and Obetz
65      IFDSF35$33E339739   2003   FORD            58490271901WO    Worley and Obetz
66      IGYFK66878R167767   2008   CADILLAC        692732013802WO   Worley and Obetz
67      1FTYR2CVPG KA44573  2016   FORD            75792339501WO    Worley and Obetz
68      1M2AX07CPJMO39692 2018     MACK            NO TITLE         Worley gnd Obetz
69      1M2AXO7COJM039693 2018     MACK            NO TITLE         Worley and Obetz
70      1FVHCYBS4BDAU7722 2011     FREIGHTLINER    69142353401WO    Worley and Obetz
72      WDOPD644565949677 2006     DODGE           63775825201WO    Worley and Obetz
73      1M 1AA14Y4TW061280 1996    MACK            49589413002      Worley & Obetz Inc.
74      2NPLH D7X77M685006 2007    PETERBILT       63478910401WO    Worley and Obetz
75      NO VIN                     ELEC.           NO TITLE         Worley and Obetz
76      1XPHD49XXAD795405   2010   PETERBILT       67888559401WO    Worley and Obetz
78      1XPSDBQX37N 668876  2007   PETERBILT       63693353701WO
79      1FTSE3ELOBDA48284   2011   FORD            69232734701WO    Worley and Obetz
80      1FTFW1EFGDKD33776 2013     FORD            71546038401WO    Worley and Obetz
81      2NP3U9X4FM305239    2015   PETERBILT       NO TITLE         Worley and Obetz
82      VGSBAOQBlYB702396 2000     MACK            55029873603W0    Worley and Obetz
83      2NPLHN7X68M764366 2008     PETERBILT       65782090601WO    Worley and Obetz
84      2N P2HJ7X6HM409346 2017    PETERBILT       NO TITLE         Worley and Obetz
85      2NP2HJ7X4HM409345 2017     PETERBILT       N0 TITLE         Worley and Obetz
86      1FMCU9EGBAKC81708 2010     FORD            68342709702WO    Worley and Obetz
87      lG 1P75526F7255795  2015   CHEVROLET       75664528001WO    Worley and Obetz
88      WVGEPQBP4DDOOIOSO 2013     VOLKSWAGEN      71794005201WO    Worley and Obetz
89      3C6TRVCD4EE12363O   2014   RAM             74265170601WO    Worley and Obetz
90      WDOPE745285285613 2008     DODGE           66539537701WO    Worley and Obetz
91      WDOPE745485304789 2008     DODGE           67277246801WO    Worley and Obetz
92      1FTFW1ETSDKD12407 2013     FORD            73149607901WO    Worley and Obetz
93      1HTSGOOOSYH 270795  2000   INTERNATIONAL   56829277002 W0   Worley and Obetz Inc.
94      WD2PD444755724901 2005     DODGE           61483617101 WC   Worley and Obetz Inc.
96      2N PLL29X87M 693284 2007   PETERBILT       54553232301 WC   Worley and Obetz Inc.
97      1FMCU96X1GU328917 2016     FORD            75433916901 WC   Worley and Obetz Inc.
98      1FMCUQGX7GU329571 2016     FORD            75582927001 W0   Worley and Obetz Inc.

                                              56
     ACTIVE\64374627.V4
  Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
   Case 18-13774-ref DOC 425 Document      PageEntered
                               Filed 09/17/18   86 of 191
                                                        09/17/18 19:15:44 Desc Main
                             Document      Page 86 of 191


 99      1FTWE1EGlFFC8321O   2015   FORD            75399455001 WC   Worley and Obetz Inc.
100      1FM5K838366A41933 2016     FORD            75273144201 WC   Worley and Obetz Inc.
101      1NPALUOX26N884964 2006     PETERBILT       62703692302 W0   Worley and Obetz Inc.
102      2NPLHD7X85M865253 2005     PETERBILT       62473459802 WC   Worley and Obetz Inc.
103      1FVX6EDBXYLFOGS72 2000     FREIGHTLINER    55898071602 WC   Worley and Obetz Inc.
104      1FVX6EDBXXLA19161   1999   FREIGHTLINER    52853903802 W0   Worley and Obetz Inc.
105      SHTAB4327V7H61284   1997   HEIL            56081085301 W0   Worley and Obetz
105      1XP5D89XSSN360410   1995   PETERBILT       47548035703 WC   Worley and Obetz Inc.
106      1C4RJFBM3FC100429   2015   JEEP            75612762501 W0   Worley and Obetz Inc.
107      1XP9089X96P202830   1986   PETERBILT       44093177703 WC   Worley and Obetz Inc.
108      1HTAA1954EHA14441   1984   INTERNATIONAL   35726181702 W0   Worley and Obetz Inc.
109      SBPNHD7X1WF469035   1998   PETERBILT       51992584702 WC   Worley and Obetz Inc.
110      1XPSDBQX5VN387532   1997   PETERBILT       49949115005 WC   Worley and Obetz Inc.
111      1FTYR2CV4GKA44576   2016   FORD            75792086001 WC   Worley and Obetz Inc.
112      1FMCUQGD4HUADB47    2017   FORD            76235998701 W0   Worley and Obetz Inc.
113      2&P2HJ7X4EM241542   2014   PETERBILT       72894625201 W0   Worley and Obetz Inc.
114      acemvcosemzsezg     2014   RAM             74210911301 WC   Worley and Obetz
115      WDDPE745185236936   2008   DODGE           65723947901 WC   Worley and Obetz Inc.
116      4P5L62023H3023913   2017   PJ              77569596501 WC   Worley and Obetz
117      1FTSE3EL88DA48288   2011   FORD            69232721401 WC   Worley and Obetz Inc.
118      16CHGBSRXY1237737   2000   CHEVROLET       5529365002 WC    Worley and Obetz Inc.
119      1EMCUSGDlHUD2412    2017   FORD            77329876701W0    Worley & Obetz Inc.
120      2&PRLNDX29M788250   2009   PETERBILT       66729081001 WC   Worley and Obetz Inc.
121      MOXUVGFO80476       2010   JOHN DEERE      NO TITLE         Worley and Obetz
122      1HLA3A7B7C7H52109   1982   HEIL TRAILER    34426880502W0    Worley and Obetz
123      1FTZW2861EEA27387   2014   FORD            72791138801 WC   Worley and Obetz Inc.
125      BBPNHD7X2WF469030   1998   PETERBILT       51992583402 WC
126      1HTWNAZT47JBSllBO   2007   INTERNATIONAL   65087359301 WC
127      1FTPW14VW8FA68467 2008     FORD            66211444701WO    Worley and Obetz Inc.
128      5HTAB432X37H67271   2003   HEIL            58753659601 WC   Worley and Obetz
129      SHTAB432XB7H73398   2008   HEIL            65351351201 WC   Worley and Obetz Inc.
130      1E98E26217E353763   2007   HAUL MASTER     65812309101 WC   Worley and Obetz
131      1C4RJFBMOFC767149   2015   JEEP            74433593401 WC   Worley and Obetz
132      5HTAB432X37H66816   2003   HEIL            58203491301 WC   Worley and Obetz
133      161FW6508H4160004   2017   CHEVROLET       78013622002 WC   Worley and Obetz
134      5HTAB4426V7H61033   1997   HElL            50307539102 WC   Worley and Obetz
135      1FVHCYBSQBDAU7893   2011   FREIGHTLINER    69142337601 W0   Worley and Obetz
136      2NP2HJ7XXEM241562   2014   PETERBILT       73264201501 WC   Worley and Obetz
137      1HTSCABM2TH302663   1996   INTERNATIONAL   49525537504 WC   Worley and Obetz
138      1FV6HFAA1$L629057   1995   FREIGHTLINER    48237495903 W0   Worley and Obetz


                                             57
      ACTIVE\64374627.V4
  Case 18-13774-ref        Doc 427      Filed 09/18/18   Entered 09/18/18 13:19:35    Desc Main
      Case 18-13774—ref     Doc 425Document      PageEntered
                                     Filed 09/17/18   87 of 191
                                                              09/17/18 19:15:44      Desc Main
                                   Document      Page 87 of 191



139       1HTSDAAN11H336467      2001    INTERNATlONAL      57939742903 WC    Worley and Obetz
140      1NPSL09X38D116491       2011    PETERBILT          69456295001 wo    Worley and Obetz
141      2NP3LNOX2AM 109116      2010    PETERBILT          57917155001 WC    Worley and Obetz
142      SHTAB442617H65058       2001    HEIL TRAILER       55597383902WO     Worley and Obetz
143      1NPNHD7X7XS480327       1999    PETERBILT          53986157903 wo    Worley and Obetz
144      1XPADU9X46N888486       2005    PETERBILT          63019821202 WC    Worley and Obetz
145      418T043241T003802       2001    FRUEHAUF           55534353501w0     Worley and Obetz
146      1FMCUSDG4AKC62912       2010    FORD              68326455601 WC     Worley and Obetz
147      1FDAF5HR6AEBOQSOS       2010    FORD              68384531301 wo     Worley and Obetz
148      1FMCU96X66UA90133       2015    FORD              7527299e1o1wo      Worley and Obetz
149      SHTAB4322A7H75099       2010    HEIL              67797830601 WC     Worley and Obetz
150      5HTAB4425X7H63066       1999    HEIL TRAILER      53155123502wo      Worley and Obetz
153      1XPWD49X1CDl42620       2012    PETERBILT         69935640201 WC     Worley and Obetz
154      1XPWD49X5CDI42619       2012    PETERBILT         69935772801 wo     Worley and Obetz
155      1FMCUQGX3GUA80448       2016    FORD              75273120201 WC     Worley and Obetz
156      1XPWDBQXXBDll7508       2011    PETERBILT         69065086501 wo     Worley and Obetz
157      1HLA3A7F6$7H58050       1995    HEIL              47727448204 WC     Worley and Obetz
158      1NPSL09X1BD116490       2011    PETERBILT         69733761001 wo     Worley and Obetz
159      lGRAA9623HBll7611       1987    GREAT DANE        39351608402 WC     Worley and Obetz
160      1FMCU9G9GU819214        2016    FORD              75433844001WO      Worley and Obetz
161      ZI‘JI‘PBMNQXXCM 16039   2012    PETERBILT         70123258301 WC     Worley and Obetz
162      1FUJGPDR3CDBJ6237       2012    FREIGHTLINER      69987532601 WC     Worley and Obetz
163      1FUJGPDR5CD316238       2012    FREIGHTLINER      69987533901 wo     Worley and Obetz
164      5HTAB4320A7H75098       2010    HEIL              NO TITLE           Worley and Obetz
165      1FUJGPDR7CDBJGZ39       2012    FREIGHTLINER      69987534101 wo     Worley and Obetz
166      5HTAB4320C7H76108       2012    HEIL              69991663001 WC     Worley and Obetz
167      5HTAB4322C7H76109       2012    HEIL              69991672201 wo     Worley and Obetz
168      2H9AECHF1CT002331       2012    HUTCHINSON        70224961901 WC     Worley and Obetz
169      SHTAB432757H68770       2005    HEIL              61758082201 WC     Worley and Obetz
170      2H9AECHF2CT002332       2012    HUTCHINSON        70224948901 WC     Worley and Obetz
171      ZHDAECHFSCT 002333      2012    HUTCHINSON        70290507501 wo     Worley and Obetz
172      SW136084PA                      SP CONSTR         54136084201 MC     Worley and Obetz
173      5HTAB4421V7H60873       1997    HEIL TRAILER      49932174302wo      Worley and Obetz
174      1C4RJFBM4FC677289       2015    JEEP              74852203001W0      Worley and Obetz
175      5NHUCCV265NO44399       2005    CONTINENTAL       70153771001 WC     Worley and Obetz
176      5HTAB432877H71728       2007    HEIL              63872821701 wo     Worley and Obetz
177      NO VIN NUMBER
                                 {ER     HYSTER            NO TITLE           Worley and Obetz
178      5HTAB432X77H71729       2007    HEIL              63950336501 wo     Worley and Obetz
179      1XPWD49X3CD142621       2012    PETERBILT         71183409401 WC     Worley and Obetz
180      1HLA3A7FXR7H57204       1994    HEIL              46504276603 we     Worley and Obetz

                                                  58
      ACTIVE\64374627.V4
  Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
   Case 18-13774-ref Doc 425Document      PageEntered
                              Filed 09/17/18   88 of 191
                                                       09/17/18 19:15:44 Desc Main
                            Document      Page 88 of 191


181      3C6JR7ETGE6127240    2014   RAM             72942113701 WC     Worley and Obetz
182      SGNAXUFU815545903    2018   CHEVROLET       78342947301WO      Worley and Obetz
183      5HTAB4420T7H59159    1996   HEIL            49069392604 W0     Worley and Obetz
184      1HLA3A7F7S7H58901    1995   HEIL            48152551403 WC     Worley and Obetz
185      1F.MCUQGDSHUDZ412    2017   FORD            77369538201 WC     Worley and Obetz
186      1FDUFSHT4DEBS4033    2013   FORD            72373570401 WC     Worley and Obetz
187      1XPWDP9X2ED236428    2014   PETERBILT       NO TITLE           Worley and Obetz
188      1XPWDP9X5E0238464    2014   PETERBILT       NO TITLE           Worley and Obetz
189      3AKJGND10EDFT8496    2014   FREIGHTLINER    NO TITLE           Worley and Obetz
190      5HTAB4329E7H79298    2014   HEIL            NO TITLE           Worley and Obetz
191      5HTAB4320E7H79299    2014   HEIL            No Title           Worley and Obetz
192      5HTAB4321E7H79456    2014   HEIL            No Title           Worley and Obetz
193      4P5361829E3008905    2014   PJ              75532623101   WC   Worley and Obetz
194      1TC950RGJ ET020007   2014   John Deere      No Title           Worley and Obetz
195      5HTAM4529C7H76423    2012   HEIL            73869848403   WC   Worley and Obetz Inc.
196      5HTAM4520C7H76424    2012   HEIL            73869841503   WC   Worley and Obetz Inc.
197      16CGGZSV271107808    2007   CHEVROLET       63782279004   WC   Worley and Obetz
199      lGCHGSSU741242800    2004   CHEVROLET       68743200203   WC   Worley and Obetz Inc.
200      4U01C12122A011119    2002   CARGO           58069425203   W0   Worley and Obetz Inc.
202      1FDSX3H67JE866427           Essskéza‘)                         Worley and Obetz Inc.

203      1FD8X3H67JE866428    2018   EBEER'EE?                          Worley and Obetz Inc.

205      4V1VDBPE3$N705034    1995   WHITE GMC       55195556402 WC     Worley and Obetz
206      4V4JDBGF1TR839058    1996   VOLVO           48737802203 WC     Worley and Obetz
207      4V4JDBCF4TR839071    1996   VOLVO           48737964103 WC     Worley and Obetz   ‘



208      1FV6HFBA85L648719    1995   FREIGHTLINER    62043060502 WC     Worley and Obetz
209      4VG7DARJEWN755084    1998   VOLVO           62085849902 W0     Worley and Obetz
210      4VG7DARJXXN786608    1999   VOLVO           62420958802 WC     Worley and Obetz
211      4V4NDZRH2YN241933    2000   VOLVO           62576648902 WC     Worley and Obetz
213      4V4NDZRH4YN796107    2000   VOLVO           62735668102 WC     Worley and Obetz
214      4V4ND2RHOYN796105    2000   VOLVO           52735727702 W0     Worley and Obetz
215      4V4NDZRH2YN796106    2000   VOLVO           62793843202 W0     Worley and Obetz
216      1FTYR2CMSGK330230    2016   FORD            76328540001 WC     Worley and Obetz
217      4VG7DARH6XN778423    1999   VOLVO           53420746202 (10    Worley and Obetz
218      1FUJGEDR4HLHZ7414    2017   FREIGHTUNER     N0 TITLE           Worley and Obetz
219      1FUJGEDR6HLHZ7415    2017   FREIGHTLIN ER   NO TITLE           Worley and Obetz
220      1M 1AWO7Y8HMO8228    2017   MACK            NO TITLE           Worley and Obetz
221      1W9P143236M350051 2016      WESTMOR         NO TITLE           Worley and Obetz
222      UNT007703         1980      FRUEHAUF        50961419002 WC     Worley and Obetz
223      1PMA24321V5001229 1997      POLAR           61742294302 W0     Worley and Obetz

                                              59
      ACTIVE\64374627.V4
     Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
      Case 18-13774-ref Doc 425Document      PageEntered
                                 Filed 09/17/18   89 of 191
                                                          09/17/18 19:15:44 Desc Main
                                Document     Page 89 of 191



   224       5HTAB4320H7081972    2017   HEIL              NO TITLE         Worley and   Obetz
   225       108EA9236HFOD4608    2016   BEALL TRAILER     NO TITLE         Worley and   Obetz
   227       1ETYR2CM4HKB43259    2017   FORD              NO TITLE         Worley and   Obetz
   228       1XPCD49X1K0261365    2019   PETERBILT 567                      Worley and   Obetz
   229       1XPCD49X3K0261366    2019   PETERBILT 567                      Worley and   Obetz
   238       SHTSA4323 K7601502   2019   HEIL TANK                          Worley and   Obetz
   239       5HTSA4323K7601503    201g   ﬁEfC'Tlx’NK
                                         TD A II CD
                                                                            Worley and Obetz
   242       ZHSCEAPR45C029758    2005   INTERNATIONAL     60848603302WO    Worley and Obetz
   243       3AKJGND12G DGX3465   2016   FREIGHTLIN ER     NO TITLE         Worley and Obetz
   244       1C4RJFBM8FC796401    2015   JEEP              74852303601W0    Worley and Obetz
   245       1FTNM21P03E35036     2003   FORD              72123328002WO    Worley and Obetz
   246       187KM2688LS711430    1990   DODGE             42932918707W0    Worley and Obetz
   248       5HTAM452477L72688    2007   HEIL TRAILER      75741011601WO    Worley and Obetz
   249       lGBOGRFGSGIBOSZQB    2016   CHEVROLET         77945784602WO    Worley and Obetz
   252       HW13929              1979   DORSEY TRAILER    56022290603WO    Worley and Obetz
   253       1TKC02421HM038953    1987   TRAIL KING        69539336302W0    Worley and Obetz
   254       1FDWE3FLZDDA85254    2013   FORD              72476003402WO    Worley and Obetz
   255       1FUJGED57G LGX4492   2016   FREIGHTLINER      NO TITLE         Worley and Obetz
   256      1FUJGED57G LGX4493    2016   FREIGHTLINER      NO TITLE         Worley and Obetz
   257      5HTAB4321F7H80771     2015   HEI L TRAILER     NO TITLE         Worley and Obetz
   258      5HTAB4323F7H80772     2015   HEIL TRAILER      NO TiTLE         Worley and Obetz
   259      5HTAB4325F7H80773     2015   EEIIL IANK
                                                "          N0 TITLE         Worley and Obetz
   260      2HSFHASRXXC031142     1999   iﬁfﬁ'             52742318001 SH   Worley and Obetz Inc.
   261      2HSCHAER32C238246     2002   INTL              56915409002 SH   Worley and Obetz Inc.
   262      2HSCHAPR37C432012     2007   INTL              68890883001 SH   Worley and Obetz Inc.
   263      3HSCUAPROAN 243190    2010   INTERNATIONAL     67651633902 SH   Worley and Obetz Inc.
   264      3HSDMAPR6FN572598     2015   INTERNATIONAL     74271227001 MY   Worley and Obetz Inc.
   265      2HSCZAPR7AC168576     2010   INTERNATIONAL     66843032002 MY   Worley and Obetz Inc.
   266      3HSCXAPRSGN276413     2016   INTERNATIONAL     76327313201 MY   Worley and Obetz Inc.
   270      5HTAM442517H64994     2001   HEIL              66738761801 SH   Worley and Obetz Inc.
   271      5HTAM432227H66690     2002   HEIL              67785277301 SH   Worley and Obetz Inc.
   272      5HTAM432027H65685     2002   HEIL              68367796301 SH   Worley and Obetz Inc.
   273      5HTAM4527C7H76517     2012   HEIL              70246154501 SH   Worley and Obetz Inc.
   274      5HTAM4524D7H77691     2013   HEIL              71470522501 SH   Worley and Obetz Inc.
   275      5HTAM4525 E7H79273    2014   HEIL              72444974001 SH   Worley and Obetz Inc.
   276      5HTAB452317H54593     2001   HEIL              73438147002 SH   Worley and Obetz Inc.
 TRK-ll     1FTYR2CVZGKA44575     2016   FORD              75792386001 WC   Worley and Obetz
TRK-24      2NPLHD7X57M685005     2007   PETERBILT         63478937201 WC   Worley and Obetz
TRK~25      1FTYR2CVOG KA44574    2016   FORD              75792237301 WC   Worley and Obetz
TRK-26      2NPLHD7X27M698200     2007   PETERBILT         63737176601 W0   Worley and Obetz


                                                      60
         ACTIVE\643 74627.V4
      Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
       Case 18-13774-ref Doc 425Document      PageEntered
                                  Filed 09/17/18   90 of 191
                                                           09/17/18 19:15:44 Desc Main
                                Document      Page 90 of 191


TRK-31       WDOPE745X85236935   2008   DODGE              65729840301   wo   Worley and Obetz
TRL-124      1FTFX1EF4GF361435   2016   FORD               76328568101   wo   Worley and Obetz
             16RAA902XCBOGZ401   1982   GREAT DANE TRLR    58476978902WO      Worley and Obetz
             335142592           1932   FORD               36614733802        Worley & Obetz Inc.
    95       SALGSZRKZJA383212   2018   LAND ROVER         78895829001WO      Worley & Obetz Inc.
    v-1      1C4RJFBMXFC112982   2015   JEEP               75819713601AM      AMERIGreen
    v-2      1FMCUBGXSGUA48830 2016     FORD               75695910401AM      AMERIGreen
    v-3      1J4PR4GK8AC108380  2010    JEEP               71951298802AM      AMERlGreen
    v-4      1FMCUQGSGGUC49962 2016     FORD               75829655501AM      AMERIGreen
    V-6      1.!4PR4GK4AC143515 2010    JEEP               72003492303AM      AMERIGreen
   v-7       1C4RJFCM8EC384850  2014    JEEP               73330270501AM      AM ERIGreen
   v-9       1C4RJFBMSEC315793  2014    JEEP               74598477602AM      AMERlGreen
  v-1o       3FRNF6FC1BV411137  2011    FORD               76340525901AM      AMERlGreen
  v-11       lGNSKCKCSFRSOSQOG  2015    CHEVROLET          75966360001AM      AMERIGreen
  v-12       1C4RJFBM2EC521444  2014    JEEP               77909543502AM      AMERIGreen
                                                           TRUCK FOR
   500       1FV6HJBAXXHA93594   1999   FREIGHTLINER F70      AVONDALE        AMG Propane
                                                              TRANSLOADER


   501       431F52529X1000515   1999   ESBISLEIEOUNTRY    X$gh§AigR          AMG Propane
                                                           TRANSLOADER




                                                61
          ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   91 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 91 of 191




                                           Schedule 2.2")
                            Wo—Go   Stations Tangible Persona! Property
 WOGO 8: PACIFIC PRIDE DIVISIONS

 _D_e§c_ri2t_i9_n


 RetaiI fueling stations (unmanned) for use by customers who have cards that are on the
 respective networks.

 Main ofﬁce operations were from 202 Greenﬁeld Road, Lancaster, PA (NO LONGER AVAILABLE)

 Leases Included:       1634 W. Main St, Ephrata, PA (Charles Rutt)
                        101 E. Cherry St, Elizabethtown, PA (Lime Ridge Farm)
                        854 S. 16th St, Harrisburg, PA (Scheler Realty)

 Includes Franchise Agreement with Paciﬁc Pride Services, LLC

 Locations:             Manheim WoGo - 35 Doe Run Road, Manheim, PA (LEASED)
                        Lititz WoGo 746 Rothsville Road, Lititz, PA (OWNED)
                                    —




                        Ephrata WOGO/Paciﬁc Pride 1634 West Main Street, Ephrata, PA
                                                          —




                        (LEASED)
                        Greenﬁeld WOGO/Paciﬁc Pride - 202 Greenﬁeld Road, Lancaster, PA
                        (LEASED)
                        Mount Joy Paciﬁc Pride - 30 Orchard Road, Mount Joy, PA (OWNED)
                        EIizabethtown Pacific Pride 101 East Cherry Street, Elizabethtown, PA
                                                      —




                        (LEASED)
                        Harrisburg WoGo ~ 854 South 16th Street, Harrisburg, PA (LEASED)

 All pumps, tanks and other equipment utilized in the operations of the Cardlock divisions,
 including remaining fuel inventory

 Access to applicable Cardlock software systems for customer information

 Trucks:

    No.                                 Description                               VIN

    23         2014   RAM PROMASTER         WOGO OPS VAN               3C6TRVCDSEE123628
   151         2002   DODGE VAN             WOGO OPS VAN - SPARE       2371821Y92K110755



 Any and all intellectual Property relating to Wo—Go.

                                         Exhibit A ~ Page     1
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   92 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 92 of 191




                                             Schedule 3.5

                                          Required Consents


  The following agreements require written consent:
     1. Lease Agreement between Worley & Obetz, Inc. and 202 Greenﬁeld LP dated August 30,
          2013
     2. DEP Grant Agreement between Worley & Obetz, Inc. and the Commonwealth of
         Pennsylvania, Department of Environmental Protection, Ofﬁce of Pollution Prevention
          and Energy Assistance
         Lease Agreement between 333 Sylvan Avenue, LLC and Amerigreen Energy, Inc. dated
         April 26, 2013
         Lease Agreement between 333 Sylvan Avenue, LLC and Amerigreen Energy, Inc. dated
         April 22, 20 1 5
         Commercial Lease Agreement between Lyons & Obetz and AmeriGreen dated April I,
         20 14
             a. AmeriGreen has the right to assign the lease to a corporation with which
                AmeriGreen may merge or consolidate, to any subsidiary of AmeriGreen, to any
                corporation under common control with AmeriGreen or to a purchaser of
                substantially all of AmeriGreen’s assets without consent.
         Commercial Lease Agreement between Lyons & Obetz and AmeriGreen dated July 1,
         201 1
             a. AmeriGreen has the right to assign the lease to a corporation with which
                AmeriGreen may merge or consolidate, to any subsidiary of AmeriGreen, to any
                corporation under common control with AmeriGreen or to a purchaser of
                substantially all of AmeriGreen’s assets without consent.
          Lease Agreement between RZ Realty, LP and AmeriGreen Energy, Inc. dated November
         25, 20 14
             a.   AmeriGreen Energy, Inc. has the right to assign the lease to an afﬁliate or
                  successor by reason of merger, consolidation, asset or stock acquisition without
                  consent.
         Equipment Lease Agreement between Elbow River Marketing USA LTD and
         AmeriGreen Propane, LLC dated July 1, 2017
         Biodiesel Terminal Storage and Thru Put Agreement between Westmore Fuel Co., Inc,
         and AmeriGreen Energy dated October 30, 2014
            a. AmeriGreen has the right to assign to an afﬁliate or subsidiary without consent.
     10. Propane Throughput Agreement between AmeriGreen Energy and Boyle Energy
            a. Agreement states that Boyle Energy may assign without prior written consent,
                implying that AmeriGreen Energy cannot because the agreement can only be
                amended by written consent.
     11. Thruput Agreement between General Bangtson LLC and AmeriGreen Energy, Inc.
     12. Lease Agreement between Crowe Realty, LLC and Worley & Obetz dated September 8,
         2005
     13. Lease Agreement between Crowe Realty, LLC and Worley         & Obetz dated October   1,
         2010

                                           Exhibit A — Page   1
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   93 of 191
                                                     09l17/18 19:15:44 Desc Main
                          Document      Page 93 of 191



      14. Lease and Purchase Agreement between Crowe Realty,      LLC and Worley & Obetz dated
          September 9, 2010
      15. Commercial Lease Agreement between Doe Run Road           LLC and Worley & Obetz Inc.
           dated January 1, 2012
               a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                   Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                   to any corporation under common control with Worley & Obetz, or to a purchaser
                   of substantially all of Worley & Obetz’s assets Without consent.
      16. Commercial Lease Agreement between Doe Run Road LLC and Worley & Obetz Inc.
           dated June 1, 2012
               a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                   Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                   to any corporation under common control with Worley & Obetz, or to a purchaser
                   of substantially all of Worley & Obetz’s assets Without consent.
      17. Commercial Lease Agreement between Doe Run Road LLC and Worley & Obetz Inc.
           dated September 1, 2011
               a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                   Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                   to any corporation under common control with Worley & Obetz, or to a purchaser
                   of substantially all of Worley & Obetz’s assets without consent.
      18. Agreement between H. L. Wiker, Inc. and Worley & Obetz, Inc. dated August 2008
               a. Evenif   written consent is granted, Worley & Obetz is still liable for payment of
                   all terms, conditions, and covenants.
     19. Lease Agreement between H. L. Wiker, Inc. and Worley & Obetz, Inc. dated January 16,
          2008
               a. Evenif   written consent is granted, Worley & Obetz is still liable for payment of
                   all terms, conditions, and covenants.
     20. Lease Agreement between J. W. Bishop Properties, LLC and Worley & Obetz, Inc. dated
          March 4, 2013
     21. Commercial Lease Agreement between Lester R. Summers, Inc. and Worley & Obetz
          Inc. dated July 1, 2015
     22. Commercial Lease Agreement between Lester R. Summers, Inc. and Worley & Obetz
          Inc. dated September 1, 2016
     23. Commercial Lease Agreement between Lyons & Obetz and Worley & Obetz Inc. dated
          September 1, 2016 (41 Doc Run Road)
              a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                  Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                  to any corporation under common control with Worley & Obetz, or to a purchaser
                  of substantially all of Worley & Obetz’s assets without consent.
     24. Commercial Lease Agreement between Lyons & Obetz and Worley & Obetz Inc. dated
          September 1, 2016 (55 Doe Run Road)
              a. Worley & Obetz Inc. has the ﬁght to assign the lease to a corporation with which
                  Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                  to any corporation under common control with Worley & Obetz, or to a purchaser
                  of substantially all of Worley & Obetz’s assets without consent.




 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   94 of 191
                                                    09/17/18 19:15:44 Desc Main
                                   Document        Page 94 of 191



     25. Commercial Lease Agreement between Lyons & Obetz and Worley & Obetz Inc. dated
         September 1, 2009
             a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                 Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                to any corporation under common control with Worley & Obetz, or to a purchaser
                 of substantially all of Worley & Obetz’s assets without consent.
     26. Commercial Lease between Obetz Enterprises and Worley & Obetz Inc. dated April 24,
         1 997

     27. DEP Grant Agreement Worley & Obetz, Inc. and the Commonwealth of Pennsylvania,
         Department of Environmental Protection, Ofﬁce of Pollution Prevention and Energy
         Assistance dated July 6, 2017
     28. Operating Agreement of PJM Interconnection, LLC (to which AmeriGreen Energy, Inc.
         is a member)
              a. The rights and obligations created by the Agreement shall inure to and bind the
                 successors and assigns of AmeriGreen; provided, however, that the rights and
                 obligations of AmeriGreen hereunder shall not be assigned without the approval
                 of the Members Committee except as to a successor in operation of AmeriGreen’s
                 electric operating properties by reason of a merger, consolidation, reorganization,
                 sale, spin-off, or foreclosure, as a result of which substantially all such electric
                 operating properties are acquired by such a successor, and such successor
                 becomes a Member.                                                           .




     29. Product Sales Agreement between UGI Energy Services, LLC and AmeriGreen Energy,
         Inc. dated May 19, 2014
             a. If AmeriGreen is assigning the agreement to an afﬁliate (who’s creditworthiness
                 is comparable to or higher than that of the AmeriGreen), or assigning the
                 agreement to any person or entity succeeding to all or substantially all of the
                 assets of the AmeriGreen, then only written notice is required.
     30. Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
         Services, LLC dated May 1, 2014
             3. Agreement states that UGI Energy Services, LLC may assign without prior
                 written consent, implying that AmeriGreen Energy, Inc. cannot because the
                 agreement can only be amended by written consent.
     31. Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
         Services, LLC dated May 1, 2015
             a. Agreement states that UGI Energy Services, LLC may assign without prior
                 wn'tten consent, implying that AmeriGreen Energy, Inc. cannot because the
                 agreement can only be amended by written consent.
     32. Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
         Services, LLC dated May 1, 2016
             a. Agreement states that UGI Energy Services, LLC may assign without prior
                 written consent, implying that AmeriGreen Energy, Inc. cannot because the
                 agreement can only be amended by written consent.
     33. Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
         Services, LLC dated June 1, 2017




 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   95 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 95 of 191



              a.   Agreement states that UGI Energy Services, LLC may assign without prior
                   written consent, implying that AmeriGreen Energy, Inc. cannot because the
                   agreement can only be amended by written consent.
      34. Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
          Services, LLC dated May 3, 2018
               a. Agreement states that UGI Energy Services, LLC may assign without prior
                   written consent, implying that AmeriGreen Energy, Inc. cannot because the
                   agreement can only be amended by written consent.
      35. Propane Throughput Agreement between AmeriGreen Energy and RF Ohl Fuel Oil, Inc.
          dated July 1, 2014
              a. Agreement states that RF Ohl Fuel Oil, Inc. may assign without prior written
                   consent, implying that AmeriGreen Energy, Inc. cannot because the agreement
                   can only be amended by written consent.
     36. Propane Throughput Agreement between AmetiGreen Propane LLC and RF Ohl Fuel
          Oil, Inc. dated July 1, 2017
              a. Agreement states that RF Ohl Fuel Oil, Inc. may assign without prior written
                   consent, implying that AmeriGreen Energy, Inc. cannot because the agreement
                   can only be amended by written consent.
     37. Lease Agreement between Rohrer’s Quarry and Worley & Obetz dated June 1, 2014
     38. Commercial Lease Agreement between Seth Obetz and Worley & Obetz Inc. dated
          January 1, 2010
              a. Worley & Obetz Inc. has the tight to assign the lease to a corporation with which
                  Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                  to any corporation under common control with Worley & Obetz, or to a purchaser
                  of substantially all of Worley & Obetz’s assets without consent.
     39. Commercial Lease Agreement between Seth Obetz and Worley & Obetz Inc. dated
          January 1, 2011
              a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                  Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                  to any corporation under common control with Worley & Obetz, or to a purchaser
                  of substantially all of Worley & Obetz’s assets without consent.
     40. Commercial Lease Agreement between Seth Obetz and Worley & Obetz Inc. dated
          September 1, 2012
              a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                  Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                  to any corporation under common control with Worley & Obetz, or to a purchaser
                  of substantially all of Worley & Obetz’s assets without consent.
     41. Agreement between IPT, LLC and AmeriGreen Energy Inc. (January 2012)
              a. Written consent is not needed for an assignment to one or more of the assignor’s
                  Wholly owned corporate afﬁliates or subsidiaries or to a successor of all or of
                  substantially all of the assignor’s entire business and assets or to a corporation
                  which assignor merges into or consolidates with. However, an assignment to a
                  corporate afﬁliate or subsidiary will not relieve the assignor of any of its
                  obligations.
     42. Agreement between IPT, LLC and AmeriGreen Energy Inc. (July 2012)




 ACTIVE\643 74627.v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   96 of 191
                                                     09/17/18 19:15:44 Desc Main
                                   Document        Page 96 of 191



             a.   Written consent is not needed for an assignment to one or more of the assignor’s
                  wholly owned corporate afﬁliates or subsidiaries or to a successor of all or of
                  substantially all of the assignor’s entire business and assets or to a corporation
                 which assignor merges into or consolidates with. However, an assignment to a
                  corporate afﬁliate or subsidiary will not relieve the assignor of any of its
                  obligations.
     43. Agreement between IPT, LLC and AmeriGreen Energy Inc. (November 2014)
             a. Written consent is not needed for an assignment to one or more of the assignor’s
                 wholly owned corporate afﬁliates or subsidiaries or to a successor of all or of
                  substantially all of the assignor’s entire business and assets or to a corporation
                 which assignor merges into or consolidates with. However, an assignment to a
                 corporate afﬁliate or subsidiary will not relieve the assignor of any of its
                 obligations.
     44. Agreement between IPT, LLC and AmeriGreen Energy Inc. (November 2016)
             a. Written consent is not needed for an assignment to one or more of the assignor’s
                 wholly owned corporate afﬁliates or subsidiaries or to a successor of all or of
                 substantially all of the assignor’s entire business and assets or to a corporation
                 which assignor merges into or consolidates with. However, an assignment to a
                 corporate afﬁliate or subsidiary will not relieve the assignor of any of its
                 obligations.
     45. Agreement between H’T, LLC and AmeriGreen Energy Inc. (November 2017)
             21. Written consent is not needed for an assignment to one or more of the assignor’s
                 wholly owned corporate afﬁliates or subsidiaries or to a successor of all or of
                 substantially all of the assignor’s entire business and assets or to a corporation
                 which assignor merges into or consolidates with. However, an assignment to a
                 corporate afﬁliate or subsidiary will not relieve the assignor of any of its
                 obligations.
     46. Tank Storage Agreement between Colmar Terminal, Inc. and AmeriGreen, Inc. dated
         February 19, 2014
            a. Written consent is not needed for a merger, consolidation, or transfer of all of the
                 transferor’s assets for valid business purposes (other than the avoidance of
                 obligations under the agreement).
     47. Terminalling Agreement between AmeriGreen Energy and Arc Terminals Pennsylvania
         Holdings LLC dated July 25, 2016
            a. AmeriGreen Energy may assign the agreement to an afﬁliate, but it will still be
                 liable for the obligations.
     48. Terminal Services Agreement between Plains Products Terminals LLC and AmeriGreen
         Energy Inc. dated May 1, 2010
            a. AmeriGreen Energy may assign the agreement to an afﬁliate or subsidiary upon
                 10 days prior written notice, but it will still be liable for the obligations.
     49. Product Terminal Services Agreement between Sunoco Partnars Marketing & Terminals
         and AmeriGreen dated November 21, 2014
            a. Written consent is not needed for an assignment to one or more of the assignor’s
                 affiliates or subsidiaries, or to a successor of all or of substantially all of the
                 assignor’s business and assets or to a corporation which assignor merges into or




 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref DOC 425 Document       PageEntered
                             Filed 09/17/18    97 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 97 of 191



                   consolidates with. However, an assignment will not relieve the assignor of any of
                   its obligations.
     50.   Biodiesel Terminal Storage and Thru Put Agreement between Windsor Fuel Co., Inc. and
           AmeriGreen Energy dated August 1, 2015
               a. AmeriGreen Energy may assign the agreement to an afﬁliate or subsidiary.
     51.   Terminal Throughput Agreement between Fred M. Schildwachter & Sons, Inc. and
           AmeriGreen Energy, Inc. dated November 9, 2015
     52.   Terminal Throughput Agreement between Fred M. Schildwachter & Sons, Inc. and
           AmeriGreen Energy, Inc. dated September 2014
     53.   Master Agreement between Vendor Services Group and Worley & Obetz (December
           201 6)
     54.   Lease Agreement between Waverly Trade Center, LLC and Worley & Obetz dated May
           1, 2013
     55.   Lease Agreement between H. C. Rineer Sons Partnership (“Landlord”) and Worley &
           Obetz dated May 30, 2006
               a. Worley & Obetz remains liable to H. C. Rineer unless otherwise agreed to in
                   writing by H. C. Rineer.
     56.   Non-Exclusive Fee Agreement between Ecova, Inc. and AmeriGreen Energy, Inc.
           dated August 19, 2013
     57.   Channel Partner Agreement between Agera Holdings LLC and AmeriGreen
           Energy, Inc. [2017]
     58.   Conﬁdential Marketing Agreement between EnerPenn USA, LLC and AmeriGreen
           Energy, Inc.
              a. Conﬁdentiality Agreement between EnerPenn USA, LLC and AmeriGreen
                Energy, Inc. attached as Exhibit A
     59. Non-Exclusive Fee Agreement between AmeriGreen and South Jersey Energy
         Company [2014]
     60. Independent Contractor Agreement between AmeriGreen Energy, Inc. and NextEra
         Energy Services, LLC
     61. Broker Agreement between AmeriGreen Energy, Direct Energy Business, LLC, and
         Direct Energy Business Marketing, LLC [2015]
     62. Broker Agreement between AmeriGreen Energy and Energy Service Providers, Inc.
         dated October 6, 2015
     63. Agent Services Agreement between Supreme Energy Inc. and AmeriGreen Energy,
         Inc.
     64. Master Broker Agreement between AmeriGreen Energy, Inc. and Constellation
         NewEnergy, Inc., Constellation Energy Services, Inc., and Constellation Energy
         Services of New York, Inc.
     65. Sales Agent Agreement between AmeriGreen Energy and US. Energy Partners
         LLC dated March 21, 2018
     66. Brokerage Agreement between New York Energy Inc. and AmeriGreen Energy,
         Inc. dated May 24, 2018
     67. Customer Referral Agreement between AmeriGreen Energy, Inc. and Mint Energy,
           LLC
     68. Broker Agreement between AmeriGreen Energy, Inc. and TriEagle Energy, LP
         dated December 11, 2013



 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425 Document      PageEntered
                             Filed 09/17/18   98 of 191
                                                      09/17l18 19:15:44 Desc Main
                           Document      Page 98 of 191



     69. Payment Remittance Agreement between AmeriGreen Energy, Inc. and AP Gas &
         Electric (TX), LLC dated December 22, 2017
     70. Broker Agreement between AmeriGreen Energy, Inc. and FPP Holdings, LLC
         dated October 12, 2016
     71. Commodity Broker Agreement between AmeriGreen Energy, Inc. and Source
         Power & Gas LLC dated December 14, 2017
     72. Commercial Sales Partnership Agreement between AmeriGreen Energy, Inc. and
         SFE Energy Inc.
     73. Broker Agreement between AmeriGreen Energy, Inc. and Freepoint Energy
                                                          E




         Solutions LLC dated May 3, 2018
     74. Sourcing Fee Agreement between AmeriGreen Energy, Inc. and Inﬁnite Energy
         dated January 12, 2017
     75. Agent Agreement between AmeriGreen Energy, Inc. and Spark Energy Gas, LLC


 The following agreements require approval, but it does not need to be written:
         1. Franchise Agreement for a Paciﬁc Pride Commercial Fueling System Territory
            between Paciﬁc Pride Services, LLC and Worley & Obetz Inc.


 The following agreements contain restrictions on sharing information and thus approval should
 be obtained:
         1. Non—Disclosure Agreement between Mansﬁeld Oil Company of Gainesville, Inc. and
            AmeriGreen Energy, Inc. dated July 28, 2017
         2. Conﬁdentiality Agreement between Elbow River Marketing LTD. and AmeriGreen
            Propane, LLC                                               4




         3. Non-Disclosure Agreement between Superior Gas Liquids and AmeriGreen Propane,
              LLC
           4. Conﬁdentiality and Non-Disclosure Agreement (Letter form) between United Metro
              Energy Corp. and AmeriGreen Energy dated July 20, 2017
           5. Conﬁdentiality and Non-Disclosure Agreement (Letter form) between IPC(USA),
              Inc. and AmeriGreen Energy, Inc. dated January 2, 2018
           9‘ Conﬁdentiality Agreement between US. Venture Inc. and AmeriGreen Energy, Inc.
           7. Mutual Conﬁdentiality Agreement between Summit Energy Services, Inc. and
              AmeriGreen Energy, Inc.




 ACTIVE\643 74627.v4
Case 18-13774-ref     Doc 427   Filed 09/18/18      Entered 09/18/18 13:19:35    Desc Main
 Case 18—13774-ref    Doc 425 Document       PageEntered
                                Filed 09l17/18    99 of 191
                                                         09/17/18 19:15:44      Desc Main
                              Document      Page 99 of 191


                                      Schedule 3.6

                                       Litigation


 None.




 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18  100 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 100 of 191


                                  Schedule 3.7

                                    Permits


 None.




 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18  101 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 101 of 191


                                 Schedule 3.10

                             Environmental Matters

 None.




                                      10
 ACTIVE\643 74627.v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   102 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 102 of 191


                                 Schedule 3.1 1

                                 Real Property



 None.




                                      1 1
 ACTIVE\64374627.v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   103 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 103 of 191


                                         Schedule 3.12

                                     Employment Matters

     0   Worley & Obetz, Inc. 401k Plan
     0   Robert H. Ranck, Inc. 401k Plan assumed on sale of Ranck Plumbing Heating & Air
                                        —~



         Conditioning, Inc.
     -   Worley & Obetz, Inc. Health Plan
     -   Amerigreen Energy, Inc. Health Plan — terminated for non-payment effective June 30,
         2018




                                               12
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   104 of 191
                                                    09/17/18 19:15:44 Desc Main
                                 Document          Page 104 of 191



                                         Schedule 3.15

                                           Insurance

   WORLEY & OBETZ, INC.
    Updated 6/6/18                                         201 8

    CASUALTY/SUMMIT:            Underwritten By: Old Republic/Effective 2/1/2018-19
     Workers Compensation   $          1,000,000       Accident/Disease/Employee
                            $         15,000,000       Payroll Projection
     General Liability      $          1,000,000       Occurrence
                            $          2,000,000       Aggregate
                            $          1,000,000       Employee Beneﬁts Liability
                                                       Sales
                            $       537,500,000        Projection
     Automobile             $         1,000,000        Bodily Injury/Property Damage Liability
                                    $250 and $500      Comprehensive/Collision Deductibles
                                  $          1,000     Tractor Deductibles
                                               284     Total Vehicles

   UMBRELLA:                Underwritten By: Allied World/Effective 2/1/2018-19
                            $         15,000,000       Occurrence/Aggregate
                            $             10,000       Retention

   XS AUTO UMBRELLA:        Underwritten By: Endurance/Effective 211/2018-19
                            $          4,000,000       Occurrence/Aggregate
                            $                -         Retention

   POLLUTION:                Underwritten By: ChubblAce American/Effective 2/1/2018-20
                            $          4,000,000       Aggregate Program
                            35         4,000,000       Occurrence
                                  $         50,000     Deductible

   EXECUTIVE                Undenuritten By: Travelers/Effective 2I112018-19
   PROTECTION:              $          2,000,000      Fiduciary
                            $          2,000,000      Employment Practices
                                                      Employee
                            $            50,000       Theft
                            $          1,000,000      Cyber Liability - added to this policy 2/1/17
                            $          1,000,000      Third Party

   PROPERTY:                Undemritten By: XL Insurance/Effective 2/1/2018-19
                            $         25,517,929      Property Limits
                                                      Business
                            $          5,000,000      Income
                            $          2,500,000      Earthquake
                            $              1,000      Property Deductible
                            $             25,000      Earthquake Deductibie
                            $             50,000      Motor Truck Cargo/Filings Included


                                                 13
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   105 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 105 of 191



                              $          25,000        Installation
                              $          87,900        Contractors Equipment
                              $        1,700,000       Electronic Data Processing

    BOILER & MACHINERY:       Underwritten By: Travelers/Effective 2I1I2018-19
                              $       24,982,032       Property Limit
                              $        5,000,000       Business Interruption
                              $           2.500        Deductible

    McConkey Service Fee      $              500       Per Month 2/1/18-19

   PERSONAL
   UMBRELLAS:                  Effective 7I1l1 7-1 8
                                       5,000,000       Jeff Lyons                         CHUBB




   Amerigreen Energy. Inc.

   Mugs:                                                                       2-1-2018
   Property (including floaters)
                                               Limits                     $      6,155,500
                                               Premium
                                               (Incl.
                                               Tax/Fee)                   $          13,365
   General Liability
                                               Gallons                    $     60,000,000
                                               Sales (Lube)               $         200,000
                                                Premium                   3          52,447
   Automobile
                                               # of Units                 $               15
                                                Premium                   $          15,409
   Workers' Compensation
                                               Payroll                    $      2,775,000
                                               Premium                    5           9,966
   Umbrella
                                               Limit                      $      3,000,000
                                               Premium                    5          12,198


   McConkey Energi Fee                                                    $           9.751



                                                 14
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  106 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 106 of 191



    Executive Protection
                                     D8£O   8L   EPL
                                     Limit              $    1,000,000
                                     Premium            $        10,339

    Poliution                                           2/1/18 to 2/1/19
                                     Limit              5    2,000,000
                                     Premium            5       20,770

   Credit Insurance - 11-30-17/18                       $       26.208

   All policies are paid in full                        $      170.453




                                      15
 ACTIVE\64374627.V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09/17/18  107 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 107 of 191




        WWW              ASSET PURCHASE AGREEMENT

                              BY AND BETWEEN


                               gig; Egg;

                                     AND
                                           LN Q




         CHRISTINE C. SHUBERT, IN HER CAPACITY AS CHAPTER 7 TRUSTEE
              FOR THE ESTATES 0F WORLEY & OBETZ, INC., ET AL.




                           WW,                    2018




 WWW
 AQEEVg.3g‘43?é§M§23§3
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                             Filed 09/17/18  108 of 191
                                                     09/17/18 19:15:44 Desc Main
                                             Document                Page 108 of 191

                                                  TABLE OF CONTENTS
                                                                                                                                        Page

  1.    DEFINITIONS ................................................................................................................... 2
        1.1        Deﬁnitions .............................................................................................................. 2
        1.2        Cross References .................................................................................................... 6

  2.   PURCHASE AND SALE .................................................................................................. 7
       2.1         Purchase and Sale .................................................................................................. 7
       2.2         Excluded Assets ..................................................................................................... 9
       2.3         “AS IS, WHERE IS” SALE .................................................................................                   11
       2.4         Assumed Liabilities .............................................................................................          12
       2.5         Excluded Liabilities .............................................................................................         13
       2.6        Assumption/Assignment of Contracts and Rights. ..............................................                               13
       2.7        Consideration; Allocation of Consideration ........................................................                         14
       2.8        Closing .................................................................................................................   15
       2.9        Deliveries by Seller ..............................................................................................         15
       2.10       Deliveries by Purchaser .......................................................................................             16

 3.    REPRESENTATIONS AND WARRANTIES OF SELLER .......................................... 16
       3.1        Power ................................................................................................................... 16
       3 .2       Authorization ....................................................................................................... 1 6
       3 .3        Governmental Authorization ............................................................................... 16
       3 .4       Non-contravention ............................................................................................... 1 6
       3 .5       Required Consents ............................................................................................... 16
       3 .6       Litigation .............................................................................................................. 1 7
       3 .7       Permits ................................................................................................................. 1 7
       3.8        Compliance with Laws and Court Orders ............................................................ 17
       3.9        Intellectual Property Rights ................................................................................. 17
       3. 10      Environmental Matters ......................................................................................... 1 7
       3 .1   1   Real Property ....................................................................................................... 17
       3.12       Employment Matters and Employee Beneﬁts ..................................................... 18
       3. 13      Taxes .................................................................................................................... 1 8
       3.14       Sufﬁciency of and Title to the Purchased Assets ................................................. 18
       3. 1 5     Insurance .............................................................................................................. 1 8
       3.16       Service of Bankruptcy Documents ...................................................................... 18
       3.17       Certain Fees ......................................................................................................... 18

 4.    REPRESENTATIONS AND WARRANTIES OF PURCHASER ................................. 19
       4.1        Organization .........................................................................................................      19
       4.2        Corporate Authorization ......................................................................................              19
       4.3        Governmental Authorization ...............................................................................                  19
       4.4        Non-contravention ...............................................................................................           19
       4.5        Litigation ..............................................................................................................   19

       4.6        Adequacy of Funds ..............................................................................................            19

 5.    COVENANTS OF SELLER ............................................................................................ 20
                                                                   -i-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed (39/17/18  109 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 109 of 191


                                                                                                                                       Page


        5.1       Access to Information .......................................................................................... 20
        5.2       Sales of De Minimis Assets ................................................................................. 20
        5.3       Notices of Certain Events .................................................................................... 20

        COVENANTS OF PURCHASER AND SELLER ......................................................... 20
        6.1       Efforts; Further Assurances .................................................................................               20
        6.2       Certain Filings ......................................................................................................      20
        6.3       Bankruptcy Issues ................................................................................................          21
        6.4       Notices .................................................................................................................   32

        TAX MATTERS ..............................................................................................................            33

        7.1       Tax Cooperation ...................................................................................................         33
        7.2       Transfer Taxes ................................................ . .................. . .................................    33
        7.3       Real Property Taxes ............................................................................................            33
        7.4       Personal Property, Ad Valorem and Excise Taxes ..............................................                               33

        CLOSING CONDITIONS ............................................................................................... 33
        8.1       Conditions to Obligations of Purchaser and Seller .........................................               33
        8.2       Conditions to Obligations of Purchaser ..........................................................         34
        8.3       Conditions to Obligations of Seller ..................................................................... 34

        TERMINATION .............................................................................................................. 35
        9.1       Grounds for Termination ..................................................................................... 35
        9.2       Effect of Termination ................................................................... . ....................... 35
        9.3       Fees and Expenses ............................................................................................... 35

 10.    MISCELLANEOUS ........................................................................................................ 36
        10.1      Notices ................................................................................................................. 36
        10.2      Limitation on Damages ........................................................................................ 36
        10.3      Waivers .................................................. . ............................................................. 37
        10.4      Successors and Assigns ....... . ............................................................... . ................ 37
        10.5      Governing Law .................................................................................................... 37
        10.6      Jurisdiction .......................... . ................................................................................ 37
        10.7      Waiver of Jury Trial ............................................................................... . ............. 38
        10.8      No Third Party Beneﬁciaries ................................................................. . ............. 38
        10.9      Entire Agreement; Amendments; Counterparts ................................................... 38
        10.10     Pre-Petition Secured Party ................................................................................... 38
        10.1 1    Headings; Interpretation ....................................................................................... 39




 AW
 gi‘:‘¢::‘§g4a?mgg
                                                                   .ﬁ-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09/17/18  110 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 110 of 191




                              ASSET PURCHASE AGREEMENT

         THIS ASSET PURCHASE AGREEMENT dated as of August 24, 2018 (this
 “Ageemen ”) is entered into by and between Christine C. Shubert, in her capacity as Chapter 7
 Trustee (“Sgller”) for the estates of (i) Worley & Obetz, Inc. (Case No. 18-13774-REF);
 (ii) Americomfort, Inc., Case No. 18-13775—REF); (iii) Amerigreen Energy, Inc. (Case No. 18-
  13777—REF); (iv) Advance Air, Inc. (Case No. 18-13778-REF); (v) Amerigreen Energy Brokers,
 LLC (Case No. 18- 13779-REF); (vi) Amerigreen Electricity, LLC (Case No. 18-13780-REF);
 (vii) Amerigreen Hedging Services, LLC (Case No. 18-13781-REF); (viii) Amerigreen
 Lubricants, LLC (Case No.18-13782-REF); (ix) Amerigreen Natural Gas, LLC (Case No.18—
  13783-REF); and (x) Amerigreen Propane, LLC (Case-No.18-13784-REF) (collectively, the

 WDiesﬂ
 “129E933 and      . ~~                            .      ~   ~                      -

                                  Direct Hokdi g Inc a Deiaware camoratian “Diesel ’ 0r its
 assi 11668 which hall be Aff' I ate of Diesei or Jerome H Rhoads Inc. and which shall be
                                                                                            .




 identiﬁed in writin bV Diesel to Seller prior to the CIGQ‘BQ Date (the “AS £911 63”. and tegether
 with Diesel the “WW           Purchaser and Seller are sometimes individually referred to in this
 Agreement as a “32331” and collectively as the “Battieg.”

                                           RECITALS:

      WHEREAS, prior to the Petition Date (as deﬁned below), Debtor Worley & Obetz, Inc.
 (“W&O”), and certain Affiliates (as deﬁned below) provided certain energy products and services
 to their commercial and residential clients, including fuel, bio-heating oil, biodiesel, propane,
 gasoline, natural gas and electricity (the “W&O Business”);

         WHEREAS, prior to the Petition Date, Debtor Amerigreen Energy, Inc. and certain
 Afﬁliates operated as an energy wholesaler to retail distributors operating in the Mid-Atlantic and
 New England markets and provided certain energy products and services to their retail fuel
 distributors, fuel stations, commercial clients, and commercial and residential clients of W850,
 including ethanol, biodiesel, biofuels, and petroleum, as well as hedging and marketing services,
 and electricity and gas plans (together with the W&O Business, the “Business”);

         WHEREAS, on June 6, 2018 (the “Petition Date”), the Debtors ﬁled voluntary petitions
 for relief under chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the
 “Eggggptcy Code”) in the United States Bankruptcy Court for the Eastern District of
 Pennsylvania (the “Bankruptcy Court”);

         WHEREAS, Seller is the duly appointed and acting Chapter 7 trustee for each of the
 Debtors’ bankruptcy cases which are now jointly administered under Case No. 18-13774 (REF)
 (Jointly Administered) (collectively, the “Bankruptcy gases”);

         WHEREAS, Seller desires to sell, transfer, convey, assign and deliver the Purchased
 Assets (as deﬁned below) and to assign the Assumed Liabilities (as deﬁned below), and Purchaser
 desires to purchase, take delivery of and acquire such Purchased Assets and to assume such


 WW
Case 18-13774-ref      Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774wref      Doc 425Document     PageEntered
                                 Filed 09/17/18  111 of 191
                                                         09/17/18 19:15:44 Desc Main
                               Document     Page 111 of 191



 Assumed Liabilities, in each case on an “AS IS, WHERE IS” basis except for the representations
 and warranties expressly set forth in Section 3 below and upon the terms and subject to the
 conditions set forth herein; and

        WHEREAS, the transactions contemplated by this Agreement (the “Transactions”) will
 be consummated pursuant to an Approval Order (as deﬁned below) to be entered in the Bankruptcy
 Cases pursuant to §§ 105, 363, 365 and other applicable provisions of the Bankruptcy Code, and
 the Transactions and this Agreement are subject to the approval of the Bankruptcy Court.

        NOW, THEREFORE, in consideration of the foregoing and the mutual agreements,
 covenants, representations, warranties and promises set forth herein, and in order to prescribe the
 terms and conditions of such purchase and sale, intending to be legally bound, the Parties agree as
 follows:

        1.      Deﬁnitions.

                1.1    Deﬁnitigns.     The following terms, as used herein, have the following
        meanings:

                        (a)     “Acquired Owned Real Pronertv” means all of the real property,
                together with all Improvements located thereon and all easements, rights of way,
                servitudes, tenements, hereditaments, appurtenances, privileges and other rights
                and interests appurtenant thereto, owned in fee by Seller, and any part or parcel
                thereof set forth on S chedule 2.1(a1.

                        (b)      “Afﬁliate” means, with respect to any Person, any other Person
                directly or indirectly controlling, controlled by or under common control with, such
                other Person.

                        (c)    “Bid Pgotection” means an amount equal to 3%        of the   Purchase
                Price, or $243,000.

                        (d)    “Break—Up Fee” means an amount equal to 3%          of the   Purchase
                Price, or $243,000.

                       (e)    “Business Day” means a day other than Saturday, Sunday or other
               day  on which commercial banks in Pennsylvania are authorized or required by Law
               to close.

                      (f)    “CERCLA” means the Comprehensive Environmental Response,
               Compensation and Liability Act of 1980, as amended (42 U.S.C. § 9601 gt seg.),
               and any Laws promulgated thereunder.

                     (g)    “Claim” means a “claim” as deﬁned in Section 101                 of   the
               Bankruptcy Code.

                       (h)      “Closing Date” means the date of the Closing.



 W§ﬁhg
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09/17/18  112 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 112 of 191



                      (i)   “Code” means the Internal Revenue Code of 1986,     as amended.


                     (j)   “Cure Costs” means all amounts that must be paid and all
             obligations that otherwise must be satisﬁed, including pursuant to
             Sections 365(b)(1)(A) and (B) of the Bankruptcy Code, in connection with the
             assumption and] or assignment of the Assumed Contracts to Purchaser as provided
             herein.

                      (k)   “Employee” means an individual who is employed by the Debtors,
             whether on a full-time or a part-time basis, whether active or inactive as of the
             Closing Date, and includes an employee on short-term or long-term disability leave.

                      (1)      “Employee Bengﬁt Plan” means any “employee beneﬁt plan” (as
             deﬁned in ERISA §3(3)) and any other beneﬁt or compensation plan, program,
             agreement, arrangement or payroll practice (whether written or unwritten)
             maintained, sponsored, or contributed or required to be contn'buted to by Seller or
             any ERISA Afﬁliate or with respect to which Seller or any ERISA Afﬁliate has any
             liability as set forth on Schedule 3.12M).

                     (111)  “Environmental Laws” means, whenever in effect, all federal, state,
             and local Laws and other provisions having the force or effect of Law, all judicial
             and administrative Orders and determinations, all contractual obligations and all
             common Law, in each case concerning public or employee health and safety,
             pollution or protection of the environment, including all those relating to the
             presence, use, production, generation, handling, transportation, treatment, storage,
             disposal, processing, discharge, Release, threatened Release, control or cleanup of
             any Hazardous Substances or wastes (including CERCLA and analogous state
             Laws).

                      (n)  “ERISA” means the Employee Retirement Income Security Act of
             1974, as amended, and all Laws issued thereunder.

                    (o)     “ERISA Afﬁliate” means any Person that, at any relevant time, is or
             was treated as a single employer with Seller for purposes of Code § 414.

                    (p)    “Governmental Authorigy” means any federal, state, local,
            municipal, foreign, supranational or other governmental or quasi-governmental
            authority of any nature (including any governmental agency, branch, bureau,
            commission, department, official or entity and any court or other tribunal), or any
            administrative, executive, judicial, legislative, police, regulatory or Taxing
            Authority, or arbitral body.

                    (q)   “Hazardous Substances” means any substance, material or waste
            regulated by any Governmental Authority, including any material, substance or
            waste which is deﬁned as a “hazardous waste,” “hazardous material,” “hazardous
            substance,” “extremely hazardous waste,” “restricted hazardous waste,”
            “contaminant,” “toxic waste,” “pollutant” or “toxic substance” under any provision



 W
 Lgmx {2%,2é
            of Environmental Law, and including petroleum, petroleum products, asbestos,
                                               3
Case 18-13774-ref    Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774«ref    Doc 425Document      PageEntered
                               Filed 09/17/18   113 of 191
                                                       09/17/18 19:15:44 Desc Main
                             Document     Page 113 of 191



             presumed asbestos-containing material or asbestos-containing material, urea
             formaldehyde and polychlorinated biphenyls.

                     (r)     “Mrovements”      means all buildings, improvements, structures,
             streets, roads and ﬁxtures located, placed, constructed or installed on or under the
             Acquired Owned Real Property or the Leased Real Property, including all utilities,
             ﬁre protection, security, surveillance, telecommunications, computer, wiring,
             cable, heat, exhaust, ventilation, air conditioning, electrical, mechanical, plumbing
             and refrigeration systems, facilities, lines, installations and conduits.

                      (3)      “Intellectual Fromm Rights” means all of Seller’s intellectual
             property rights including, but not limited to: (i) patents, patent applications, patent
             rights, patent disclosures and inventions (whether or not patentable or reduced to
             practice); (ii) trademarks (registered and at common law), trademark registrations
             and applications, trade names, logos, trade dress, brand names, service marks
             (registered and at common law), service mark registrations and applications,
             websites, domain names and other indicia of source and all goodwill associated
             therewith; (iii) works of authorship, copyrights, copyright registrations and
             applications for registration, and moral rights; (iv) know-how, trade secrets,
             customer lists (including all wholesale, retail and commercial customer account
             lists, whether active or inactive including complete contact information),
             proprietary information, proprietary processes and formulae, databases and data
             collections; (v) all source and object code, soﬁware (including front and back ofﬁce
             soﬂware, customer management and fuel management systems, accounting and
             billing systems, POS inventory systems and ﬂeet management systems),
             algorithms, architecture, structure, display screens, layouts, inventions and
             development tools; and (vi) all documentation and media constituting, describing
             or relating to the above, including, manuals, memoranda and records.

                     (t)   “Igowledgg of Seller” or any other similar knowledge qualiﬁcation
             in this Agreement means the actual knowledge of Christine C. Shubeﬁ.

                     (11)   “Law” means any law, statute, regulation, rule, code, decree,
             constitution, ordinance, treaty, rule of common law or Order of, administered or
             enforced by or on behalf of, any Governmental Authority.

                     (v)     “Leased Real Propem” means all land, Improvements or other
             interests in real property leased or subleased by Seller, as lessee, which is used or
             intended to be used in, or otherwise related to, the Business and set forth on
             Schedule 1.1(vl, unless previously rejected pursuant to section 365 of the
             Bankruptcy Code.

                    (w)     “Liability” means any claim, debt, liability, obligation, Tax or
             commitment of any nature whatsoever (whether known or unknown, asserted or
             unasserted, ﬁxed, absolute or contingent, matured or unmatured, accrued or
             unaccrued, liquidated or unliquidated or due or to become due), whenever or
             however arising (including those arising out of any contract or tort, whether based

                                                4

 WW4
 @1112:an @2233
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18  114 of 191
                                                    09/17/18 19:15:44 Desc Main
                                           Document         Page 114 of 191


                         on negligence, stn'ct liability or otherwise), and including all costs and expenses
                         related thereto.

                                 (x)     “Lie_n” means, with respect to any property or asset, any mortgage,
                         lien (statutory or otherwise), pledge, security interest, Claim, encumbrance,
                         restriction, charge, instrument, preference, priority, option, or right of ﬁrst refusal,
                         of any kind or nature, whether secured or unsecured, choate or inchoate, ﬁled or
                         unﬁled, scheduled or unscheduled, recorded or unrecorded, contingent or
                         noncontingent, material or nonmaterial, known or unknown. For the avoidance of
                         doubt, the deﬁnition of Lien shall not include any license or sublicense of
                         Intellectual Property Rights granted by Seller or any lease or sublease by Seller (as
                         lessor or sublessor) of real property.

                                 (y)     “Order” means any award, decision, decree, order, directive,
                         injunction, ruling, judgment or consent of or entered, issued, made or rendered by
                         any Governmental Authority.

                                (2)    “Permits” means licenses, permits, approvals, certiﬁcates of
                         occupancy, authorizations, operating permits, registrations, plans and other similar
                         documents and authorizations issued by any Governmental Authority to Seller, in
                         each case to the extent transferable without the consent of any Governmental
                         Authority.

                                  (aa)   “Permitted Encumbrances” means (i) Liens included in the
                         Assumed Liabilities; (ii) encumbrances waived in writing by Purchaser; (ii) all
                         restrictions on the use of the Purchased Assets arising as a result of the application
                         of zoning and similar laws; (iv) all exceptions, restﬁctions, easements, charges,
                         rights-of—way, and other encumbrances that are set forth in any Permit; and
                         (v) other imperfections in title, if any, or conditions, reservations, restrictions,
                                                                        if
                         easements, encroachments, or rights of way, any, none of which, individually or
                         in the aggregate, materially detracts from the value, or impairs in any signiﬁcant
                         way the use of the property subject thereto;

                                  (bb)   “Person” means an individual, corporation, partnership, limited
                         liability Debtors, association, joint venture, trust or other entity or organization,
                         including a Governmental Authority.

                                  (cc)    “Post-Retirement Liabilities” means with respect to all Employees
                         and retirees, all Liabilities for the post—retirement beneﬁts, including those provided
                         under the Employee Beneﬁt Plans, as applicable.

                                 (dd)   “Pm-Closing Tax Period” means (i) any Tax period ending on or
                         before the Closing Date; and (ii) with respect to a Tax period that commences
                         before but ends after the Closing Date, the portion of such period up to and
                         including the Closing Date.

                                 (66)    “Property Taxes” means all real and personal property Taxes levied



 W
 AQMBQE   17:31:32: .7
                         with respect to the Purchased Assets for any taxable period or portion thereof.

                         w;
                                                             5
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                             Filed 09/17/18   115 of 191
                                                      09/17I18 19:15:44 Desc Main
                           Document      Page 115 of 191



                                  (ff)    “Real Estate” means the Acquired Owned Real Property and the
                           Leased Real Property.

                                  (gg)    “Release” has the meaning set forth in CERCLA.

                                   (hh)   “Lag” means (i) any federal, state, provincial, territorial, municipal,
                          local or foreign income, proﬁts, franchise, gross receipts, environmental (including
                          taxes under Code Section 59A), customs, duties, net worth, sales, use, goods and
                          services, withholding, value added, ad valorem, employment, social security,
                          disability, occupation, pension, real property, personal property (tangible and
                          intangible), stamp, transfer, conveyance, severance, production, excise and other
                          taxes, withholdings, duties, levies, imposts and other similar charges and
                          assessments (including any and all ﬁnes, penalties and additions attributable to or
                          otherwise imposed on or with respect to any such taxes, charges, fees, levies or
                          other assessments, and interest thereon) imposed by or on behalf of any
                          Governmental Authority (a “Taxing Authoriﬂ”) responsible for the imposition
                          thereof (whether domestic or foreign), whether or not disputed, and (ii) Liability
                          for the payment of any amounts of the type described in clause (i) as a result of
                          being a transferee, party to any agreement or any express or implied obligation to
                          indemnify any other Person.

                                  (ii)
                                          “ ax Remy means any report, return, declaration, claim for
                          refund, information report or return or statement required to be supplied to a Taxing
                          Authority in connection with Taxes, including any schedule or attachment thereto
                          or amendment thereof.

                                 (ij)     “Trade Payables” means all trade payables incurred by the Debtors
                          in the ordinary course of business.                                                     ,




                        gross Refgrences. Each of the following terms is deﬁned in the Section set
                           1.2
         forth opposite such term:

                                   Term                                            Section
                                   Agreement                                       Preamble
                                   Allocation Schedule                             2.7(b)
                                   Approval Hearing                                6.3(c)(vi)
                                   Approval Order                                  6.3(1)
                                   Assignment and Assumption Agreement             2.9(b)
                                   Assumed Contracts                               2.1(b)
                                   Assumed Contracts A/R                           2.1(d)
                                   Assumed Liabilities                             2.4
                                   Auction                                         6.3(c)
                                   Back-up Bid                                     6.3(c)(vi)
                                   Bankruptcy Cases                                Recitals
                                   Bankruptcy Code                                 Recitals
                                   Bankruptcy Court                                Recitals




 W
                                   Bid                                             6.3(b)(i)

                                                             6
 ACE IVEEQ4?   25’
                     g? ’3’ V4
Case 18-13774-ref         Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774—ref         Doc 425Document     Page Entered
                                    Filed 09/17/18   116 of 191
                                                             09/17/18 19:15:44 Desc Main
                                  Document      Page 116 of 191



                            Term                                       Section
                            Bid Assessment Criteria                    6.3(c)(i)
                            Bid Deadline                               6.3(b)(i)
                            Bidder                                     6.3(b)(i)
                            Bidding Procedures                         6.3(a)
                            Bidding Procedures Order                   6 3(a)
                            Business                                   Recitals
                            Closing                                    2.8
                            Contemplated Transaction Documents         6.3(c)(i)
                            Debtors                                    Preamble
                            Deposit                                    2.7(a)
                            End Date                                   9.1 (b)
                            Excluded Assets                            2.2
                            Excluded Liabilities                       2.5
                            Lot Bid                                    6.3(b)(ii)(A)
                            Minimum Initial Overbid                    6.3(b)(ii)(G)
                            Missing Assets                            2.7(c)
                            Modiﬁed APA                               6.3(b)(ii)(A)
                            Notice Parties                            6.3(b)(i)
                            Opening Bid                               6.3(c)(i)
                            Overbid                                    6.3(c)(v)
                            Party or Parties                          Preamble
                            Petition Date                             Recitals
                            Purchase Price                            2.7(a)
                            Purchased Assets                          2.1
                            Purchaser                                 Preamble
                            Qualiﬁed Bid                              6.3(b)(ii)
                            Qualiﬁed Bidder                           6.3(b)(ii)
                            Reimbursement Demand                      2.7 (c)
                            Round Leading Bid                         6.3(c)(v)
                            Sale and Bidding Procedures Motion        6.3(a)
                            Seller                                    Preamble
                            Subsequent Overbid Increment              6.3(c)(v)(A)
                            Successful Bid                            6.3(c)(v)
                            Successful Bidder                         6.3(c)(vi)
                           Tax Claim                                  7.1
                           Taxing Authority                           1.1(gg)
                           Termination Date                           6.3(b)(ii)(B)
                           Term Sheet                                 2201)
                           Transactions                               Recitals
                           Transfer Taxes                             7.2

           2.       Purchase and Sale.

                    2.1Purchase and Sale. Subject to the terms and conditions set forth in this
           Agreement and the Approval Order, at the Closing, Seller shall sell, assign, transfer,

                                                      7
      5‘   'él’fe‘iéZZM
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  117 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 117 of 191



        convey and deliver to Purchaser, and Purchaser shall purchase, acquire and accept from
        Seller, all right, title and interest of Seller as of the Closing Date in and to all of Seller’s
        and Debtors’ properties and assets, real, personal or mixed, tangible and intangible, of
        every kind and description, wherever located and whether or not carried or reﬂected on the
        books and records of Seller, that are listed in subsections (a) - (1) below, other than the
        Excluded Assets (the “Purchased Assets”), free and clear of all Liens (other than the
        Assumed Liabilities and Permitted Encumbrances). The cost of collecting and removing
        the Purchased Assets from their various locations shall be borne by Purchaser; provided,
        however, Seller shall, at her cost, use commercially reasonable efforts to assist Seller’s
        efforts by enforcing the terms of this Agreement and the Approval Order against third
        parties. Subject to Section 2.2, the Purchased Assets purchased hereunder shall include the
        following:

                             (a)   the Acquired Owned Real Property set forth onS
                                                                                Schedule             2.11211;
                      prgviéeg Purchaser may advise Seller of any            Wdeletions                   to
                      Schedule 2 1(a) -~
                      the Closing Date6,

                               (b)  all rights of Seller under the executory contracts and unexpired
                               of
                                Seller that are set forth on Schedule 2.11m not previously rejected



                      W
                      leases
                      pursuant to section 365 of the Bankruptcy Code (collectively, the “Assmge d
                      antragts”); provided Purchaser may advise Seller of any
                                           '
                                                                                 Wdeletions        to
                                                                                       -     «   -




                      :he Clasino Dag;

                              (c)    all inventory, including, without limitation, that set forth on
                      Schedulg 2.1(c1, including, but not limited to, propane, gasoline, kerosene, diesel,
                      diesel exhaust ﬂuid, retail and wholesale inventory for sale or distribution of any
                      kind except to the extent contained in an Excluded Asset;

                               (d)   any accounts receivable and all proceeds arising thereﬁom an'sing
                      from and after the Petition Date and out of or in connection with the Assumed
                      Contracts (collectively, the “Assumed Contracts AIR”);

                               (6)all tangible personal property and intangible property whether
                  located on Acquired Owned Real Property, Leased Real Property, other real
                  property, in transit, or in the possession of any Person, including, but not limited
                  to, all machinery, equipment, storage tanks and vessels, pumps, dispensers,
                  displays, spare parts, signage, industry memorabilia, tools, vehicles, computers (but
                  excluding laptops), mobile phones, personal digital assistants, computer equipment
                  (but excluding laptops), hardware, peripherals, information technology
                  infrastructure, telephone systems, ﬁlmiture, ﬁxtures, furnishings, ofﬁce supplies,
                  production supplies, other miscellaneous supplies and other tangible personal
                  property of any kind, including, without limitation, that set forth on Schedule
                  2.116);




 W433;
  $43qu $15:   £21.    1
Case 18-13774-ref     Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774wref     Doc 425Document     Page Entered
                                Filed 09/17/18  118 of 191
                                                        09/17/18 19:15:44 Desc Main
                              Document     Page 118 of 191



                      (f)   all Permits set forth on Schedule 2.11:) to the extent the same may
              be assigned consistent with their terms;

                     (g)     all Intellectual Property Rights, including, without limitation, the
              items set forth on Schedgle 2.1(g1; provided that Purchaser may advise Seller of
              any additions or deletions to §che§ule 2.11 g) within two (2) Business Days before
              the Approval Hearing;

                      (h)    all cars, trucks, trailers, forklifts, other industrial vehicles, other
              motor vehicles, and boats and watercrafts whether powered or unpowered,
              including, without limitation, those set forth on Schedule 2.1(h1, and any personal
              property located on or within such vehicles, boats and watercrafts;

                      (i)   all deposit or prepaid charges and expenses paid exclusively in
              connection with or relating exclusively to any Purchased Asset;

                      (j)     all books, records, ﬁles and papers of Seller relating to the Business
              or the Purchased Assets, including equipment logs, service books and records,
              operating guides and manuals, creative materials, advertising materials,
              promotional materials, studies, reports, correspondence and other similar
              documents and records (all in the state in which such records and information
              currently exist), provided that Seller shall be entitled to access such books, records,
              ﬁles, computer systems, and papers with reasonable notice;

                      (k)     all goodwill directly arising from, related to or resulting from the
              Business; and

                      (1)   All Lots of Purchased Assets set forth in Section 6.3(c)(iv)(1) ~ (18)
              of this Agreement.
               2.2    Excluded Asset; Notwithstanding any other provision of this Agreement
       to the contrary, the following assets (the “Excluded Assgts”) shall not be transferred,
       conveyed, sold or assigned to Purchaser, and the Purchased Assets shall not include any of
       the following assets of Debtors or Seller:

                       (a)   all cash, cash equivalents and bank deposits (including, without
              limitation, deposits posted as collateral for letters of credit) or similar cash items;

                    (b)     all deposit or prepaid charges and expenses paid exclusively in
              connection with or relating exclusively to any Excluded Assets;

                    (0)    any accounts receivable and all proceeds        of Seller other   than the
              Assumed Contracts A/R;

                    (d)     all of the Seller’s rights under this Agreement and/or other
              documents and agreements executed in connection with the Transactions
              contemplated herein;




 WW
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  119 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 119 of 191



                      (c)    any and all right, title, leasehold interest, leases and any other
             interest in and with respect to the following property (collectively known as the
             “We-Go ﬁtatiogg”): (i) Molly’s Convenience Store and Wo-Go located at 35 Doe
             Run Road, Manheim, PA 17545; (ii) the Ephrata Wo-Go & Paciﬁc Pride, located
             at 1634 W. Main Street, Ephrata, PA 17522; (iii) the Lancaster Wo-Go & Paciﬁc
             Pride, located at 202 Greenﬁeld Road, Lancaster, PA 17602; (iv) the Lititz Wo-Go
             and bulk underground storage facility, located at 746 Rothsville Road, Lititz, PA
             17543; (v) the Harrisburg Wo-Go Station and bulk underground storage facility,
             located at 854 South 16th Street, Harrisburg, PA 17104; (vi) the Elizabethtown
             Paciﬁc Pride, located at 101 East Cherry Street, Elizabethtown, PA 17022; and
             (vii) the Mount Joy Paciﬁc Pride, located at 30 Orchard Road, Mount Joy, PA
             17552;

                      (i)   all tangible personal property associated with the Wo»Go Stations,
             including, but not limited to, all machinery, equipment, storage tanks and vessels,
             pumps, dispensers, displays, spare parts, signage, industry memorabilia, tools,
             vehicles, computers, mobile phones, personal digital assistants, computer
             equipment, hardware, peripherals, information technology infrastructure, telephone
             systems, furniture, ﬁxtures, furnishings, ofﬁce supplies, production supplies, other
             miscellaneous supplies and other tangible personal property of any kind, including,
             without limitation, that set forth on Echedule 2.2m;

                    (g)     all intercompany obligations, liabilities and indebtedness between
             the Debtors including, but not limited to, any and all promissory notes between the
             Debtors, any Afﬁliates and/or insiders and any note indebtedness owed to Debtors
             by any Afﬁliates or insiders;

                     (h)    any (i) conﬁdential personnel and medical records pertaining to any
             Employee of the Debtors; (ii) other books and records that Trustee determines are
             necessary or advisable to retain including, without limitation, Tax Returns,
             ﬁnancial statements, and corporate or other entity ﬁlings; provided, however that
             Purchaser shall have the right to make copies of any portions of such retained books
             and records that relate to the Debtors or any of the Purchased Assets; (iii) minute
             books, stock or membership interest records and corporate seals; and
             (iv) documents relating to proposals to acquire the Purchased Assets by Persons




                     (i)     all Tax losses and Tax loss carry forwards of the Debtors and the
             rights to receive Tax reﬁmds, credits and credit carry forwards with respect to any
             Taxes   of the Debtors;

                     (i)     any claim, right or interest of the Seller and the Debtors in or to any
             refund, rebate, abatement or other recovery for Taxes of the Debtors, together with
             any interest due thereon or penalty rebate arising therefrom, and all Tax credits and
             other Tax attributes of the Debtors, for the Pre-Closing Tax Period, but only to the



 AW                                             1   0
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09/17/18   120 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 120 of 191



             extent the Tax in respect of which such refund or reimbursement is made was not
             borne by Purchaser or any of its Afﬁliates;

                     (k)    all insurance policies or rights to proceeds thereof relating to the
             Purchased Assets;

                     (1)    any stock or other equity interests in Debtors or any subsidiaries or
             Afﬁliates of the Debtors;

                     (m)    all claims, actions, liabilities, debts, demands, damages and causes
             of action, whatsoever, whether in law or in equity, whether known or unknown,
             which the Seller and/or the Debtors have, may have had, may have in the future
             accrue to them, arising out of or in connection with, in whole or in part, and relating
             to the Debtors including, any and all claims, actions, liabilities, debts, demands,
             damages and causes of action against any of the Debtors’ subsidiaries, Afﬁliates,
             predecessors and successors in interest, insiders, members, managers, ofﬁcers,
             directors, shareholders, investors, employees, representatives, professionals,
             consultants, accountants, servants, attorneys or other agents;

                   (n)    all avoidance actions and other causes            of action under     the
             Bankruptcy Code or similar state insolvency law;

                     (0)    all assets, ﬁxtures, furniture, machinery, equipment, properties,
             interests and rights of the Seller or the Debtors which were previously sold,
             transferred, conveyed, including, but not limited to, the assets of Debtor Ranck
             Plumbing, Heating & Air Conditioning, Inc., or otherwise abandoned; and

                    (p)     all laptops.

             2.3    “AS IS,   ﬂﬂERE IS” SALE.
                  (a)   EXCEPT FOR THE REPRESENTATIONS AND WARRANTIES
             EXPRESSLY SET FORTH IN SECTION 3 BELOW, THE PURCHASED
             ASSETS ARE BEING SOLD IN AN “AS IS” CONDITION, ON A “WHERE IS”
             BASIS AND “WITH ALL FAULTS” AS OF THE CLOSING DATE (AS
             DEFINED BELOW), AND SUCH SALE IS WITHOUT RECOURSE,
             REPRESENTATION, OR WARRANTY OF ANY KIND TO OR BY THE
             SELLER, WHETHER EXPRESS, IMPLIED OR IIvIPOSED BY LAW, WHICH
             RECOURSE, REPRESENTATIONS, AND WARRANTIES (EXCEPT FOR THE
             REPRESENTATIONS AND WARRANTIES EXPRESSLY SET FORTH 1N
             SECTION 3 BELOW) ARE HEREBY EXPRESSLY DISCLAIMED BY
             PURCHASER.

                  (b)  PURCHASER ACKNOWLEDGES THAT IT IS FULLY
             RELYING ON ITS OWN (OR ITS REPRESENTATIVES’) INSPECTIONS,
             EXAMINATIONS AND EVALUATIONS OF THE REAL ESTATE AND NOT




 m
             UPON ANY STATEMENTS (ORAL OR WRITTEN) THAT MAY HAVE BEEN
             MADE OR MAY BE MADE (OR PURPORTEDLY MADE) BY THE DEBTORS
                                                11
   ‘f‘
         man
Case 18-13774-ref        Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
  Case 18-13774-ref             Document
                          Doc 425             Page Entered
                                   Filed 09l17/18  121 of 191
                                                           09/17/18 19:15:44 Desc Main
                                 Document    Page 121 of 191


                     OR SELLER OR ANY OF THEIR RESPECTIVE REPRESENTATIVES,
                    AGENTS 0R ATTORNEYS. PURCHASER ACKNOWLEDGES THAT
                    PURCHASER HAS (OR PURCHASER’S REPRESENTATIVES HAVE), OR
                    PRIOR TO THE CLOSING DATE WILL HAVE, THOROUGHLY INSPECTED
                    AND EXAMINED THE REAL ESTATE TO THE EXTENT DEEMED
                    NECESSARY BY PURCHASER IN ORDER TO ENABLE PURCHASER TO
                    EVALUATE THE CONDITION OF THE REAL ESTATE AND ALL OTHER
                    ASPECTS OF THE REAL ESTATE (INCLUDING, BUT NOT LIMITED TO,
                    THE ENVIRONMENTAL CONDITION OF THE REAL ESTATE), AND
                    PURCHASER ACKNOWLEDGES THAT PURCHASER IS RELYING
                    SOLELY UPON ITS OWN (OR ITS REPRESENTATIVES’) INSPECTION,
                    EXAMINATION AND EVALUATION OF THE REAL ESTATE AND IS
                    QUALIFIED TO MAKE SUCH INSPECTION, EXAMINATION AND
                    EVALUATION. AS A MATERIAL PART OF THE CONSIDERATION OF
                    THIS AGREEMENT AND THE PURCHASE OF THE ACQUIRED OWNED
                    REAL PROPERTY, PURCHASER HEREBY AGREES TO ACCEPT THE
                    ACQUIRED OWNED REAL PROPERTY ON THE CLOSING DATE IN ITS
                    “AS IS, WHERE IS” CONDITION, WITH ALL FAULTS AND, WITHOUT
                    REPRESENTATIONS AND WARRANTIES OF ANY KIND, EXPRESS OR
                    IMPLIED, OR ARISING BY OPERATION OF LAW, WITHOUT IN ANY WAY
                    LIMITING THE GENERALITY OF THE FOREGOING, THE PARTIES AGREE
                    THAT THE SALE OF THE ACQUIRED OWNED REAL PROPERTY IS
                    WITHOUT ANY WARRANTY, AND THAT THE SELLER AND DEBTORS
                   HAVE NOT MADE ANY, AND EXPRESSLY AND SPECIFICALLY
                   DISCLAIM ANY AND ALL, REPRESENTATIONS, GUARANTIES OR
                   WARRANTIES, EXPRESS OR IMPLIED, OR ARISING BY OPERATION OF
                   LAW OR RELATING TO THE ACQUIRED OWNED REAL PROPERTY,
                   INCLUDING, WITHOUT LIMITATION, OF OR RELATING TO: (A) THE
                   OWNERSHIP, USE, INCOME, POTENTIAL, EXPENSES, OPERATION,
                   CHARACTERISTICS OR CONDITION OF THE ACQUIRED OWNED REAL
                   PROPERTY OR ANY PORTION THEREOF, INCLUDING, WITHOUT
                   LIMITATION, WARRANTIES OF SUITABILITY, HABITABILITY,
                   MERCHANTABILITY, DESIGN OR FITNESS FOR ANY SPECIFIC PURPOSE
                   OR A PARTICULAR PURPOSE; (B) THE NATURE, MANNER, OR
                   CONDITION (PHYSICAL, STRUCTURAL OR OTHERWISE) OF THE
                   ACQUIRED OWNED REAL PROPERTY, OR THE SURFACE OR
                   SUBSURFACE THEREOF, WHETHER OR NOT OBVIOUS, VISIBLE OR
                   APPARENT; (C) THE ENVIRONMENTAL CONDITION OF THE ACQUIRED
                   OWNED REAL PROPERTY AND THE PRESENCE OR ABSENCE OF OR
                   CONTAMINATION BY HAZARDOUS MATERIALS, OR THE COMPLIANCE
                   OF THE ACQUIRED OWNED REAL PROPERTY WITH ALL REGULATIONS
                   OR LAWS PERTAINING TO HEALTH OR THE ENVIRONMENT,
                   INCLUDING, BUT NOT LIMITED TO, ENVIRONMENTAL LAWS; AND (D)
                   THE SOIL CONDITIONS, DRAINAGE, FLOODING CHARACTERISTICS,
                   UTILITIES OR OTHER CONDITIONS EXISTING IN, ON OR UNDER THE
                   ACQUIRED OWNED REAL PROPERTY. THE PROVISIONS OF THIS



 WW
 wvgagag   7.   452734
                                             12
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18   122 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 122 of 191



               PARAGRAPH SHALL SURVIVE THE                           CLOSING        OR     EARLIER
               TERMINATION OF THIS AGREEMENT.

                2.4    Aggmed Liabilities. Upon the terms and subject to the conditions of this
       Agreement, Purchaser agrees, effective at the time of the Closing, to assume, pay, perform
       and discharge, promptly when payment or performance is due or required, the liabilities
       and obligations of Seller or the Business related to or an'sing under all (i) Purchased Assets,
       including, Without limitation, the Assumed Contracts, Permits, and Intellectual Property
       Rights, that accrue after the Closing, (ii) liabilities related to the Permitted Encumbrances,
       (iii) one half of the Transfer Taxes, and (iv) any and all liabilities for Taxes, if any,
       attributable to Purchaser’s ownership of the Purchased Assets after the Closing Date
       (collectively, the “Assumed Liabilities”) in each case, but in no event to include any
       Liabilities or obligations of any Debtor or its Afﬁliates that relate to any breach of
       representation, warranty, covenant or agreement that arose on or prior to the Closing Date.

                2.5    Excluded Liabilities.    Notwithstanding any other provision of this
       Agreement to the contrary, Purchaser is assuming only the Assumed Liabilities and is not
       assuming any other Claim against or obligation of Seller or Debtors of whatever nature,
       whether presently in existence or arising hereafter. All such other Claims and obligations,
       whether known or unknown, direct or contingent, in litigation or threatened, or not yet
       asserted, shall be retained by and remain obligations and Liabilities of Seller or Debtors
       (all such Liabilities and obligations not being assumed being herein referred to as the
       “E: xglugeg Liabilities”). Without limiting the generality of the foregoing, the Excluded

       Liabilities shall include the following:

                      (a)     all Liabilities related to any Excluded Assets;

                      (b)     Trade Payables;

                      (c)     all Liabilities for (i) Taxes of Seller and (ii) any Taxes relating to or
              arising from the Business or one or more Purchased Assets for any Pre-Closing Tax
              Periods, provided that this shall exclude Transfer Taxes, which are addressed in
              SEEM-.23

                      (d)     all Post-Retirement Liabilities;

                      (6)     all Employee Beneﬁt Plans and all Liabilities thereunder; and

                      (i)     any Liability based on successor liability theories, including,
              without limitation, product liability claims.

              2.6     Assumption/Madman of Cogtracts and Rights.

                      (a)    To the maximum extent permitted by the Bankruptcy Code, the
              Assumed Contracts shall be assumed by Seller and assigned to Purchaser at the
              Closing pursuant to Section 365 of the Bankruptcy Code. If such assignment is not
              effectuated pursuant to the Approval Order, Seller shall, at the request of Purchaser,
              seek an Order from the Bankruptcy Court after the Closing Date to assign such
                                                  13

 {kW—7462M;
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09/17/18  123 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 123 of 191



             Assumed Contract to Purchaser.     All Cure Costs relating to the Assumed Contracts
             shall be paid by Seller.

                     (b)     Notwithstanding anything in this Agreement to the contrary, this
             Agreement shall not constitute an agreement to assign any Assumed Contract that,
             after giving effect to the provisions of Section 365 of the Bankruptcy Code, is not
             assignable or transferable without the consent of any Person, other than the Debtors,
             Seller and Purchaser, to the extent that such consent shall not have been given prior
             to the Closing, provided, however, that the Seller and Debtors shall use, whether
             before or aﬁer the Closing, reasonable efforts to obtain all necessary consents to
             the assignment and transfer thereof.

             2.7     Consideration; Allocation   of Consideration.

                     (a)   In addition to the assumption of the Assumed Liabilities, the
             aggregate consideration (the “Purchase Price”) for the sale, transfer and delivery of
             the Purchased Assets, at the Closing, shall be Eight—LILMiHion Qﬂe—SﬂgHundred
             Seventv Thousand Dollars     (WIOﬁWﬂOO)               payable as follows: (i) Eight
             Hundred Scea—gxtV—Two Thousand Five Hundred Dollars          (Wﬁélim)            (the
             “Deposit”) payable upon the execution of this Agreement and (ii) Swag-mmmon
             WEight         Hundred      WSeven            Thousand Five Hundred Dollars
             ($WQ9301500) payable at the Closing.
                     (b)     Purchaser and Seller agree that the Purchase Price, applicable
             Assumed Liabilities and other relevant items shall be allocated in accordance with
             the allocation schedule (the “Allocation Schegule”) to be mutually determined by
             Purchaser and Seller on or before the Closing. Purchaser and Seller shall (and shall
             cause their respective Afﬁliates to) ﬁle all Tax Returns (including IRS Form 8954)
             and other Tax-related information reports in a manner consistent with the
             Allocation Schedule and not take any position inconsistent with such Allocation
             Schedule in any Tax-related audit, examination or other proceeding (whether
             administrative or judicial) unless required by applicable Law. If any Parry receives
             any notice from a Taxing Authority in respect of an audit, examination or other
             proceeding (whether administrative or judicial) regarding any allocation of the
             Purchase Price or otherwise proposing an allocation different ﬁom the Allocation
             Schedule, such Party shall notify the other Parties of such notice and provide such
             other Parties with a copy of such notice, and the Parties hereto shall cooperate with
             each other in good faith regarding the resolution of any such matter.

                     Lg;     Follgwing the Aggrgval Hearing and Hg to Clgsing; Purchaser ghgll
             inggect the Purchaged Agsetg. inciuding. without limitation; the vel’u’ck‘x;E to cgnﬁrm
             that theV are present and accounted for provided that Purchaser éhal have m3 t
             thirtv 3m da ’3 after the Ckming the “Inventory Exniration Date” t0 count the fuel
             inventory’ and further movided that a SeHer rebrasentative must be present at 3.11
             times during Purchaseéi Assets ins action including Without fimitaﬁcn durin
             vehicles and fuel inventor ’ counts. Purcha er hall Dmvide to Seﬁef a written count
             of the vehicies at C10 i and of the fuei invento ’ on or Drier to the Inventor
                                                 14
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18  124 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 124 of 191


              Emiratien Date 'Qoliectivei the “Inventor Count” Seiier a} have u to ten
                                           f
                                                                     k



               30’ business davs after ihe Inventm’ Exniration Date {0 investi ate the Emerita '
             Count {the exniration of uch T5611 ‘19 buqines d3 neriod i referred to as the
             “Ad’ustment Date” ,    if  Seller a res with the Inventorv C um or faiis to {m 036
             the Inventor Count on or before the Adiustment Date the Inventorv Count ha
             be deemed ﬁne} (the “Final Invento        Count”). If Seller ODBOSBS the Invento
               aunt. it ghall notifv Purchaser in writing prior to the A iustment Date and
             de cri 3 it         iti n in reas nable etail. If Purcha er and diet resoive sugﬂ
             0 Dosition the inventor ’ Gaunt shaﬁ be deemed to be a Final Inventor ' Count upon
             such {8503111331. If Purchaser and Selier are 1131an to resolve Seller’; gggosition to
             the Inventog Cgunta either gag; mag submit its claim to the Bankrugtcg Court for
             diggggitign ag it; sgle means gf recourse. The Inventogy Count shall be deemed to
             be a Final Inventorv Count upon such resolution.




             WWI}?                            the F n31 Inventow Count indicates that there are
             vehicles or fuel inventory that are listed on Schedule 2.1(h) and Schedule 2.1(c),
             respectively, but are missing (“Missing Agsetg”) with an aggregate value
             determined m good faith that exceeds Thirty Thousand Dollars ($30, 000), Seller
             shah reimburse Purchase      '    -




             and credit against the Purchase Price few-the aggregate value of such Missing Assets
             that exceeds Thirty Thousand Dollars"($30, OOOWd—ﬁaéheeéeseabmg—sueh




             @mWWmWEe—IﬁSngmgﬂg
                     If Inventerv
             Fina} Inventor C uni is determined.      the
                                                                                      after the
                                                                    Count indicates that there
             Q   vehicles or ﬁle] inventory wherever located that are not listed on Schedule
             2.1(h) and Schedule 2.1(c), respectively (the “Additional ﬁsgts”) with an
             aggregate value determined in good faith that exceeds Thirty Thousand Dollars
             ($30,000), the Purchase Price shall be increased by the aggregate value of such
             Additional Assets that exceeds Thirty Thousand Dollars ($30,000) and Purchaser
              hail DEW” such increase to Selier Dromnﬂ after the Final Inventorv Count is
             determined.

             2.8    Closing. The closing (the“C linos g”) of the purchase and sale of the
      Purchased Assets and the assumption of the Assumed Liabilities shall take place at the
      ofﬁces of Fox Rothschild LLP, 2000 Market Street, 20th Floor, Philadelphia, PA 19103-
      3222 on WSegtember                             .252 2018, or at such other time or place

                                                   15
 ALLMM
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09I17l18  125 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 125 of 191


       as Purchaser and Seller      may agree. The Parties may mutually agree to consummate the
       Closing electronically.

               2.9    Deliveries by Seller. At the Closing, Seller will deliver or cause to be
       delivered to Purchaser (unless delivered previously) the following:

                      (a)      the Approval Order;


              In Hm;
                      (b)
                 mu; («km     aBill of stxqu
                               a
                              nan—l
                                             Sale, Assignment and Assumption Agreement subsfeantiaﬂy
                                                     no T‘vlm‘iah
                                                oh» u»;
                                             14::                 A (flan “Aon£n-nman+ man]    Acanmnﬁnn
                                                                     \uxv 1x06; Ln xxxxxx Luiu xxoumllpx;vxx
              Wduly
              x11    LULLLL   on.   “ULLVU              .LJAALxUXLAL

                                       executed by Seller;

                      (0)     duly executed quitclaim deeds transferring fee simple title to the
              Acquired Owned Real Property to Purchaser, in form and substance reasonably
              satisfactory to Purchaser;

                    (d)     originals (or, to the extent originals are not available, copies) of all
              Assumed Contracts (togethcr with all material amendments, supplements or
              modiﬁcations thereto);

                      (e)    physical possession of all of the Purchased Assets capable of passing
              by delivery, with the intent that title in such Purchased Assets shall pass by and
              upon delivery;

                      (f)      aduly executed assignment agreement or agreements transferring
              the Intellectual Property Rights to Purchaser, in form and substance reasonably
              satisfactory to Purchaser;

                     (g)      an afﬁdavit from Seller, sworn under penalty of perjury and dated
              as of the Closing Date, in form      and substance satisfactory to Purchaser, issued
              pursuant to Section 1445 of the       Code and the Treasury regulations thereunder
              stating that Seller is not a foreign person as deﬁned in Section 1445 of the Code;

                      (h)    certiﬁcates of title and title transfer documents to all titled motor
              vehicles included within the Purchased Assets; and

                     (i)    all other documents, instruments and writings reasonably requested
              by Purchaser to be delivered by Seller at or prior to the Closing pursuant to this
              Agreement, in each case in form and substance reasonably acceptable to Seller.

               2.10 Deliveries by Purchaser. At the Closing, Purchaser will deliver or cause to
       be delivered to Seller (unless previously delivered) the following:

                     (a)       any unpaid portion of the Purchase Price;

                     (b)       the Assignment and Assumption Agreement, duly executed by
              Purchaser; and



 A   a
     ni'vmgg
                                                       16
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   126 of 191
                                                    09/17/18 19:15:44 Desc Main
                                   Document         Page 126 of 191



                         (c)     all other documents, instruments and writings reasonably requested
                  by Seller to be delivered by Purchaser at or prior to the Closing pursuant to this
                  Agreement.

         3.      Representations and Warranties of Seller. Subject to the terms, conditions and
 limitations set forth in this Agreement, Seller hereby represents and warrants to Purchaser as of
 the date of this Agreement as follows:

                 3.1   Power. Subject to the entry of an Approval Order (as deﬁned below) by the
         Bankruptcy Court, Seller has full legal capacity, right, power and authority to enter into
         this Agreement.

                 3.2     Authorizgtion. The execution, delivery and performance by Seller of this
         Agreement and the consummation of the Transactions are within Seller’s powers and have
         been duly authorized by all necessary actions on the part of Seller. Subject to entry by the
         Bankruptcy Court of the Bidding Procedures Order and the Approval Order in the
         Bankruptcy Cases, this Agreement constitutes a valid and binding agreement of Seller that
         is enforceable in accordance with its terms.

                 3.3     Governmegtal Authorization. The execution, delivery and performance by
         Seller of this Agreement and the consummation of the Transactions by Seller require no
         action by or in respect of, or ﬁling with, any Governmental Authority other than consents,
         approvals or authorizations of, or declarations or ﬁlings with, the Bankruptcy Court.

                 3.4     Non-contravention. Subject to entry by the Bankruptcy Court of the
         Bidding Procedures Order and the Approval Order in the Bankruptcy Cases, the execution,
         delivery and performance by Seller of this Agreement and the consummation of the
         Transactions do not and will not, to the Knowledge of Seller (a) assuming compliance with
         the matters referred to in Section 3 .3 violate any applicable Law or (b) result in the creation
         or imposition of any Lien on any Purchased Asset, except for Assumed Liabilities,


                 3.5     W.
         Permitted Encumbrance, or Liens that will be released at or prior to Closing.

                                                Except as disclosed on Schedule 3.5 (which may be
         modiﬁed prior to the Closing Date), and except for consents, approvals or authorizations
         of, or declarations or ﬁlings with, the Bankruptcy Court, to the Knowledge of Seller, there
         is no agreement or other instrument binding upon Seller requiring a consent or other action
         by any Person as a result of the execution, delivery and performance of this Agreement.
         Notwithstanding the foregoing noth‘n set forth herein hail affect anv right 0f the Seller
         to assume and a in: the a reements listed on Scheduie 3:5 pursuant to Section 365 of the
         Bankrugtcg Code.

                  3.6    Litigation. Except as disclosed on Schedule 3.6 and except for the
         Bankruptcy Cases, as of the date hereof, there is no action, suit, investigation or legal or
         administrative proceeding pending or, to the Knowledge of Seller, threatened against or
         affecting, the Purchased Assets (by any Governmental Authority or Person), including real
         estate tax assessment appeals, which in any manner challenges or seeks to prevent, enjoin,
         alter or materially delay the Transactions.

                                                    17
 Afrgvgrx§4374§27 v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  127 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 127 of 191



                    3.7     Permits. Schedule 2.1m sets forth a list of all Permits required to conduct
            and operate the Business in a manner consistent with the pre-Petition Date practices of the
            Debtors. Except as set forth on ﬁchedglg 3.7, to the Knowledge of the Seller, no written
            notice of violation of any Permit has been received from any Governmental Authority, and
            no proceeding is pending seeking to revoke or limit any such Permit.

                         Compliance with Laws and Court Orders. Seller is not in material violation
                       3.8
            of any Law applicable to the Purchased Assets or the conduct of the Business.
                    3.9    Intellectual Properly Rights.         To the Knowledge of Seller,
            (a) Schedule ;.1(g1 sets forth an accurate and complete list of all registered Intellectual
            Property Rights included in the Purchased Assets, and (b) there are no outstanding
            challenges to the ownership and use by Seller of the Intellectual Property Rights, nor any
            alleged inﬁingements of such Intellectual Property Rights by third parties         To the
            Knowledge of Seller, none of the Intellectual Property Rights included 1n the Purchased
            Assets has been licensed by Seller to any other Person.

                   3.10    Egvironmental Matters. To the Knowledge of Seller, and other than as
            described on §ghedule 3.19: (a) neither the Seller nor the Debtors have received any notice
            from any Governmental Authority or third party of any violation of or failure to comply
            with any Environmental Laws with respect to the Acquired Owned Real Property which
            remains uncorrected, or of any obligation to undertake or bear the cost of any remediation
            with respect to the Acquired Owned Real Property which remains unperformed, and
            (b) the Acquired Owned Real Property is in compliance, in all respects, with applicable
            Environmental Laws.

                    3.11    Real Prgpegy. Schedule 2.113.) sets forth the address and description of all
            Acquired Owned Real Property. With respect to each parcel of Acquired Owned Real
            Property, to the Knowledge of Seller and except as set forth on Schedule 2-1131, (a) there
            are no leases, subleases, licenses, concessions, or other agreements, written or oral,
            granting to any Person the right of use or occupancy of any portion of such Acquired
            Owned Real Property; (b) there are no outstanding options, rights of ﬁrst offer or rights of
            ﬁrst refusal to purchase such Acquired Owned Real Property (other than the right of
            Purchaser pursuant to this Agreement), or any portion thereof or interest therein; and
            (c) there are no condemnation or eminent domain proceedings pending or threatened with
            respect to all or any part of the Acquired Owned Real Property.

                    3.12    Employment Mattgrs and Employee Bgneﬁts. To the Knowledge of Seller,
            (a) Schedule  3.12  sets forth a complete and accurate list of Seller’s Employee Beneﬁt
            Plans; (b) with respect to each Employee Beneﬁt Plan, all payments, premiums,
            contributions, distributions, reimbursements or accruals for all periods (or partial periods)
            ending prior to or as of the Closing Date have been timely made in accordance with the
            terms of the applicable Employee Beneﬁt Plan and applicable Law; (c) there are no pending
            audits or investigations by any Governmental Authority involving any Employee Beneﬁt
            Plan, and there are no pending or threatened claims (except for individual claims for
            beneﬁts payable in the normal operation of the Employee Beneﬁt Plans), suits or
            proceedings involving any Employee Beneﬁt Plan, any trust or‘ other funding medium

                                                      18

 WWW
 gg*:’:1VEA§43"g4gg,~_zx/g
Case 18-13774-ref       Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774—ref       Doc 425Document     Page Entered
                                  Filed 09/17/18   128 of 191
                                                           09/17/18 19:15:44 Desc Main
                                Document      Page 128 of 191



         thereof, ﬁduciary thereof or service provider thereto, nor is there any reasonable basis for
         any such claim, suit or proceeding; and (d) the Debtors have performed all material
         obligations required to be performed by them and are not in any material respect in default
         under or in violation of any Employee Beneﬁt Plan, nor has there been any such material
         default or violation by any other party to any Employee Beneﬁt Plan.

                3.13    Taxes. To the Knowledge of Seller, all Tax Returns (including any IRS
         Forms  W—2   or Forms 1099) required to be ﬁled by or on behalf of the Debtors (or any
         predecessor of the Debtors) and all Tax Returns required to be ﬁled in respect of any
         Pmchased Asset have been timely ﬁled; provided, however, Seller makes no
         representations regarding the accuracy of such Tax Returns.

                 3.14 Suﬁiciencv of and Title to the Purchased AS§§t_S. Seller will have at Closing
        good and marketable title to, or a valid leasehold interest in (or license or other right to
        use), all the Purchased Assets.

                3.15 mgmance. As of the date hereof, to the Knowledge of Seller, all material
        property and liability insurance policies set forth on Schedule 3.15 are in full force and
        effect, and no written notice of cancellation, termination or revocation or other written
        notice that any such insurance policy is no longer in full force or effect or that the issuer of
        any such insurance policy is not willing or able to perform its obligations thereunder has
        been received by Seller. All premiums due and payable on such insurance policies have
        been paid in full.

               3.16 §ervice of      BMQ     tcy Documengg. Seller shall appropriately and timely
        serve all parties in interest with copies of the Sale and Bidding Procedures Motion and
        applicable notices as may be required by the Federal Rules of Bankruptcy Procedure and
        Local Rules of the Bankruptcy Court.

                3.17 Qertain Fees. No agent, broker, investment banker or other person or ﬁrm
        acting on behalf of Seller or the Debtors, or under her or their authority is or will be entitled
        to any broker’s or ﬁnder’s fee or any other commission or similar fee or the reimbursement
        of expenses, directly or indirectly, from Seller in connection with this Agreement or the
        Transactions.

        Except as speciﬁcally set forth in this Section 3, Seller does not make any representations
 or warranties of any kind to Purchaser.

        4.      Representations and Warranties of Purchaser.                Purchaser represents and
 warrants to Seller as follows:

               4.1     Organization. Purchaser is a Delaware limited liability company duly
        organized, validly existing and in good standing and has all requisite authority to carry on
        its business.

                4.2   Qomorate Authorization. The execution, delivery and performance by
        Purchaser of this Agreement and the consummation of the Transactions are within the
        requisite power and authority of Purchaser and have been duly authorized by all necessary
                                                    19

 A;1LZL
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18   129 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 129 of 191



       actions on the part of Purchaser. This Agreement constitutes a valid and binding agreement
       of Purchaser that is enforceable in accordance with its terms.
               4.3     Governmental Authorization. The execution, delivery and performance by
       Purchaser of this Agreement and the consummation of the Transactions by Purchaser
       require no action by or in respect of, or ﬁling with, any Governmental Authority other than
       (a) consents, approvals or authorizations of, or declarations or ﬁlings with, the Bankruptcy
       Court, and (b) any such action or ﬁling as to which the failure to make or obtain would not
       have a material effect on Purchaser or its ability to close the Transactions.

               4.4    Non-contravention. Neither the execution and delivery of this Agreement
       nor the consummation of the Transactions will (a) conﬂict with or result in any breach of
       any provision of organizational documents of Purchaser; (b) require any ﬁling with, or the
       obtaining of any Permit, authorization, consent or approval of, any Governmental
       Authority; (c) violate, conﬂict with or result in a default (or any event which, with notice
       or lapse of time or both, would constitute a default) under, or give rise to any right of
       termination, cancellation or acceleration under, any of the terms, conditions or provisions
       of any note, mortgage, other evidence of indebtedness, guarantee, license, agreement, lease
       or other contract, instrument or obligation to which Purchaser is a party or by which
       Purchaser or any of its assets may be bound; or (d) violate any Law applicable to Purchaser,
       excluding from the foregoing clauses (b), (c) and (d) such requirements, violations,
       conﬂicts, defaults or rights (i) which would not adversely affect the ability of Purchaser to
       consummate the Transactions, or (ii) which become applicable as a result of any acts or
       omissions by, or the status of or any facts pertaining to, Seller.

                4.5     Litigation. There is no action, suit, investigation or proceeding pending
       against or, to the knowledge of Purchaser, threatened against or affecting Purchaser before
       any Governmental Authority which in any manner challenges or seeks to prevent, enjoin,
       alter or materially delay the Transactions.

               4.6      Adequacy of Funds. Purchaser has and at the time of Closing will have
       available to it on an unconditional basis cash proceeds in an amount suﬁicient to satisfy its
       monetary and other obligations under this Agreement, including, without limitation, the
       obligation to pay the Purchase Price in accordance herewith.

       5.     Covenants of Seller. Seller agrees that:

              5.1     Access to Information. From the date hereof until the earlier of the
       termination of this Agreement pursuant to Section 9.1 or the Closing Date, Seller shall
       reasonably afford to Purchaser and its counsel, accountants and other representatives,
       access (at reasonable times during normal business hours) to and all properties, books,
       accounts, records and documents of, or relating to, the Business.




                                                 20
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09/17I18  130 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 130 of 191



                 5.2     Sales of De Minimis Assets. From the execution of the Term Sheet through
          the Closing Date, Seller shall cease all asset sales, including de minimis asset sales, through
          the Bankruptcy Court or otherwise.

                    5.3   Notice-g             n
                                     of Certain gn’gg.    Seller shall promptly notify Purchaser of:

                           (a)   any notice or other written communication from any Person alleging
                   that the consent of such Person is or may be required in connection with the
                   consummation of the Transactions;

                          (b)     any material written communication from any Governmental
                   Authority in connection with or relating to the Transactions; and

                            (c)    the commencement of any actions, suits, investigations or
                   proceedings relating to Seller, the Debtors, any Purchased Asset or the Business
                   that, if pending on the date of this Agreement, would have resulted in a breach of
                   any representation contained in Sectign 3.

          6.       Covenants of Purchaser and Seller. Purchaser and Seller agree that:

                   6.1    Efforts; Further Assurances. Subject to the terms and conditions of this
          Agreement, Purchaser and Seller will use their respective commercially reasonable efforts
          to take, or cause to be taken, all actions and to do, or cause to be done, all things necessary
          under applicable Laws to consummate the Transactions contemplated by this Agreement.
          Seller and Purchaser agree to execute and deliver such other documents, certiﬁcates,
          agreements and other writings and to take such other actions as may be necessary in order
          to vest in Purchaser good title to the Purchased Assets or to evidence the assumption by
          Purchaser of the Assumed Liabilities.

                  6.2     Qertain Fﬂings. Seller and Purchaser shall cooperate with one another in
          good faith (a) in determining whether any action by or in respect of, or ﬁling with, any
          Governmental Authority is required, or any actions, consents, approvals or waivers are
          required to be obtained ﬁom parties to any Assumed Contracts or Intellectual Property
          Rights, in connection with the consummation of the Transactions, and (b) in taking such
          actions or making any such ﬁlings, furnishing information required in connection therewith
          and seeking to timely obtain any such actions, consents, approvals or waivers.

                   63     Bankruptcy Issues.

                           (a)     Filing of Sale and Bidding Procedures Motion. Within three (3)
                   Business Days of the date of this Agreement, Seller shall ﬁle with the Bankruptcy
                   Court a motion (the “ ale and Bidding Prgcedures Motion”) seeking, among other
                   things, the entry of (i) the Approval Order, and (ii) an Order (the “Bidding
                   Procedures Order”) approving the bidding and auction procedures set forth in
                   Sections 6.3; b) and (g) (the “Bidding Procedures”).




 WW
 55'} iVElﬁilE 74$? yd
                                                     21
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  131 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 131 of 191



                     (b)    Bidding Procedures. In the Sale and Bidding Procedures Motion,
              Seller shall seek, among other things, approval of the following Bidding
              Procedures, which shall be incorporated into the Bidding Procedures Order:

                            (i)     Bidding Qeaﬂine. Any third party (other than Purchaser) (a
                    “Bidder”) must submit a bid (the “314”) in accordance with the terms of the
                    Bidding Procedures so that the Bid is actually received by each of the Notice
                    Parties no later than 10:00 am. (prevailing Eastern time) on September 13,
                    2018 (the “Bid Deadline”). Written copies of all Bids shall be delivered by
                    the Bid Deadline to: (A) counsel to Seller, Fox Rothschild LLP, 2000
                    Market Street, 20th Floor, Philadelphia, PA 19103-3222, Atm: Michael
                    Menkowitz, Esq, mmenkowitz@foxrothschild.com; (B) counsel to the
                    Purchaser, Vedder Price P.C., 222 N. LaSalle Street, Chicago, IL 60601,
                    Attn: Michael M. Eidelman, Esq., meidelman@vedderprice.com; and
                    (C) counsel to Fulton Bank, NA, Reed Smith LLP, 3 Logan Square, Suite
                    3100, 1717 Arch Street, Philadelphia, PA 19103, Attn: Brian M. Schenker;
                    (D) (collectively, the “Ngticc Parties”). A Bid received after the Bid
                    Deadline shall not constitute a Qualiﬁed Bid. A Bid shall be delivered to
                    all Notice Parties at the same time. Seller shall deliver to the Notice Parties,
                    at least forty-eight (48) hours prior to the Auction, written conﬁrmation
                    from the Seller that she has a good faith basis to believe the Bidder has a
                    sufﬁcient commitment for ﬁnancing pursuant to ﬁgctiog 6.3(lguiixm
                    hereof. Interested Bidders requesting information about the qualiﬁcation
                    process, including a copy of this Agreement, and information in connection
                    with their due diligence, should contact Seller’s counsel at the above
                    address.

                            (ii)  Dgsigagiog as Qualiﬁed Bidder. To participate in the
                    Auction, a Bidder must submit a Bid that is determined by Seller to satisfy
                    each of the following conditions (a “Qualiﬁed Bid” and the entity
                    submitting such Qualiﬁed Bid, a “Qualiﬁed Bidder”):

                                   (A)     Written    Submi§§ion of Modiﬁes; APA and
                    Commitment to Close. Bidders must submit a Bid by the Bid Deadline in
                    the form of an executed mark-up of this Agreement (each a “Modiﬁed
                    AP___;__A”) reﬂecting such Bidder’s proposed changes to this Agreement

                    (together with a blackline of the Modiﬁed APA against this Agreement),
                    and a written and binding commitment to close on the terms and conditions
                    set forth therein. Seller may discuss the Modiﬁed APA of any Bidder after
                    submission with such Bidder including, for clariﬁcation, the terms and
                    conditions of the Modiﬁed APA. Each Modiﬁed APA shall (I) have
                    substantially similar terms and conditions (provided that no Bid other than
                    this Agreement may provide for payment of any break-up fee, expense
                    reimbursement, or similar type of payment) as this Agreement except with
                    higher and better consideration; and (II) contain terms and conditions in the
                    aggregate no less favorable to the Debtors’ estates than the terms and




 W
 AQJE’EEJMZELE:
                    conditions in this Agreement; provided, however, the Seller shall have the
                                               22
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09/17/18  132 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 132 of 191


                   sole discretion to sell the Debtors’ assets in the lots described in Section
                   6.3(cnivl (each, a “Lot Bid”) in accordance with the Bidding Procedures
                   Order and the Bidding Procedures. In order for a Modiﬁed APA to be
                   deemed a Qualiﬁed Bid, it must provide for the acquisition of all of the
                   Purchased Assets or contain a Lot Bid;

                                (B)     Irrevocable. A Bid must be irrevocable until four (4)
                   Business Days after entry of the approval order, 2018 (the “Teﬂm' ation
                   Date”);

                                  (C)    Contingencies. A Bid may not be conditioned on
                   obtaining ﬁnancing or any internal approval or on the outcome or review of
                   due diligence. Any other contingencies associated with a Bid may not, in
                   the aggregate, be materially more burdensome than those set forth in this
                   Agreement;

                                  (D)     Financing Sources and Evidence of Financial Abilig
                   to Cloge. A Bid must identify the actual Bidder and owners and ultimate
                   parent company of the Bidder and contain written evidence of a
                   commitment for ﬁnancing or other evidence of the ability to fund and
                   consummate the Sale on or before a closing date satisfactory to Seller with
                   appropriate contact information for such ﬁnancing or funding sources;

                                 (E)     No Fees Payable to Bidder. A Bid may not request,
                  be conditioned  on or otherwise entitle the Bidder (other than Purchaser) to
                  any break-up fee, expense reimbursement or similar type of payment. A
                  Bidder shall be deemed to waive the right to pursue a substantial
                  contn'bution claim under 11 U.S.C. § 503 related in any way to the
                  submission of its bid or the Bidding Procedures;

                                 (F)       Good-Faith Deposit. Each Bid must be accompanied
                  by a cash deposit    in an amount equal to ten (10%) percent in cash of the




                                          W
                  cash and the value of the non-cash purchase price allocated to the Purchased
                  Assets under the Modiﬁed APA, which shall be paid to Seller to be held in
                  an escrow account established at United Bank, ABA Number 211170318;
                  Account No. 710000007408; Name: Worley & Obetz, Inc.; Reference —
                  Christine C. Shubert, Trustee in accordance with the Bidding Procedures;

                                 (G)                                          The aggregate
                  consideration in a Bid must have (I) a cash purchase price for the Purchased
                  Assets of the amount payable for the Purchased Assets under this
                  Agreement, being Eight Million One Hundred Thousand Dollars
                  ($8,100,000), p_1_u_§ (II) the amount of the Bid Protection, plgg (III) the
                  amount of the Break-Up Fee (the “Minimum Initial Overbid”);

                              (H)   List of Executon: Contracts and Unexpired Leases.
                  Each Bid must be accompanied by a list of Debtors’ executory and



 w
 WWW@3244“
        2:4
                                             23
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  133 of 191
                                                    09/17/18 19:15:44 Desc Main
                                      Document     Page 133 of 191


                         unexpired leases that the Bidder desires to assume and a packet of
                         information, including ﬁnancial information, that will be provided to the
                         non-Debtor parties to such executory contracts and unexpired leases
                         sufficient to demonstrate adequate assurance of future performance; and

                                         (I)      Fulton Bank. Notwithstanding anything set forth
                         hereunder, Fulton Bank, NA. shall automatically be deemed to be a
                         Qualiﬁed Bidder hereunder without taking any actions otherwise required
                         to be taken under this Section 6.3 shall have consultation rights throughout
                         the Bid process, shall have the right to attend and participate at the Auction
                         without having submitted a Qualiﬁed Bid, and shall be a third-party
                         beneﬁciary to the Bid procedure in the same way as Purchaser.
                         Notwithstanding anything set forth hereunder, nothing herein shall alter or
                         modify the rights of Fulton Bank, NA. under section 363(k) of the
                         Bankruptcy Code; 13mm, hgwevgr, (i) Fulton Bank NA. shall not
                         exercise its credit bid rights to make the Minimum Initial Overbid; and (ii)
                         any credit bid by Fulton Bank shall contain a stipulation and agreement with
                         Seller providing for the consensual use of cash collateral by Seller to pay
                         the Break-Up Fee to Purchaser and Fulton Bank shall enter into a stipulation
                         and agreement with Seller that Fulton Bank shall pay all amounts due under
                         the First Amended Stipulation and Order.

                                (iii) Dug Diligenge from Bidders. Each Qualiﬁed Bidder shall
                        comply with all reasonable requests for additional information by Seller
                        regarding such Bidder and its contemplated transaction. Failure by a Bidder
                        to comply with requests for additional information will be a basis for Seller
                        to determine that the Bidder is not a Qualiﬁed Bidder. Seller acknowledges
                        that Purchaser is a Qualiﬁed Bidder and that this Agreement constitutes a
                        Qualiﬁed Bid.

                          (c)    Auction. The Seller shall conduct an auction sale of the Purchased
                 Assets to determine the highest and/or best Bid with respect to the Purchased Assets
                                        if
                 (the “Aucgg' 11”) only she receives, prior to the Bid Deadline, (1) a Qualiﬁed Bid
                 (other than this Agreement) for the entirety of the Purchased Assets or (2) a
                 combination of Lot Bids (each of which must be a Qualiﬁed Bid) providing for, in
                 the aggregate, a Purchase Price that exceeds the Minimum Initial Overbid. The
                 Auction shall commence on September 17, 2018, at 9:00 am. (Eastern Standard
                 Time) at the offices of Fox Rothschild LLP, 2000 Market Street, 20th Floor,
                 Philadelphia, PA 19103. If no such Qualiﬁed Bid(s) is/are received by the Bid
                 Deadline, then the Auction shall not take place, Purchaser shall be declared the
                 Successful Bidder, and Seller shall seek approval of, and authority to consummate,
                                                                                 If
                 this Agreement and the Transactions at the Approval Hearing. a Qualiﬁed Bid(s)
                 is/are received in accordance with these Bidding Procedures, the Auction shall be
                 conducted according to the following procedures:

                                (i)   Participation at the Auction. Only a Qualiﬁed Bidder that
                        has submitted a Qualiﬁed Bid is eligible to participate at the Auction. For

                                                   24

 WW
 ﬁg :TEVEEQQMQZ’Z v4
Case 18-13774-ref    Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18~13774-ref    Doc 425Document     Page Entered
                               Filed 09/17/18  134 of 191
                                                       09/17/18 19:15:44 Desc Main
                             Document     Page 134 of 191



                      greater certainty, Purchaser is a Qualiﬁed Bidder and eligible to participate
                      at the Auction. Only the authorized representatives (including counsel and
                      other advisors) of each of the Purchaser, Qualiﬁed Bidders and Seller and
                      any other party in interest or its representative who provide Seller with
                      written notice forty-eight (48) hours prior to the Auction shall be permitted
                      to attend the Auction. During the Auction, the bidding shall begin with the
                      highest Qualiﬁed Bid (the “ enin Bid”) and each subsequent round of
                      bidding shall continue in minimum increments of at least the Subsequent
                      Overbid Increment. At least one (1) Business Day prior to the start of the
                     Auction, Seller shall provide a copy of the Opening Bid to all participating
                      Qualiﬁed Bidders attending the Auction and a blackline of the Opening Bid
                     to this Agreement. Seller shall select the Opening Bid, in her discretion.
                     The determination of which Qualiﬁed Bid constitutes the Opening Bid shall
                     take into account any factors Seller reasonably deems relevant to the value
                     of the Qualiﬁed Bid to Seller including, among other things, the following:
                     (A) the amount and nature of the consideration; (B) the proposed
                     assumption of liabilities, if any; (C) the ability of the Qualiﬁed Bidder to
                     close the proposed transaction; (D) the proposed closing date and the
                     likelihood, extent and impact of any potential delays in closing; (E) any
                     purchase price adjustments; (F) the impact of the contemplated transaction
                     on any actual or potential litigation; (G) the net economic effect of any
                     changes from this Agreement,     if any, contemplated by the contemplated
                     transaction documents (the “Contemplated Transaction Docmnggtg”);
                     (H) the net after-Tax consideration to be received by Seller; (1) the net
                     amounts to be paid to the Debtors’ estates, taking into account, among other
                     things, payment of the Break-Up Fee and Cure Costs; and (J) such other
                     considerations as Seller deems relevant in her reasonable business judgment
                     (collectively, the “Bid Asgesgment Criteria”).

                             (ii)    Aughoriﬂ to Bid. All representatives of Qualiﬁed Bidders
                     who submit any bids at the Auction shall represent on the record that they
                     have authority to bid and that the Bid they submit is binding on the Qualiﬁed
                     Bidder.

                             (iii) Conduct of thg Auctign. Seller and her advisors shall direct
                     and preside over the Auction. All Bids made aﬁer the Opening Bid shall be
                     Overbids (as deﬁned below), and shall be made and received on an open
                     basis, and all material terms of each Overbid shall be fully disclosed to all
                     other Qualiﬁed Bidders that are participating in the Auction. Each
                     Qualiﬁed Bidder will be permitted a fair, but limited amount of time to
                     respond to each Overbid. Seller shall maintain a transcript of the Opening
                     Bid and all Overbids made and announced at the Auction, including the
                     Successful Bid and the Back-up Bid;

                             (iv)   L95; Qualiﬁed Bidders may submit a Lot Bid for one (1) or
                     more of the following Lots and the associated assets listed below, to the
                     extent they are not expired or revoked:


 AW
 égmgﬁiliglﬁ
                                               25
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-137744ef Doc 425Document     PageEntered
                           Filed 09/17l18   135 of 191
                                                    09/17/18 19:15:44 Desc Main
                         Document      Page 135 of 191



                   (1).   Lot No.   1 ~ Worley & ObetzI Inc., Retail Division. Lot No. 1
                          consists of substantially all of the assets necessary to operate Worley
                          & Obetz, Inc.’s Retail Division, which was engaged in the business
                          of delivery of heating oil to local residences, and diesel, kerosene,
                          and gasoline fuel to local farms and businesses. Such assets include
                          certain (a) real property located across the street from 85 White Oak
                          Road, Manheim, PA 17545 (Tax Parcel No. 500-04089-0-0000),
                          and any building structure and improvements thereon, and all
                          personal property and fuel inventory located on the premises to the
                          extent personal property is not assigned and/or included in other
                          lots/divisions, (b) real property located at 24 New Charlotte Street,
                          Manheim, PA 17545, and any building, warehouse, structure, and
                          improvements thereon, and all personal property and fuel inventory
                          located on the premises to the extent personal property is not
                          assigned and/or included in other lots/divisions, (c) two (2) leases
                          for tank storage, ((1) other storage and skid tanks, (e) access to
                          Cargas Energy system for customer information and location, (f)
                          retail tankwagon trucks and any fuel inventory located therein, and
                          (g) other related assets used in the business operations of Worley &
                          Obetz, Inc.’s Retail Division.

                   (2).   Lot N9. 2     Worley Q: Obgtz, I__nc., Propﬂe Divigion. Lot No. 2
                                        —

                          consists of substantially all of the assets necessary to operate Worley
                          & Obetz, Inc.’s Propane Division, which was engaged in the
                          business of delivery of propane fuel to local residences, local farms
                          and businesses. Such assets include (a) three (3) propane tank
                          storage property leases, (b) certain customer tanks owned by Worley
                          & Obetz, Inc., (c) certain bulk storage tanks and any fuel inventory
                          included therein, (d) various customer supply and delivery
                          agreements, (6) access to Cargas Energy system for customer
                          information and location, (t) certain propane tank parts and
                          installation equipment, (g) two (2) 2018 Ford F-350 Supercab
                          propane crane trucks, (11) one (1) 2015 Peterbilt 348 retail propane
                          truck and any fuel inventory located therein, (i) one (1) 2017
                          Peterbilt retail propane truck and any fuel inventory located therein,
                          (i) certain retail propane trucks, propane utility trucks, propane
                          crane tricks, and trailers for propane tanks and any fuel or other
                          inventory located therein, and (k) other related assets used in the
                          business operations of Worley & Obetz, Inc.’s Propane Division.

                  (3).                -
                          Lot No. 3 Worley & Obetz, Inc., Service & Installation Division.
                          Lot No. 3 consists of substantially all of the assets necessary to
                          operate Worley & Obetz, Inc.’s Service & Installation Division,
                          which was engaged in the business of installation and maintenance
                          of residential and small commercial HVAC systems for commercial
                          customers, which systems utilize heating oil and propane, electric
                          heat pumps, or natural gas. Such assets include (a) certain HVAC


 WM
 £LLWM£J 2%
                                             26
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                             Filed 09/17/18  136 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document     Page 136 of 191



                          service equipment, parts and sundry inventory stored at 85 White
                          Oak Road, Manheim, PA, (b) certain service contracts for customer
                          HVAC systems, (0) access to Cargas Energy system for customer
                          information and location, (d) one (1) 2017 Ford Transit 250 Service
                          Van and any HVAC service part inventory located therin, (e) certain
                          service vans and utility trailers and any HVAC service part
                          inventory located therein, and (f) other related assets used in the
                          business operations of Worley & Obetz, Inc.’s Service &
                          Installation Division.

                   (4)-                 -
                          Lot N9. 4 Worley & Obetz, Inc., Value Energy North Division.
                          Lot No. 4 consists of substantially all of the assets necessary to
                          operate Worley & Obetz, Inc.’s Value Energy North Division,
                          which was engaged in the business of (a) delivery of heating oil and
                          propane to local residences, and diesel, kerosene, and gasoline fuel
                          to local farms and businesses, and (b) maintenance and service of
                          residential HVAC systems. Such assets include (a) leases for the
                          ofﬁce space located at 318 N. Elmer Avenue and 417 North Lehigh
                           Street, Sayre, PA 18840, (b) one (1) propane storage property tank
                          lease, (c) one (1) copier lease, (d) certain customer tanks owned by
                          Worley & Obetz, Inc., (6) certain bulk storage tanks and any ﬁle]
                          inventory located therein, (f) certain HVAC equipment and supplies
                          used for the maintenance and service residential customer HVAC
                          systems, (g) certain miscellaneous truck parts and maintenance
                          equipment, (h) access to Cargas Energy system for customer
                          information and location, (i) one (1) 2017 Peterbilt retail propane
                          truck and any fuel inventory located therein, (j) certain service vans,
                          retail tankwagons, retail propane trucks, employee trucks and
                          vehicles and any fuel or HVAC service part inventory located
                          therein, and (k) other related assets used in the business operations
                          of Worley & Obetz, Inc.’s Value Energy North Division.

                   (5).   Lot No.   5    Worley & Obetz, Ina, Value Energy South Division.
                                         —

                          Lot No.              of substantially all of the assets necessary to
                                      5 consists
                          operate W&O’s Value Energy South Division, which was engaged
                          in the business of delivery of heating oil and propane to local
                          residences, and diesel, kerosene, and gasoline fuel to local farms and
                          businesses. Such assets include (a) access to Cargas Energy system
                          for customer information and location, (b) one (1) 2015 Peterbilt
                          348 retail tankwagon and any fuel inventory located therein, (c)
                          certain retail propane trucks and retail tankwagons and any fuel
                          inventory located therein, and ((1) other related assets used in the
                          business operations of Worley & Obetz, Inc.’s Value Energy South
                          Division.

                   (6)-   Lot No. 6     - Worley & Obetz. Inc.. Fleet Fueling Division.   Lot No.



 W                        6 consists    of substantially all of the
                                               27
                                                                      assets necessary to operate
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  137 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 137 of 191


                            Worley & Obetz, Inc.’s Fleet Fueling Division, which was engaged
                            in the business of delivery of gasoline, diesel and diesel exhaust
                            ﬂuid to customer sites and directly into customer fuel trucks. Such
                            assets include (a) access to Fleetcor system for customer
                            information and location, (b) 6,500 gallon diesel exhaust ﬂuid
                            storage tank and any inventory located therein, (c) two (2) 2018
                            Mack GU713 ﬂeet fueling trucks and any ﬁlel inventory located
                            therein, (d) certain ﬂeet fueling trucks, ﬂeet fueling diesel exhaust
                            fluid delivery trucks and vans, and utility trailer and any fuel
                            inventory located therein, and (e) other related assets used in the
                            business operations of Worley & Obetz, Inc.’s Fleet Fueling
                            Division.

                     (7).   Lot No. 7     - Worlev & Obetz. Inc.. Wholesale Division.     Lot No. 7
                            consists of substantially all of the assets necessary to operate Worley
                            & Obetz, Inc.’s Wholesale Division, which was engaged in the
                            business of delivery of gasoline, diesel and propane to resellers and
                            large users. Such assets include (a) six (6) leases for truck parking
                            lots at various locations, (b) one (1) lease for electronic logs with
                            Vendor Services Group, (c) access to Cargas Energy system for
                            customer information and location, (d) two (2) 2019 Peterbilt 567
                            Wholesale Tractors, (6) two (2) 2019 Heil Tank Trailers and any
                            ﬁlel inventory located therein, (f) one ( 1) 2007 Heil Petroleum Tank
                            Trailer and any fuel inventory located therein, (g) two (2) 2014
                            Peterbilt 388 wholesale tractors, (11) one ( 1) 2014 Freightliner
                            Coronado wholesale tractor, (i) three (3) 2016 Freightliner
                            Coronado wholesale tractors, (j) three (3) 2014 Heil DOT 406
                            wholesale tank trailers and any fuel inventory located therein, (k)
                            one (1) 2017 Hail DOT 406 wholesale tank trailer and any fuel
                            inventory located therein, (1) seven (7) International wholesale
                            tractors (years 1999, 2007, 2010 (2), 2015, 2016), (m) seven (7) Heil
                            Trailer Wholesale tank trailers (years 2001 (2), 2002 (2), 2012, 2013,
                            and 2014) and any fuel inventory located therein, (n) three (3) 2015
                            Heil Trailer wholesale tank trailers and any fuel inventory located
                            therein, (0) two (2) 2017 Freightliner CA125DC Wholesale tractors,
                            (p) one (1) 2017 Mack CXU613 Wholesale tractor, (q) one (1) 2017
                            Westmor Proline MC-331 wholesale propane trailer and any fuel
                            inventory located therein, (I) one (1) 2016 Beall Petroleum Trailer
                 ’
                            and any fuel inventory located therein, (s) certain wholesale tractors,
                            wholesale tank trailers, wholesale propane trailers, and utility
                            trailers and any fuel inventory located therein, and (t) other related
                            assets used in the business operations of Worley & Obetz, Inc.’s
                            Wholesale Division.

                     (8).   Lot No.   8     - Worley
                                                   & Obetz, 1110., Pickup Truck genger  n
                            Vehicles. Lot No. 8 consists of Pickup Truck Passenger Vehicles
                            owned by Worley & Obetz, which vehicles include (a) ﬁve (5) Ford
                                                28

 WW
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  138 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 138 of 191


                           F-ISO (years 2001, 2013, 2013, 2015, and 2016), (b) four (4) Ford
                           F-250 (years 2003, 2011, 2014, and 2015), (c) one (1) 2008 Ford F-
                           150 Supercab, (d) three (3) Dodge Ram 1500 (years 2014 (1) and
                           2015 (2)), (6) one (1) 2017 Dodge Ram 2500, and (I) one (1) 2007
                           Dodge Dakota.

                   (9).    Lot No. 9  Worlev & Obetz. Inc.. Premium Passenger Vehicles.
                                          ——



                           Lot No. 9 consists of Premium Passenger Vehicles owned by
                           Worley & Obetz, which vehicles include (a) six (6) Jeep Grand
                           Cherokee (years 2014 (2) and 2015 (4)), (b) one (1) 2015 Jeep
                           Cherokee, (c) one (1) 2015 Audi Q7, (d) one (1) 2008 Cadillac
                           Escalade, (e) one (1) 2013 Volkswagen Toureg, (i) one (1) 2018
                           Range Rover, and (g) one (1)2016 Ford Explorer.

                   (10).   Lot No. 10 Worley & Obetz, Inc., Economy Passenger Vehicles.
                                          ——



                           Lot No. 10 consists of Premium Passenger Vehicles owned by
                           Worley & Obetz, which vehicles include (a) seven (7) Ford Escape
                           (years 2010 (2), 2016 (2), 2017 (3)), (b) two (2) 2018 Chevrolet
                           Equinox, (0) one (1)2005 Jeep Liberty Sport, (d) one (1) 2008 Jeep
                           Cherokee, (6) one (1) 2003 Ford Excursion, (1) one (1) 2015
                           Chevrolet Cruze, and (g) one (1) 2017 Chevrolet Bolt.

                   (11).     otNo.11—-       eri cc to ane L            W111      e ivi ion. Lot
                           No. 11 consists of substantially all of the assets necessary to operate
                           Amerigreen Propane, LLC’s Wholesale Division, which was
                           engaged in the business of wholesale sales of propane to other
                           petroleum distributors. Such assets include (a) certain terminal
                           transloader agreements, (b) certain propane throughput agreements,
                           (c) fuel inventory located at certain third party locations, ((1) access
                           to Cargas Energy system for customer information and location, (6)
                           one (1) truck and one (1) trailer for transloader owned by
                           Amerigreen Propane, LLC, and (f) other related assets used in the
                           business operations of Amerigreen Propane, LLC’s Wholesale
                           Division.

                   (12).   Lot No.   12   - Amerigggen Energy, Inc.: Rgnewables Division.      Lot
                           No. 12 consists of substantially all of the assets necessary to operate
                           Amerigreen Energy, Inc.’s Renewables Division, which was
                           engaged in the business of wholesale sales of renewable fuels,
                           including biodiesel and ethanol, to other petroleum distributors.
                           Such assets include certain (a) tenninal service and throughput
                           agreements at ﬁfty (50) terminal locations, (b) biodiesel storage,
                           blending, and throughput agreements, (c) fuel inventory located at
                           certain third party locations, ((1) access to Cargas Energy system for
                           customer information and location, and (6) other related assets used
                           in the business operations of Amerigreen Energy, Inc.’s Renewables
                           Division.


 AW
 Mmim                                           29
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  139 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 139 of 191



                           (13).   Lot No.   13   - Amerigreen Energy, Inc., Petroleum Division. Lot No.
                                    13 consists     of substantially all of the
                                                                             assets necessary to operate
                                   Amerigreen Energy,     Inc.’s Petroleum Division, which was engaged
                                   in the business of wholesale sales of diesel, heating oil and gasoline
                                   to other petroleum distributors. Such assets include (a) one (1) tank
                                   storage lease, (b) certain terminal agreements, (c) certain terminal
                                   throughput agreements, (d) certain terminal storage and throughput
                                   agreements, (e) fuel inventory located at certain third party
                                   locations, (1) certain marketing agreements, (g) access to Cargas
                                   Energy system for customer information and location, and (h) other
                                   related assets used in the business operations of Amerigreen Energy,




                                                  i
                                   Inc.’s Petroleum Division.

                           (14).   Lot No.     14    Amgrjgreen Energy. Inc... Electricity Sunnlv &
                                                       —

                                   ﬁrgkerage nigigg; Lot No. 14 consists of substantially all of the
                                   assets necessary to operate Amerigreen Energy, Inc.’s Electricity
                                   Supply & Brokerage Divisions, which were engaged in the
                                   businesses of (a) supplying electricity purchased from wholesale
                                   market for delivery to residential and commercial customers
                                   through public utility companies, and (b) brokerage for sale of
                                   electricity to residential and commercial customers for third party
                                   suppliers. Such assets include (a) certain unexpired brokerage
                                   contracts with future annuity payment stream, (b) brokerage area
                                   covering any deregulated electricity state, (0) access to utility billing
                                   information and brokerage comm-acts, and ((1) other related assets
                                   used in the businesses of Amerigreen Energy, Inc.’s Electricity
                                   Supply & Brokerage Divisions.

                           (15).   Lgt No.   15   Ameﬁgzeen Energy, Inc., Natural Gas Division. Lot
                                                  ——



                                   No. 15 consists of substantially all of the assets necessary to operate
                                   Amerigreen Energy, Inc.’s Natural Gas Division, which was
                                   engaged in the business of supplying natural gas purchased from
                                   wholesale market for delivery to residential and commercial
                                   customers through ten (10) public utility companies. Such assets
                                   include (a) the supply area for residential and commercial customers
                                   across Pennsylvania, New York and New Jersey, (b) access to utility
                                   billing information and brokerage contracts, and (c) other related
                                   assets used in the business of Amerigreen Energy, Inc.’s Natural
                                   Gas Division.

                           (16).   Lot No.   16 — Amerigreen Energy. Inc., Passenger VehiCIeg.Lot No.
                                   16 consists    of Passenger Vehicles owned by Amerigreen Energy,
                                   Inc., which vehicles include (a) six (6) Jeep Grand Cherokee (years
                                   2010 (2), 2014 (3), and 2015), (b) two (2)2016 Ford Escape, (c) one
                                   (1) 2015 Chevrolet Tahoe, and (d) one (1) 2011 Ford F—650 Box
                                   Truck.


                                                           30
 ACTIVEﬁAS   Z4§27   wig
Case 18-13774-ref        Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774aref        Doc 425Document      Page Entered
                                    Filed 09/17/18  140 of 191
                                                            09/17/18 19:15:44 Desc Main
                                  Document     Page 140 of 191



                         (17).   Lot No. 17 —- Worley & Obetz. Inc.. Real Propertv and
                                 Improvmentg at 107 Mavtown Road. Elizabethtown. PA. Lot No.
                                 17 consists of the real property located at 107 Maytown Road,
                                 Elizabethtown, PA, and all buildings, improvements, and personal
                                 property located thereon.

                                                 Worlev & Obetz. Real Propertv. Ofﬁce Building, and
                         (18).
                                 We
                                 Lot No.   18   —

                                               located at 85 White Qak Road. Mmim. PA 17545.
                                 Lot No. 18 consists of the real property located at 85 White Oak
                                 Road, Manheim, PA 17545 (Tax Parcel No. 500-27334-0-0000), the
                                 ofﬁce building, warehouse, and improvements thereon, and all
                                 personal property located on the premises to the extent personal
                                 property is not assigned and/or included in other lots/divisions. Lot
                                 No. 18 speciﬁcally excludes the retail storage area located across
                                 the street. Lot No. 18 also includes (a) one (1) electric motorcycle,
                                 (b) one ( 1) 2010 John Deere Gator, (0) one ( 1) custom motorcycle,
                                 (d) one (1) Hyster Towmotor forklift, and (6) one (1) 2014 John
                                 Deere Z950R LP Mower.

                                 (v)                n
                                         Terms 9f grbidg. An “_O_verbig” is any Bid made at the
                         Auction subsequent to Sellers’ announcement of (A) the Opening Bid, and
                         (B) the then highest and/or best Overbid at the beginning of each subsequent
                         round of bidding (the “Rom Leading Bid”). To submit an Overbid, in any
                         round of the Auction, a Qualiﬁed Bidder must comply with the following
                         conditions:

                                        (A)   Subsegugm Ovegbig Incremggt. Any Overbid shall
                         be made   in increments of at least two hundred ﬁﬁy thousand dollars
                         ($250,000.00) (the “Subsequent Overbid Increment”). The amount of the
                         Purchase Price of any Overbid shall not be less than the Purchase Price of
                         the Opening Bid or the Round Leading Bid, as applicable.

                                         (B)    Remainin Terms the Same as for ualiﬁed Bids.
                         Except as modiﬁed herein, an Overbid must comply with the conditions for
                         a Qualiﬁed Bid and the Minimum Initial Overbid requirements shall be
                         replaced with the Subsequent Overbid Increment requirements set forth
                         above; provideg, however that the Bid Deadline shall not apply. Any
                         Overbid made by a Qualiﬁed Bidder must remain open and binding on the
                         Qualiﬁed Bidder until the Termination Date. Seller shall credit the amount
                         of the Break-Up Fee to each and every Overbid submitted by Purchaser at
                                                    if
                         the Auction, meaning that Purchaser’s subsequent Overbid is the Round
                         Leading Bid, any subsequent Overbid must exceed Purchaser’s Overbid by
                         the amount of the Break-Up Fee and Subsequent Overbid Increment. To
                         the extent not previously provided (which shall be determined by Seller), a
                         Qualiﬁed Bidder submitting an Overbid must submit, as part of its Overbid,
                         written evidence (in the fonn of ﬁnancial disclosure or credit-quality
                         support information or enhancement acceptable to Seller in her reasonable



 WW
 51;"1‘1VE‘643Q4Q7   g
                                                    31
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  141 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 141 of 191



                               business judgment) demonstrating such Qualiﬁed Bidder’s ability to close
                               the transaction proposed by such Overbid.

                                              (C)                  n
                                                      Aggouncing grbids. At the start of each round of
                               bidding, Seller shall announce the Round Leading Bid, the basis for
                               calculating the total consideration offered in the Round Leading Bid, and
                               the resulting beneﬁt to Seller based on, among other things, the Bid
                               Assessment Criteria

                                        (vi)    Clgsing, the Auction. Upon conclusion of the bidding, the
                               Auction shall be closed, and Seller shall identify the highest and/or best
                               Overbid or Opening Bid (the “Successful Bid” and the entity or entities
                               submitting such Successful Bid, the “Successful Bidder”), and the next
                               highest and/or best Overbid or Opening Bid, after the Successful Bid (the
                               “Back-up Bid”), and advise the remaining Qualiﬁed Bidders of such
                               determination. All bidding for the Purchased Assets will be concluded at
                               the Auction and there will be no further bidding at the Bankruptcy Court
                               hearing held in the Bankruptcy Cases to approve the highest or best bid for
                               the Purchased Assets (the “Approval Hearing”). If the Successful Bidder
                               fails to close on the Successful Bid, the Back-up Bid shall automatically be
                               deemed to be the winning Bidder; provided, however, the Back-up Bid shall
                               be recalculated to an amount that would have been the Successful Bid had
                               the Successful Bidder not participated at the Auction,
                               $100,000.
                                                                                        M     an additional



                             (d)     Cogggnt to Jm'gdictign Q‘s Condig'og to Bid. All Qualiﬁed Bidders
                     at the Auction shall be deemed to have consented to the jurisdiction of the Court
                     and waived any right to a jury trial in connection with any disputes relating to the
                     Auction, and the construction and enforcement of the Bidder’s Contemplated
                     Transaction Documents, as applicable. Qualiﬁed Bidders (other than Purchaser)
                     shall not be deemed third party beneﬁciaries of these Bidding Procedures and shall
                     not have standing to object to the administration of the Bidding Procedures by
                     Seller.

                               (6)     Reimbursement 9f Deposit; Break-Up Fee. Upon consummation of
                     a sale   of all or substantially all of the Purchased Assets to any third party (other
                     than Purchaser) who submits the Successful Bid for the Purchased Assets, upon the
                     occurrence of the actions set forth in Section 9.1(g), 9.1(b), 9.1(d). or 9.1“), or if
                     Seller commits a material breach of this Agreement or unilaterally abandons
                     consummation of the Transactions contemplated by this Agreement, Seller shall
                     (i) pay to Purchaser in immediately available funds an amount equal to the Break-
                     Up Fee, and (ii) refund the Deposit. The provisions of this Section 6.3(6) shall
                     survive any termination of this Ageement. The Break-Up Fee shall be treated as a
                     Chapter 7 administrative expense claim in the Bankruptcy Cases, and shall be paid
                     to Purchaser upon the earlier to occur ﬁ'om (x) the closing of the sale of all or
                     substantially all of the Purchased Assets to any third party (and no Lien of any third




 W
 gC‘ﬁyg-“xgsigmgzg
                     party shall attach to the portion of the sale proceeds representing the Break-Up Fee),


                     E
                                                        32
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18  142 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 142 of 191


              or (y) the Closing of the Bankruptcy Cases. The obligation to pay the Break—Up
              Fee and Daposit under this Agreement shall be absolute and unconditional and shall
              not be subject to any defense, claim, counterclaim, offset, recoupment or reduction
              of any kind whatsoever, Eggvided, however, that, for the avoidance of doubt and
              notwithstanding anything herein to the contrary, the Break-Up Fee shall only be
                       if
              payable approved by the Bankruptcy Court. Purchaser’s right to the Break-Up
              Fee shall be the sole and exclusive remedy of Purchaser in the event Seller
              materially breaches this Agreement or if this Agreement is terminated by Seller.

                      (t)    Bankruptcy Court Approval of Sale. Seller and Purchaser shall each
              use their reasonable efforts, and shall cooperate, assist and consult with each other,
              to secure the entry of an Order (the “Approval Order”) of the Bankruptcy Court in
              the Bankruptcy Cases in form and substance acceptable to Seller and Purchaser
              containing provisions, including without limitation, (i) approving this Agreement,
              (ii) authorizing the sale of the Purchased Assets pursuant to Section 363 of the
              Bankruptcy Code, (iii) authorizing the assumption and assignment of the Assumed
              Contracts pursuant to Section 365 of the Bankruptcy Code, (iv) authorizing the
              Transactions, (v) approving the Break-Up F cc and Bid Protection and
              (vi) providing that this Agreement and the Transactions are undertaken by
              Purchaser and Seller at arm’s length, without collusion, and in good faith within
              the meaning of Section 363(m) of the Bankruptcy Code, that Purchaser and Seller
              are entitled to the protections of Section 363(m) of the Bankruptcy Code, and that
              the provisions of Section 36303) of the Bankruptcy Code are not applicable. Seller
              and Purchaser shall cooperate with one another in good faith regarding pleadings
              that either of them intends to ﬁle, or positions either of them intends to take, with
              the Bankruptcy Court in connection with or that might reasonably affect the
              Bankruptcy Court’s entry of the Approval Order.

              2L}:    Commuter S st m . After C10 ‘11       Purchaser €113“ afford Selier and
       Debtors their respective emnlovees. consultants: accountant attemevs or othar advisers
       agents r other remesenta 'Ves (collectivelv the “Seller Renresentat'ves”) full access
       (remete or on—site access) :0 an“ and 2111 bucks and records computer hardware
       cemnuter narinherals. commuter software and data commuter svstems. personnel
       records. Haber or eiectronic ﬁles. data enerated bv and/0r stored an either Purchaser
       cemnuter s stems and st rage media 6.2” backups hard drives ﬂaqh r "thumb“ drives
       CD'S DVD‘S etc. . 01" MW other electrenicaﬂ stored documents informa ion and/0r
          m and am and all other records and ﬁles concemi       the Debtors the Business the
       Purcha ed Assets and pets ﬁne} coilectivelv. the ”Records" and qhaﬂ fumi h such
       Records to the Seller Representatives as Seiier and the Debtors mav request. Purchaser
       wiﬁ also allow the Debtors’ commuter consuhant to access and monitor the Records.
       Purchaser shah preserve anv and all Records from destruction or alteration until the date
       that is ninetv (90) davs after Pu: haser proviées written notice: to Selier and Debt r
       nursuant to action 6.9 below of Purcha er‘s re nest to dastro ’ anv Record5° provided
       hewever that Purchaser ma ’ not Brovide such written netice during the ﬁrs“: 120 cia s
       after Closinv and furiher r vided that Seiier 01" the Debtors ha“ have the right to
       Burchas'e back such Record at fair market value 110011 receibt of such written notice
       before such Records are desire ed.
                                                33
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09117118  143 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 143 of 191



               Q     9ersonaﬁv Idemiﬁabie Informatien.     Purchaser acknowied as that
       Purchassr is acauirinv certain nersonaﬂv iden' able infarmatien as part of the
                                ‘
       Purcha ed A 615 incl       Q Without limitation    mes ad re es emai add es es
       isle hone numbers S cia} Securit numbers govemment id 11 ificati n umbers.
       Purchaser herebva rees and covenants to remai in compliance with 311a nlicable Law
       includ’n‘ Without imitation anglicable data andfor rivac ’ Laws concern‘n the
       ownershis 0386 ion and treatment ofsuch Der naii identiﬁable information.

              Q       Ofﬁce Access. For a varied of thirt (30} da 5 after Closin Purchaser
       shall aligw Seller and the Debtors fui} access to the afﬁces Eecated at 85 White Oak Road
       Manheim PA 17545 during business hours.

               Q]      Coegeration. The garties hereto shall coogerate fully with each other and
       their respective counsel and agents and renresentat'ves in connection with all tens to be
       taken a Dart of their 0in ations under this A reement.

              g;      Assignees. Diesel qhali cause the Assignees to comDIV with 311 Purcha er
       Obligations hereunder to Seller and Diese} hall remain liable for all Purchaser
       obligations to Seiier and Liabilities hereunder.

              g2       6.4Notices. If at any time (a) Purchaser becomes aware of any material
       breach by Seller of any representation, warranty, covenant or agreement contained herein
       and such breach is capable of being cured by Seller, or (b) Seller becomes aware of any
       breach by Purchaser of any representation, warranty, covenant or agreement contained
       herein and such breach is capable of being cured by Purchaser, the Party becoming aware
       of such breach shall promptly notify the other Party, in accordance with Section 10.1 in
       writing of such breach. Upon such notice of breach, the breaching Party shall have until
       the earlier of (y) ten (10) days after receiving such notice, and (z) the End Date, to cure
       such breach prior to the exercise of any remedies in connection therewith.

       7.     Tax Matters.

              7.1      Tax Cooperation. Purchaser and Seller agree to furnish or cause to be
       fumished to   each  other, upon request, as promptly as practicable, such information and
       assistance relating to the Purchased Assets (including access to books and records) as is
       reasonably necessary for the preparation and ﬁling of any Tax Returns, the making of any
       election relating to Taxes, the preparation for any audit or examination by any Taxing
       Authority, and the prosecution or defense of any Claim, suit or proceeding relating to any
       Tax. Seller and Purchaser shall cooperate with each other in good faith in the conduct of
       any audit or other proceeding relating to Taxes involving the Purchased Assets or the
       Business (each, a “Tax Claim”), provided that Seller shall (a) promptly notify Purchaser of
       any notice received in respect to any Tax Claim, (b) promptly notify Purchaser of any
       signiﬁcant developments regarding such Tax Claim, (c) permit Purchaser (if Purchaser so
       chooses) to control the defense and/or resolution of any Tax Claim    if any resolution or
       settlement of such Tax Claim reasonably could be expected to have an effect on Purchaser,
       any of Purchaser’s Afﬁliates or any Purchased Asset for any taxable period, ((1) take all
       actions and cooperation reasonably necessary in furtherance of the immediately preceding

                                                34

 WW
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
                         Document
 Case 18-13774-ref Doc 425             Page Entered
                            Filed 09/17/18  144 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 144 of 191


        clause (c), and (e) not settle or otherwise resolve any Tax Claim without the prior written
        consent of Purchaser.

                7.2    Tmfer Iaxes. All transfer, documentary, sales, use, stamp, registration
        and other such Taxes and fees (including any penalties and interest thereon) incurred in
        connection with this Agreement (collectively, “Transfer Taxes”) shall be split equally
       between Seller and Purchaser, and Purchaser shall ﬁle all necessary Tax Returns and other
       documentation with respect to all such transfer, documentary, sales, use, stamp, registration
                                     if
       and other taxes and fees, and required by applicable law, the Seller and the Debtors shall
       join in the execution of any such Tax Returns and other documentation. The cost of ﬁling
       any such tax returns shall be split equally between Seller and Purchaser.

               7.3    Real Pgoperty Taxeg. Real estate Taxes and water and sewer rents, any, if
       shall be apportioned and pro-rated between Seller and Purchaser as of the Closing Date.
       All state, county and local realty, conveyance, recordation and/or documentary Transfer
       Taxes shall be split equally between the Purchaser and Seller. Any real estate Taxes not
       known or estimated at the Closing and/or real estate Taxes readjusted by municipal
       authorities aﬁer the Closing shall be re-prorated when the amount thereof becomes known.

               7.4     Personal Property. Ad Valorem and Excise Taxes. Purchaser shall not be
       liable for any unpaid personal property, ad valorem or excise taxes assessed or due to be
       paid prior to the Closing Date.

       8.      Closing Conditions.

              8.1     Conditions to Obligations of Purchaser and Seller. The obligations of
       Purchaser and Seller to consummate the Closing are subject to the satisfaction at or before
       Closing of each and every one of the following conditions:

                      (a)      The Bankruptcy Court shall have entered the Approval Order in the
              Bankruptcy Cases, and the Bankruptcy Court shall have waived the stay imposed
              by Rule 6004(h) of the Federal Rules of Bankruptcy Procedure as to the Approval
              Order, authorizing the Transactions and approving this Agreement under
              Sections 105(a), 363 and 365 of the Bankruptcy Code, in form and substance
              reasonably acceptable to Seller and Purchaser, and the Approval Order shall contain
              findings that Purchaser acquired the Purchased Assets in good faith, for fair value,
              in an arm’s length transaction, and as of the Closing Date the Approval Order shall
              be in full force and effect, shall not then be stayed, and shall not have been vacated
              or reversed; and

                     (b)   No injunction, stay or similar Order issued by any Governmental
              Authority shall be in effect that restrains, enjoins, stays or prohibits the
              consummation    of the Transactions.
               8.2    Conditions to Obligations of Purchaser. The obligation of Purchaser to
       consummate the Closing is subject to the satisfaction (or waiver by Purchaser) of the
       following further conditions:

                                                35
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page EnteredV09/17/18
                             Filed 09/17/18  145 of 191       19:15:44 Desc Main
                          Document      Page 145 of 191



                         (a)    Seller shall have performed in all material respects all of its
                 obligations hereunder required to be performed by Seller on or prior to the Closing
                 Date;

                        (b)     the representations and warranties of Seller contained in this
                 Agreement shall be true and correct in all material respects at and as of the Closing
                             if
                 Date, as made at and as of such date (or to the extent such representations and
                 warranties speak as of an earlier date, they shall be true and correct as of such earlier
                 date);

                         (c)         Seller shall not be in default in any material respect under the
                 provisions       of this Agreement; and

                         (d)   Purchaser shall have received all        of the   documents required to be
                 delivered by Seller under 5 action 2.9.

                 8.3     ,   ”do to
                             0          1i tio    of Her. The obligation of Seller to consummate
         the Closing is subject to the satisfaction (or waiver by Seller) of the following further
         conditions:

                         (a)    Purchaser shall have performed in all material respects all of its
                 obligations hereunder required to be performed by it at or prior to the Closing Date;

                         (b)     the representations and warranties of Purchaser contained in this
                 Agreement shall be true and correct in all material respects at and as of the Closing
                 Date, as if made at and as of such date (or to the extent such representations and
                 warranties speak as of an earlier date, they shall be true and correct in all material
                 respects as of such earlier date);

                         (c)          Purchaser shall not be in default in any material respect under the
                 provisions      of this Agreement; and
                         (d)    Seller shall have received all       of   the documents required to be
                 delivered by Purchaser under Section 2.10.

         9.      Termination.

                 9.1    Groundg for Termination. This Agreement may be terminated at any time
        prior to the Closing:

                        (a)          by mutual written agreement of Seller and Purchaser;

                       (b)    by Seller or Purchaser,           if
                                                                the Closing shall not have been
                consummated on or before {-I-LOctober 16, 2018 (the “End Date” , unless the Party
                seeking termination is in breach of its obligations hereunder;

                        (c)    by Seller or Purchaser, if any condition set forth in Segtion 8.1 is not
                satisﬁed, and such condition is incapable of being satisﬁed by the End Date;



 AW
 agnvgagaigtmézz y4
                                                       36
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                             Filed 09/17/18  146 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 146 of 191



                        (d)                         if
                                by Purchaser, any condition set forth in Section 8.2 has not been
                 satisﬁed, and such condition is incapable of being satisﬁed by the End Date;

                        (6)     by Seller,     if
                                             any condition set forth in Section 8.3 has not been
                 satisﬁed, and such condition is incapable of being satisﬁed by the End Date; or

                        (t)     by Seller, if (i) Seller executes a deﬁnitive agreement with a third
                 party (other than Purchaser) for the acquisition of all or substantially all the
                 Purchased Assets, and (ii) the Bankruptcy Court enters an Order in the Bankruptcy
                 Cases approving such deﬁnitive agreement.

 The Party desiring to terminate this Agreement pursuant to this Section 9.1 (other than pursuant to
 Sectign 9.1121!) shall give notice of such termination to the other Party in accordance with
 Section 19.1.

                 9.2     Effect Qf Terminatign.          If
                                                    this Agreement is terminated as permitted by
         Sectigg 9.1, such termination shall be without Liability of any Party (or any stockholder,
         director, ofﬁcer, employee, agent, consultant or representative of such Party) to the other
         Party to this Agreement except as expressly provided in gegtion 6.3: g. The provisions of
        ‘Segﬁgn 6.316) shall survive any termination hereof pursuant to Secg'gn 9.1.

                 9.3    Fees and xpegseg. Except as otherwise set forth expressly herein, all costs
                                  Er


         and expenses incun'ed by the Parties in connection with obtaining Bankruptcy Court
         approval and consummation of this Agreement and the Transactions contemplated hereby
         shall be paid by the Party incurring such cost or expense.

         10.     Miscellaneous.

                10.1   Notices. All notices, requests and other communications to any Party
         hereunder shall be in writing (including via electronic mail) and shall be given,

                        if to Purchaser, to:




 WW
 A! ITEVE‘éﬁMéZZysi
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09/17/18  147 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 147 of 191



                                    Dissei Direct HGIdMnO‘ Inc;
                                    gig
                                    g'oigg T.
                                           McLaughiin
                                    Beriuﬁ McLau hl‘ & Kutchin LLP
                                    44 School Street Boston    MA 02188

                                    Fm if: ‘m   E   hlin’zﬁbmkle   211.com


                            ifto Seller, to:
                                    Christine C. Shubert
                                    821 Wesley Avenue
                                    Ocean City, NJ 08226
                                    e—mail: Christine.shubext@bmstrustee.onmicrosoft.com

                            with a copy to (which shall not constitute notice):

                                    Fox Rothschild LLP
                                    2000 Market Street
                                    20th Floor
                                    Philadelphia, PA 19103
                                    Attn: Michael Menkowitz
                                    e-mail: mmenkowitz@foxrothschild.com

 All  such notices, requests and other communications shall be deemed received on the date of
                                      if
 receipt by the recipient thereof received prior to 5:00 pm. in the place of receipt and such day
 is a Business Day in the place of receipt. Otherwise, any such notice, request or communication
 shall be deemed not to have been received until the next succeeding Business Day in the place of
 receipt.

                   10.2     Limitation on Damages. No Party shall be authorized to recover from the
            other Party any special, consequential, exemplary or punitive damages on account of any
            breach of this Agreement, AND ANY SUCH CLAIM, RIGHT, OR CAUSE OF ACTION
            FOR ANY SUCH DAMAGES IS HEREBY FULLY WAIVED, RELEASED AND
            FOREVER DISCHARGED.

                    10.3    Waivers. No failure or delay by any Party in exercising any right, power or
            privilege hereunder shall operate as a waiver thereof, nor shall any single or partial exercise
            thereof preclude any other or further exercise thereof or the exercise of any other right,
            power or privilege. The rights and remedies herein provided shall be cumulative.

                    10.4    Successors and Assigs. The provisions of this Agreement shall be binding
            upon and inure to the beneﬁt of the Parties and their respective successors and assigns;
            provided, however that no Party may assign, delegate or otherwise transfer any of its rights
            or obligations under this Agreement without the written consent of the other Party;
            provided further that Purchaser shall have the right to designate one or more wholly owned
            subsidiaries or Afﬁliates to take title to the Purchased Assets at the Closing, so long as



 W
 éLWWU           27324
                                                       38
Case 18-13774-ref    Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774—ref    Doc 425Document     Page Entered
                               Filed 09/17I18  148 of 191
                                                       09/17/18 19:15:44 Desc Main
                                Document        Page 148 of 191


       Purchaser remains liable for all of its obligations hereunder and provided such designation
       does not violate any consent or other approval which has been obtained by Seller.

               10.5   GOV/gag g Law. This Agreement shall be governed by and construed in
       accordance with the Laws of the Commonwealth of Pennsylvania and any applicable
       provisions of the Bankruptcy Code, without regard to the principles of conﬂicts of Law
       that would provide for application of another Law.

              10.6    Jurisdictign.

                      (21)    Prior to the closing of the Bankruptcy Cases, the Parties hereto agree
              that any suit, action or proceeding seeking to enforce any provision of, or based on
              any matter arising out of or in connection with, this Agreement or the Transactions
              shall be brought exclusively in the Bankruptcy Court, and each of the Parties hereby
              irrevocably consents to the jurisdiction of the Bankruptcy Court (and of the
              appropriate appellate courts therefrom) in any such suit, action or proceeding and
              irrevocably waives, to the fullest extent permitted by Law, any objection that it may
              now or hereafter have to the laying of the venue of any such suit, action or
              proceeding in the Bankruptcy Court or that any such suit, action or proceeding
              which is brought in the Bankruptcy Court has been brought in an inconvenient
              forum. Process in any such suit, action or proceeding may be served on any Party
              anywhere in the world, whether within or without the jurisdiction of the Bankruptcy
              Court. Without limiting the foregoing, each Party agrees that service of process on
              such Party as provided in ﬁcgg‘gn 10.1 shall be deemed effective service of process
              on such Party.

                     (b)     Aﬁer the closing of the Bankruptcy Cases, except as otherwise
             expressly provided in this Agreement, the Parties hereto agree that any suit, action
             or proceeding seeking to enforce any provision of, or based on any matter arising
             out of or in connection with, this Agreement or the Transactions may be brought in
             any court having subject matter jurisdiction over such suit, action or proceeding,
             and that any cause of action arising out of this Agreement shall be deemed to have
             arisen from a transaction of business in the Commonwealth of Pennsylvania, and
             each of the Parties hereby irrevocably consents to the jurisdiction of such courts
             (and of the appropriate appellate courts therefrom) in any such suit, action or
             proceeding and irrevocably waives, to the fullest extent permitted by Law, any
             objection that it may now or hereafter have to the laying of the venue of any such
             suit, action or proceeding in any such court or that any such suit, action or
             proceeding which is brought in any such court has been brought in an inconvenient
             forum. Process in any such suit, action or proceeding may be served on any Party
             anywhere in the world, whether Within or without the jurisdiction of any such court.
             Without limiting the foregoing, each Party agrees that service of process on such
             Party as provided in Section 10.1 shall be deemed effective service of process on
             such Party.

            10.7 Waiver of Jyg Trial. EACH OF THE PARTIES HERETO HEREBY
       IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY

                                                39

 WW
Case 18-13774-ref                Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref               Doc 425Document      PageEntered
                                          Filed 09/17/18   149 of 191
                                                                  09/17/18 19:15:44 Desc Main
                                        Document     Page 149 of 191


             LEGAL PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR
             THE TRANSACTIONS.

                     10.8   No        IQ
                                     d-Pm Beneﬁcig'es. Other than as set forth in Section 10.101211,
             no provision of this Agreement is intended to confer upon any Person other than the Parties
             hereto any rights or remedies hereunder.

                     10.9 Engg Ageemgm; Amgndments; Countegpans. This Agreement (including
             the Schedules and Exhibits hereto) sets forth the entire agreement between the Parties with
             respect to the subject matter hereof and may be amended only by a writing executed by
             Purchaser and Seller. This Agreement may be executed in counterparts, each of which
             when taken together shall constitute an original. A signed copy of this Agreement
             delivered by facsimile, e-mail or other means of electronic transmission shall be deemed
             to have the same legal effect as delivery of an original signed copy of this Agreement. This
             Agreement shall become effective when each Party hereto shall have received a counterpart
             hereof signed by the other Party hereto. In the event of any conﬂict or inconsistency
             between the statements in this Agreement and the Bidding Procedures, the statements in
             this Agreement shall control.

                         10.10 Pre-Pgtition Secured    Pm.
                                         Notwithstanding anything to the contrary herein, Fulton Bank, NA.
                         (the
                               “ (a)
                                 re-Betition ﬁgured Pm”) will be deemed a third-party beneﬁciary
                         hereunder entitled to exercise and enforce any and all rights, powers, privileges and
                         remedies of Seller pursuant to this Agreement or any other agreement, instrument
                         or document executed in connection herewith. Without limiting the generality of
                         the foregoing, and notwithstanding anything to the contrary in this Agreement or in
                         any other agreement, instrument or document executed in connection herewith,
                         Seller will not exercise any right to terminate, or execute and deliver or otherwise
                         provide any waivers, consents or amendments under, this Agreement or any of the
                         other agreements, instruments or documents executed in connection herewith,
                         without the prior written consent of the Pre-Petition Secured Party (which shall not
                         be unreasonably withheld, conditioned or delayed).

                                (b)       Notwithstanding anything to the contrary in this Agreement or any
                         other agreement, instrument or document executed in connection herewith, the Pre-
                         Petition Secured Parry (i) is not making any representations or warranties to any or
                         all of Seller, Purchaser or any of their respective Affiliates in connection with this
                         Agreement or any other agreement, instrument or document executed in connection
                         herewith, or the transactions contemplated herein or therein, (ii) will not be liable
                         to any Person for any breach by any or all of Seller, Purchaser or any of their
                         respective Affiliates or any of their respective representations, warranties,
                         covenants or other agreements in connection with this Agreement or any other
                         agreement, instrument or document executed in connection herewith or any of the
                         Transactions contemplated herein or therein, and (iii) will not have any obligations
                         or liabilities under or in respect of any of this Agreement or any other agreement,




 W
                         instrument or document executed in connection herewith or any of the Transactions

                                                           40
 Ai ITEV   ‘xéé‘   3’4   1%
Case 18-13774-ref      Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774—ref      Doc 425Document     PageEntered
                                 Filed 09/17/18  150 of 191
                                                         09/17/18 19:15:44 Desc Main
                               Document     Page 150 of 191



                contemplated herein or therein, other than the release of any mortgages, security
                interests, Liens and the like. Without limiting the generality of the foregoing,
                provided the Approval Order is entered, under no circumstances will the Pre-
                Petition Secured Party be obligated to return or otherwise disgorge to or for the
                beneﬁt of Purchaser or any Afﬁliate thereof any proceeds remitted to the Pre-
                Petition Secured Party, other than the Break-Up Fee (if applicable).

               10.11 Hggﬁggs; Igtggpretation. The headings contained in this Agreement are for
       convenience of reference only and shall not affect the meaning or interpretation of this
       Agreement. Whenever the words “include,” “includes” or “including” are used in this
       Agreement, they shall be deemed to be followed by the words “without limitation.” In the
       event an ambiguity or question of intent or interpretation arises, this Agreement shall be
                     if
       construed as draﬁed jointly by the Parties, and no presumption or burden of proof shall
       arise favoring or disfavoring any Party by virtue of authorship of any provisions of this
       Agreement. Unless the context otherwise clearly requires, references herein to words
       importing the masculine gender shall include the feminine and neutral genders and vice
       VCISﬂ.

                                    [Signature page follows.]




                                                41
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   151 of 09/17/18
                                                    191      19:15:44 Desc Main
                          Document     Page 151 of 191



          IN W'ITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly
   executed by their respective authorized ofﬁcers as of the day and year ﬁrst above written.




                                                   By:    '                         W44”.
                                                   Name: ”Walter J, McNimgLa
                                                   Title:   wgmgmmr
                                                   CHRISTINE C. SHUBERT, SOLELY IN
                                                   HER CAPACITY AS CHAPTER 7
                                                   TRUSTEE FOR THE ESTATES 0F
                                                   WORLEY & OBETZ, INC, ET AL.
                                                                                        ,3
                                                                     "v




                                                   By:




   W
   éQTWEé-ﬁQQEZ :14
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09117l18  152 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 152 of 191




                                   DISCLOSURE SCHEDULES

         The following schedules (the “Disclosure Schedules”) are furnished by the Seller and
 Debtors to the Purchaser pursuant to and as part of the Asset Purchase Agreement dated as of
 August 24, 2018 (the “Agreement”) by and between Christine C. Shubert, in her capacity as
 Chapter 7 Trustee (“Seller”) for the estates of (i) Worley & Obetz, Inc. (Case No. 18—13774-REF);
 (ii) Americomfort, Inc., Case No. 18-13775-REF); (iii) Amerigreen Energy, Inc. (Case No. 18-
 13777~REF); (iv) Advance Air, Inc. (Case No. 18-13778-REF); (v) Amerigreen Energy Brokers,
 LLC (Case No. 18- 13779-REF); (vi) Amerigreen Electricity, LLC (Case No. 18-13780-REF);
 (vii) Amerigreen Hedging Services, LLC (Case No. 18-13781-REF); (viii) Amerigreen
 Lubricants, LLC (Case No. 18-13782-REF); (ix) Amerigreen Natural Gas, LLC (Case No. 18-
 13783-REF); and (x) Amerigreen Propane, LLC (Case No. 18-13784-REF) (collectively, the
 “Debtors”) and Wiggins Gas Propane & Alternative Fuels LLC, a Delaware limited liability
 company (or its Assignee, “Purchaser”). All capitalized terms used but not deﬁned herein shall
 have the meanings ascribed to such terms in the Agreement.

         Unless otherwise noted, the references to section numbers in the Disclosure Schedules
 correspond to the section numbers of the representations, warranties, covenants or conditions in
 the Agreement. An exception or qualiﬁcation set forth in the Disclosure Schedules with respect
 to a particular representation or warranty will be deemed to be an exception or qualiﬁcation with
 respect to all other applicable representations and warranties to the extent the description of the
 facts regarding the event, item or matter disclosed is adequate so as to make reasonably clear or
 otherwise make the Purchaser reasonably aware that such exception or qualiﬁcation is applicable
 to such other representations and warranties whether or not such exception or qualiﬁcation is so
 numbered or such other representations and warranties expressly refer to a Schedule. Each
 disclosure made in a Disclosure Schedule shall be deemed incorporated into each other Schedule
 in which the applicability of such disclosure is readily apparent on its face. Attachments and
 annexes delivered in connection with these Disclosure Schedules are incorporated by reference in
 and constitute a part of these Disclosure Schedules.

         Nothing in the Disclosure Schedules is intended to broaden the scope of any representation
 or warranty contained in the Agreement or to create any covenant. Inclusion of any item in the
 Disclosure Schedules: (i) does not represent a determination that such item is material or establish
 a standard of materiality, (ii) does not represent a determination that such item did not wise in the
 ordinary course of business, (iii) shall not constitute, or be deemed to be, an admission to any third
 party concerning such item or (iv) does not represent a determination that the consummation of
 the transactions contemplated by the Agreement requires the consent of any third party except
 where such a representation or disclosure so provides.



                                          El'l‘        ;
 mm
                                                             I3


 A9132 E23§4 371%;124
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
                          Document
  Case 18-13774-ref Doc 425            Page 153
                             Filed 09l17l18      of 191
                                             Entered 09/17/18 19:15:44 Desc Main
                           Document     Page 153 of 191




A;52:}   135ng 7éi§27gé
Case 18-13774-ref  Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09/17/18  154 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 154 of 191



                                          Schedule 1.1(v)

                                      Leased Real Property

 902 Strasburg Pike, Strasburg, PA 17579 (Rineer Sons Real Estate, LLC) lease for land only.
                                                                           ——




 Seller owns underground petroleum storage tanks, truck rack, pumps, and canopy.

 709 Hartman Station Road, Lancaster, PA 17602 (Hartman Station Road, Inc.) — two separate
 leases:

      1. Land lease only for placement of two large propane storage tanks on concrete saddles,
         associated pumps and meters.
      2. Lease for use of underground petroleum storage tank owned by Lessor.

 16   Lititz Road, Lititz, PA
                           17543 (Rohrer’s Quarry, Inc.) — land lease only for placement   of two
 large propane storage tanks on concrete saddles, associated pumps and meters.

 2388 North Market Street, Elizabethtown, PA 17022 (Crowe Realty, LLC) - land lease only for
 placement of large propane storage tank on concrete saddles, associated pumps and meters.

 316-318 North Elmer Avenue, 413-417 North Lehigh Avenue, Sayre, PA 18840 (JW Bishop
 Properties, LLC) — lease for ofﬁce building, storage building, maintenance building, rental house
 used in Seller’s Value Energy North division. Seller owns above ground storage tanks situated
 on property.

 685 Broad Street Ext, Waverly, NY 14892 (Waverly Trade Center, LLC) — land lease only for
 placement of large propane storage tank on concrete saddles, associated pumps and meters as
 well as vehicle storage.

 35 Doe Run Road, Manheim, PA 17545 (Robert Seth Obetz) -- lease for land only. Building
 improvements consisting of: convenience store, car wash, underground petroleum storage tanks,
 gasoline/diesel dispensers and pumps, propane above ground storage tank and dispenser,
 canopies, etc. are the property of the Seller. Cardlock Asset -- Excluded.

 202 Greenﬁeld Road, Lancaster, PA 17602 (202 Greenﬁeld, LP) — lease for land and building.
 Signiﬁcant building improvements made by Seller. Also property consists of shed, underground
 storage tanks, gasoline/diesel dispensers and pumps, above-ground storage tank and dispenser
 for propane, above-ground storage tank and dispenser for diesel exhaust ﬂuid, canopy that is
 property of the Seller. Cardlock Asset —- Excluded.

 1634 West Main Street, Ephrata, PA 17522 (Charles Rutt) — gasoline/diesel dispensers and
 pumps, above-ground storage tank and dispenser for diesel exhaust ﬂuid, above-ground storage
                                                            -
 tank and dispenser for propane, canopy. Cardlock Asset Excluded.




                                                45
 AQIIVE‘QéSZAQQZMi
Case 18-13774-ref  Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774wref Doc 425Document     PageEntered
                            Filed 09/17/18 155 of 191
                                                   09l17/18 19:15:44 Desc Main
                                 Document       Page 155 of 191




 PA Route 272 and Garden Spot Road, Ephrata, PA 17522 (Lester R. Summers, Inc.) - parking
 space for two trucks.

 1575 Femdale Avenue, Johnstown, PA 15905 (Tri-County Motor Sales)       - parking space for
 seven trucks.

 7043 Ellenberger Drive, Altoona, PA 16601 (Sal-Lo Oil, Inc.) - parking space for one truck.

 1425 North Maxwell Street, Allentown, PA 18109 (Shadow Group Three, LLC) - parking space
 for one truck.

 101 East Cherry Street, Elizabethtown,PA 17022 (Lime Ridge F arm Properties, LP) — lease of
 land and underground storage tanks, gasoline/diesel pumps and canopy owned by Seller.
 Cardlock Asset — Excluded.

 854 South 16th Street, Harrisburg, PA 17104 (Scheler Realty, LLC) -— lease of land, underground
                                                                          -
 storage tanks, diesel and diesel exhaust ﬂuid dispensers. Cardlock Asset Excluded.




                                               46
 A ‘T   4‘74
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  156 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 156 of 191


                                        Schedule 2.1(a)

                                Acquired Owned Real Property

 Real estate property at 107 Maytown Road & all buildings, improvements, and personal
 property located thereon

 Real estate property at 85 White Oak Road: office building, warehouse, improvements
 thereon, and all persona! property located on the premises to the extent personal
 property is not assigned and/or included in other lots/divisions. Excludes the retail
 storage area across the street.

 Real estate located at 24 New Charlotte, Manheim, PA including any personal property thereon

 Real estate located at White Oak Road, Manheim, PA (across the street from 85 White Oak
 Road, Manheim, PA 17545) (Tax Parcel No. 500-04089-0-0000) including tanks and any other
 personal property thereon.




                                              47
  C   W   '4 ’74   v4
                                               Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35                                                                                     Desc Main
                                                 Case 18-13774-ref Doc 425
                                                                        Document      Page 157
                                                                            Filed 09/17/18     of 191
                                                                                            Entered 09/17/18 19:15:44                                                                                 Desc Main
                                                                          Document     Page 157 of 191


                                                                                                                         Schedule 2.1(b)

                                                                                             Executory Contracts and Unexpired Leases


                     PD! name

     Vendor Services Group ~ Fleet Log ELD
                                                   Wit        other than     W)             Went T19:                         Llama/lawfully“                                   Ielardm                    Ram/Payment                  Other not:

                                                                                                                                                              11/16 - 11/19; (37) Fleet Manager
     (November 2016)                       102 Greenﬁem Mad, Lancasber PA                Equipment Rental                  Vendor Services Group              mu:  Wits        Mus) z.       WELD       $1,850/ma
                                                                    _


                                                                                                                                                                        ;   mum:    a leased "sayre                         on US Bankruptcy court “st, and
     N/A                                       Sayre                                     Leased Equipment                   Marﬁn Business Bank               tower"                                    MIA                 not tn data room provided to us
     HC Rineer Sons Partnership                                                                                                                               b5/06 - 05/11, renaw for 10               57,500/mo, +“3% per
     (May 2005)                                902 Strasburg Pike, Strasburg             Leased Preméses                    H.C. Rineer Sons Partnership      years   tom                               year
     HL Wiker NRLM Lease Addendum                                                                                           Hartman Station, Inc (prev. H.L   Amendment to 08/08 base;
     (January 2018)
     M Bishop Properties, LLC (March
                                               709 Ham-nan Station Rd, Lancaster, PA     Leased Premises                    Wlker)                            mansion                                   $0.05pr
                                               pm N Elmer, 417 N Lamb, 413 a 415
     2013)
     Lester R Summers tnc- Ephrata
                                               N Lem!» and 316 N Eimer (Sayre)           Leased   mm                       J.w. asshop Properties,   LLC      l03/13 - 03g 3;   .
                                                                                                                                                                                        ‘
                                                                                                                                                                                            options     $5,940.11/mo
                                               ﬁummers Yatd, Rt. 272 It Garden Spot                                                                                                                     5150/“).  3150
     (September 2016)                          Rd, Ephrita                               Leased Premises                    Lester R. Summers                 09/16 - 09/17; renewal of lease           sec. deposit
     Lyons Obetz 55 Doc Run Road
                 —



     (September 2016)                          55 Doc Run Road Suite 104 w/ ext.
                                                                                                                                                              09/16 ’ 09/19, r
                                               parking                                   Leased Premises                                                                            ‘
                                                                                                                            Lyons a: Obetz                                           ta emnd            $8,500/mo
                                                                                                                                                              06/14 - 06/15, auto renew 3 times
                                               16 Litkz Road, Mt: PA (Property m                                                                              06/13). Permission to instal a
                                               North 5569 of main Shop, with 30,00033l                                                                          cond 30,000 ‘33 tank in 2014
     Rohrer‘s Quarry (June 2014)
                                                                                                                                                                                                                             w&o Bankruptcy Case Mes ““5 as
                                               Itank)                                    Leased Premises                   Rohrer’s Quarry, Inc.                                                        $1,000/mo            ongoing
                                               Eagsmqf: Ioton ans Broad
                                                tract Extension, Waverty, New
     WaverlLTrade Center,   LLC     (May 2013) York                                      Leased Premises                   Waveriy Trade Center,     LLC      05/13 - 05/18, option to renew            $2,000/mo
                                                                                                                                                                                                                            on US Bankruptcy court ﬁst, and
     WA                                        2333 N. Market St, Etizabethtown PA       Leased Premises                   Crowe Transportation               EXPIRES   12/31/21                        N/A                 not in data room provided to us
                                                                                                                                                                                                                            on US Bankruptcy court ﬁst, and
     WA                                        1575 Femdale Ave. ' L     ‘      , PA     Leased Premises                   Tri-Cwnty Motor Saks               ONGCMNG                                   N/A                 ynot in data room provided to us
     Se-Lo Oil Inc - Altoona (September
     2017)                                     7043 Euenberger Drive, Altoona, PA        Leased Premises - Parking         Se-Lo   on inc                     08/22/17, month-month                     5100/mo
     Shadow Group Three   LLC   —
                                    Auentown
     (November 2017)                           1425 North Maxweﬂ St., Mentown, PA        Leased Premises   —
                                                                                                               Parking     Shadow Group Three, LLC            11/17 - no end in ureement                SlSO/mo




                                                                             48
éLTlY;\Q43?4QZ7V4
                                            Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
                                              Case 18-13774-ref Doc 425
                                                                     Document      Page 158
                                                                         Filed 09/17/18      of 191
                                                                                         Entered 09/17/18 19:15:44 Desc Main
                                                                       Document     Page 158 of 191

    Biodiesel Thruput Agreement - General
                                                                                                                                                                                            nsigned doc; automaticauy renews
    Bangtson LLC (February 2018)
                                                                                                                                                                                              another year unless «minted
                                            3 Washigggon Parkway, Hicksvme NY    Throgngeemnt         (imam                         01/1! - 07119                         50%                WM
   WW
                                                                                                                             LLC
    Boyle Energy - West Grove (March
    2017)                                   40 West Mama Road, Havertown, PA     Throughput Agr       Boyﬁe   EnerL                 3/17 - 03/20                          30.05/33!


    Propane Throughput Agreement - UGI
    Energy (May 2018)
                                                                                                                                        Ill - 04/30/19; 4 locations for
                                       Steelton, Wimamspon, Hunkxk,                                                                 -
                                                                                                                                        oughput agreement
                                       Bethlehem                                 Throughput Agr       UGI   EnerlSeMces,      LLC                                         $0.035/ga!


   WWW
    RF   Oh! - Lehsghtoﬂluiy 2017)          7505 mterchange Rd, Lehighfton, FA   Throughput Agr   ~
                                                                                                      RF   om Fuel on, inc          L) 7/17 - 05/30/20
                                                                                                                                                                          sum/zaI-sonsma!




                                            W955




                                                                     49
Aﬁlﬁiéﬂﬂéélxﬂ
                                                   Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
                                                     Case 18-13774-ref Doc 425  Filed 09/17/18
                                                                             Document     Page 159  of 191
                                                                                                Entered 09/17/18 19:15:44 Desc Main
                                                                              Document     Page 159 of 191
                             PDF   Hm                                   W                other thin
                                                                Refer to W15 Inse between 1w Bishop
                                                                                                      Wu)                      WM               Typc             WWW                                 M: (3/15/12
                                                                                                                                                                                                                           hurling
                                                                                                                                                                                                                     lease between 1W      ”top and
                                                                                                                                                                                                                                                                     lint/Payment             0M m
                                                                Ind Waverfy Trade Cemer                                                                                                              MIMI: Cum-amateur"!
Lease   Assgmlon - waver}! Trade Center:                                                                                                    -                                                Tainan NW“) by
Pitney Bowes (on/1m
                                           LLC   {March 2013}
                                                                 beamed m 55 Doe Run Rd. Manheim
                                                                                                                    Lease

                                                                                                                    Laud Equipmlm                            A                                       Manson; ‘1                     m                  sue/mm
Wysm (03/1!) Amandment


Max (07117) Tmmbader
Tank statue Agreement - Coimar Termini}                         13251 Trewkmwn Road. Comm,                PA
                                                                                                                    Leased Equipmem


                                                                                                                    Leased   E          m
                                                                                                                    Leased Equipment - Tank Storage
                                                                                                                                                        1am: liver Marl-em USA LTD.

                                                                                                                                                                 M      Ma
                                                                                                                                                        [alum Ten-um, Inc.
                                                                                                                                                                                   USA LTD.
                                                                                                                                                                                                     '67/17


                                                                                                                                                                                                         7
                                                                                                                                                                                                              ~




                                                                                                                                                                                                     W14 - 12/1];
                                                                                                                                                                                                                  05/”,   Mm to 03/19
                                                                                                                                                                                                                    11' Tami-alt!

                                                                                                                                                                                                                          mum unions
                                                                                                                                                                                                                                      km
                                                                                                                                                                                                                                                       BLDG/month,


                                                                                                                                                                                                                                                       W mu
                                                                                                                                                                                                                                                       W100
                                                                                                                                                                                                                                                                     .Olduuon hr

                                                                                                                                                                                                                                                                           chips
                                                                                                                                                                                                                                                                                   W
                                                                                                                                                                                                                                                                                   W     mph! mg:
Crowemkymuamatyzms)                                             BWMcoukahdaMmlmﬁn mudemlm                                                               (mummy                                       MS‘DD/M.mewlu
Hume: ~ NILM (August 200:)                                       799        Human 5mm M, master, PA                 Lama Pmmkes                         H.L WW", km;                                 W“   “m” ”7’“ l V”        ‘

HL   e
     rPmm mm1
HL wam Addendum (January 201:)
                                                                *mnheastananman 5mm Road
                                                                 709 Hammn Station             M, hamster. PA
                                                                                                                    Lnsed Premiszs
                                                                                                                    Leased Premkcs                      m
                                                                                                                                                        H.L mm, "m.
                                                                                                                                                                     5mm, Inc (pm. .4.me
                                                                                                                                                                                                     lasemmunkm;m
                                                                                                                                                                                                     mun mumwmiwn
                                                                                                                                                                                                     mm               nan/cc       m; mien
                                                                                                                                                                                                                                                                    +uem
                                                                                                                                                                                                                                                                     +mmszus/mo
HL Wilmer NRLM Lease Addendum (Jammy 2014)                      709 Hartman Station Rd, Lancasm, PA                 Lama Premises                       Hm sum               lac km.         ELM     Amendmnc ‘0 W0! lune;                 mien        [sous/won
HLWilwr NRLM Luise Addendum (Jimmy 2015)                        709 Ham-nan Station            M,   Mr.        PA   mm Premises                         WSW                  inc (pm.        Him?)   Imam W m lam;              FEMS/ﬁlm   m
HL Wlker NHLM Lease Addendum ()amary 2016)                      709 Hartmin Smkm               Id, Lancasm.    PA   Leased Premises                     Hartman      5mm Inc (pm. Hi. Mar)           Manhunt w DCIOI m: mansion '50.me
HL   e
     rker NﬂlM   Lease Addendum (January 2017)                  709         Human Stakian Rd,       W.         M    Leased Premiuu                      Hm» Shim, In: (pm. ML Wlhr)                  Amendment to (II/BI           hue; mansion        150.0qu
HLMker Propane Addendum (January 2913)                          northeast 9f Hartman Station Road                   Leased Premises                     H.L Witter, Inc,                             True Up;     mend     M         01/13             $62,700 it  m      in papa“ nut

                                                                                                                                                                                                              k
                                                                                                                                                                                                                          A:   "                  Vt
HLWIker    Payne Addendum Qanuag 1015]                          {northeast 6f Hartman Smion Road                    Leased   Fromm                      H.L.     MM.                                 ;2I14                                                  231 has: mm



H. We: P        ne Addendum Janua    2016                       northeast of Hartman Station Road                   Leased Premises                     H.L. Wilmer, 3m.


                                                                northeast of Hartman Station Road                   Lamd     Premises                   H.L “Mm, Inc.
                                                                Summets Yard, m. 272 1 Garden Spot
Lester R Summers Inc -   Egan my 2015}                          M: Ephm‘                                            [ﬂied Pmmésa                        Lester R. Summers
Lyons Obeu (September 2009)                                     155 Doc Run Road Suite 104: The           “Min.     Leased Premises                     {yam     l   Obetz                           09/09 - 09/10, option to mend                     $13,000/mo

Lyons   Chen Renewal (September 2013)                                   Doc Mm Road         Balm 2 Suite 104        Leased Premises                     Lyons    l: Chen                             3 year renew!!!
                                                                135                                                                                                                                                                                    $13,000/ma

RhearSom Real Esta: "westmems       LLC Renewal      an: 2015                    .   »                                                                   ‘
                                                                                                                                                                                                                                                        3 300 mo


Hineer Sam Ma! Estate imam-nuns LLC Renewal         MI mu                                             M                                                                                 v-
                                                                                                                                                                                                       5.4                                              3 300 me

Crow:my Amendment Qanuag 2017)
              LLC                                               ‘
                                                                    '
                                                                       WWWF‘W
                                                                        ”


                                                                      white oak and, 'm side” of
                                                                                                                    Lewd         ‘      ‘
                                                                                                                                            extension
                                                                                                                    Land Premises; ”minute 2m.
                                                                                                                                                        m
                                                                                                                                                        ee my
Cram gm Lu: samba 2010}
Pimey Dawes Postage Meter(May 2012)
                                                                            ‘
                                                                                 mmmlalm                                lease and    Mme
                                                                                                                    wastage meter rem!
                                                                                                                                                        Crowe Rﬂy                                    10/12 » 10/13,       1: ma        ‘
                                                                                                                                                                                                                                           ,           ma
                                                                                                                                                        Fancy lawns                                  receipts for meter mam, ended 05/2016

Mesa! Mend». Agreemem - Duck Ishnd Tequl                        1463 Lambenon               Mad, Truman, N1         mm tenement                         Duck     MIMI.           Inc.                mm of fuel                                        ~—




                                                                Amendment to 2016 Terminal
First Amendment       us: 2016                                  [ﬁgment                                             Tannin! Agreement                   An: Termini};              MI

Assknment “Agreement - Plains to PW     Mics mu 2016)                                                               Terminal  “tummy
                                                                                                                             mm                         Hum Products Terminals
August 2017 Price Update                                        AM US           location:                           lm
                                                                                                                    Termhal Price Change                ArcTerminal Holdings
                                                                                                                                                                                             LLC        16 c




                                                                                         50
                                                         Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
                                                                                   Document
                                                           Case 18-13774-ref Doc 425            Page 160
                                                                                      Filed 09/17/18      of 191
                                                                                                      Entered 09/17/18 19:15:44 Desc Main
                                                                                    Document     Page 160 of 191
lawman - Westmore      Fuels - Port Chester (October 201‘)
                                                                         PM Ave,QIA'
                                                                                 Port        Chester, NV               {Tami Storage lThmuﬂwut   ‘Wesmme Fuel Cm, inc, km.              lUse of    20mm AST                              750.03 I nS
F:    l‘     4..      n   ,   .3
                                   .4“   -
                                             y
                                                  A
                                                 D'a           4“.   k                           .1-.v   ~

                                                                                                                                 m
                                                                                                                                    ”Aﬁns "in    a   n

                                                                                                                                                          :
                                                                                                                                                               'r'   ~

                                                                                                                                                                         Itllr                                                                         J   7
                                                                                                                                                                                        agnm




                                                                          412;   59‘“ Ave, Hdierwwn, PA;
                                                                                            Mil-«spat, PA;
                                                                            MILWPA

     on! - Lemma (My 2014)                                                   smemnue Rd, Lehllhkm, PA                                                ammonia:
           Thruput Mmement Renewal . 5PT.        LLC   (January 2012)       American 03! Road,       lumber. NV                                      ,LLc

           Thfupm Agreement Renew! - WT,         LLC (July 2012)            Ameﬂan 0“ Road, Renmher,          NY                                     ,LLC

           Thruput Agreement Renewal - M’.       LLC   (November 2014)      American Oil Road, Mmseher, NY                                               LLC


           Thrupm Agreement Renewal - PT,        LLC   (Navembar 2015)      Amerimn Oil Road, launcher,           NV                                 .11:

           Thruput “moment Renewal . DPT.        LLC   (“member 2017)       Medan 0“ Road, handler, NY                                               ,Lu:


                                                                                            0mm.
                                                                                         terminals                                                                                                «
                                                                                                                                                                                                      11/16;auta renew for (3) 3 month

            Want ‘ Mains Philadelphia South (May 20!!»                       Essignton Ave,      mm          PA                                           Products Terminals LLC                  - W11,           mm renew each momh



                                                                                                                                                                                               -               '
                                                                                                                                                                                                                   unless
                                                                                                                                                                                                      to be tenninmd
                                                                                                                                                                                                      -               mo    renew
                                                                                                                                                                                                           -           to be terminaed
                                                                                                                                                                                                                      auto renew
                                                                                                                                                                                                           .           m be tennimmd
           Agreement « Fmd Schokiwachter Sons (October 2015)                 Ferris Plice. Bram, NV                                                      M. Schiﬂwachur I; Sons. (M.              -   W“! unless Wed
           Agreement - Fred Schildwachter Sons (September! 2014)             Ferris Place, Bronx, NY                                                     M. Schudwachm In Sons, Inc.              - 09/15

              Amendment . Lucknow-HM (March 2010)                                PA   termini“                                                                            Tatum Carp,                          MIDI/05   comm

                                                                                                                                                                                                      customer to an" winterized




                                                                                                                                                                                                                   WW
                                                                                                                                                                                                          ‘ lees um“ 2017/2018
           Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35       Desc Main
             Case 18-13774-ref Doc 425
                                    Document      Page 161
                                        Filed 09/17/18     of 191
                                                        Entered 09/17/18 19:15:44   Desc Main
                                      Document     Page 161 of 191
 l   l             I                I             |               l                 I




                        52
Agnmmmzw
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18   162 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 162 of 191


                                         Schedule 2.1(c)

                                           Inventory


 Fuel inventory, wherever located as follows:

 Tank and 8qu Fuel Inventory      424,593.03 gallons
 Truck Fuei Inventory              44,191.00 gallons




 W
 AC“ V3643 Z4§2 Z,v4
                                       M53
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  163 of 191
                                                    09/17/18 19:15:44 Desc Main
                                 Document       Page 163 of 191



                                         Schedule 2.1(e)

                                   Tangible Personal Property

 Storage and Skid Tanks

     0   2 X 300,000 Gallon AST- Across from 85 White Oak Road, Manheim, PA (Tank and
         land OWNED)
     0   10,000 Gallon UST - Across from 85 White Oak Road, Manheim, PA (Tank and land
         OWNED)
     I   20,000 Gallon UST - 24 New Charlotte St, Manheim, PA (Tank and land OWNED)
     -   4 X 20,000 Gallon UST & 5 X 30,000 Gallon UST - 902 Strasburg Pike (tanks owned
         but on LEASED site)
     0   UST - 709 Hartman Station Road (underground tank and site LEASED)
             o 2, 30,000 gallon above ground propane storage tanks owned by Worley & Obetz
     0   1.35 million Gallon AST - 3251 Trewigtown Road, Colmar, PA (tank and site LEASED)
         1974 Riley Beard 30,000 Gallon Propane Tank (AST) and Highland 30,000 Gallon
         Propane Tank (AST) located at 16 Lititz Rd., Lititz, PA 17543 (tank owned but on
         LEASED property)
     a   1971 Trinity 30,000 Gallon Propane Tank located at 2388 N. Market St,
         Elizabethtown, PA (tank owned but on leased property)
     0   500 gallon and (5) 300 gallon skid tanks at High Concrete in Denver, PA (tanks
         owned but on customer site, W&O ﬁghts subject to customer negotiation)
    '    (Above) (3) 10,000 gallon petrolum tanks, (Above) (1) 15,000 gallon petroleum tank, (A
         hove) ( 1) 2,500 gallon DEF tank, 318 N. Elmer Ave., Sayre, PA (tanks owned but in
         lease site)
    0    6,500 Gallon diesel exhaust ﬂuid storage tank, 85 White Oak Road, Manheim, PA
    0    Customer Tanks owned by Worley & Obetz, Inc., 4000 tanks (count estimated not
         conﬁrmed, certain tanks have been removed and location is now not known)
    0    Certain Storage Tanks New and replaced propane tanks for customer locations are stored
         at 35 Doc Run Road, Manheim, PA
             0 Customer tanks owned by Worley & Obetz, Inc. Customer tanks are owned by the
                company and customers-pricing of product depends on tank ownership and
                contract terms
    0    Miscellaneous truck parts and maintenance equipment
    -    Propane tank parts and installation equipment in 85 White Oak Road warehouse and
         in/on any trucks
    0    HVAC service equipment, parts and sundry inventory stored at 85 White Oak Road, Man
         heim, PA
    0    Other related assets used in the business operations of Worley & Obetz, Inc.'s Retail




 m
         division

                                       M54
 agﬁvggégpgz? .V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                             Filed 09I17/18   164 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 164 of 191



         Other related assets used in business operations of W&O Propane Division
         Other related assets used in the business operations of W&O Inc,'s Service
         and Installation division
        Other related assets used in the business operations of W&O's Value Energy North
        Division (Sayre)
        Other related assets used in the business operations of W&O’s Value Energy South
        Division
       Other related assets used in business operations of AMG propane, Wholesale division
       Other related assets used in the business operations of W&O Fleet Fueling Division
       Other related assets used in business operations of W&O's Wholesale Division
       Other related assets used in business operations of AMG Renewables Division
       Other related assets used in the business operations of AMG's Petroleum division
       Other related assets used in business operations of AMG's Electricity Supply and
       Brokerage Division (subject to contract calculations and regulatory controls and
       restrictions)
       Other related assets used in the business operations of AMG Natural Gas division
       (subject to contract calculations and regulatory controls and restrictions)
       Other Property, Maintenance Equipment (Lawn tractors, trimmers, etc.) on site
       Related assets including parts, inventory, supplies, ﬁlrnitme/ﬁxtures, tools, equipment,
       etc.

 The items listed above do not include previously sold assets, expired or cancelled leases, and expired or
 rescinded permits or licenses.

 Note that owned or leased tanks are subject to terms of lease and may require removal or abandonment.




                                                     55
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09117I18  165 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 165 of 191


                                           Schedule 2.1(f)

                                               Permits




    WWII:
    LEFOFSI'ATEW

                                                                      Number
    Elgricigy Sggpﬁer

    Pennsylvania Public Utility Commission                         A-2014-2451720
    State of New York Department of Public Service




   State of Delaware Public Service Commission
   State of Illinois Commerce Commission
   Commonwealth of Massachusetts Department of Public Utilities [EB-442
   State of Maryland Public Service Commission                 IR—3568
   State of New Jersey                                         PA-0165   Private Aggreg
                                                              EA-0318    Energy Agent
                                                              E00101     Energy Consuls
   Public Utilities Commission of the State of Ohio         18-1304E( 1)
   Public Utility Commission of Texas

   Ngtg El gas §uggligr
Commonwealth of Massachusetts Department of Public
                                                                     RA-ZOS
Utilities
State of Maryland Public Service Commission                          lR-3569
State of New Jersey                                                 ESL-0124
Pennsylvania Public Utility
                                                              A-2014—2451710
Commission
                                                              Brooklyn Union Gas Service Territory - National
State of New York Department of Public                        Grid NY
Service                                                       Brooklyn Union Gas Service Territiry - National Grid
                                                              NY
                                                              Keyspan Gas East Service Territory - National Grid
                                                              NY
                                                              Orange & Rockland Utilities
                                                              range & Rockland Utilities
                                                              Consolidated Edison Company
                                                              Consolidated Edison Company

                                         JE:eehilaiﬁis7Ar—Pag%56


  WW
  75$;   E   lVBéﬂ} 24$? :34
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                             Filed 09/17/18  166 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document     Page 166 of 191


     Natural ﬁg Brokegge

     Public Utilities Commission of the State of Ohio              18-6516“)

     Note: Transferability of the above licenses is subject to the rules of each state's
     utility commission. Some or all of the licenses may be non-transferrable and so
     reapplication to the state commission would be necessary for the buyer.




                                                    57
 g   Q11} {E‘§f§374§27 vg
Case 18-13774-ref       Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774—ref       Doc 425Document     PageEntered
                                  Filed 09l17l18   167 of 191
                                                           09/17/18 19:15:44 Desc Main
                                Document      Page 167 of 191



                                              Schedule 2.1(g)

                                        Intellectual Property Rights


 All Intellectual Property including:

 Patents, patent a plications, patent rights, patent disclosures and inventions (whether or not
 patentable or re uced to practice)

 Trademarks (registered and at common law), trademark registrations and applications, trade
 names, logos, trade dress, brand names, service marks (registered and at common law),
 service mark registrations and applications, websites, domain names and other indicia of
 source and all goodwill associated therewith

 Works of authorship, copyrights, copyright registrations and applications for registration, and
 mora! rights

 Know-how, trade secrets, customer lists (including all whoiesale, retail and commercial
 customer account lists, whether active or inactive including complete contact information),
 proprietary information, proprietary processes and formulas, databases and data
 collections

 All source and object code, software (including front and back office software, customer
 management and fuel management systems, accounting and billing systems, POS inventory
 systems and fleet management systems), algorithms, architecture, structure, display screens,
 layouts, inventions and development tools


 All documentation and media constituting, describing or relating to the above, including,
 manuals, memoranda and records.




 WW
                                            M58
    EV i   4" 4   V4
 Case 18-13774-ref      Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
      Case 18-13774—ref Doc 425Document     Page Entered
                                 Filed 09/17/18  168 of 191
                                                         09/17/18 19:15:44 Desc Main
                               Document     Page 168 of 191




                                        Schedule 2.1(h)

                                             Van-ides



No.     VIN                    I“    Make                      Title Number       Owner
12      1FT7WZBTOBEA54209    2011    FORD                 68788426801 W0      Worley and Obetz
13      1FTYR2CVSGKA85114    2016    FORD                 75952610401 W0      Worley and Obetz
14      JLGBNGIABCKOO4246    2012    MITSUBESHI           70777185402 W0      Worley and Obetz
15      BGNAXUEU815563348    2018    CHEVORLET            78444261701W0       Worley and Obetz
16      3C6TRVCDZEE123187    2014    RAM                  74203430601 W0      Worley and Obetz
17      1C4RJFBM7EC310160    2014    JEEP                 72720870601 W0      Worley and Obetz
18      3C6UR5N$6HGS47522    2017    DODGE                76794490101WO       Worley and Obetz
19      IMGMSSSSWGOOSZS      2005    JEEP                 61677819901WO       Worley and Obetz
20      WDOPE745085304790    2'008   DODGE                67277253401 W0      Worley and Obetz
21      IFTRX18L11NA30958    2001    FORD                 56181080502 W0      Worley and Obetz
22      IXPFDBQXEINSSSZBS    2001    PET ERBILT           55580038902 W0      Worley and Obetz
27      BBPNHD7X8WF462096    1§98    PETERBILT            51600545903 W0      Worley and Obetz
28      1XP5039X54N831880    204     PET ERBILT           60382629901 W0      Worley and Obetz
29      1FT7W2860FEC47217  2015      FORD                 74330826401W0       Worley and Obetz
30      1FDWF35L2XED91611  1999      FORD                 53376098902 W0      Worley and Obetz
32      IXPSDSSXEBNSQSGEO  2003      PETERBILT            58192412001 W0      Worley and Obetz
34      1XP‘SDBQX35N855225 2005      PET ERBILT           61317391401 W0      Worley and Obetz
35      1XPFDU9X31N555808 2001       PETERBILT            54973076102 WO      Worley and Obetz
36      1FTHE2423VHB77033  1997      FORD                 51018722301 W0      Wodey and Obetz
37      1FTSE3ELZBDA48285  2011      FORD                 69232776001WO       Worley and Obetz
4O      1FTSE3EL680A48287  2011      FORD                 69232744101WO       Worley and Obetz
41      WA1LMAFEXFDOZ4148 2015       AUDI                 75035448401WO       Worley and Obetz
42      1XPFIBQX01N561652  2001      PETERBILT            55424371002WO       Worley and Obetz
43      1-C6RR7VM1F5612732   2015    DODGE RAM 1500                           Worley and Obetz
44      1HTMKADN62H511291    2002    INTERNATIONAL        56486648301WO       Worley and Obetz
45      1XPSDBQX91N558325    2001    PETERBILT            56577248101w0       Worley and Obetz
46      2NPNHD7X02M575044    2002    PETERBILT            56948005901W0       Worley and Obetz
47      1C6RR7PM9FSS75152    2015    RAM                  74270937001W0       Woriey and Obetz
48      1FMSU45P63E866794    2003    FORD                 59770667603WO       Worley and Obetz
49      1XPWD49X2A0106075    2010    PETERBlLT            67517054001W0       Worley and Obetz
50      1XPFDU9X7XN504479    1999    PETERBILT            53197517402WO       Worley and Obetz
51      2NPNHD7X11M561653 2001       PETERBILT            55673141402WO       Worley and Obetz
52      2NP3U9X3FM304907     2015    PETERBILT            NO TITLE            Worley and Obetz
53      1FTSE3EL4BDA48286    2011    FORD                 69232764001WO       Worley and Obetz
                                       Beam  '
                                                          59

      WSW
       V“     4   V4
 Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
  Case 18-13774-ref Doc 425Document      PageEntered
                             Filed 09/17/18   169 of 191
                                                      09/17/18 19:15:44 Desc Main
                           Document      Page 169 of 191


54                            2014
               3C6TRVCD4EE123627          RAM              74210863501WO    Worley and Obetz
55         1D7HW48P275144547 2007         DODGE            54307456601WO    Worley and Obetz
56         1FVHCYDJSGHWO8598 2006         FREGHTUNER       63012924701W0    Worley and Obetz
57         1C4RJ FBM3FC716633 2015        JEEP             74852155101WO    Worley and Obetz
58         1FDXF46F82E861326  2002        FORD             56984961001W0    Worley and Obetz
59         1XKWOBOX32J888526  2002        KENWORTH         58635449002 WC   Worley & Obetz Inc.
60         2NP2HN7X10M186103 2013         PETERBILT        71314854701WO    Worley and Obetz
61         16TH639R921142233 2002         GMC              57070161501WO    Worley and Obetz
62         1C4RJFBMOEC310159  2014        JEEP             72720918701WO    Worley and Obetz
63         2NP2HN7X80M179505 2013         PETERBILT        70803428701WO    Worley and Obetz
64         IXPWD49X4A0106076 2010         PETERBILT        67517345701W0    Worley and Obetz
65         IFDSF35533E839739  2003        FORD             58490271901WO    Worley and Obetz
66         1GYFK66878R167767  2008        CADl-LLAC        592732013802WO   Worley and Obetz
67         1FTYR2CVPGKA44573  2016        FORD             75792339501WO    WorIey and Obetz
68         1M2AX07CPJM039692 2018         MACK             NO TITLE         Worley and Obetz
69         1M2AXO7COJ MO39693 2018        MACK             N0 TITLE         Worley and Obetz
7O         1FVHCYBS430AU7722 2011         FREIGHTLINER     69142353401WO    Worley and Obetz
72         WDOPDGM565949577 2006          DODGE            63775825201WO    Worley and Obetz
73         1M1AA14Y4TW061280 1996         MACK             49589413002      Worley 8: Obetz Inc.
74         2NPLHD7'X77M685006 2007        PETERIILT        63478910401WO    Worley and Obetz
75             NO VIN                     EALSCT'ORCYCLE   ”0 ““5           Worley and Obetz
76             1XPHD49XXAD795405   2010   PETERBILT        67888559401WO    Worley and Obetz
78             1XP50I9X37N668876   2007   PETERBlLT        63693353701WO
79         1FT5E3 ELOBDA48284      2011   FORD             69232734701WO    Worley and Obetz
80         1FTFW1EF5DK033776       2013   FORD             71546038401WO    Worley and Obetz
81         2NP3U9X4FM305239        2015   PETERBILT        NO TiTLE         Worley and Obetz
82         VGGBAOQBIYB702395       2000   MACK             55029873603WO    Worley and Obetz
83         2NPLHN7X58M764366       2008   PETERBlLT        65782090601WO    Worley and Obetz
84         2NP2HJ7X6H M409346      2017   PETERBI LT       NO TITLE         Worley and Obetz
85         2NP2HJ7X4HM409345       2017   PETERBILT        NO TITLE         Worley and Obetz
86         1FMCU9E63AKC81708 2010         FORD             68342709702W0    Worley and Obetz
87         lGlP7SSZSF7255795 2015         CHEVROLET        75664528001WO    Worley and Obetz
88         WVGEPQBP4DDOOlOSO 2013         VOLKSWAGEN       71794005201WO    Worley and Obetz
89         3C6TRVCD4EE123630 2014         RAM              74265170601W0    Worley and Obetz
90         WDOPE745285285613       2008   DODGE            66539537701W0    Worley and Obetz
91         WDOPE745485304789       2008   DODGE            67277246801W0    Worley and Obetz
92         1FTFW1ET5DKD124D7       2013   FORD             73149607901WO    Worley and Obetz
93         1HTSGOOOSYH270796       2000   INTERNATIONAL    56829277002 WC   Worley and Obetz Inc.
94         WDZPD444755724901       2005   DODGE            61483617101 WC   Worley and Obetz Inc.
96         2NPLL29X87M693284       2007   PETERBILT        64553232301 W0   Worley and Obetz Inc.

                                                      60
     Ail   E   IVE-Q43 24622 V4
  Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
   Case 18-13774-ref Doc 425Document     Page Entered
                              Filed 09/17/18  170 of 191
                                                      09/17/18 19:15:44 Desc Main
                            Document     Page 1700f 191


 97    1FMCU96X16U828917 2016       FORD             75433916901 W0   Worley and Obetz     Inc.
 98    1FMCU96X7GU829571 2016       FORD             75582927001 W0   Worley and Obetz     Inc.
 99    1FTWE1EG1FFC83210 2015       FORD             75399456001 W0   Worley and Obetz     Inc.
100    1FM5K838366A41933 2016       FORD             75273144201 WO   Worley and Obetz     Inc.
101    lNPALUOX26N884964 2006       PET ERBILT       62703692302 W0   Worley and Obetz     Inc.
102    ZNPLHD7X85M865253 2005       PETERBILT        62473459802 WO   Worley and Obetz     Inc.
103    1FVX6EDBXYLF06572  2000      FREl-G HTLINER   55898071602 WO   Worley and Obetz     Inc.
104    1FVX6EDBXXLA19161  1999      FREIGHTLINER     52853903802 WO   Worley and Obetz     Inc.
105    5HTAB4327V7H61284 1997       HEIL             56081085301 W0   Worley and Obetz
105    1XPSDBQXSSN350410  1995      PETERBILT        47548035703 W0   Worley and Obetz     Inc.
105    1C4RJFBM3FC100429  2515      JEEP             75612762501 W0   Worley and Obetz     Inc.
107    1XP9089X95P202830  1986      PETERBILT        44093177703 W0   Worley and Obetz     Inc.
108    1HTAA1954E HA14441 1984      INTERNATIONAL    35726181702 WO   Worley and Obetz     Inc.
109    BBPNHD7X1WF469035 1998       PETERBILT        51992584702 WO   Worley and Obetz     Inc.
110    1XPSDB§XSVN387532  1997      PETERBILT        49949115005 WO   Worley and Obetz     Inc.
111    1FTYR2CV4GKA44576  2016      FORD             75792085001 WO   Worley and Obetz     Inc.
       1FMCUSGD4HUADS47
112                          2017   FORD             76235998701 W0   Worley and Obetz Inc.
           2
113    2NP2HJ7X4EM241542     2014   PET ERBILT       72894625201 W0   Worley and Obetz     Inc.
114    3C6TRVCDSEE123629     2014   RAM              74210911301 W0   Worley and Obetz
115    WDDPE745185235936     2.08   DODGE            65723947901 W0   Worley and Obetz     Inc.
116    4P5L62023H3023913     2017   PJ               77569596501 WO   Worley and Obetz
117    1FTSE3EL88DA48288     2011   FORD             69232721401 WO   Worley and Obetz     Inc.
118    IGCHGBSRXY1237737     2000   CHEVROLET        5529365002 W0    Worley and Obetz     Inc.

119    IEZMCU9GD1HUD2412     2017   FORD             77329876701WO    Worley & Obetz Inc.
120    ZNPRLN DX29M788250    2009   PETERBILT        66729081001 W0   Worley and   Obetz Inc.
121    MOXUVGF080476         2010   JOHN DEERE       NO TITLE         Worley and   Obetz
122    1HLA3A7B7C7H52109     1982   HEIL TRAILER     34426880502W0    Worley and   Obetz
123    1FTZW2861EEA27387  2014      FORD             72791138801 W0   WorIey and   Obetz Inc.
125   BBPN H D7X2WF469030 1998      PETERBILT        51992583402 W0
126   1HTWNAZT471381180 2007        INTERNATIONAL    65087359301 W0
127   1FTPW14VW8FA68467 2008        FORD             66211444701W0    Worley and Obetz Inc.
128   5HTAB432X37H67271 2003        HEIL             58753659601 W0   Worley and Obetz
129   SHTAB432XB7H73398   2008      HEIL             65351351201 WO   Worley and Obetz Inc.
130   1E93E26217E353763   2007      HAUL MASTER      65812309101 W0   Worley and Obetz
131   1C4RJFBMOFC767149   2015      JEEP             74433593401 WO   Worley and Obetz
132   5HTAB432X37H66816 2003        HEIL             58203491301 W0   Worley and Obetz
133   161FW6508H4160004 2017        CHEVROLET        78013622002 WO   Worley and Obetz
134   5HTAB4426V7H61033   1997      HEIL             50307539102 WO   Worley and Obetz
135   1FVHCYBSQBDAU7893 2011        FREIGHTLINER     69142337601 W0   Worley and Obetz


                                             61
      TI       A   4   “V4
  Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
   Case 18-13774-ref Doc 425Document       Page Entered
                               Filed (39/17/18  171 of 191
                                                        09/17/18 19:15:44 Desc Main
                             Document      Page 171 of 191


136       2NP2HJ7XXEM241562   2014   PETERBILT       73264201601 WC   Worley and Obetz
137       1HTSCABM2TH302663   1996   INTERNATIONAL   49525537504 WC   Worley and Obetz
138       1W6HFAA1$L629057    1995   FREIGHTLINER    48237495903 W0   Worley and Obetz
139       1HTSDAAN11H336467   2001   INTERNATIONAL   57939742903 WC   Worley and Obetz
140       INPSL09X330116491   2011   PETERBILT       69456295001 WC   Worley and Obetz
141       2NP3LNOX2AM109116   2010   PETERBILT       67917155001 WC   Worley and Obetz
142       5HTAB442517H65058   2001   HElL TRAlLER    55597383902WO    Worley and Obetz
143       INPNHD7X7XS480327   1999   PETERBILT       53986157903 WO   Worley and Obetz
144       1XPADU9X46N888486   2006   PETERBILT       63019821202 WC   Worley and Obetz
145       418T043241T003802   2001   FRUEHAUF        56534358501WO    Worley and Obetz
146       1FMCUQDG4AKC62912   2010   FORD            68326455601 WC   Worley and Obetz
147       1FDAF5HR6AEBOS8D8   2010   FORD            68384531301 WC   Worley and Obetz
148       IFMCUQGXGGUAQOBS    2016   FORD            75272996101W0    Worley and Obetz
149       5HTAB4322A7H75099   2010   HEIL            67797830601 WC   Worley and Obetz
150       5HTAB4425X7H63066   1999   HEIL TRAILER    53156123502WO    Worley and Obetz
153      1XPWD49X1CDl42620    2012   PETERBILT       69935640201 W0   Worley and Obetz
154      1XPWD49X5C0142619    2012   PETERBILT       59935772801 W0   Worley and Obetz
155      1FMCU96X3GUA80448    2016   FORD            75273120201 WC   Worley and Obetz
156      1XPWDBQXXBDll7508    2011   PETERBILT       69065086501 W0   Worley and Obetz
157      1HLA3A7F657H58050    1995   HEIL            47727448204 W0   Worley and Obetz
158      1NPSL09X180116490    2011   PETERBILT       69733761001 W0   Worley and Obetz
159       lGRAA9623HBll7611   1987   GREAT DANE      39351608402 W0   Worley and Obetz
160      1FMCUQGQGU819214     2016   FORD            75433844001WO    Worley and Obetz
         2NP3MN9XXCM 16039
161
           8
                              2012   PETERBILT       70123258301 WC   Worley and Obetz
162      1FUJGPDR3CDBJ6237    2012   FREIGHTLINER    69987532601 WC   Worley and Obetz
163      1FUJGPDRSCDBJGZSS    2012   FREIG HTLINER   69987533901 WC   Worley and Obetz
164      5HTAB4320A7H75098    2010   HEIL            NO TITLE         Worley and Obetz
165      1FUJGPDR7CDBJSZSS    2012   FREIGHTLIN ER   69987534101 W0   Worley and Obetz
166      5HTAB4320C7H76108    2012   HEIL            69991663001 W0   Worley and Obetz
167      5HTAB4322C7H76109    2012   HEIL            69991672201 WC   Worley and Obetz
168      2H9AECHF1CT002331    2012   HUTCHINSON      70224961901 WC   Worley and Obetz
169      5HTAB432757H68770    2005   HEIL            61758082201 WC   Worley and Obetz
170      2H9AECH FZCT002332   2012   HUTCHINSON      70224948901 W0   Worley and Obetz
171      2HDAECH FSCT002333   2012   HUTCHINSON      70290507501 W0   Worley and Obetz
172      SW136084PA                  SP CONSTR       54136084201 MC   Worley and Obetz
173      5HTAB4421V7H60873    1997   HEIL TRAILER    49932174302WO    Worley and Obetz
174      1C4RJFBM4FC577289    2015   JEEP            74852203001WO    Worley and Obetz
175      5N HUCCV265N044399   2005   CONTINENTAL     70153771001 WC   Worley and Obetz
176      5HTAB432877H71728    2007   HEIL            63872821701 W0   Worley and Obetz



                                              62
      a: i'fVE‘éd‘ﬂéiéZZ Vi
      Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
                               Document
       Case 18-13774-ref Doc 425             Page Entered
                                  Filed 09/17/18  172 of 191
                                                          09/17/18 19:15:44 Desc Main
                                Document     Page 172 of 191



    177          NO VIN NUMBER        3'3“   HYSTER         NO mu:             Worley and Obetz
    178          5HTAB432X77H71729    2007   HEIL           63950336501 W0     Worley and   Obetz
    179          1XPWD49X3CD142621    2012   PETERBILT      71183409401 W0     Worley and   Obetz
    180          1HLA3A7FXR7H57204    1994   HEIL           46504276603 WC     Worley and   Obetz
    181          3CGJ R7ETEEGIZ724O   2014   RAM            72942113701 WC     Worley and   Obetz
    182          SGNAXUFUSJSS45903    2018   CHEVROLET      78342947301W0      Worley and   Obetz
    183          5HTAB4420T7H59159    1996   HEIL           49069392604 WC     Worley and   Obetz
    184          1H1A3A7F7S7H58901    1995   HEIL           48152551403 WC     Worley and   Obetz

    185          1|;MCUQGDSHUDZ412    2017   FORD           77369538201 WC     Worley and Obetz
    186          1FDUFSHT4DEBS4033    2013   FORD           72373570401 W0     Worley and   Obetz
    187          1XPWDP9X2E0236428    2014   PETERBILT      NO TITLE           Worley and   Obetz
    188          1XPWDP9X5E0238464    2014   PETERBILT      NO TITLE           Worley and   Obetz
    189                         2014
                 3AKJGND10EDFT8496           FREIGHTLINER   N 0 TITLE          Worley and   Obetz
    190      5HTAB4329E7H79298 2014          HEiL           NO TITLE           Worley and   Obetz
    191      5HTAB4320£7H79299 2014          HEIL           No Title           Woriey and   Obetz
    192      SHTAB4321E7H79456 2014          HEIL           No Title           Worley and   Obetz
    193      4P5361829E3008905  2014         PJ             75532623101   W0   Worley and   Obetz
    194      1TC950RGJ ET020007 2014         John Deere     No Title           Worley and   Obetz
    195      5HTAM4529C7H75423 2012          HEiL           73869848403   WC   Worley and   Obetz Inc.
    196      5HTAM4520C7 H75424 2012         HEIL           73869841503   WC   Worley and   Obetz Inc.
    197      16CGGZSV271107808 2007          CHEVROLET      63782279004   W0   Worley and   Obetz
    199      16CHGBSU741242800 2004          CHEVROLET      68743200203   WC   Worley and   Obetz Inc.
    200      4U01C12122A011119  2002         CARGO          58069425203   W0   Worley and   Obetz Inc.

    202      1FDSX3H67JEBGG427        2°18   £853.83"                          Worley and Obetz Inc.
                                             FORD F350
    203      1FD8X3H57JE366428        2018   SUPERCAB                          Worley and Obetz Inc.

    205      4V1VDBPE3$N705034        1995   WHITE GMC      55195556402 W0     Worley and Obetz
    206      4V4JDBGF1TR839058        1996   VOLVO          48737802203 W0     Worley and Obetz
    207      4V4JDBCF4TR839071        1996   VOLVO          48737964103 W0     Worley and Obetz
    208      1FV6HFBA8$L648719        1995   FREIGHTLINER   62043060502 WC     Worley and Obetz
    209      4VG7DARJ EWN755084       1998   VOLVO          62085849902 WC     Worley and Obetz
    210      4VG7DARJXXN786608        1999   VOLVO          52420958802 W0     Worley and Obetz
    211      4V4NDZRH2YN241933        2000   VOLVO          62576648902 WC     Worley and Obetz
    213      4V4NDZRH4YN796107        2000   VOLVO          62735668102 WC     Worley and Obetz
    214      4V4ND2RHOYN796105        2000   VOLVO          62735727702 W0     Worley and Obetz
    215      4V4NDZRH2YN796106        2000   VOLVO          62793843202 W0     Worley and Obetz
    215      1FI'YR2CMSGK330230       2016   FORD           76328540001 WC     Worley and Obetz
    217      4VG7DARH6XN778423        1999   VOLVO          63420746202 Q0     Worley and Obetz

                                                      63
|         Ag: lVE‘xééiﬁdéZ
             1               n
                             g4
  Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
   Case 18-13774-ref Doc 425Document      Page Entered
                               Filed 09/17/18  173 of 191
                                                       09/17/18 19:15:44 Desc Main
                             Document     Page 173 of 191


218   1FUJGEDR4HLHZ7414     2017   FREIGHTLINER     NO TITLE             Worley and Obetz
219   1FUJGEDR6HLHZ7415     2017   FRBGHTLINER      NO TITLE             Worley and Obetz
      1M1AWO7Y8HM08228
220
          6
                            2017   MACK             N0 TITLE             Worley and Obetz
221   1W9P143236M350051 2016       WESTMOR          NO TlTLE             Worley and   Obetz
222   UNTOO7703         1980       FRUEHAUF         50961419002 WC       Worley and   Obetz
223   1PMA24321V5001229 1997       POLAR            61742294302 WC       Worley and   Obetz
224   5HTAB4320H7081972 2017       HEIL             NO TITLE             Worley and   Obetz
225   loBEASZSBHFOD4508 2016       BEALL TRAILER    NO TITLE             Worley and   Obetz
227   1ETYR2CM4HKB43259 2017       FORD             NO TITLE             Worley and   Obetz
228   1XPCD49X1K0261365 2019       PETERBI LT567                         Worley and   Obetz
229   1XPCD49X3K9251366 2019       PETERBILT 567                         Woriey and   Obetz
238   5HTSA4’323K7601502           $15393“                               Worley and Obetz

239   5HTSA4323K7601503     2019   $153k“                                Worley and Obetz
242   2HSCEAPR45C029758     2005   INTERNATIONAL    60848603302WO        Worley and Obetz
243   3AKJG N DIZGDGX3465   2016   FREIGHTLINER     NO TITLE             Worley and Obetz
244   1C4RJFBM8FC796401     2015   JEEP             74852303601W0        Worley and Obetz
245   1FTNM21P03E86036      2003   FORD             72123328002WO        Worley and Obetz
246   137KM2688LS711430     1990   DODGE            429329187o7wo        Worley and Obetz
248   5HTAM452477L72688     2007   HEIL TRAILER     75741011601WO        Worley and Obetz
249   IGBOGRFGSG 1309296    2015   CHEVROLET        77945784602WO        Worley and Obetz
252   HW13929               1979   DORSEY TRAILER   56022290603WO        Worley and Obetz
253   1TKC02421HM038953     1987   TRAIL KING       69539336302WO        Worley and Obetz
254   1FDWE3FLZDDA85254     2013   FORD             72476003402WO        Worley and Obetz
255   1FUJGEDS7GLGX4492     2016   FREIGHTLINER     NO TITLE             Worley and Obetz
256   1FUJGEDS7G LGX4493    2016   FREIGHTLIN ER    No TITLE             Worley and Obetz
257   5HTAB4321F7H80771     2015   HEIL TRAILER     NO TITLE             Worley and Obetz
258   5HTAB4323F7H80772     2015   HEIL TRAILER     NO TITLE             Worley and Obetz
259   SHTAB4325F7H80773     2015   ¥§£ILLE§NK       NO TITLE             Worley and Obetz
260   2HSFHASRXXC031142     1999   INTL             52742318001 SH   .
                                                                         Worley and Obetz Inc.
261   2H5CHAER32C238246 2002       INTL             56915409002 SH       Worley and Obetz Inc.
262   2H5CHAPR37C432012 2007       INTL             68890883001 SH       Worley and Obetz Inc.
263   3HSCUAPROAN243190 2010       INTERNATIONAL    67651633902 SH       Worley and Obetz Inc.
264   3HSDMAPR6FN572598 2015       INTERNATlONAL    74271227001 MY       Wor|ey and Obetz Inc.
265   ZHSCZAPR7AC168576 2010       INTERNATIONAL    66843032002 MY       Worley and Obetz Inc.
266   3HSCXAPRSGN276413     2016   INTERNATIONAL    76327313201 MY       Worley and Obetz Inc.
270   5HTAM442517H64994     2001   HEIL             66738761801 SH       Worley and Obetz Inc.
271   SHTAM432227H66690     2002   HEIL             67785277301 SH       Worley and Obetz Inc.
272   5HTAM432027H66686     2002   HEIL             68357796301 SH       Worley and Obetz Inc.

                                            64
      T       E   4   v4
       Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
        Case 18-13774-ref Doc 425Document      Page Entered
                                    Filed 09/17/18  174 of 191
                                                            09/17/18 19:15:44 Desc Main
                                 Document      Page 174 of 191


     273     5HTAM4527C7H76517    2012   HEiL                70246154501 SH   Worley and Obetz Inc.
     274     5HTAM4524D7H77691    2013   HEEL                71470522501 SH   Worley and Obetz Inc.
     275     5HTAM4525E7H79273    2014   HEIL                72444974001 SH   Worley and Obetz Inc.
     276     SHTAB452317H64593    2001   HEEL                73438147002 SH   Worley and Obetz Inc.
    TRK—11   1FTYR2CVZGKA44575    2016   FORD                75792386001 W0   Worley and Obetz
TRK-24       ZNPLH D7X57M685005   2007   PETERBILT           63478937201 WC   Worley and Obetz
TRK-25       1FTYR2CVOGKA44574    2016   FORD                75792237301 WC   Worley and Obetz
TRK-26       ZNPLHD7XZ7M698200    2007   PETERBILT           63737176601 W0   Worley and Obetz
TRK-31       WDOPE745X85236935    2008   DODGE               65729840301 WC   Worley and Obetz
TRL-124      1FT FX1EF4GFB61435   2016   FORD                75328568101 WC   Worley and Obetz
             IGRAAQOZXCBOG2401    1982   GREAT DANE TRLR     58476978902WO    Worley and Obetz
             885142692            1932   FORD                36614733802      Worley & Obetz Inc.
      95     SALGSZRKZJABSBZIZ  2018     LAND ROVER          78895829001W0    Worley 8: Obetz Inc.
     V-1     1C4RJFBMXFC112982  2015     JEEP                75819713601AM    AMERlGreen
     V-Z     1FMCU9GXSGUA48830 2016      FORD                75695910401AM    AMERIGreen
     V-3     114PR4GK8AC108380  2010     JEEP                71951298802AM    AMERlGreen
     V-4     1FMCU96966UC49962 2016      FORD                75829655501AM    AMERlGreen
     V—6     114PR4GK4AC143515  2010     JEEP                72003492303AM    AMERlGreen
     V-7     1C4RJ FCMSEC384850 2014     JEEP                73330270501AM    AMERlGreen
     V-9     1C4RJ’FBM5EC315793 2014     JEEP                74598477602AM    AMERlGreen
    V-10     3FRNF6FC18V411137  2011     FORD                76340525901AM    AMERIGreen
    V-11     IGNSKCKCBFRSOSSOG  2015     CHEVROLET           75966360001AM    AMERlGreen
    V—12     1C4RJFBM2EC521444  2014     JEEP                77909543502AM    AMERIGreen
                                                             TRUCK FOR
    500      1FV6HJ BAXXHA93594   1999   FREIGHTLIN ER F70      AVONDALE      AMG Propane
                                                                TRANSLOADER


    501      431F52529X1000515    1999
                                         ggggggoum           MES/xi?“         AMG Propane
                                                             TRANSLOADER




                                                  65
l          Wagiégmﬁz m
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     PageEntered
                            Filed 09/17/18  175 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 175 of 191




                                               Schedule 2.2(f)
                              Wo-Go Stations Tangible Personal Property
 WOGO 8: PACIFIC PRiDE DIVISIONS

 Qgsgriptign

 Retail fueling stations (unmanned) for use by customers who have cards that are on the
 respective networks.

 Main ofﬁce operations were from 202 Greenfield Road, Lancaster, PA (NO LONGER AVAILABLE)

 Leases inciuded:          1634 w. Main St, Ephrata, PA (Charles Rutt)
                           101 E. Cherry St, Elizabethtown, PA (Lime Ridge Farm)
                           854 S. 16th St, Harrisburg, PA (Scheler Realty)

 Includes Franchise Agreement with Paciﬁc Pride Services, LLC

 Locations:                Manheim WoGo 35 Doe Run Road, Manheim, PA (LEASED)
                                           —




                           Lititz WoGo - 745 Rothsville Road, Lititz, PA (OWNED)
                           Ephrata WOGO/Paciﬁc Pride 1634 West Main Street, Ephrata, PA
                                                            —




                           (LEASED)
                           Greenﬁeld WOGO/Paciﬁc Pride - 202 Greenfield Road, Lancaster, PA
                           (LEASED)
                           Mount Joy Pacific Pride - 30 Orchard Road, Mount Joy,     PA (OWNED)
                           Elizabethtown Pacific Pride 101 East Cherry Street, Elizabethtown, PA
                                                        ~


                           (LEASED)
                           Harrisburg WoGo - 854 South 16th Street, Harrisburg, PA (LEASED)

 All pumps, tanks and other equipment utilized in the operations of the Cardlock divisions,
 including remaining fuel inventory

 Access    to applicable Cardlock software systems for customer information

 Trucks:

   No.                                    Description                                  VIN

    23        2014       RAM PROMASTER          WOGO OPS VAN                   3C6TRVCDGE5123628
   151        2002       DODGE VAN              WOGO OPS VAN SPARE         —
                                                                               2871321Y92K110755



 Any and all Intellectual Property relating to Wo-Go.

                                           Exhilgit A   ~—
                                                                Page   1
          >4"4       4
Case 18-13774-ref  Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774—ref Doc 425Document     Page Entered
                            Filed 09/17/18  176 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 176 cf 191




                                            Schedule 3.5

                                         Required Consents


  The following agreements require written consent:
     1. Lease Agreement between Worley & Obetz, Inc. and 202 Greenﬁeld LP dated August 30,
        201 3
     2. DEP Grant Agreement between Worley        & Obetz, Inc.        and the Commonwealth   of
        Pennsylvania, Department of Environmental Protection, Ofﬁce of Pollution Prevention
        and Energy Assistance
        Lease Agreement between 333 Sylvan Avenue, LLC and Amerigreen Energy, Inc. dated
        April 26, 2013
        Lease Agreement between 333 Sylvan Avenue, LLC and Amerigreen Energy, Inc. dated
        April 22, 2015
        Commercial Lease Agreement between Lyons & Obetz and AmeriGreen dated April 1,
        20 14
            a. AmeriGreen has the right to assign the lease to a corporation with which
               Amati-Green may merge or consolidate, to any subsidiary of AmeriGreen, to any
               corporation under common control with AmeriGreen or to a purchaser of
               substantially all of AmeriGreen’s assets without consent.
        Commercial Lease Agreement between Lyons & Obetz and AmeriGreen dated July 1,
        201 1
            a. AmeriGreen has the right to assign the lease to a corporation with which
               AmeriGTeen may merge or consolidate, to any subsidiary of AmeriGreen, to any
               corporation under common control with AmeriGreen or to a purchaser of
               substantially all of AmeriGreen’s assets without consent.
         Lease Agreement between RZ Realty, LP and AmeriGreen Energy, Inc. dated November
        25 , 20 1 4
            a.   AmeriGreen Energy, Inc. has the right to assign the lease to an afﬁliate or
                 successor by reason of merger, consolidation, asset or stock acquisition without
                 consent.
          Equipment Lease Agreement between Elbow River Marketing USA LTD and
          AmeriGreen Propane, LLC dated July 1,, 2017
          Biodiesel Terminal Storage and Thru Put Agreement between Westmore Fuel Co., Inc,
          and AmeriGreen Energy dated October 30, 2014
             a. AmeriGreen has the right to assign to an afﬁliate or subsidiary without consent.
     10. Propane Throughput Agreement between AmeriGreen Energy and Boyle Energy
             a. Agreement states that Boyle Energy may assign without prior written consent,
                 implying that AmeriGreen Energy cannot because the agreement can only be
                 amended by written consent.
     11 . Thruput Agreement between General Bangtson LLC and AmeriGreen Energy, Inc.
          ...A,......          _‘-..E’ .V--.-9o ‘- u
                                     ’                     ..      5
                                                                     "-n (-C ~ I.’ v '
                                                                            C      ’
                                                                                       ...'-




                                           xhibit A ~ Pa   6   1
 :‘TIV‘ “4”v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18   177 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 177 of 191



    L23 «14rLease         Agreement between Crowe Realty, LLC and Worley & Obetz dated September
             8, 2005
    I; 4&Lease Agreement between Crowe Realty, LLC and Worley & Obetz dated October            1,


    ;        2010
                    and Purchase Agreement between Crowe Realty, LLC and Worley & Obetz
             «1—6rLeasc
          dated September 9, 2010
    :1; gCommercial Lease Agreement between Doe Run Road LLC and Worley & Obetz Inc.
          dated January 1, 2012
              a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                  Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                  to any corporation under common control with Worley & Obetz, or to a purchaser
                  of substantially all of Worley & Obetz’s assets without consent.
    1;; 48—.Commercia1 Lease Agreement between Doe Run Road LLC and Worley & Obetz Inc.
          dated June 1, 2012
              a. Worley & Obctz Inc. has the right to assign the lease to a corporation with which
                  Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                  to any corporation under common control with Worley & Obetz, or to a purchaser
                  of substantially all of Worley & Obetz’s assets without consent.
    L;   JIQTCommercial Lease Agreement between Doe Run Road LLC and Worley & Obetz Inc.
         dated September 1, 2011
              a, Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                  Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                 to any corporation under common control with Worley & Obetz, or to a purchaser

    ;            of substantially all of Worley & Obetz’s assets without consent.
         2&Agrccmcnt between H. L. Wiker, Inc. and Worley & Obetz, Inc. dated August 2008
                             if
              a. Even written consent is granted, Worley & Obetz is still liable for payment of


    ;            all terms, conditions, and covenants.
         24—.Lease Agreement between H. L. Wiker, Inc. and Worley & Obetz, Inc. dated January
          16, 2008
                            if
              a. Even written consent is granted, Worley & Obetz is still liable for payment of
                 all terms, conditions, and covenants.
    Q    22-.Lease Agreement between J. W. Bishop Properties, LLC and Worley & Obetz, Inc.
         dated March 4, 2013
    4    2%Commercial Lease Agreement between Lester R. Summers, Inc. and Worley & Obetz
         Inc. dated July 1, 2015
    N
    N 2. £4».Commercial Lease Agreement between Lester R. Summers, Inc. and Worley & Obetz
         Inc. dated September 1, 2016
    Q    %57Commercial Lease Agreement between Lyons & Obetz and Worley & Obetz Inc.
         dated September 1, 2016 (41 Doe Run Road)
              a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                 Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                 to any corporation under common control with Worley & Obetz, or to a purchaser
                 of substantially all of Worley & Obetz’s assets without consent.
    g    26:Commercial Lease Agreement between Lyons & Obetz and Worley & Obetz Inc.
         dated September 1, 2016 (55 Doe Run Road)




         ‘
    IV          4   7V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  178 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 178 of 191


                        a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                           Worley & Obetz may merge or consolidate, to any subsidiaty of Worley & Obetz,
                           to any corporation under common control with Worley & Obetz, or to a purchaser

       ;                   of substantially all of Worley & Obetz’s assets without consent.
                    24—.Commercial Lease Agreement between Lyons & Obetz and Worley & Obetz Inc.
                    dated September I, 2009
                        a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                           Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                           to any corporation under common control with Worley & Obetz, or to a purchaser
                           of substantially all of Worley & Obetz’s assets without consent.
       if
       2   Ch   .   2&Commercia1 Lease between Obetz Enterprises and Worley & Obetz Inc. dated April
                    24, 1 997
       _2_1__.      29TDEP Grant Agreement Worley   & Obetz, Inc. and the Commonwealth of
             Pennsylvania,    Department    of Environmental   Protection, Ofﬁce of Pollution Prevention
             and Energy Assistance dated July 6, 2017
       g     39: Operating Agreement of PM Interconnection, LLC (to which AmeriGreen Energy,
             Inc. is a member)
                 a. The rights and obligations created by the Agreement shall inure to and bind the
                      successors and assigns of AmeriGreen; provided, however, that the rights and
                      obligations of AmeriGreen hereunder shall not be assigned without the approval
                      of the Members Committee except as to a successor in operation of AmeriGreen’s
                      electric operating properties by reason of a merger, consolidation, reorganization,
                      sale, spin-off, or foreclosure, as a result of which substantially all such electric
                      operating properties are acquired by such a successor, and such successor
                      becomes a Member.
      _;=9_; S-l—Product Sales Agreement between UGI Energy Services, LLC and AmeriGreen

             Energy, Inc. dated May 19, 2014
                 a. If AmeriGTeen is assigning the agreement to an afﬁliate (who’s creditworthiness
                      is comparable to or higher than that of the AmeriGreen), or assigning the
                      agreement to any person or entity succeeding to all or substantially all of the
                      assets of the AmeriGreen, then only written notice is required.
      Q      3%.Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
             Services, LLC dated May 1, 2014
                 a. Agreement states that UGI Energy Services, LLC may assign without prior
                      written consent, implying that AmeriGreen Energy, Inc. cannot because the
                      agreement can only be amended by written consent.
      N
      DJ
         1. 3-3/7Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
             Services, LLC dated May 1, 2015
                 a. Agreement states that UGI Energy Services, LLC may assign without prior
                     written consent, implying that AmeriGreen Energy, Inc. cannot because the

      ;                    agreement can only be amended by written consent.
                    34—.Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
                    Services, LLC dated May 1, 2016
                       a. Agreement states that UGI Energy Services, LLC may assign without prior
                           written consent, implying that AmeriGreen Energy, Inc. cannot because the
                           agreement can only be amended by written consent.



 3;: I IVEg‘érijg Z452 ZKV4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  179 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 179 of 191



    ;    ~3§7Propane    Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
           Services, LLC dated June 1, 2017
               3. Agreement states that UGI Energy Services, LLC may assign without prior
                   written consent, implying that AmeriGreen Energy, Inc. cannot because the
                   agreement can only be amended by written consent.
    &      367Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
           Services, LLC dated May 3, 2018
               3. Agreement states that UGI Energy Services, LLC may assign without prior
                   written consent, implying that AmeriGreen Energy, Inc. cannot because the
                   agreement can only be amended by written consent.
    3,252. 3%Propane    Throughput Agreement between AmeriGreen Energy and RF Ohl Fuel Oil,
           Inc. dated July 1, 2014
               a. Agreement states that RF Ohl Fuel Oil, Inc. may assign without prior written
                   consent, implying that AmeriGreen Energy, Inc. cannot because the agreement
                   can only be amended by written consent.
    &      3&Propane Throughput Agreement between AmeriGreen Propane LLC and RF Ohl Fuel
           Oil, Inc. dated July 1, 2017
               a. Agreement states that RF Ohl Fuel Oil, Inc. may assign without prior written
                   consent, implying that AmeriGreen Energy, Inc. cannot because the agreement

    ;&             can only be amended by written consent.
           397Lease Agreement between Rohrer’s Quarry and Worley & Obetz dated June 1, 2014
           4G:Commercia1 Lease Agreement between Seth Obetz and Worley & Obetz Inc. dated
           January 1, 2010
               & Worley & Obetz Inc. has the right to assign the lease to a corporation with which
                   Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
                   to any corporation under common control with Worley & Obetz, or to a purchaser
                   of substantially all of Worley & Obetz’s assets without consent.
    1‘22.  44-.Commercial   Lease Agreement between Seth Obetz and Worley & Obetz Inc. dated
         January 1, 2011
            a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
    ﬂ    42—.Commercia1 Lease Agreement between Seth Obetz and Worley & Obetz Inc. dated
         September 1, 2012
            a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
                                           ..............      -   .-
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 ’
   Case 18-13774-ref Doc 425Document     PageEntered
                              Filed 09/17/18  180 of 191
                                                      09/17/18 19:15:44 Desc Main
                            Document     Page 180 of 191


                 a.   Written consent is not needed for an assignment to one or more of the assignor’s
                      wholly owned corporate afﬁliates or subsidiaries or to a successor of all or of
                      substantially all of the assignor’s entire business and assets or to a corporation
                      which assignor merges into or consolidates with. However, an assignment to a
                      corporate afﬁliate or subsiciiary will not relieve the assignor of any of its
                 obligations.
    g;    457Agreement between IPT, LLC and AmeriGreen Energy Inc. (July 2012)
             3. Written consent is not needed for an assignment to one or more of the assignor’s
                 wholly owned corporate afﬁliates or subsidiaries or to a successor of all or of
                 substantially all of the assignor’s entire business and assets or to a corporation
                 which assignor merges into or consolidates with. However, an assignment to a
                 corporate afﬁliate or subsidiary will not relieve the assignor of any of its
                 obligations.
    g     467Agreement between IPT, LLC and AmeriGtreen Energy Inc. (November 2014)
             a Written consent is not needed for an assignment to one or more of the assignor’s
                 whally owned corporate afﬁliates or subsidiaries or to a successor of all or of
                 substantially all of the assignor’s entire business and assets or to a corporation
                 which assignor merges into or consolidates with. However, an assignment to a
                 corporate afﬁliate or subsidiary will not relieve the assignor of any of its
               obligations.
    ﬂ 4%Agreement between IPT, LLC and AmeriGreen Energy Inc. (November 2016)
          a. Written consent is not needed for an assignment to one or more of the assignor’s
               wholly owned corporate afﬁliates or subsidiaries or to a successor of all or of
               substantially all of the assignor’s entire business and assets or to a corporation
               which assignor merges into or consolidates with. However, an assignment to a
               corporate afﬁliate or subsidiary will not relieve the assignor of any of its
               obligations.
    Q 48».Agreement between IPT, LLC and AmeriGreen Energy Inc. (November 2017)
          3..  Written consent is not needed for an assignment to one or more of the assignor’s
              wholly owned corporate afﬁliates or subsidiaries or to a successor of all or of
               substantially all of the assignor’s entire business and assets or to a corporation
              which assignor merges into or consolidates with. However, an assignment to a
              corporate afﬁliate or subsidiary will not relieve the assignor of any of its
              obligations.
    Q 497Tank Storage Agreement between Colmar Terminal, Inc. and AmeriGreen, Inc. dated
      February 19, 2014
          a. Written consent is not needed for a merger, consolidation, or transfer of all of the
              transferor’s assets for valid business purposes (other than the avoidance of
              obligations under the agreement).
    @ 597Tcnninalling   Agreement between AmeriGreen Energy and Arc Terminals
      Pennsylvania Holdings LLC dated July 25, 2016
          a. AmeriGreen Energy may assign the agreement to an afﬁliate, but it will still be
              liable for the obligations.
    & 5-1—Terminal Services Agreement between Plains Products Terminals LLC and
      AmeriGreen Energy Inc. dated May 1, 2010




     "'      4        V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   181 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 181 of 191


               a.   AmeriGreen Energy may assign the agreement to an afﬁliate or subsidiary upon
                     10 days prior written notice, but it will still be liable for the obligations.
        &   527Product Terminal Services Agreement between Sunoco Partners Marketing &
            Terminals and AmeriGreen dated November 21, 2014
                a. Written consent is not needed for an assignment to one or more of the assignor’s
                    afﬁliates or subsidiaries, or to a successor of all or of substantially all of the
                    assignor’s business and assets or to a corporation which assignor merges into or
                    consolidates with. However, an assignment will not relieve the assignor of any of
                    its obligations.
        &   §3:Biodiesel Terminal Storage and Thru Put Agreement between Windsor Fuel Co., Inc.
            and AmeriGrecn Energy dated August 1, 2015
                a. AmeriGreen Energy may assign the agreement to an afﬁliate or subsidiary.
        A   547Terminal Throughput Agreement between Fred M. Schildwachter & Sons, Inc. and
            AmeriGreen Energy, Inc. dated November 9, 2015
        Q 55:me           Throughput Agreement between Fred M. Schildwachter & Sons, Inc. and

        ;   AmeriGrecn Energy, Inc. dated September 2014
            ééMaster Agreement between Vendor Services Group and Worley & Obetz (December
            2016)
        &   $41,233:: Agreement between Waverly Trade Center, LLC and Worley & Obetz dated
            May 1, 2013
        Q   5&Lease Agreement between H. C. Rineer Sons Partnership (“Landlord”) and Worley &
            Obctz dated May 30, 2006
                a. Worley & Obetz remains liable to H. C. Rineer unless otherwise agreed to in
                   writing by H C. Rineer.
        &   597Non-Exclusive Fee Agreement between Ecova, Inc. and AmeriGreen Energy, Inc.
            dated August 19, 2013
        ;;  6&Channel Partner Agreement between Agera Holdings LLC and AmeriGreen
            Energy, Inc. [2017]
        &   61—.Confidential Marketing Agreement between EnerPenn USA, LLC and
            AmeriGreen Energy, Inc.
                1. Conﬁdentiality Agreement between EnerPenn USA, LLC and AmeriGreen

        ;          Energy, Inc. attached as Exhibit A
            62—.Non-Exclusive Fee Agreement between AmeriGreen and South Jersey Energy
            Company [2014:]
            63:1ndependent     Contractor Agreement between AmeriGreen Energy, Inc. and
        Q;
            NextEra Energy Services, LLC
        Q   647Broker Agreement between AmeriGreen Energy, Direct Energy Business, LLC,
            and Direct Energy Business Marketing, LLC [2015]
        g;  6&Broker Agreement between AmeriGreen Energy and Energy Service Providers,
            Inc. dated October 6, 2015
        g;  667Agent Services Agreement between Supreme Energy Inc. and AmeriGreen
            Energy, Inc.
        gig 67—.Master Broker Agreement between AmeriGreen Energy, Inc. and Constellation
            NewEnergy, Inc., Constellation Energy Services, Inc., and Constellation Energy
            Services of New York, Inc.




 ﬁg: svgxg’gg zggg? 4
    3
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  182 of 19109/17/18 19:15:44 Desc Main
                          Document     Page 182‘ crf 191




     Q 68:Sales Agent Agreement between AmeriGreen Energy and US. Energy Partners
         LLC dated March 21, 2018
     g   69=Brokerage Agreement between New York Energy Inc. and AmeriGreen Energy,
         Inc. dated May 24, 2018
     Q   #0=Cnstomer Referral Agreement between AmeriGreen Energy, Inc. and Mint
        Energy, LLC
    g   111Broker Agrcement between AmeriGreen Energy, Inc. and TriEagle Energy, LP
        dated December 11, 2013
    Q   112:1'ayment Remittance Agreement between AmeriGreen Energy, Inc. and AP Gas
        & Electric (TX), LLC dated December 22, 2017
    &   43:3roker Agreement bctween AmeriGreen Energy, Inc. and FPP Holdings, LLC
        dated Octaber 12, 2016
    Q   McCommodity Broker Agreement between AmeriGreen Energy, Inc. and Source
        Power & Gas LLC dated December 14, 2017
    1—; #52Commercial Sales Partnership Agreement between AmeriGreen Energy, Inc.
        and SFE Energy Inc.
    Q   #6:Broku Agreement between AmeriGreen Energy, Inc. and Freepoint Energy
        Solutions LLC dated May 3, 2018
    A   #Sourcing Fee Agreement between AmeriGreen Energy, Inc. and Inﬁnite Energy
        dated January 12, 2017
    Q   1&Agent Agreement between AmeriGreen Energy, Inc. and Spark Energy Gas,
         LLC


 The following agreements require approval, but it does not need to be written:
         1. Franchise Agreement for a Paciﬁc Pride Commercial Fueling System Territory
            between Paciﬁc Pride Services, LLC and Worley & Obetz Inc.


 The following agreements contain restrictions on sharing information and thus approval should
 be obtained:
         1. Non-Disclosure Agreement between Mansﬁeld Oil Company of Gainesvillc, Inc. and
            AmeriGreen Energy, Inc. dated July 28, 2017
         2. Conﬁdentiality Agreement between Elbow River Marketing LTD. and AmeriGreen
            Propane, LLC
         3. Non-Disclosure Agreement between Superior Gas Liquids and AmeriGTeen Propane,
              LLC
         4.Conﬁdentiality and Non-Disclosure Agreement (Letter form) between United Metro
           Energy Corp. and AmeriGreen Energy dated July 20, 2017
        5. Conﬁdentiality and Non-Disclosure Agreement (Letter fonn) between IPC(U SA),
           Inc. and AmeriGreen Energy, Inc. dated January 2, 2018
        9‘ Conﬁdentiality Agreement between US. Venture Inc. and AmeriGreen Energy, Inc.
        7. Mutual Conﬁdentiality Agreement between Summit Energy Services, Inc. and
              AmeriGreen Energy, Inc.




          3 74   v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      PageEntered
                            Filed 09/17/18   183 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 183 of 191


                                  Schedule 3.6

                                   Litigation


 Nana.




   'VX’74    v
Case 18-13774-ref  Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18—13774-ref Doc 425Document      Page Entered
                             Filed 09117118  184 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document     Page 184 of 191



                                  Schedule 3.7

                                    Permits


  None.




 8.   WV"   4   ”V4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                            Filed (39/17/18  185 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 185 of 191


                                  Schedule 3.10

                              Environmental Matters

 None.




 AWW                                   10
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document     Page Entered
                            Filed 09/17/18  186 of 191
                                                    09/17/18 19:15:44 Desc Main
                          Document     Page 186 of 191


                                 Schedule 3.11

                                 Real Property



 None.




                                      11
      ‘\ 4   v
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                             Filed 09/17/18  187 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document     Page 187 of 191


                                      Schedule 3.12

                                   Employment Matters

       Worley & Obetz, Inc. 401k Plan
                                      -
       Robert H. Ranck, Inc. 401k Plan assumed on sale of Ranck Plumbing Heating & Air
       Conditicning, Inc.
       Worley & Obetz, Inc. Health Plan
                                          -
       Amerigreen Energy, Inc. Health Plan terminated for non-payment effective June 30,
       201 8




 AW                                           12
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                             Filed 09/17/18  188 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document     Page 188 of 191



                                         Schedule 3.15

                                           Insurance

   WORLEY & OBETZ, INC.
                                                     ‘



    Updatcd mm                                               2018

   CASUALTYISUMMT:          Undurwrit’ton By: Old Republic/Effective 211/2018-19
    Workers Compensation   $      1,000,000      Accident/Disease/Employee
                           3       15,000,000            Payroll Projection
     General Liabitity     $        1,000,000            Occurrence
                           5        2,000,000            Aggregate
                           3        1,000,000            Employee Beneﬁts Liability
                                                         Sales
                           $     537,500,000             Projection
     Automobﬂe             5       1,000,000             Bodily Injury/Property Damage Liability
                                 $250 and $500           Comprehensive/Collision Deductibles
                               $          1,000          Tractor Deductibles
                                            284          Total Vehicles

   UMBRELLA:               Undenvritten By: Allied World/Effective 211/2018-19
                           $       1   5,000,000         Occurrence/Aggregate
                           $              1 0,000        Retention

   XS AUTO UMBRELLA:       Underwritten By: EnduranceIEffective 2I1I2018-19
                           $           4,000,000         Occurrence/Aggregate
                           S                  -          Retention

   POLLUTION:              Undemritten By: ChubeAce American/Effective 2I1I2018-20
                           $           4,000,000         Aggregate Program
                           $           4,000,000         Occurrence
                               $            50,000       Deductible

   EXECUTIVE               Under-written By: Travelerleﬁecﬂve 2I1I2018-19
   PROTECTION:             $      2,000,000     Fiduciary
                           $      2,000,000     Employment Practices
                                                Employee
                           5          50,000    Theft
                           5      1,000,000     Cyber Liability - added to this policy 2/1/17
                           5      1,000,000     Third Party

   PROPERTY:               Underwritten By: XL InsurancIIEffcctive 211/2018-19
                           5       25,517,929            Property Limits
                                                         Business
                           5           5,000,000         Income
                           $           2,500.000         Earthquake
                           $               1,000         Property Deductible
                           $             25,000          Earthquake Deductible
                           $              50,000         Motor Truck Cargo/Filings Included


                                                13
     V'4'74       4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                             Filed 09/17/18  189 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 189 of 191


                                 3         25,000      Installation
                                 s         87,900      Contractors Equipment
                                 $       1,700,000     Electronic Data Processing

       BOILER 8: MACHINERY:      Underwritten By: Travelerleffective 2I1I2018-19
                                 $      24,982,032     Property Limit
                                 5       5,000,000     Business Interruption
                                 $          2,500      Deductible

       McConkey Service Fee      $            500      Per Month 2I1I18-19

       PERSONAL
       UMBRELLAS:                 Effective 7/1/1748
                                 3       5,000,000     Jeff Lyons                           CHUBB




       Amerigreen Energy, Inc.

       991mm                                                                   2-1 -201 8
       Property (including ﬂoaters)
                                                Limits                    $      6,1 55.500
                                                Premium
                                                (Incl.
                                                Tax/Fee)                  $          13,365
       General Liability
                                                Gallons                   $     60,000,000
                                                Sales (Lube)              $         200,000
                                                Premium                   $          52,447
       Automobile
                                                # of Units                $                 1   5
                                                Premium                   $          1 5,409

   Workers’ Compensation
                                                Payroll                   $      2,775,000
                                                Premium                   $           9,966
       Umbrella
                                                Limit                     $      3.000.000
                                                Premium                   $          1 2.198



       McConkey Energi Fee                                                $           9.751



                                                 14
 ail   E   iVE‘gé4i7éﬁZ":.v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
                         Document
 Case 18-13774-ref Doc 425              Page Entered
                            Filed (39/17/18  190 of 191
                                                     09/17/18 19:15:44 Desc Main
                          Document      Page 190 of 191



    Executive Protection
                                      0&0 8L EPL
                                      Limit              $    1,000,000
                                      Premium            $        10,339

    Poilution                                            2/1/18 to 2/1/19
                                      Limit              5    2,000,000
                                      Premium            $       20,770

    Credit insurance - 11-30-17/18                       $       26,208

    All poiici‘es an [NIH in full                        5      170.453




                                      15
 a Qg‘Ivgxg4‘3zaggz v4
Case 18-13774-ref Doc 427 Filed 09/18/18 Entered 09/18/18 13:19:35 Desc Main
 Case 18-13774-ref Doc 425Document      Page Entered
                             Filed 09/17/18  191 of 191
                                                     09/17/18 19:15:44 Desc Main
                           Document     Page 191 of 191

                                                         Comparison Details

     .
         Title                   :
                                     compareDocs Comparison Results
          Date & Time                9/17/2018 6:42:35 PM
         Comparison Time             3.88 seconds
         compareDocs version         v4.3.20037

                                                              Sources
                                     [ACTIVE][#64374627] [v1] Worley & Obetz      - Diesel Direct Asset Purchase
         Ori g inal Document
                                     Agreementdocx
                                     [ACTIVE] [#64374627] [v4] Worley & Obefi     - Diesel Direct Asset Purchase
         Modiﬁed Document
                                     Agreementdocx

         Comparison Statistics                                                  Word Rendering Set Markup Options
         Insertions                     58                                                         Standard with bold for
                                                                    Name
         Deletions
         Changes
         Moves
         Font Changes
                                        43
                                        82
                                        12
                                        0
                                                                   w
                                                                   W
                                                                   %/
                                                                           .




                                                                                 Mews
                                                                                                             redhnmg




                                                                   Font Changes
         Paragraph Style Changes
                                                                   Paragraph Style Changes
         Character $er Changes          0
                                                                   Character Style Changes
         TOTAL CHANGES                  195
                                                                   Inserted ceﬂs
                                                                   Deleted cells
                                                                   Merged cells
                                                                   Changed lines                        Mark left border.
                                                                   Comments color                          By Author.
                                                                   Balloons                                   False

                        compareDocs Settings Used                        Category                     OptiOn Select-ed
         Open Comparison Report after Saving                                   General                    Always
         Report Type                                                           Word                    TrackChanges
         Character Level                                                       Word                        False
         Include Headers/ Footers                                              Word                        True
         Include Footnotes/ Endnotes                                           Word                        True
         Include List Numbers                                                  Word                        True
         Include Tables                                                        Word                        True
         include Field Codes                                                   Word                        True
         Include Moves                                                         Word                        True
         Show Track Changes Toolbar                                            Word                        True
         Show Reviewing Pane                                                   Word                        True
         Update Automatic Links at Open                                        Word                        False
         Summary Report                                                        Word                         End
         Include Change Detail Report                                          Word                      Separate

 -
         Document View                                                         Word                        Print
         Remove Personal Information                                           Word                        False
         Flatten Field Codes                                                   Word                        True
